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   10
                          IN THE UNITED STATES DISTRICT COURT
   11
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
   12
   13
   14   RENO MAY, an individual, et al.,            Case Nos. 8:23-cv-01696 CJC (ADSx)
                                                              8:23-cv-01798 CJC (ADSx)
   15                                 Plaintiffs,
                                                    SUR-REBUTTAL DECLARATION
   16               v.                              OF LEAH GLASER IN SUPPORT
                                                    OF DEFENDANT’S OPPOSITION
   17   ROBERT BONTA, in his official               TO PLAINTIFFS’ MOTIONS FOR
        capacity as Attorney General of the         PRELIMINARY INJUNCTION
   18   State of California, and Does 1-10,
                                                Date:              December 20, 2023
   19                               Defendants. Time:              1:30 p.m.
                                                Courtroom:         9B
   20                                           Judge:             Hon. Cormac J. Carney
   21
        MARCO ANTONIO CARRALERO, an
   22   individual, et al.,
   23                                 Plaintiffs,
   24               v.
   25   ROBERT BONTA, in his official
        capacity as Attorney General of
   26   California,
   27                                 Defendant.
   28
                                                               Sur-Rebuttal Declaration of Leah Glaser
                                                1        (Case Nos. 8:23-cv-01696 and 8-23-cv-01798)
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    1      SUR-REBUTTAL DECLARATION OF PROFESSOR LEAH GLASER
    2         I, Leah Glaser, declare under penalty of perjury that the following is true and
    3   correct:
    4         1.     This declaration is based on my own personal knowledge and
    5   experience, and if I am called to testify as a witness, I could and would testify
    6   competently to the truth of the matters set forth in this declaration.
    7         2.     I previously provided a declaration in support of the State of
    8   California’s opposition to the plaintiffs’ motions for preliminary injunction filed in
    9   May v. Bonta, C.D. Cal. No. 8:23-cv-01696 CJC (ADSx) (Dkt. No. 21-4) and
   10   Carralero v. Bonta, C.D. Cal. No. 8:23-cv-01798 CJC (ADSx) (Dkt. No. 20-4).
   11   See Decl. of Professor Leah Glaser (herein the “Declaration” or the “Glaser
   12   Declaration”). My professional background and qualifications, and my retention
   13   and compensation information, are set forth in Paragraphs 3 through 7 and
   14   Paragraph 11 of the Declaration, respectively.
   15         3.     The Declaration was prepared pursuant to a request from the Office of
   16   the Attorney General of the State of California to provide an expert opinion on the
   17   history/development of parks and State Parks in the United States and California,
   18   including whether modern day parks and State Parks existed around 1791 or 1868,
   19   and on the history/development of particular cultural spaces/institutions in the
   20   United States and California, including whether modern versions existed around
   21   1791 or 1868.
   22         4.     For this declaration, I have been asked by the Office of the Attorney
   23   General to review and provide a response regarding certain statements (discussed
   24   herein below) made in the May Plaintiffs’ motion to exclude my declaration
   25   testimony. May Dkt. No. 29-14. I have reviewed those statements and prepared
   26   this declaration.
   27         5.     The opinions I provide in this declaration are based on my review of
   28   the referenced statements and the citations in support thereof and of documents
                                                                 Sur-Rebuttal Declaration of Leah Glaser
                                                  2        (Case Nos. 8:23-cv-01696 and 8-23-cv-01798)
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    1   filed in this lawsuit, and on my education, expertise, and research. The opinions
    2   contained herein are made pursuant to a reasonable degree of professional certainty.
    3   I.   RESPONSE TO STATEMENTS MADE IN MAY PLAINTIFFS’ MOTION TO
    4        EXCLUDE TESTIMONY
    5         6.     The May Plaintiffs’ brief motion to exclude summarily dismisses my
    6   my Declaration with erroneous representations of its contents and the conclusory
    7   assertion that “almost all of it is irrelevant” (May Dkt. No. 29-14, p. 5); these
    8   unsupported assertions do not merit a response as the Declaration speaks for itself.
    9         7.     The May Plaintiffs’ motion also misrepresents in several respects the
   10   evidence cited in and attached as exhibits to my Declaration. First, the May
   11   Plaintiffs state that my Declaration references “a couple of Post-Reconstruction and
   12   20th century restrictions on parks discussed in three paragraphs.” May Dkt. No. 29-
   13   14, p. 5. In fact, the Declaration references more than thirteen different firearm
   14   bans in State Parks. The cited examples included the 1894 firearm ban applicable
   15   in Yosemite when it was a State Park (Glaser Declaration ¶ 40) and numerous
   16   examples from a multi-volume 1936 Digest of State Parks (Glaser Decl. ¶¶ 54-55,
   17   fn. 38-39, Ex. 3, 4).1
   18         8.     In addition, the May Plaintiffs in the same paragraph suggest that
   19   “most of” the “few” firearm restrictions State Parks that I cited “had to do with
   20   hunting.” Yet none of the cited firearm bans are directed at hunting. Glaser Decl.
   21   ¶¶ 54-55, fn. 38-39, Ex. 3, 4.
   22         9.     In order to correct the record and make clearer the number and nature
   23   of firearm bans enacted for State Parks evidenced in the referenced 1936 Digest,
   24   attached to this declaration are State Park firearm bans set forth in that Digest. See
   25   Exhibits 1 to 15 hereto.
   26
   27
              1
               The May Plaintiffs’ reference to three paragraphs is also in error. See
   28   Glaser Decl. ¶¶ 40, 49, 54, 55, 59.
                                                                 Sur-Rebuttal Declaration of Leah Glaser
                                                  3        (Case Nos. 8:23-cv-01696 and 8-23-cv-01798)
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    1        I declare under penalty of perjury under the laws of the United States of
    2   America that the foregoing is true and correct
    3        Executed on December 5, 2023, at New Britain, Connecticut.
    4
                                                               Leah S. Glaser
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                                                               Sur-Rebuttal Declaration of Leah Glaser
                                                 4       (Case Nos. 8:23-cv-01696 and 8-23-cv-01798)
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                       Exhibit 1
                   Alabama (see p. 4)
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                                   ALABAMA


                        I.   STATE PA.~S.
Jurisdiction.           State parks are under the jurisdiction, control and charge
                        of the State con:irission of Forestry (Acts of 1927, 1935 ) .

State Commission of     The Commission consists of the Governor (as ex-officio
Fore st ry; ho\'• ap-   Chairman), the Commissioner of Conservation, three prac-
pointed; terms of       tical lumbermen who are ovrners of timberland and engaged
office.                 in the manufacture of lumber, and two farmers v·ho are land-
                        orners. Appointr..ents are made by the Governor. Appointive
                        members are to serve during good behavior, and ,.. 1 thout com-
                        pensation, but receive expenses incident to official
                        duties. Vacancies are filled by the remain ing members, the
Secretary.              same ratio of lUinbermen and farmers being maintained. The
                        State Forester serves as Secretary.

                        Note: The State Constitution provides that "no office
                        shall be created, the appointment to which shall be for a
                        longer time than during good behavior."

Duties of Commission;   The Commission is directed to inquire into and make annual
report to Governor.     reports to the Governor upon forest conditions in Alabama,
                        with reference to the development, protection and use of
                        forests; the economic, social and cultural benefits to be
                        derived from the existence and operation of fore sts, and
                        the use of forests for public purposes (Code of 1923, as
                        amended by Acts of 1935);

Report to Legislature; Is required to report to each r egular session of the Leg-
recommend l egislat ion. islature the results of its investigations, and recommend
                         necessary legislation v•i th reference to forestry and other
                         interests devolving upon it by law (Code 1923);

Educate the public.     Is directed to promote, so far as it may be able, a proper
                        apprecietion , among all classes of the population, of the
                        benefits to be derived from forest culture, preservation
                        and use;
Survey and classify     Is required to ascertain the description end location of
lands.                  all lands to whic h the State ho lds the l egal title f or it-
                        self, or as Trustee ( cla ssified by law as "fore st re-
                        serves") , and all state parks. The lands are to be clas-
                        sified as "used'' or "unused" lands, showing the manner in
                        which title was acquired, character of the land; that is,
                        whether chiefly vs.luo.ble for agriculture, mininG, timber
                        culture or other use, and the use.: to whi ch it is being put
                        (Acts of 1927);



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"Used and ••unused"    Note: "Used lands" are those being utili?ed for the speci-
lands defined.         fic and immediate purposes of the State. "Unused lands"
                       those not being so utilized, and v·hich are not contiguous
                       to the premises of any department, institution or state
                       building.

Acquire other lands.   Also ascertain "}rhat, if any, lands the State is entitled
                       to have which hav6 not been received, and to take immediate
                       and appropriate action to acquire the same for the State;

Unused lands for       As to all unused lands ov•ned by the State, it is to deter-
state parks.           mine which are most suitable for forest culture; and at
                       the direction of the Governor, such lands are to be devoted
                       to forest culture as State forests, or to the purposes of
                       State parks;

Consolidate lands.     Where any of the lands of the State are scattered, it is
                       to determine if such ownership may be consolidated by the
                       exchange of such lands v•i th individual ov-ners;   .
Acquire areas by       For the purpose of establishing, developing, and maintain-
gift, purchase,        ing State forests and State parks, the Commission may ac-
C")ndemna t 10n.       quire land by donation, purchase or condemnation, and for
                       these purposes m&y use such funds as may be available to
                       it (Acts of 1935).

Additional areas;      Under the provisions of an Act of 1933, all lands purchased
made available through by the state at tax sales have been subject to redemption
tax delinquency.       at any time before title passed out of the state. In
                       order to mnke additional aress available for park and
                       forest purposes, this li:n•· ,,,as superseded by Act of 1935,
                       which provides that real e~tate bid in by the State at tax
                       sales shall, after three y8ars from date of sale, be sub-
                       ject to conveyance to the Corm:iission of Forestry ,.,henever
                       the Comr.J.ission dc.,termines an:, such lands to be suitable
                       and desir11ble for use as 11 S~nto park or State forest, or
                       for the purpose of exchange for other lands v hich may be
                                                                           1


                       suitable for park or forest purposes. The State Land Com-
                       missioner may also transfer lands to the Commission v.. ith-
                       out epplication by the latter rhenever it is deemed to the
                                                      1

                       best interests of the state to do so. Conveyances and
                       transfers may be effected without public advertisement and
                       bids.
Bureaus.               Administrative bureaus have been established by the Com-
                       mission as follo~•'s:

                            Bureau of Park Service
                            Bure3u of Field Service
                            Bureau of Research and Lends
                            Bureau of Sil vi culture
                            Bureau of Public Relations
                            Bure•m of Admini2tration


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Bureau of Park          The function of the Bureau of Pnrk Service, v1hich is under
Service.                the direction of the State Forecter, is to plan and per-
                        fect a State Park System, acquire addition~! lands for perk
                        purposes, the promulgntion and enforcement of rules and
                        regulntions governing the occupancy and use of State parks,
                        and to provide coordinating personnel and other facilities
                        in connection with State Park EC!"' r.ctivities.

Rules and regulations. The CoL.mission is euthorized to mRke such rules and regula-
                       tions for the a~~inistration, occ~pancy, and use of State
                       forests ®d State parks as it finds necessary (Acts of
                       1935), and

Cooperation ~ith        Is further nuthori?ed to m'.'l.ke such rules and rer-ulations
Federal Government.     for the development, maintenance, m8.nngemcnt and operation
                        of forest and park enterprises entered upon by the state,
                        counties and municipl'llities, as ·will make possible the se-
                        curing of loans or other f in.r,ncial coopere.tion from any
                        agencies of the Federal Government (Ib).

State Forestry Fund.    All occupntion li-:!E:nses or priviler,e taxes imposed for en-
                        gaging in any business dealing v·ith timber or timber pro-
                        ducts, and all fines and forfeitures imposed for violation
                        of forestry and timber lai• 1s, are desie:na tbd o.s the State
                        Forestry Fund, for the exclusive use of the Commission in
                        carrying out the porers and duties devolving upon it by
Appropriations.         law ( Code of 1923). The Le""isb.ture has elso appropriated
                        sums for n.cquiring park and forest lnnds.

                        II.   STATE Pin,P-JJNr;.

rommission.             A. State Plnnnin~ Cormnission 1.·,es established by Acts of
                        J.935, to be comnosed of npp0:intive men,.bers and certain
                        State office::-s, including t:i.e Stntf; Forester.

Duties and authorities. It is the duty of the Cornmif1sion to pro'1ide for state
                       pl~nning of all public vorks and uses of land a~ich are to
                       be constructAd or ncquired 1•·i th State funds, or located,
                       constructed, or nuthori?ed by the Stnte; nll local improve-
                       ments •:·hich under the statutes are requirE:-d to be subrni tted
                       to St.ate IJ.Uthoritics; also ~11 pro.ic.cts of State mngni tude,
                       even though the construction and financing ere to be done
                       by local authorities exclusively;
                        Such ple.nning is to include, nmong other things, highv ·ays,
                        parks, reservations, forests, and v ildlife refu@'.e,s;
                                                               1




                        Follov1 ing adoption of the m'lster plr:n, no Stnte public
                        hi.:r,hv·ay, perk, forest re,servntion or other State wuy or
                        ground In8.Y be acquired or constructed until first sub-
                        mitted to the Co~_mission for its report ".lld advice.



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III.    RULE.S Al-ID RECUlA.TIO}lS GOVERNIJ\TG CPu:.IN OCCUP/:.NC:Y.


1.      References may be required of applicgnts prior to lensing cnbine.

2.      .\11 pnyn:ents shall be made in cash in ad·-1C!nce (checks not accEptable).

3.      There v:ill be no rebate~ or refunds for '!0ny reawn.

4.      ;\ny epplicetion for the renting of c<1bin': may be rej ectcd without E.xpli:-.nc.-
        tion.

5.      ThC; lessee is responsible for me.inteining cabin r-nd premises in cler:.n, i.: ~ini-
        tRry and presentable condition.

6.      Cabins ~hnll not be used for illeg~l, imnor~l or discredit ~ble purposes,
        either by the lessee or by other occupants or visitors. Violation of this
        rule shnll constitute ground for the c!"'ncelbtion of the contr':ct •ri thout
        reb~te or refund.

7.      Lessees are required to conduct themselves in nn orderly o.nd civil munncr
        ··1 th due consider<J.tion to other persons on the P'.:'\rk qrea.
        1



 8.     Fire-nrrr.s ore ri~idly excluded from Stote Porks, Qnd th~ poss~ssion of such
        on the prerni:::i;s by renters or lessees is sufficient ground for c::1ncellution
        without rebate or refund.

 9.     D::rn;s, excc,pt con$to.ntly under len$h, r.re not pe:rmi ttt:d in the P:>rks.

 10.    Requests for reservetions must be ~ccornnnnied by full p~ym~nt for the period
        of occup::rncy desirEd. Should the RCCOID."ior.~tio:is request c:d not be e.vc ib.ble
        the remi ttr:nce 11•ill be returned to the 0.pplic-:1nt. Shoulc the ::.ccommoda-
        tions be evniloble, the remitt ".'nco v•ill be h(;ln to apply begi nning the dete
        for v·hi ch the reservation is requested.

 ll..   _:,_ny co.bin that hes bE'en furnished ~··ill be a7e.ilnble only ut the higher re.te
        specified; it 1 s not pr::>cticcble to move out furni turE: f or th e; purpo r.E: of
        pennitting an '.lpplics.nt to obt:::iin n lm.. er r~te. If no unfurnished co.bins
        ?.re vacant only furnished en.bins nt the higher r,'.tE; will be. leased.

 12.    Durin g short occupancy periods (one v eek or less ) trrmsfers from on~ en.bin
                                                      1


        to '.mother ,yill not be perrni t ted except upon f·...111 p~:mtent of th6 origin2l
        contract end execution of e. new contract v·ith full C'lsh po.yment. l)Uring
        longer occupancy periods, considerction rill be given r8ouests for such
        trr>.nsfers e.t the discretion of the Park euthoritic8, and no additional
        charge v'ill be made.

 13.    It is celled to the ott(ntion of le ssees nnd other occupnnts of Sta te Parks
        tha t such areas !'re by 1 3,·· Stc1t e Forest Reserves ::nd 1··ild life refuges.
        No trees, v'ild flov·ers, shrubs, vines or ferns mny be dug up, croken off
        or rer.ioved from the Pnrk oren. Bird s and v•ild l"!nimcls must not b e nuntod
        or harmed.



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14.   Lessees and other occupants ar,s required to rcfrnin from settine fire to
      State P:uk propC;rty, e.nd in the event of fire breaking out are expGctE;d to
      use every effort to extiLguish the fire es quickly es possible .




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                             IV.    SCHEDULE O:" c·.BnT RENT'LS

                                    '.L",..B ·}: \ ST.-~TE P 'RYS
                                                    1936

                                    Regular Rates llay 1 - Oct. 31   SpGcinl Nov .1 - ..pr. 30
                                     Per       Per    Per   6 months Fer    Per    6 t:onths
                                    Night   1•·ee,k  r-~nth  Soason 11'E:uk Month SE:'.1son

CWTT'·HOOCREE       Unfurnished     $1.00     $ 6.00      $22.50    ~120.00         iW4.'75   ~17.00 ; 90.00
  P~RK
Houston County      Furnished        1.50        9.50       30.00   165.00           7.00      22 .50   125.00

CHE'H\ p ·.RK    Unfurnished         1.50      10.00        35.00   l~0.00           8.00     27.50     150.00
Clay &. Cl€burne
  Counties       Furnished           2.00      12.50        45.00    ~40.00          9.75     33.50     180.00

DE q)'l'". p·mc     Unfurnished      1.50      10.()0       35.00   190.00           8.00     27.50     150.00
DeKalb County       FurnishGd        2.00      12.50        45.00   2-tO.OO          9.75     33.50     180.00

GULF P \RK          Unfurnished      1.50      10.00        35.00   190.00           8.00     27.50     150.00
Baldwin County      Furnishic;d      2.00      12.50        45.00   240.00           9.75     33.50     180.00

lITTLE RIVER
  P\RK           U-nfurn i sh cd     1.00        6.00       22.50   120.00           4.75     17.00      90.00
Escambia &. Mon-
  roe Counties Furnis!led            1.50        9.50       30.GO   165.00           7.00     22.50     125.00

OAK r10UNTAIN
  PARK              Unfurnished     1.25        8.0()       28.50   145.00           6.50     22.50     120.00
~helby County       Furnished       1.75       11.00        37.50   200.00           8.50     28.00     150.00

P ~JtrHER CR:!:EK
   PARK             Unfurni f'hed   1.00         6.00       ?2.50   l:>0.00          4.75     17.00      90.00
Geneva County       Furnished       1.50         9.50       30.00   165.00           7.00     :,2.50    125.00

VtiJI.EY CREEK
 PARK               Unfurnished     1.00         6.00       22.50   120.00           4.75     17.00      90.00
Dallas County       Fur::1is!1ed    1.50         9.50       30.00   165.GO           7.00     ~~2. 50   1"5.00

17.0GUFKA PARK      Unfurnished     1.25        8.00        28.50   145.00           6.50     ?2.50     120.00
Coosa County        Furnished       1.75       11.no        37.50   200.00           8.50     ?8.00     150.00


Note:     A "NiR"ht" comprises 13.ny 24-hour period or portjon thereof; no rate is given
          for •week-ends" but the reP.'.Ular "Ni r:ht" rate shall apply for each 24-hour
          period or portion thereof. 1''inter rates (Nov. 1 - ,Arril 30) for less than
          one week are the same as reri.;.lar rates, reductions being made only for
          longer periods. It is not probable that furn!.shed cabins ,.,ill be available
          in Alabama State Parks prior to June 1.




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                 Exhibit 2
             Arkansas (see p. 12)
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                                  ARKAN SA~


                          I.   STATE PARKS.

Qtate Park Commission.    state parks are under the j~risdiction of the Arkansas
                          State Park Comr.1ission (Act of March. 18, l'.)27).

i.'1embers; how appointed; The Commission \•·as created for a period of thirty ~·ears,
terms of office.           and consists of seven members. The Attorney-Gen'='ral is
                           ex-officio a merr,ber snd Chairman; the Secretary of the
                           Game and Fish Corn.~is2ion is ex--officio a member and
                           Secretary. The other members are appointed by the Governor
                           for four year terms (rotated). MEmbers serve \··ithout com-
                           pensation, but receive actual expense incident to official
                           duties.

Purnoses of Act.          Tte declared purposes of the Act are:

.l\.cquire Preas.               To pro 1:ide for the selecting and acquiring of such
                                areas v~ich, by reason of their natural features,
                                scenic beauty, and historical interest, have educa-
                                tional, r£cr,at ional, heal th, ceJnpi m.,. and out-door
                                life adv~ntages;

Preserve natural                To protect and preserve in its ori~inal habitat and
habitat.                        native tea'1 ty the flora, fauna nnd v'ildlife therein,
                                anri to preserve the sar.ie for all ~tu.re generations;

Promote health aLd              Tt.ereby promoting heal th and nleasure throu~h n:crea-
pleasure.                       t ionql places, resorts and scenic playgrounds for the
                                people of t~1e State;

Attract visitors.               To Httract visitors, home-seekers and tourists to
                                the State, and to provide places of recreatinn and
                                pleas·1re for them;

Increases ,-.real th of         To increase the ~enlth and revenue of the 3tate by
'::tate.                        mear.s of s·u.~h parks.

Commission's duties.            The Commission is directed:

Nake survey.                   To make a s:1rvey of the State v·i th relation to its
                               needs of p·1blic parks;

Compile data.                   To procure information ar,d compile data concerning
                                same;

Evaluate areas.                 To determine the desirability and va1'.;.e of areas
                                offered to the State;




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Acquire lands; ho,..r.          To receive and acquire lands and areas by donation,
                                gift, or by eminent domain;

Expenditure of income.          To administer ail funds coming into its hands as a
                                result of the rules and re~ulations 60verning the use
                                and occupanc~r of the property;

~ules and re~ulations.          To make and E'nforce rules and re,?ulations for the
                                M8nag err.ent, care and control of properties acquired.

Rf·scrvations nro-       The Attorney-General is to pass upon and approve the title
hibi ted.                to all pro~erty before ac~eptance. No convey~nce may be
                         accepted ~•-hich contains a reservation of title to ti:nber
                         or mineral ri ghts.

Use of State lands.      Upon recoIT.1endation and application by the Commission f0r
                         the use of State lands as parks (subject to approval by
                         the Governor), the Com.~issioner of st~te lo.nds is required
                         to issue certificates dedicating such lands to park pur-
                         noses forever.

Reuorts.                 The Commission is required to make biennial reports to the
                         Governor and Gen&ral Assemtly, inclilding all business
                         transacted, and. r:,,aking s'J.ch recommendations as may re
                         deemed necessary.

Roads to State parks.    By Act of the 1935 Legislature, the State Hie:hway Commis-
                         sion is directed to include and maintain as a part of the
                         :: tate Hi,-h,..ay system the roads most usE..d connecting tte
                         verious State parks v·i th an established State hi{:h\"BY.

~ta tc Park F 1.md.       In addition to approrriations to the Commission, certain
                          receipts from licenses issued by the Federal government
                         under the t•·nter Fov•er Act are credited to the State Park
                          Fund. For tte fiscal years 1936 and 193? fixed sums are
                          to he transferred from the GP..rne Protection F:md and from
                         the General Revenue Speciql :und, v·i th the proviso that
                         before any of the moneys appropriated from the Game Protec-
                          tion Fund are exp~nded in the acquisition or development
                          of any park area, the rove·:nor is to approve of such ex-
                         11 endi t·c1r€ after he is a:.::sured that it v·ill re of value to

                          the ,, ildlife resources in the sect ion or park ,,·here the
                         money is to be expended.

                         I I.   FOREST RICREAT ION fcREt,S.

                         Under the authority of an Act of 1935, the State Forestry
                         Corrmi ssion, v•ith the approval of the Governor, may:

Fstablish recreational          fet aside for the public v-elfare stat6-ov,ned lands
                                which are suitable for tr.E- purpose of grov:in13 timber,
                                de:-:ionstrating proper forestry practices, providing
                                p~blic recreation, end estatlishin~ forest nurseries


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                                    and experimental stations;

 Tax reversion and                  To desi~nate and set aside lands ~uitable for these
 rr.inEral lands.                   purp0ses i··hich have or r.my her eefter revert to the
                                    State on a~count of delinquent taxes; also surface
                                    riRhts to State-o~ned lands held primarily for
                                    r.1inern.ls; and

 Tend acquired by gift.             Any lands hr.ld by or v-hich may be given to the state
                                    ry donation or otherv·ise;

 Acquire areas by con-              To E,cquire lands suitarle for the uoove purposes by
 demnation, leeses, etc.            purchnse, exchonge, condunnnt ion, lease or ngrE:emE:nt;

t A'.!cept by ~ift, fr8.nt          To accept on behalf of the State by p; ift, grsnt or de-
  C'lr devise.                      vise, lands suiti::.ble for such purposes;

 ~chan~e State lands.               To exchange StatE--ovnE.d lands for FedE:ral-ov·ncd lands
                                    for forestry purposes.

 ~ub-~srpinel r.reas;     In order to cooperate with the Federel ~ov,=-rnment in its
 transfer to r,overnment. nro~ram of acquiring sub-marginal lands to be set aside as
                          parks, recrEationel or other appropriate uses, the st~te
                          Land Commissioner is authori?cd to i:;rant and convey to the
                          United states Govt'.:rrur.ent all State-oi"ncd lands in r.-ny area
                          dEsirnatE.d as a sub-mar~innl lend projGct (Act of 1935).

                             III.    P"02LIC HUNTING AND rISl-IING GRot.;inx:.

 Fse of public and pri-      By Acts of 1935, the Grme end Fish Commis3ion is authorizE:d
 vate lands.                 to utili?e puhlic lands, and vith the consent of the owner,
                             private lands es fish or game r€fll's£;S or putlic hunting
                             ,!?:rounds v·i th respect to ~n;1 spcci es of game, fi sr. or other
 r.ooperate ,~·i th other    vrildl ifc; and to cooper:::tf, ,,·1th the st~te P11rk Commission,
 r:onuni ss ions.            9nd other nrencies and p6rsons in thE ncquisition, develop-
                             ment and ma int enence of en:r nrea for 1··ildl ife or recrea-
                             tionnl ~ur:noset.



t ~rention; Purposes.        !\ct of Mf.'.r~h 21, 1935 l!reeted the Ark:::ins::!s 2r:n tennic:,.l Com-
                             nission

                                    (a) To foster, develop ~nd conduct e befitting
                                        C(:lebrntion of tr.& L ;0th Anni vE.rsary of the
                                        Stete;

                                    (b) To select, '!)rocurc, construct, fi ::once and
                                        ~ann~c rccrEation ~l nreRs in the ctate.

 ~cquire recreAtional        I!l order to c-:rr;r out the purposes of the ,\ct, the Cor,;r.iis-
 ~ren.s.                     sion is er.rno,··ere- 1 to contr11 <'.' t, select, 2,cqairc, build,
                             construct, 01"n, :rit=:rnnf£, O!)f,r'."'..te and f inr· nc e re:crca tiono.l



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                              c.roo.s devoted to the public use ~'1.d dcsirc.blo in tho pub-
                              lic interest, o.:1d for which fu:1ds nn.,_r be r.12.dc o.vC\.ilnblo
                              to bo loaned or grc..ntcd by tho Fcdoro.1 govcr~.1cnt or a.ny
                              other Fc<lcrc.l c.g;c :1cv, or by uny other source.

  Lotho<l of fhmncing.        Upon cor1plction of tho recrontio:ml [\reo.s tho Connission
                              r.m.v cha.rgo roa.so:mblc rc!1ts, rr.tos, licenses o.nd tuxes
                              for the uses thereof by tho public sufficie:1t to provide
                              for pr.ynent of tho L1tcrcst upon nll bonds, notes n:nd
                              other cvide:1ces cf i:1c.cbtedness; c.lso to crcr.tc n sink-
                              ing fu:-1d to pc.v t!.o prii1cipn.l thereof and to provide for
                              the oporc~tion und ni:1to:,;:,.,nco of so.id rccrcc.tion.."..l nrcn.s,
                              r.:1d to crcr.tc E'.n c,doquo.to doprocintion fu::id.

f Rccrc::~t io:nr.l o.roo.s   Rocren.t iono.l a.reo.s for the purpose of tho i',,ct o.ro do fined
  defined.                    r..s fo llm·rn: ,I,. plot or pr.rec 1 of lnnd co:--ipris ine; fron 40
                              to 320 acres to be locc.tod o.djn:1c:.1t or convc:1io!1t to nn
                              improved Ste.to highway, selected for its scenic boo.uty
                              vrhore possible, i:.1provcd with buildi:1gs, loc:gcs., o.nd other
                              facilities suitnblo for outdoor rccrontion designed for
                              tho purpose of voco.tiono.l a.nd connu:nitv cc:1tcrs ill the
                              tcrri torv in which they arc located, c.nd for tho co,'1.fort
                              o.nd plcl~surc of touring ;.1ctorists, and us o. ncdiun of
                              fn.voro.blv o.dvertising tho State, o.nd su1.to.ble to ulti-
                              nn.toly become a. part of the per1:in.ncnt p8.rk systcr.1 of
                              tho Stnto;

  l.ddod poYrcrs •            Mn.y exorcise tho powor of 01:1.inc11t done.in; solicit o.n<l
                              receive co!1tributicns; o.ccopt grunts of :10~1cv frou nnd
                              to borrow· 1:1.oncy fron tho Fcdcr::~l g;ovcr,:i:'1cnt or n.:-iv
                              Fcdcro.l ugo11cv, or fron n.ny other source.

                              V.   ST1,TE PLJJ'TNING.

  Plo.nning Boo.rd•           A Sto.tc Pl~nni:1g Boo.rd w::is cstn.blishc<l by Acts of 1935,
                              co,1s isting of fiftcc:1 r:onbors, i!1c ludL.1g rcpresotlta.t ion
                              fron tho Sto.to Po.rk Cor:a:iission a.nd the Stc..to Forestry
                              Conr iis sion.

~ Of f'iciv.1                 Tho funct io:1s n~1<l dut ios of the Boo.rd a.re to prcpnrc a.nd
  State plo.n.                o.dopt c. pb.:1 for the phvsico.l dcvelopuo rrt of tho Sta.to, in-
                              cludi:-ig the locc.tion, chnrn.ctor o.nd extant of forest resor-
                              v~tions, pn.rl-:s, wildlife refuges, conserva.tion projects,
                              ln.nd utiliza.tio:i progra.n for forcstr,r, n.nd 0thor purposes;

  P,.1rposo of plan.          To guide o.nd accoT.1 plish o. cocrdinn.tod, o.cljustcd, efficient
                              r.nd ocononic devclop:·.1c:1t which will incroa.so with present
                              C-.'t'ld future :iccds o.nd resources, und best pronotc the
                              health, sc.fetv, confort, co:wonio:1.cc, prosperity nnd.
                              welfn.re of the public;




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 Rccrcntiona.l              To r.mkc rcco1,L:ondations, ru:10ng other things, respecting
 mc.ttcrs •                 tho conirnrvcction of nc.tural resources, c.ncl such usos of
                            lc..nd o.s Yvi 11 tend to crcnte gruater opportu:1it ies for
                            recrcc,t i°o!1al, oducn.t ionr~l c.:1.d culturnl a.dvcmccs;

 Go:10ro.l powers c.nd      To co:1for a:1d cooporr,to 1uith c.uthoritios of :1oi 6 hboring
 dut ios •                  States o.:id vlithin th0 Str..tc on plr.rnli:-ig Y.nttors; no.kc
                            studios a.nd reports on planning problc:., s o.s requusted, or
                            a.t its own initiative furnish a.dvico to o.:w public r, 6 oncy
                            falling Yrithin the field of Stato plr,n:1L15; subnit dr:-1.fts
                            of lecislo..tio:1 or roc;uktions for carrvin0 out tho official
                            Ste.to plc..n; pr(;p2..re r~nd rccoru.10:,.J. to t:10 Govcr!'lor a!Hl General
                            ,~ssonblv o. co::1prohonsivc public \forks progrc..m.

~ Enforc or,1ont of         After tho adoptio:a of the State plan, no ir:,provo1.10:1ts r.ro
, State pla.n.              to bo authorized, und no property a.cquiroJ, bv a.ny Sta.to
                            or public a. 6 oi1cv ,rhich r.1n.y ha...-o L1.ofinitc pr.trt in or relation
                            to the of'ficio.l Sta.to pln.n, unless tho proposed locnt ion,
                            character ~1d extc?1t thereof be first subni ttcd to tho Boa.rd
                            for its report un<l c.dvicc.

 VI.   [;TJSE 1'.hRK RULES J..ND REGiJIJ~TIOlJS.

 'J'hc follovrin~ rules und rogula.tions relo.ti::.1g to floru, fauna., fish, other wild
  life, the carrving of fire c.rns, the buildi:1g or ki~1c:1ing of fires on state
 p[l.rks, x1d the r.1utilnti!1 6 of propcrtv, woro pronulgc.tod pursuc..nt to tho authority
 grcintod bv Act 172 of the i·.. cts of tho Generc.l ; . sse;:ibly for tho ycnr 1927 •

  1. Thero shc.11 be no hunting, shooting or killi~1g of ,;rild lifo uf nny kind upon
  c. stQtc pc.rk ut uny season of tho yoc.r.

 2. No fire o.rr.is shall bo possessed or curriocJ. vrithin the boundnries of a. stato
 pn.rk except that acme be c::,sed or broken dowa so tl10.t tho so.no could ,mt be
 fired, unless vn-i tton peruission is first secured fron tho pnrk superintonclont or
 his duly authorized rcpresontr,ti vo. The discho.rgi:1; of firo c,rns ui thin the
 bounda.rv of o. sta.to park is prohibited o.t o.11 tir.ie&.

 3. Thero shall bo no fishing ut a.nv ti:.10 in a.ny no.!1;1cr within tho boundaries of
 n.ny sta.to pnrk.

, 4. The cutth1g u.own, nutila.ting, scc.rring, to.ki!'lg or ga.thoring in nny l:Ulnnor,
  dcstroving, injuring or ho.n.1ing of r.nv shrub, tree, pl::-.nt, vine, flower or gra.ss
  in o.,-iy sto.te park is prohibited.

  5. The too.ring do,m, clcstroving, uutiln.ting, disfiguring or in a.ny :r.1.111111or injur-
  ing o.nv sign, building, structure or i1.1provc:".:ont within or bordering tho boundary
  of o. stn.to po.rk is prohibited.

  6. The setting of a.ny forest fire or buildi::1.g of a fire, except in tho pla.ccs
  provided therefor within o. stc.te po.rk is pro hi bi tecl, o.nd nny person who stn.rts o.




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fire in 0.'.1 ovc:'1, bnrb0quo pit, or 0t:1cr place provided for fires ,rithi~1 c-. pa.rk
sh:'..11 uct lee.Yo the sr.1 ·:c ,·:ithout tc.ki:.r: (1.uo pr0co.ution to prcvo:1t t:10 bur~1h:g of
thJ surr0u~!i ~~ woo~s ur nro~.




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                   Exhibit 3
             California (see p. 20)
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                                           C A L I F OR N I A

                          I.      81' ATE PARKS.

J'..lrisdicti-:m.         State parks are under the jurisdiction of the Depe.rtment
                          nf Natural Res'1urces, actinr thraufh ;he State Parks
                          Comr.iissi0n (Acts of 1927).

-~irect0r; appoint-       The Department is under the control of an erecutive cf-
roont; term.              ficer deGignated as the Director of Natural Re3ources,
                          and ~ho is a~p~inted by and tc hold nffice at the plea-
                          sure of the Govern~r.

Orf"anizat i :m '">f      The v,ork "f the Depertment is divide1 among Divisions,
te-partment.              a:, follnws:


Division of Parks.        Division of PP..rks, t" be administered through a Chief ap-
                          pcir.ted h~r the Direct'1T upon nomination by the State Parks
                          C ".)!Tir.:.i s:-i inn.

State Park3 C0m-          Generql policies for the administration cf the State park
missian; appoint-         system are tc he deter□ ined by the State Parks Col"1Illission.·
ment; term;;.             The Commission c~n~ists of five mewbers, appointed by and
                          tn h"ld office at the pleasure cf the Governor.

Di vi:Ji/')n ('If         Divi3ion of F0rc3try, tr, be ad.rninistered through a Chief
F'1restry.                (~ho is als0 designat0d as Stete Forester) qppointed by
                          the Director upon nomination by the State Board of Fores-
                          try.

3tate F0restry            The Board of Fnrestry r.onsists of seven members, appoint-
Board; . app/')iLtment;   ed by and t') hold office at the pleam1re of the Gnvernor.
term~.                    It deter□ ines ~eneral policies for the ~1idnnc8 of the
                          Division.

Division ('If Fish        Divisinn nf Fish and Game, to be administered through a
and Game; Commi3-         FiJh and Cnme Car.mission of three memhers, a~pointed by
sioE.                     and t0 hold office at th0 plt!am1re of the Govern:,r ( 1933).

Divi~ion of Mines;        Di vi sinn of Min~, adrrlini8te~·ed throup;h a Chief P.ppointed
Board.                    by th0 Dirt.-ctcr up0n tho 11crnin11tion of the State Mining
                          Poard. ~r,nerr1l polic ie:, of the Division are determined
                          hy the Bonrd, cnnsi.Jt ing nf five rr.emt9r8 a:i:p')inted by and
                                                                .
                          t') ho;..n office at the .nlcAsu:!'e cf the Governor.

                          The Directnr is p~id R salor~ fixed bJ lRw. The Chief~ of
                          Division Are paid such ~~lar:c~ as may he dPterrnined hy
                          the Li:'ector, ·nit:1 the ,,"9;_.,r'1VR~. ,:,f t':le G0vern01·. The rnem-
                          herc of the C("\f'J:"!i3::;iJ:18 ar:G .,o,'.lrds flCTV8 without C"mpen~a-
                          ti"n, hut arc e1.titleJ t~• their a.::tunl and necessRry er.-
                          penses incurrPd in the perfar~ance of their duties.

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~hat constitutes                     All parks, public c8I!lp ·grom,as, monur.ient sites, lnn:r,ar~
Stete Pnr1< s::, stem.               sites, ann sites 0f historical intcre~t created or ac-
                                     quired by the State, or which are under it3 cnntrol, con-
                                     stitute the State Park system; except t~e ~rounds kn0~n
                                     es Sutter' s Fort pr,.,perty, the State Fair Grcunds in the
                                     City of Sacra~ento, and ~alhoa Park in the City of SP.n
                                     Diego ( as amended 1931).

                                     The state P!lrks C'.)r;rrnissicn is directed t .::i ao:ninbter and
                                     develcp the State Park system f::>r the use flnd enjoyment
                                     of the puhlic, end i3 e~1pov·ered an fcllo~·!s:

Ex-;-ien d func s.                   To exoend all Monies fro □ ~hatever scurce derived for the
                                     care, protection, supervision, extensi~n and imprcvcment
                                     or development cf tho system;

lcquire proparty                     ~ith the cnnsent nf the Gcvernor and the ~crrd of Control,
b:,· purer.Rs~ and                   may acq11ire by purc-hnse or by condemnation :nroceeainps
conde:nn;; ti -:in.                  such reo.l 1md r,crscn::i.l pronerty OT any interest therein
                                     As it aet>ms nece:;sar!· or proper for the eztensi::m, ir:;,rcve-
                                     ment, or develcpment of the system;

Gifts of ::.and,                     I/ay, i ithin its ,;iscretion, accept any gift, devi:ie, Prant
money, prone rty                     o:r· otheY- c~, n·myance of re3.l property ·::>r any intPrest there-
                                      in, inc:_uclinr· v:e4.;er right::;, road:i, trai::!..a an 1 rirhts 0f'
                                     way, to he added t0 rr use~ in c~nnection ~ith the perk
                                      sy2tem; al so to acce t h:; r,ift, er net i(•n, cnntr ihu t ion or
                                     'heque8t, :nor.ey to be used in ac(!uiring real property or
                                     any interest therein, or for iw.provinr, the sAme as a part
                                     of or in ccmnecticn v·it:t the r:ark system, or f::ir any of
                                     the purp0ses for rhich the Comrr;ission is creCTted; als()
                                     may accept personal prcperty in the same rnenner for p'.IT-
                                     pcses connected .. ith t :1e DflT~ syderr.;

Cit::,· or C·.')Unty :rrAy           Any count~, city an~ c0unty, or city, may assist the
as::,ist State.                      st,:i.te in acquj.ring i:my park, playg~ound, recreationnl
                                     center, er beech, to bP. u~~ed for recruAtional purp1ses,
                                     b:,· donating to the 0tnte any reul propert:,• o:·.·ned 11:I it
                                     or ."Juli~equent:i.y acquirt:d; and for such purpose may use
                                     ~uch of its funds, inc~udin~ funcs received hy bequest,
                                     gift and e,,onati.::n, and those receive:i in trnst for trie
                                     acquiaition of such T)roperties, as mey he deem8d necessary
                                     (.Acts of l93i);

Co'.lntteo me.~• con-                supervisors of counties are also authorized to use the
ce,:m lends.                         pm·er of e,;1inent dcmain to acquire J..an(:1 fDr park pr0per-
                                     ty for trt,nr:fer tC" tht! Stnte Pa'!"k syotem;
Stnte p 8 ...., ,..."' r.,en t.1n-   All mone~' c::>U.ectea or receive~ froM ,-ifts rir bequest1:',
€!er. t Fune .                       or from :nunicipRl or county ap~r,.,')rintions o~· c1 onations
                                     for the ir:prc,venent enr/ or ~c1c1itions to the StAte far'.~
                                     ~ystem are ~o he dcposite~ in the State trd~su~y to the




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                       credit of the State Park Contingent Fund. All moneys so
                       deposited to be used for the i~provement and/or adminis-
                       traticn of State parks nnd/or the acquisition of addi-
                       tional lands and properties for the Stnte Park system, in
                       accordnnce with the terms of the gift, bequest or munici-
                       pal or county appropriation ~r donation from which such
                       moneys o.ro derived (as amended 1933);

Ccntrnot with          Contracts may be entered into between cities, counties end
cities, counties,      other political subdivisions of the Sto.te for the co.re,
etc. , for co.re       mnintennnce, nnd control, for the purposes cf the Sto.te
of lo.nds.             Pnrk system, by either party to such a contract, of lands
                       under the jurisdiction of the other party, nnd the ex-
                       penses of such oo.re, mintennnoe o.nd control ma.y be po.id
                       frC'm the general f'und of' such city, county or other poli-
                       tical subdivision of the Sto.te, or from the funds of the
                       CornmissiC'n, as the ccse mny be;

Revolving Fund.        A Revolving Fund is nlso created f'or the use C'f the Commis-
                       sion. With the o.pprovo.1 of the State Boo.rd nf Control,
                       the Commission mny draw from the funds o.pproprinted or
                       the ~ontingent fund without first submitting vouchers and
                       itemized accounts, too. sum not tn exceed five thousand
                       dC'llnrs, to be used for onsh ndvnnces. which sum must at
                       nny time upon demnnd of the State Boar~ of Control or
                       c-tate C,~t.p'!:r:iller·r-tinccounted for by the Commission;

F'ee s nnd rentals •   Whenever in its judgment it is practicable to do so, the
                       ComnissiC'n is directed t~ collect fees, rental nnd other
State Pnrk Mo.in-      return for the use of a.11 State pnrk areas. The amount of
teno.noe Fund.         such fees to be determined by the Com~ission nnd po.id in-
                       to the Stnte treasury to the credit of the State P~rk
                       Mnintennnce Fund, to be avnilo.ble for ~onstruotion, im-
                       provements, equipment o.nd imintennnce of State pnrks in
                       such amounts ns mny be npproprinted by the Legislature
                       -~ Acts <"f 1933);

Rules o.nd reguln-     Is authorized to estnblish rules nnd regulations for the
t ions; police         government nnd ndministrntion of the pnrk system not in-
powers; penulties.     consistent with lr-.w; and mo.y r,r-nfer on the Chief of the
                       Division cf Pnrks nnd such other employees ns they mny
                       designate full authority nnd powers or pence officers
                       for the parks. Any person who vinlo.tes the established
                       rules nnd reg1.1lo.tions to be guilty of a misdemea.nor;

Reports to Governor; To go.ther, digest nnd summo.rize in its nnnunl reports to
contents.            the Governor informntion concerning the pnrk system o.nd
                     the relo.tinn thereto of other avnilnble menns f'or con-
                     serving, develnping nnd utilizing the scenic o.nd recren-
                     tiono.l resources of the Sto.te;




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Closing carnpinr,       The firector ef Natural ~esourccs, with the concent rf the
ares~ in State          GovArncr, may necl~e clr.8ed to Cl!U".':ping any Rren in uny
park.:J,                State pnrk or forest when, in the judgnent of the rirec-
                        t,..,r, such oeclaratiC'n is necessnr~• in the intere:ot of puh-
                        lic peace or ~afet~.

Juri::di("tiJn :)f      Ncte: .All Stete-ovmed forest::, P.re uncler the jurir-dicti,..,n
Strite fore ::;t3,      of the f.ivisir:n cf Parks; the Divi.?ior. of FC're~~try i~
                        charged with tie fire protection nf 1tFte pRrk Areas.

H~ntinr. on pr:rk::;.   Kote: The state PrTks Commission has set a::::ide all Gtste
                        parks o~ g~me rc8ervaticnn.

R()s.d::,ide parks,     The Departm~mit of Public ~··orks may acquire in fee r.r ir.
                        Rn:,r less")r e8tate l")r interest, hy conremnaticn, purc!w;;e,
                        :iease, drmation or cecication, any real pro ;,erty (a) f'"'r
                        r,arl:s odj:.)ining or r.er.ir any 2tate hir;hv1ay and/or {h) for
                        the culture nnd support of trees wh i~h aid in the n:a in-
                        tena.nce -,1· tiie t1.ttrectiver.e31~ "f the ccenic heauties of
                        such ~irhvay (Acts cf 19~5).

                        The a')0ve ,Act a\:," prr-vi::le.:1 trint 71he:1eveff juriscicti0n 0ver
                        rriy hir.h·r,'l:· '.·•ithin ::i StatP park ta? heen relinquis!1ed t0
                        the Ruthori t: chsrged V'ith the ,1anflr,er1ent and C("ntr':.'l of
                                         1


                        .:,udi orjr 1"', tLP ::;tBte :Ii13hway De:nartr.. ent may c~n.struct, im-
                        pr'.:lve rr r, il'I int a in :;uch hirhvmy, .such con'.'tr~1ction, etc.,
                        to he nuhject to the apprcval of the i,ark authority. T!1e
                        cost '"lf c 0n~tructi"n, im,rove~~nt and maintenanre t" he
                        !)Bid f'!"::;m the State hir.h1·Jey fund.

Ea~:nen ts 0ver         The Lirector of }Taturnl :iCSources i:. Authrrized, up<"'n
State park lr;n:1.      applict1ti,:;n by pr'"lner P,uthcritie::i ar.d on .such terms and
                        cor,diti".'ln:1 83 the otB.te Pnri.c~·C'"'r:m1i~,::ii'Jn may prescril)e, to
                        r-r&r.t ea::;ements f0r p:tbl i<.: hir:hv:ay s 0ver and acrc83 state
                        park la~d~ unfer t~e jliri~diction of the fepart~ent of
                        JI13.tural Re301.trc<JG Hnd the ;:itc:te Park!"C-:iw.r,,is::ii::m (Acts "'lf
                        1~33).

Juri3~ictinn '1Ver      By Act:; 0f 1333, '3.11 duties, P"Ters, purpo3es, rc:;pcnsi-
StatA burial            hi::.i tie.~ ar.d juri.sclicti-Jn of Vw Department cf Fin~n..::e
gr~und .s.              concernin~ the State ~urial Gr0~nd::i are tran2ferrea t~
                        RLd veAted in t~e nivision ~f ~8rks.

                        II.   STATE :3\..'nv'--'Y.

State nark sit,:        Acts of 1927 cirecteo t!1e T;e,mrtr.Pr,t of l;et:..iral Re:;ourof"3,
survey.                 thr0ur.;h t]1e '.';tete P[.:r 1~C".':W,i[rnicn, to me.ke a 8Urvey to de-
                        t.errr1ine v1h!-it J ands to he mi tr:"ile Rn:'l deriirnble fer the
                        ultimAte c:evP-lopnent of a co!71p·o.h8n~ivc, viell-halrmC'ed
                        Str:te rnr}~ S:;;,tem, ar.d to define the relation~ of :-;uch ,11
                        sy:item t'.J ct!1er r::eans cf con:.::ervinf'. and utilizing the
                        sceni::! &nd ref'reaticnAl resource::; cf the stat~; to mnrn
                        e report t,.., the :::e~retl'ir:· of State e□bodyinf" the re:nl t~
                        of the ~urve~· end to :nake rece:m.'Tlen:iaticns regarcinf the
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                       1:00.::s by ,·;hich such c. pr.rk systcn en.:, bo r.cquirc 2. This
                       ~ct cnrriea ~a c.ppropri~tio~ to bo used for tho purposes
                       of tho .i.ct; r.ls0 n.uthorizcd t!-lc Cor.::iissio:1 to c.cccpt t;ifts
                       of r.:c:1-,v to be si:1ih\ rly use-:.

~cquirc ln~~s for      L c0:·:pr.nion Let c.lso r.uthorizc (: the (:o;:.~.1issio·1 t•:) r,cq1.::irc,
pc.rk Jur:1osos.       cs r. p[.rt of the Str.tc Pc-.rk Sv:::te:1, s 1Jch b.m~s r.·1 ,: C)t}:or
                       propcrtii3s ns L1 its ju 026 r1e:1t r.rc suitable for park pur-
                       poses.

                       Fur t!1c i?::rj,.H'$0 cf ;_·.ccti216 the costs ,,f sue:~ r.co.uisitio:rn,
                       :::·h,tc oc:1~s ~-n ;:he c..:·:·.:n.;,;;,-'; 0f ..,,6,000,000 uor0 :::.ut:10rizcd
                       to be :..ss i..: ed, c.:_cl t0 cc sol.l fro:·.1 tL1c to ti::o c.t tllo ,li-
                       rectLr1 cf t :,o Str-.tc :'r.rk Fi::--o.:1cc Boe.rd (cr~c.tocl b:r the
                       .,,ct), uro,1 rcscl1_1.ticn j_'.'rcsc:1tcd bv tho Ste.to f:' rks Cm :2.ri.s-
                       sion th~·.t sue!·, su:-:.. is :100 ..:cJ in furthora: ..ce of tho purp'.)ses
                       of the ~ct; Pro~i~cJ, bonds c.ro to be sold onlv rrl1cn there
                       hc.s bc ,~n ·.'epC' si-1:.otl i:rith tho St :·.to troc;s ur,• n ft:ntl fror:
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                       sr.urcc ,.t ·1.c r t'.1~_:1 c.::!:rq:-ri:,tic:1 b,, t:10 8tr.tc., or t:10 sc.lc
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                       except, t"'.:.t t:-. ,:; s:-.lc ,;f bc1.2s : tr·." be r.uth0rizo,~ 11:-10:1 it is
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                       bcr, or ether prcportics, or in no~ov., er in a:~r or ~11
                       such prcpcrtios.

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Title to                    The acquisition or such property is in no case
property.                   prohibited becnuse of rights or wo.y, e~sements
                            o.nd reservations which from their nature, will,
                            in the opinion of the Commission, in no mnnner
                            interfere with the use or the property ror ~he
                            purpose for which a.cquired;

Advisory committee.         The o.ppointment or o. committee to be known r-_s the
                            Gurne Refuge and Public Shooting Grounds Committee
                            is authorized, t~ consist or the Director of the
                            California Academy or Sciences, Director or Hooper
                            Foundation for Medico.l Research of the University
                            of California, nnd five other members to be np-
                            pointed by the Commission with the npprovnl of the
                            Governor. Appointive members o.re to serve nt the
                            plensure or the appointive power and without pay.
                            The Colllllittee is allowed necessary expenses in-
                            curred in the discharge of their duties.

Survey.                     The Committee is directed to make a survey or the
                            Stute ror the purpose of ascertaining the needs
                            for game refu~es and public shooting grounds, and
                            report its recommendations to the Commission.

                      IV.   STATE PLANNING.

State Planning        Acts or 1935 created as a division of the Department of
Boe.rd.               Pinance, a State Planning Board, to consist or the Direc-
                      tor of Finance, the Director of Public Works, and the Di-
                      rector or Natural qesources, all ex-officio, and five citi-
Members;              zens to be appointed by the Gcvernor. The members re-
appointments;         ceive no compensation other than for their reasonable ex-
terms.                penses incurred in the performance of their duties. Ap-
                      pointive members serve for three years (rotated'. The
Director.             Board employs a Director or Planning qualified by special
                      training, experience and de~onstrnted ability in the field
                      of planning;

Authority nf          Is authorized tn cooperate with any persons or organizn-
Board.                tions interested for devising means to develop the natur-
                      al nnd economic rescurces of the State, nnd mny accept
                      grants frr,m the Federa.l o.nd Stnte governments or their
                      o.gencies; also may accept girts for the purposes of
                      State planning;

Correle.t ion.        Is directed to encourage the extension and correlntion or
                      State planning by agencies of the State government and
                      pnrticipnte in interstate and Nntionnl plnnning efforts,
                      both with n view to the benefit to be derived by the lcrger
                      region or Nation, nnd by the Stnte. The Bo~rd mo.y net ex-
                      eroise any ~f the powers or duties or any other Stnte de-
                      pnrtment or agency.

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                         V.   STATE PAR~ RULES A}1D REGULATIONS,

                              California St&te Park System

                                   This is Y~ur Park

     All of California's State Parks have been established for the purpose of
preserving outstanding examples of nature's handiwork, for future generations,
whether it be Redwood groves, beaches or other areas set asido for the use and
enjoyment of nll of the peoplo.

     ~hat this enjoyment may not be destroyed it is necessary that ~ertain re-
strictions governing the use of the parks be effected.

     In order to preserve the natural beauty or the parks s~ that the publio
may enjoy them, please observe the foll~wing:

     Do not piok flowers nor remove shrubs or small trees and please explain
to others you may see viola.ting this rule that these a.reas are being pre-
served, not enly for our use but fer eosterity.

        D~ not destroy State property,    It is your property.

        Pla.ce all ga~bage a.nd other refuse in ga.rba.ge onns.

     Protect human and wild lite fr~m danger by ~riving vehicles within the
limit prescribed by the ~a.uti~n signs. D~gs nre not permitted to run loose.

        Note:   In s~me pa.rks, dogs nre not allowed; therefore, suitnble
                fa.oilities a.re provided f~r oaring for them at a small
                c~st to the owner,

        Firearms are not allowed, and must be sealed ~r checked at the
                               Warden's Office,

        Please o~nfine travel to paths and roads.

        Plea.se (ll'Jnfine campfires to camp stoves which are provided for this pur-
pose.

     Please rep~rt to the Warden any suggestions you may have to offer in or-
der that he ma.y use every eff~rt to make your stay in the park enjoynble nnd
comfortable.




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               Exhibit 4
          Connecticut (see p. 27)
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                               CONNE CT I CU T


                          I•    STATE P.~RKS.

Jurisdictil")n.           All lc,.nds o.cquircd b:r tho Sto.tc o.s public rcscrvo.tions,
                          for the purr;oscs of public rccrca.tion, or tho prosor-
                          vr..tion of n;:.turo.l bc~rnty or historic Lssocic.tion
                          ( except such lc~nds o.s m..'"\y be plc,cod by lo.w under the
                          sup c rvi sion of other com.".'!i sdor:s or officio.ls), a.re
                          under tho supervision of the St(ltc Pc..rk und Forest
                          Comrr..issi~n. (R.s. 1930).

Members nppointmcnt;      The Conur~ssion is composed of six mcmb~rs, two of whom
terms.                    a.re o.ppoint-.;d by the Governor during cci.ch rcg:ula.r
                          session of the Gcncro.l Assembly, 1•ri th the advice a.nd
                          consent of the Senc.te. Appointments C\rc for six ye::i.rs •
                          l\icmbers serve without compcnsution but rccci vc ex-
                          penses incurred in the discharge cf official duties.
                          The Forester of the AgriculturQl Experiment Station
                          is ex-officio member. A Ch::drmr.n is o.nnua.lly elected
                          from its members.

Divisions.                Administrative divisions h:::..vc been csto.blished o.s
                          follows:
                                           Division of Po.rks
                                           Division of Forests

Powers a.nd duties.       The povrnrs und c1utic s of the Commission o.rc o.s follows:

Acquire recroa.tion       Acting by itself, or vdth loc~l authorities, to acquire,
urco.s.                   m..'1.intC\.in a.nd me.kc C\.Va.il::'..ble to the public, open spa.cos
                          for recrec.tion;

By purcho.sc, girt,       },12.y take for tho bcncfi t of the public, by purchase,
condemnation,             girt, devise, or condcmna.tion, lands nnd rir,hts in
                          lo.nd for public open sp~cos, or t;:.ko bonds for the
                          conveyuncc the reof;

By lea.so.                Huy lea so lc.nds for a. period not to exceed fi vo ycc.rs,
                          with o.n option to buy;

Administer other open     In its discretion, c.nd upon such terms us it m::.y
sp:::..ces.               a.pprovc, rno.y preserve c.nd cure for such ether open
                          sp::.ccs a.s ma.y be entrusted, given or devised to the
                          Ste.to by the United Sto.tcs, or by cities, tovms, cor-
                          porations or individuals for the purposes of public
                          rccr0ntion, or fer the pres c rv~tion of natural bc~uty
                          or historic ~ssoci~tion;




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Limito.ti:::m.           r.Iay n'.,t ta.ka or contra.ct t ,; tn.ke by purcl'.o.so or lee.so ar~y
                         ln.nd or cth'lr property for o.n o..mount beycrnl such sums c.s
                         may be appr,)pric.tcd :Jr c ontributed for such purposes;
                                                    /

Mo.intc:-10.ncc whc!1    I1:o..y cocpern.to with a.ny o:'fici::i.l or o. c: cncy :10.vin[ similn.r
adj oining other         o.uthori ty in n.r,y n.(~joinin[ Stn.ce f 0 r tho cc.re o.nJ mo.in-
Sta.to s.                t -::mc.ncc of Sto.tc p~rk rrncl forest lar.ds l:tinc alone the bound-
                         o.ry of the Sta. ·:c '.1.nd o.dj c ining; Sto.tcs, and may cn-:::er into
                         agree::,ent for the j ::i int ca.re o.ncl mc.inten:::.nco of such la:id s;

t!cmo ri n. ls in        With tha approvc..l sf the Go•.rcrnor, ID:'..Y erect upon o.ny Stc.te
State P8.r:cs.           park, ground or rcservo.tic-n, or pc rmi t to bo e rected, nny
                         S,J.it::i.blc m,mumont, rr.:;morio.l er m,31:1oric.l tablet in co,"'lJTlcm;..
                         oro.ti--:n of the services of n.ny soldier, so..il:ir or ma.rine, er
                         o.ny org:nnizc,tion of soldi e rs, sailors or marines Viho pn.rtici-
                         pa.ted in o.ny wc,r or c11go.rcmn1lt in v,;hjch o.ny of the forces of
                         t~c United States ~ere cngaced; may o.ssumo tho c~rc o.nd
                         rr~intcno.nco of cany public mc nu1,1cnt o:.."'forod to it, or o.ny
                         public ,nonumcnt which is n0t 1.1.ndcr the co..rc of o.ny ccmmi ss-
                         ion or dcp--'-.rb~cnt of the S-!:G.t0, if it dce:!Tls such ;:'_ction D..d-
                         vi sn.blo, thJ oxpe:,sc of su:-:h ca.ro c,nd m::cint,,na.nco to be po.id
                         by tho Ste.to; ~rid no order m..'1.y bo d r::-.wn for the purpose cf
                         buildir.g;, r obuildir.:_:;, c~1.rin 6 for or ;:·nir:t::-,i.pi,.g- any public
                         m0nu:.,1ent which is r..:.t under the jurisclicti:Jn of tho Comn-
                         issi on of Scul~ture, o. Stntc dcpo.rtncnt, or o.n orcanizcd
                         boa.rd of tn.'.stoos, without tho o.pprovc.l c1 f the Co!:·mission;

Anim~ls for pc.rks.      Mc.y 0.CCOf)t, ~i thor by purcho.so er Gift, fer free oxhibi ti0n
                         p~lrf-'•')SOS only, r.ny fish, crust::-,cec,n, bird or c.nino.l;

Leo.so of camp sites;    Mc..y execute le e.so: ~f cc.ri,pi~g si.tes ard buildings oa the         ~/
use of income.           Stc-,to pc..rks f0r llrn.i tcd periods, o.nd use the prJco0ds from
                         such loo.sos a.nd o.ny oth,: r inc '.Jrac resulting fro:r.1 tr.·J use of
                         St ~_tc pnrks for ti,e ccre, 1:1c.L1tcnc.ncc a.nd improv-:m10nt of the
                         s c.mc;

Trust funds.             With tho c.ppr,J vc.l of t110 Ccrmni s sion, tho Corr.ptr01lcr ~y
                         r0c0i vo o.nd hold in trust for tho St~ to, cxc:-npt fr.Jm ta.xa.-
                         ti 2n, any ~ro.nt or devise of lo.nd er ri p-hts in 1::-ind, o.nd orly
                         gift or b-:Jqucst 0f mc ncy or other pc rs ~-no..l prop-::rty, a.nd
                         shall preserve O.!i.d proporl_y invest o.r.y .funds co received.
:3to.tc Pn.rk Fund.      Such invested funds o.ra to be known c,s the St::-.to P-:: rk Fund,
                         to be used und e r th0 dircctirm of thv Com.':tl.ssicm c.nd subject
                         to its orders.

:'r~'.nsfer of Control   :.ny tcvm or other municip::::.li ty mr:,y tre:.;.wfor tho cc.re and
 ;v0r open spnccs.       c0ntrcl r,f ~ny C?cn sp~ces owned er c0ntrollod by
                         it to the Ccrnr:ri. s nion, or en tor into ::my as:rccu:mt with
                         the Ccm.7issio:i. for t:ic joint c::L·o ~r prcs.Jr-v2.ti0n of
                         open s9:--.ccs within or o.c.j::,cont t o such tovm or r.1uni cipnli ty;




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                               o.nd the Commission rnny, in like mn.nnor, tr~nsfcr tho care o.nd
                               control of o.r:y open spo.cos controlled by it to nny loco.l pub-
                               lic o.uthoritics.

Rules and rcgulo.-             The Commission mo.y, with t:10 approval of tho Governor, ;.ID.kc
tio:1s.                        a.nd o.ltcr rules a.nd rogulc,ti r., ns for the Llo.intcno.nco of crdcr,
                               so.fety o.nd sc-.ni tc..tion upon tho lo.c1ds in its control, o.nd
                               for the protection of trees ::.nd other property o.nd the pro ..
                               serv::..tion of their n~tur2.l beauty, :::.nd to fix pcnc.l tics not
                               cxcccdin~ a. fine of ~20.00 fer viol~tion thereof;

State Pc..rk police.           Upon c,pplication of the Comrai ssion, tho Governor rao.y appoint
                               c.t his plc::~surc, one 0r r1cr o p.:rsrms employed up0n the pub-
                               lic rcscrv::i.tions in chc.rgo cf tho Commission who mc.y c.rrcst
                               o.ny person in such rcscrv:--tion f0r a.:r1y offonso car.mi ttod
                               th::rcin. Ench such pcliccmc..r., when on duty, r.1t•.st wcnr in
                               pb.in view o. shield bee.ring t:ic words, "Ste.to Pc.rk Police."

Sto.tc Fcrestcr.               The CoP.unission is c.irccted to c.ppoint c.. tcchnicc.lly trc-.incd
                               F~' rcstcr who ho.s ho.d not less tha.:1 two yea.rs' cxpcricr:.co in
                               profcssic.r.o.l f8rcstry work, ::md who is to udrriir.istcr the
                               st'.'.tutcs r-.:-lc,tiii.g to for(;stry ::md tho prntcction of forests;

F:rc:::;tcr ma.y pur-          Tho Ste.to Forester, with tho o.dvicc a.r..d consent of the Com-
chase Sto.te Forests.          mission, r.ia.y buy 1::-.nd sui t:.-.blc for t!1c Growth of timber c.t
                               n price net cxcccdin~ $J.00 per ucrc; such a.roa.s ere to be
                               deeded to tho St~tv without cost; c.nc.l, vn th tl1c consent of
                               tho C,)r.J:iission a.nd. tho :::.pprov'.:'.l 0f tho Bc-'.'.rd of Fina.nee c.nd
                               Control, ma.y sell or cxchc.:1go o.ny land c.cquirod for Sta.to
                               forosts. By Let of 1933 (.3oc. 583b) hi:: is further authori-
                               zed, vnth the o.nvicc c.nd consent of the Cor.unissi')n, to a.c-
                               quiro lo.nd o.djoinir_g er in clo se pro:dr,tlty to a.n cstC\blishcd
                               St:::.to foro:::;t by oxcho.ngL1?; for ti tlo in fee simple to such
                               lo..nd tho ri i:ht tc cut c..i1d rcn~vo wcod, lumber or other for-
                               e st prcducts from Sb.to fn.rost 1-:-.:nd tc c.n a.nour:.t oquo.l in
                               va.luc t0 th::.t •)f the lo.:1d to be acquired.

Revolving Fund.                By l~ct of 1931 (Sec. 865c) the sun of ,: 30,000 wo.s a.ppropri-
                               c.tcd tc cstc..blish r. service a.nd sc.les fund for tho Comnis•
                               sion, to be used c.s o. revolving fund for tho purcho.so of
                               supplies for rcso.le, o.nc:l. for lc.b , r or oquipr..cnt required f"r
                               service o.nd sales opcr~~i2ns in tho Sta.to pc.rks. Tho pro-
                               ce .;ds of o.11 s~,les of r.1c,tcrio.l o.nd cquipnont purchased from
                               sa.id fund, tog.:;thcr with n.11 rGcoipts from service opcro.-
                               tions i:i. the pa.rks, c.ro to be crcdi t:.:::d to -the fu:1d. J.t ti:1e
                               end of c::tch c::..lcndc.r yo-::.r a.ny br.L..,nco of so.id fund in ex-
                               cess of t;so,ooo reverts tc the Sto.tc trcc.sury.
'J:'.> ovE"ra11e In~1P.n· ,-   The Ccrnnission is a.uthorizcd to .a.ct ns ovorseer of a.ny tribe
 tri">e3,                      of India.us residing in the Ste.to end is chc.rgcd with the
                               mo.na.g;0r.,ont cf their lc.nds a.nd n-:moy; o.nd i:::; a.uthorizod to
                               sell or excho.ng;o o.ny reo.l or pc rsc na.l property bclongir~r; to
                               a.ny nenbor of a.ny" such tribe :::f Indi::-.ns. (R.s. 1930, Soc.
                               5058, us a.no11dod 1 , acts 0f 1935) •


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                         II.    COEMIS0ION ON FORESTS ;·_ND "'r:.ILDLIFE.

                         Tho P:-.rk nnd Forest Car.uni ssicn c.nd the B'.)o.rd of Fi shcrics
                         o.nd G2.nc constitutes c.. Con."!lission on Forests a.ncl ':'.'ildlifc.
                         (R.s. 1930, Sec. 2167).

Powers.                  The Conmi ssion n2.y a.ccept nuy cift er a.ny into re st in ro::-.1
                         er pcrsonc-.1 property to be used by the P:'.rk a.nd Forest Com-
                         r.u.ssi::m, the B':lc.rd of Fisheries o.::d G:--.mc, or the Comtl.ssion
                         on Forests n.nd Ydldlifo, c.s r-.:::-.y be detcrnincd by the bttcr,
                         for o.:,y pc.rk or f 'J rcst purp0so, f ., r the propc-.g::.ti:m n.nd
                         pr~tccti2~ of wildlife, for public shootinG 2.nd fishing
                         crounds, or for rccrc::-.ti:·n, up:;:1 suc:1 t.::Jrr.is ::-.:1d c ~ndi ti . -; J:'.s
                         c.s nc:.y be a.greed upc'. by th(; donor o.nd the Cor.1 .'Ussion;

Purcha.se or lea.so      rc.y c.lso purch::cso or le.·.sc rca.l er pcrsona.l property to be
l ,.:-1ds.               used for n.ny :,f so.id purposes, but mo.y not purch,~.sc rca.l
                         cstctc a.t a. cost in 0xccss of '.::I~ p_;r c.crc wi th:-ut tho
                         a.ppr:ivc.l of tho Boc.rd of Fincmcc c.nd C:: ntrol; c.r.d

                         1-k,y authorize tho Sta.to F0rcst-r or the Bo::-.rd cf Fisheries
                         o.nd Gnr.10 to r.::;pnif c.n<l construct dc.r.1s; to open up a.n::1 c.bnn-
                         dor~ roo.ds f ·· r fire control or to me.kc nny other inpr : vc:.,cnt    1


                         which in its judg::1ont is r.0ccssa.ry f .-:ir the ir.r:odic.tc use or
                         protection 0f lc.nds a.cquircd by it. Expenditures fer such
                         purposes na.y be ordered by the Cot~tl.ssi ,~,n fro:-1 c,:1y o.ppro-
                         prio.tion r,Kt<lo to it f:;r the purchc.so c·f la.:1d, l_iro,Jidcd n et
                         r:iorc tho.n l'l% of such O.?pr')prL·.ti ::-n r.ir:.y be sp0r;.t fer such
                         ir:1.prov;.;r:1cnts i:1 n :,y 0nc fiscc.l ;irx.r. (,_cts 0f 1931, 8cc.
                         584b) •


                         III.    PUBLIC HUlrTING ;~ND fI:.:;EIHG GROUED:3.

fa1 nting n.nd fish-     I.ct 0f June 9, 1933, o.p~~rcpri::.tcd the sun of ::;;20,000 t.".) the
ir:g grounds •           .Sta.to B02.rd of Fislwrics c.11d Gane f::ir th0 purchc.su 0f 1:::-.:r..d
                         c.nd n.cquisiticn of richts cf wc.y tc pcr:-iit a.cccss by the
                         public to lc.kcs o.rni_ po : ds; for th,.) rsncwc.l of public fish-
                         in~ ~~d huntin~ richts, far the 102.sc or purch~so cf c.rous
                         required for the C'.Jl~sclidc.tL'n c.f o.r0c.s held by the Bo:.rd,
                         a.nd far the prctcctic1'. of public int-::rcsts in huntinc o.r.d
                         fi shi.-:.g rights.


                         IV.    ST..TE PLJJJNING.

                         Act of .1\pril 18, 1935, ostc..blishcd a :::ta.to Planning Boe.rd.

                         Tho B:a.rd is directed to: (1) ·collect inforr.mtion conccrP.-
                         ing tho Sta.to, its ;-,o.tur::--.1 resources, its people, its in-
                         dustries c.nd ,th0r r.:D.tters ~f public int -: ::rost; (2) correlate
                         tho results cf th0 rQsca.rc'.1cs f Sta. c dcpc.rtucr,ts a.~.a ::thc.r
                         orr:;c~r. izo.tiC' :,s; (3) c:),~c1uct studios ii,. which C')Untics, tr•vn-,s,
                         c.n·~'- nunicipc-.litics c-.rc intorcstod c,nd ::.dvisv such unit:: in
                         con::cction vd th lccc..l pb.r~ning problcr.ts; ( 4) c c op-:r'J.tc with
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                         t-he research divi3ions of puhlic P.nd private ap.encies; (5)
                         act in the capacitJ of a research clearing hcuse; (6) for-
                         !!lulate plans for advancing the '."ise u.::e rf the rericurces
                         of the St.ate end assist in carr:1 inr: out such plans.

                         V.   STATI: PARK RULL3 AHD P.EGULATION.3.

T:1is is a State Park. It helonp.3 to you. It ~!as pnid for cut 0f the State
m-:mey, your money, nr given to the State, for tht=; preservation of natural beauty
er histo:'.'icB.l B.ss·Jciation, anc for t:"e recreation of yourselves r•nd your guents
from other Stat8s.

The custoc'!ian of the State T'8rk is the State Par% Comr:1is:,inn e3tahlishec' b:•
~·our repres8ntatives int.he General Airnemhly, ·.c:hose me;11',ers are appointed by
the Gnvernor ·; i th the approval of the Senate. They are :,0ur servants, to see
that tlie State Parks are prop,3rly cared for, rightly used and not abus8d.

There is a reason for every rule and regulati0n made, and they sl1nulc1 be com-
plied ~ith, even thouph the reasJn is not evi~ent. If th~ rules seem onorcus
or unne ,~ E:ssary, :'our criticisms or sup.!'.:csticns made in v-ritinf, v:ill receive
careful ccnsiderati:m.

It is de0ired that t~i3 ~~rk shall be used for picnic parties, ca~ping and out-
d'.)or ::..ife h~, the pe'iple of Connecticut, provided the p11rk is used in A -rh0le-
some and rec•sonah::..e ~ra~·. enr. that t:·.e trees, shruha anr' ulant:, are not b ..iureo,
anc all ruhhish is plece~ in receptacles prepared f0r it, or huried or hurned.

?e0ple usin{! this StAte part shou~c1 nC't m".'lnr,n:-;lize it, n0r disturh, n0r un-
p::.easantly intrude u:110n other parties usinr- it. Fires r:re a source of aan/2'cr
to t 11e fore2t, anf r:mst not he built in dr? times, hut nt other times the:,
may he CTade in stone fireplaces huilt by the Com~isPi~n or eccc~tahle t0 them;
the fire should never he left al0re, an<'; m~t he put 0ut on leavinf",

T~e use of fireerns or navin~ thPm in possession is forhi~den, als, the kill-
i:-ir ·) r risturhing of , , u_a Anirmls, 'hirds f')r hirr.~• ne3t::,.

Tne directions of the caretal-::er~ 3hould he follo·.•ed. If they seem unreason-
ah::.e or un1esirahle, or if s 1 w _c--estions are t0 he nffered, p~ease 0:-rite to the
Secreter:.,' or any member 0f the Corr.mission.

N~ par~ employee is permitted to accept tips.

It is Permitted:

      1.   To fish in accordance \"ith the Public Statutes.

      2.   To rather nuts, berrie.s or ·:1i ld flcY;·ers m:cept for market.

      3.   To use B.n:,r de rid ..-·ooci for the f ireD::.ace.

      4.   To camp for t"::o ni;:-hts •; ithout a permit, camping fer lon,·er periods
                                                                                           "u
           to he by speciB.l permit.




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                   Exhibit 5
               Florida (seep. 35)
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                                     FLORIDA



                            I.     STI.TE PARKS.

.Jurisdiction.              Ste.to pr.rks arc under the jurisdiction of the Ber.rd
                            of For0stry, op0rc.ting through the "Floridc. Pc..rk
                            Service."

Boa.rd of Forestry;         The Boe.rd ,;: · s crcc.tod by c..n J'i.ct of 1927, c.nd is con-
r.Dnbcrs; tcr;:;.s;         posed of fi vc ncubcrs r.ppointcd by the Govor~or for
officers.                   four yo~.r terns, (rat'.'.tcd). 1.:or.1b0rs r c cci vo no con-
                            pcnsc.tion, but 2..ro p::dd c..ctu:1.l cxper.sos ni.:;coss:i.ril:;·
                            incurred in con;.1cction y;i th officic.l duties. 0fficic.l
                            hc:::i.dquo.rters r.rc de si gr.c.tod c.s Tc..llo..h:-.ssoc, but :·..cot-
                            L1gs r.ic..y be hold c.t other roints in tho Ste.to. Tho
                            Boc..rd o.r.nur.lly elects a President, Vico-Prosidcr.t ::-.nd
                            Sccrot::-.ry fron its nc~1bcrs.

Fedcrc,l /.id; CCC          For the d0clo.rcd rurposc of cooporc.ting -rri th Fcdcrnl
co.nps.                     c.gcncics; to cno.blo the Ste.to to norc fully qu::-.lify
                            for the a.id o.nd c..ssistc.ncc offered by Prosidcntic..l
                            F.xocuti vo orders and Fcdcrr.l logi slo.tion rro":iding
                            for the csto.blish.'":lont a.nd operation of CCC cr.:-:1ps; for
                            tho c..cquisition of St'.'.tc forests o.nd pa.rks by Fcdernl
                            purcha.ses to be pc.id for by incor.10 fror.1 -the for e sts
                            or oth.:)rv;isc; c.:;.1d for the estn.blislu::c::.t, dcvelop1:-.ont
                            c..r.d r:2.intcna.nco of o. systcn cf .Stc.tc forests o.nd pc.rks,
                            the Boe.rd is ~uthorizcd (~ct of Juno 4, 1935);

Acquire lnnds.              To '.'.cccpt gifts, dona.tions or contributions of lc.nds
                            :mito.blc for forest or pr.rk purposes, c.nd t0 enter
                            into o.grccr:-.onts y;i th the Fc(lorc.l Govcrrn-:iont, or a.11y
                            other a.gencios, for a.cquirin; by gift, purchnse or
                            otherwise, such L:nc1s c,s in the juc1[,.iont of the Boo.rd
                            o.ro dcsirr.blc and suit0d for Sta.to forests nnd Str.tc
                            pa.rks;

Funds.                      For such purposes, c.nd tl1e utiliza.tio:1 a.::d c1.~vclop;.1c·.1t
                            of such la~ds, the Bo~rd is ~uthorizc<l (~) to use tho
                            proceeds of tho s~lc of a.1 ~y product th0rcfror, (b) the
                            rrocceds of the sale of ::-,ny such lr.nd ( Gxcert tho .3 ::c.tc
                            School Fund's 25~~), c.~d (c) such 0th.Jr fur:.ds c.s :::ic.y be
                            o.ppropric.ted o.nd o.·,"C.il:::-.blc for :mch usus a.nd purroGcs;

                            Note: The Ste.to Constitution provides tlr.t 25i of the
                            so.le of St tc-o,.r.--..cd l r.r~ds is to bGco:r.10 o. pc.rt of the
                            3ta.tc School Fund.

Lir.tl to.tion.             The I:o~.rd is prohibi tccl fro:.1 entorin 6 into o.r.y o.grocncnt
                            for the acquisition of or purchr.sc of lo.nd, or for a.ny
                            oth...;r purpc so nhich nould pledge tho ere di t of or obli-


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                             gntc the St:,to to pay c. ·,.y sun cf noney • It r:ic.y, how-
                             ever, rcccivc, hold tr.o custodJ of, :·.Ld exercise tho
                             control of a.ny lc..nds, a.nd u~c the proceeds dcrivecl
J~cccpt custody of           fror1 tho so.le of products fron, or the use of such l~n<ls
lc..nd.                       ( except the St~.tc Sc hoc 1 Fund's 25%) for tho a.cqui si-
                             t ion, use, custody, ~.'.r'.nc-~g-o:.1er.t, dcvclopno;:-it or inpro·re-
                             r..cl:t of n.ny la.:1ds vested i~ or subject to its control;)

1:.'.'.'.y sc 11, lensc or   1":i th tho concurrence of tho Go-rernor Cc.,,'1 -::1 the Trustees
exchc..nge lc..nds.          cf Int:;rna.l L.:provcr·,el-,t Fund, the Boe.rd nc.y sell,
                              lcnsc, exchnngc or oth<JI"\'lisc dispose of a.ny l:,.nds
                             under its jurisdiction ·:,hon in its juc!gr,1ont it is nd-
                             vo.r:tngcous to tho Ste.to to do so in tLe interest of
                             tho highest orderly dovclop)-:-.ont, inprovcr.1ont nnd ::1n.n-
                             c.ger.:ont of tho Ste.to Forests o.nd Sto.tc Pc.rks;

Internal Inprov0nent         Noto: Tho Intorno.l Inprovenent Fund uo.s crea.ted bJ Act
Fund.                        of 1855, o.nd originc.lly iri.cludcd tho rennining unsold
                             portion of tho 5," O, ti'"lO o.cres of land grc,ntecl to the
                             Ste.to by 1\_ct of Congress of Hc.rch, 1845; tho proceeds
                             then c.n hc.nd fron such lc.nds previously sold; a.11 pro-
                             ceeds fror.: subsequent sales; c.lso o.11 s-:;c.r.1r land or
                             lc.nds subject to 0Y0rflow grc.nted tho Ste.to by J;,ct of
                             Congress of Septe,::.bcr 1850; ti tlc to tide lands in
                             cert:..i:1 counties. Tho object of the grc.nts vms to
                             en8.blo tho State to reclo.i;:1 these lands for scttl0nent,
                             cul ti V:':'.tion o.nd other intcrnn.l inprover.:ont purfoses.
                             The Trustees of tho Fund arc tho Governor, Conptrollcr,
                             Trcc;surcr, itttorney-G,:meral c.nd the Corn:ri.ssioner of
                             l:..g;riculturc.

Coopcrntin~ Agency.          Tho Boe.rd is desir:nr,tlJd o.nd r.uthorizcd as the c.e;ent
                             of tho .Str.tc to co0perc.te rli th the Fcdcra.l Govern-
                             nor.t under tho proYisions of the Cl:-.rkc-IJcifary Act;
                             c.lso vri th o.11 other o.r,cncies, interested in proper
                             lC1.nd use, forest :-:i:, rn.,g;e:'.· ent, consorvo.tion, forest
                             utilizc..tion c.nd State pc..rk dcvelopr.1 ent;

Rul0s nncl. Rq;ulntions.     The Boo.rd ;"10,y r:1.."..kc rules r.nd rcgulc..tions o.nd do such
                             acts c.nd thin~s nn nre reo.sono.blc nr.d necessary to
                             r,cconplish tho pur poses of the Act.

Appropriation;               To nssist in carrying out the purposes of the s\ct,
Purpose.                     the Legislature nrproprintod specific fur.ds for StC'ltc
                             Po.rk and Ste.to Forest purposes. The nonP~ s o.ppro-.·
                             printed a.re placed nt the disrosul of the Governor, to
Governor to                  be nllocr.tud by hin on tho recor.ine r.dc..tion of tho Bo8.rd
alloce.te fur.ds ..          for tho ,·:c..na.ge:.1cr.t, clcvclopncnt and c.cquisition of such
                             la.nds as he r~y dee~ dosiro.blc QDd noccss~ry for the
                             expansion of the St:::,to forests c.nd Stc,tc park systen.

                             Note: Sto.tc forest or pc..rk lnnds no.y be pledged for
                             funds v:i th nhich to dcvelor or otherwi so i:.1prove

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                         II.   FLORILA PJ,RK SERVICE.

Juriodiction over       Unoer the provisions of an Act of June 4, 1~33, the Flor-
State Parks,            ida "9rarcl of Forestry v1as a~thcrized ta estBblish a ~e-
                        part::ient of St8te P8rk.s to be kno ·.: n e:.., the "Fl0rir.a Parl-:
                        Service", tJ he ar.ministered "iy the ~C'arc fo'!' the purpo:;e
To c0cperate with       of acquiring, deveJ c-pinr, anr. ad;;:inisterinf" state parks
NaticnRl Park Ser-      in coopers ti 0n ,.. i th the Nati cmi.l. Park Se1·v ice, other fovern-
vice.                   mental "l.fwnc ies, and t'. ,c Trustees of the Int erna2.. Imnrove-
                        P'lent Fund;

Supen-i sicm of         The Service i3 to be onereted b:· a.r.~ re U!:der the :,ole /V1C:
Service.                e~clusive ~1pervi~ion of the nocrd of Forestrv, using fun~s
                        specifica2..ly appropriAted for park pnrp•Jses and ns 0thP-r-
                        wise provided by lRw;

Director: National      The ~oara is authorized t::i er.ploy a Director of the ·•ser-
Fark Service to         vice" wh;1se qualif~cAti"nr are certified to 'by the i';~ti:m-
certify.                al Park .'..3Crvic-:J;

Countie::; may ac-   T'!1e Act al::;o authorize::, tr.e Cr-:-·,mi::sicnei rS of nny C-:,ur:ty
quire anf transfer   to acnuirc hy rift, devi8P or rur~hn::,e, cut of rgnerAl
park lands to State. fund.-:;, from innivici rnls, c0rp'Jraticns or the Ur.ited
                                                 1


                     Ste.ten Government, ony lanci3 7hich are ,~uitahLe for puhlic
                     parks or for the preserv,•tion 0f net .1ral henuty or P ~ a<'!es
                                                                          1


                     of hist0ric essocinti0n, [,nf o-pernta the ::; .·-i.r.,e es puhli~
                     pqrks; and .:my CJnve:: to the T!'ustees of the Intcrnq:i. I;.1-
                     prov'-)m c nt Fund, er the P.oard of FoJ'(:)str:; f .J r tr.e ·•service",
                     any l~n~~ acquired for ,ark purposes.

Cooperate with          The ni:ard is also authori7ec'l to co0,erate ,"it11 c0untie::,
counties.               in count. and svite per'.;: wnrk.

                        N--,te: Dade i•er1c rial P2r'{ is u!ld 1 ir the ~urisdi~tion of a
                        scne..rate C')!"1J',.i:-;sion BJj poinkd by t he G0vernor. This parl{
                        ra~eive:, State aid.

                        III.   PUBLIC S:IOOTING Grt·"lu":J;s.

Acouire lan6s and       The State '9onrd of Conservation (created b:· Act:, of 193;;)
T.atAr.                 may, with tr.e approval of the Governor, acquire 1And[> and
                        v.• A.ter by purcha:.e, leE<.se, r-:ift or ot~1erwise, suitah:!.e,
                        mnong other things, f.-:,r huntL"lg purpo~•es.

Im:provement.           Kay erect such huildin~s anC fenceR as ~ny he deemed
                        necessary to ~roperly rnaintcin en( orotect such lands;

Price limitation.       NJ 31..l.Ch lands are to he purchased et a price to ex~eP.d
                        $1·1 per acre;




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Lease shooting          For the .purpose of establishiag public shooting grounds,
privileges; rental      ma.:r lease the shooting privileges of lands surrounding
price.                  game refug~s a.ta price not to exceed 5/ per ccre per year;

On State gruue lands.   Public shooting grounds mav also be established on .State
                        game lands;

Sto.te Ga."'ae Fund     Funds resulting frc1!l the a.dt'linistration of the fish and
avnilo.ble.             gD.t'le luws c..re to be used in cnrr-ri:ig 01!t t;1e f0Te~0inr~
                        provisirms .



                        .ii.ct r-pproved ,Juno 8, 1935, estnblished n State Ple,nning
                         Board, whose functions ure:

Studies, etc.           To secure, o.ssemble, study, InD.p, plot and chart an,, and all
                        data. rertainin;;, i:mong other thi:1gs, to lund use, pnrks,
                        wildlife, a.nd lnw:.; relnting to socic.l, econor:-iic c..nd conser-
                        vnti0n matters, for the purpose of cdvising, ussisting o.nd
                        recor:i.r:ending to the c.d:-ainistrntive officers, the legisla-
                        ture C'.nd t;1e ~,eople plo.ns for future developr.i.ent, welfare
                        C1.nd Govcrn::.;.r~ce of the Stute, in order that the Stc.~.:e' s plrui
                        of dev•3lop:i~ent ::nnv be coordin:1.ted, its ec0nor:1ic resources
                        be conserved &11d t}1e we lfc,re of the pear le be promoted;

:.:ustor pln.n.         To mc.ke und ad.opt o.:i officir,l T:i.::tster plc..n, showing the
                        Bourd' s roco!"Xiendo.tions f'or devclop,1cnt, includinr;, a.'":lonr;
                        other thin6 s, the lo~ution, c~arn.ctcr ~nd extent of purks,
                        resorv:1tions, forests, vrildlife refuges; c.lso o. lund utili-
                        zr:tion prog;ro.r:i includi:16 the 6 onor8.l clc-.ssifico.ticn nnd
                        o.llocr..ti on of the lo.nd within the Str.te x1c11r;st o.gricul-
                        turn.l, forcstrir, rccren.tionul, soil conscrv8.t: io!l r'.!1d 0thor
                        uses u.~d purposes.

Ccunty Plo."-i:1ing      In order to c.::;sist tho Boe.rd in its r.1:-1.;;;ter pla.n, County
Council.                Planni!lf; Councils na.y be fomcd in tho v:1rious counties.
                        i1.ll council mcnbcrs r,ro to servo without comnensc.tion or
                        oxpen:rn nllowc~ncc. In r·. ddi ticn to n::;s ist i.ng tho Boo.rd,
                        the Council is to md::o o.nd udcpt sinile.r :,lans for the
                        physicnl dovolcl)i110~,t of tho county.
Gcnora.l.               In order to promote public intorest cmd undcr:.tnnding of
                        the Sta.to n.nd/or county pln.ns o.nd the probl0ns of such
                        pln.nninG, tho Str.to Bon.rd :rmy publish r.nd distribute copies
                        of pln.n.:.; nnd reports und or.ploy ~uch other uca.ns of public-
                        itv (·..nd ciuc:1tion a.s it ,:my dcto:r;".lino; nr.." cc-nfur n.nd co-
                        opcrr. to with n.uthoritics 0f 11cighbori:1g Stntcs; r-1c.kc a. studv
                        of (,::1d rcp0rt en" t",lr,nning problc,:i.s of the -:::01x,t ics of the
                        Stntc, r:uniciI_Jalitv or subdivision; f·c1rnish a.dvicc or re-
                        port:.; to c.~w St~.te off iccr or dopc,rt:-:icnt; advise tho Govcr-
                        !lor or tho Lc 6 islcturc cf procrn.:1s for public inprovoncnts
                        o.nd fi::1[1.ncinf;, ::md !'-<"-V prop.:-.rc n.nd .subn.i t proposed legis-
                        lation for the Cf',ri;.ring out of tho rinstcr pla.n, including
                        zoning ::-,:1d 1~,nd-usc rccul::-.ticns, c.:1d rog:llutiol1s for tho
                        ccnscrvc~ticn of the no.tur:::-,1 res our cs . cfa bt lfc 2.st6'
                                                                    1g1t1ze   y~   V0
                                                                                        e
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V.     .ST.:.TE P. RK RULES »m '!1EGULATIO~rs-.

The following rules and re_sulations for the Go,,.err. .,:,.ont of this Park are hereby
established. These rules and re:;ulations ar : pror.:'.ll&;ated to cover only the
Govern.-:-,ent oY.-ned or controlled ·lands and ·,raters in the Park area.

1. PRE'.]ERV~ TION OF N;.Tur:..·.1 FE..'.TiJSE~ ~·.rJL' CURIOSITIE0: The destruction, injury,
defacer.i:mt, or disturbance in any ,·: ay of che p1.lblic buildings, sir,,ns, eq'..lipment,
or other property, or the trees, floY:ers, vegetati0n, rocks, minorals, animal
or bird or other life is prohi bi tcd; Pro7iccd, tbr,t the flowers may be gath-
ered in small quantities v1hen in the judc..10nt of the Superintendent, or other
authorized represcntati·:c of tr,e Flori.de. Parle Service, their re1:10Yal will not
ir.i.pair the beauty of the Po.rk. Before nny floY,er s n.re l)ic.ked, pcrni t :raust be
obtained fror.1 the Cuperir~tendc:"t in charge.

2 • C...'J!tPING: When the Park is constructed by the Florida Par!·: Service by
r.ieans of the Civilian Cons0rvation Corps in cooperation with the National
Pnrk Service, acequate car.ipint,; places ,::i th pure ·:ro.ter and other conveniences
will be provided. Until such time no camping ovcrnicht or fires of any sort
wi 11 be permitted except by special ? er;1i t of the Superintendent or. his duly
authorized representati •res. In such instances the follovnng rules .r:mst be
carefully observed: v:ood for fuel only can be to.!ccn from doa.d. or fr.llon
trees. Conbustiblc rubbish shall be burned on co.np fires, and all other r;ar-
bage nnd refuse of all kinds shall be buried.

3. FIRES: Fires constitute enc of the greatest perils to tho Po.rks; they
shall not be kindled ne:::..r trees, dead wood, r.1oss, dry lec.ves, forest mold, or
other v0 6 et~ble refuse, but in sor:,e open spuco on earth. Should co...':lp be r.w.de
in a. locc.li ty where no :::uch open space exists or is pro~.-L:'.ed, the dead \'food,
grc.ss, noss, dry lca·rns, etc., sho.11 be scrc,ped a·.:o.y to the ec.rth oYer an
urea for five feet around the fire.

Fires shall be lic;htccl or.ly when r..eccsso.ry nnd •,;;-.en no lon·-cr needed shall be
conplctcly extinguished und all ei:-,bcrs o.nd 1:-cLl s;.1othcrcd rri tl1 e.:lrth or m"ter,
so thnt there remains no possibility of rei 6nition.

Snaking 1;;.0.y be forbidden by the superintendent in any pc. rt of the Po.rk during
the fire s00.scn when in his judp.1:mt the f5.rc h~'.. zr.rd r.'l'~l::cs s1.lch action advis-
able.

NOTE: Espccinl c11r0 sh:J.l be tc.:-::er. tr..at rD lichtod nr:tch, ci ;-~o..r, circ.ret·:~c,
or burning pipe t-obn~co j_sdroppod in c.ny Grass~·-tvrii:;s, loc,vc::;, r.,o·ss o!· tree
mold.

4. HlJrTI!:G: The Pc.rk is a sa::-wtunrv for Yrild life of evory sort, and c.11
huntir:g orthe ki llini;, wounding:, frir.htonir,[., pursuin 6 , or cnpturing at nny
tine of r..ny bird or wild e.nir::o.l, except rbncoro· s nninnls, \',hen it is ::-icccss-
o.ry to prcvGnt th.-;!:1 fro:-.1 d-.)stroyinc hu::,.'l.n li vos or inflictinr:: porsono.l ir.j1<ry
or t:i.king t!10 c g:,c~s e,f o.ny bird, is prc,hibitod 1:ithin t :10 linito of suid P~·.rl-::.
Firco.rns o.ro prohi bi tcd .--.ri thin the Pr,rk ex~opt u:,on nri tton ncr~:,i ssion of the
[uporint8r.c.ont.

5. FISHHG: Fishing y;i th nets, seines, trc.ps or by the use of dru:s or ex-
plosives or in nny other .-.--:.y tl'tc.n 1:ith rod, hook ~nd lir:.e held in h~.nd, or for
r.1crcho.ndi so or profit, :i.s prohibited. Fishing: in tho Pc.rk Y:ill be pc n.-:ittcd
only during th.:i open ·sen.son 2-s prescribed by the ·:,tu cc of fl,p ridu. {
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Fishing in Fa.tors of t~c Pr,rl~ is r)crr.ri.ttca. fron C::.c.yli[;ht until d.,.rk cl.urine tho
open sea.son r.s prescribed by the St.-.tc of Floric:a.. ;.t no tine Hill fishin 6 be
pernittcc~ between clo.rl:: r.nd do.ylight.

6. PRIV.'_TE OFER:_TIOi:J,S: No person., firn or corporaticm shc.11 cn£:·ncc in a.ny
busir:.ess, or erect buildings in the Pnrk ui thout perni ssion in wri tine; fron
t:10 Florida Pa.rk Ser-rice, Tr,llc.hussec., Floridn, nor shc,11 any p..::rson reside
or be perr.li tted to reside on Pc.rk lcu:d ,;i thcut o.uthori ty of the Florido. Park
Service, or other o.uthorizccl. ropre:s ,1 nto.ti-.,-e.

7.              .still o.nd notion-picture cc-.;.,ero.s "!nY be freely used in the Park
      C_J3?,..i.0:
for general scenic purposes. For the fil~in~ of r~tio~ pictures requiring
the use of a.rtificic,l or spccic.l sctti:1;s, or i:"1vol•,-ing t:10 pcrforncmce of a.
profcssiono.l c:::i.st., perr.ri.ssion i::ust b0 obt:-,ir:et1 fror.1 the :uperirrb;rnlor.t of tho
Park.

8. G:_I13LIHG: Gc.;:-ibling in cmy for:-.1, or tho oncrc.tion of ca.nblinr; d,wices,
•;;hether :.~or :r::ercha.1:di sc or othcrrri so, is prohi bi tud.

9.  :_DVERTI.SE: ."EIIT3: Private notices or r.dvertiscneats sh:.11 r>.et be rostod
                     1


or di spl~·.ycd vri thin the Pork, excepting such c.s the Po.rk 3Pporintenc1.ent <loons
neccszc.ry for tho co!:vc:1iencc o.nd [Uicb.r,ce of tho public.

10. GR'.ZIHG: Tho rum1int; ::-.t lnrse, hcrdin 6 or grr.zin 6 of li "Cstock of nny
forn on the Gov;:;rnncnt 1::-.ncls in the P~rk is prohibitoc-:. except by porr-it.

11. MI3CELL.•. NEOU.'::;: Posscssior: 1 snlo, truns9ort:.'.tion or 1.12..nufo.cturc of liquor
in the Pnrk, is prohibited.

The possession of dynnnite, dyno.,nto c~'.ps or blc.1,tin[~ fuse is forbidden unless
pcr·-.ission in vrriting lrn.s been obtc.incd fron tho cuporintcn<..knt ir. c.dvc..;:cc.

12. FI:i.1T~S _·.rD ,. 'E)LLTIES: Persons who render thcnsclvcs obnoxious by dis-
orc".erly conc~uct or bo.d bch2.vior r:t[\y be Gt·::1:·.1::rily roucvcc1 fror.1 the P2. rlc by
the Gupcrin enc.ant or c. pee.cc officer.


                                                    FLOnH1_·_ p;_m,: .::i::i:'TI CE I
                                                    Tc.llo.ho..asco,
                                                    Florido..


Ji.pprovod J.:--.nw:,ry 1, 1935
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                  Exhibit 6
              Indiana (see p. 55)
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                                           I 1T D I :. N .1,



Juris<licti,_,n.        The Sta.te P~rks a.re u~dcr the juris~ictic~ of thJ Dcpnrt-
                        r:c:-i..t nf Public Works, C.'1ll ~. re nd;1iniGtercd br th0 Dcp'.'.rt-
                        r.1tnt of Cc:1servcd: ion (Lc:w 1913, 1933).

 Boecrd Lo:-~bers;      Tho Dcp2..rt10,~t of ?ublic ·works is i:1 ch ..·.rgc ,)f u Bor;rd cc::-
.1~p~;o1 ·1t::ent.      sisti:1 6 of th'.J Governor, the Licut cu::-.nt Govor:,cr, c.:ld
Co:-c:.icsLmcr of       throe other p-::rs::ms ctppoL1tcd bv the Govcr:1cr. Or.c ::~ c: ,bcr
Co:1scrv:::-~ti o;.1;   is des ii;;:~;tcd r.s .'.d:dnistrc.t i vc Off iccr of th-; Dup::i.rt , :c:,t
 Other of I'icers.      n.n.d Connissio!1or cf Conscrva.tiG!1. In th0 uiscrcti o:, c.,:d
                        upon the dire ct io:1 of t:;e Governor, :,_ot i :.1 e xcess cf' r:;_ vo
                        o.dditio:1c.. l : te::bcrs n ..--.,, be o..clC:od to t:10 Boe.rd. ...:1 ,.ssist-
                        a:1t Co:·~.,issic::cr n.::d c. Socrot:::-.rv r.ro a.lso :::~pp•.)i ,.tod bv tho
                        Gover:1or. ,', 11 c.ppc,intocs c.rc to held offi<...:o ::.t ".::he plca.-
                        sur0 nnd discr"Jtinn of the Govur:wr a.nd E'1t ia excess of
                        four ,_rec.rs except up Jn roa:lpc i!1t:.1ci'it.

Dcpr..rtno:1t2..l       The Dup8..rtn v.:t is c:.:powcred to i:lVcst i,';,.te, c0r:p::. lo c,ncl
pouors.                 dis se: :i.m to L1fcr: 1c.t L. n c. ;-;. d :.tD.ko rue :,n. ,o:1d:.·.t i ,.' l1 S C')~·1ccr11-
                        i:1g th0 nc."cur::..l resources 0f the Stfltv c. 1Yl thr..:ir co:iscr-
                        vat.io::; inclucli!16 th::i drc..i:1r,. go o.:·.d reclo..:r.: ::. tio:1 ,; f l[;r:ds;
                        flood prevent icn, dcvolcpr:.o:1t of vro.ter pc-.·wr; culture a.nd
                        presorv'."'..~i on of f <.., rests; fish 1.md g::\.:-:o; t:10 prcsorvc..t ion
                        of scils; the provc:1tion of vmsto r.,i:10r~,l res"2urccs; tho
                        prevontion ruld Lothods of cc~1tr0l of pl:::,:1t c.iscG.ses; in-
                        foctir:'ns r:.:·td pests, n 1 ,d such other qucstio ::s or subjects
                        c.s :.u,.r bo cn:1t•::·:plc,tcci b:r ~ho ;acts; 1:r.v c ::,cporr.tc nith
                        dcp~rt: '.e:1.ts _of the F::.; clcro.l govcr:1;:c:1t i:::1. co:1~!uctL,g top('-
                        grt;t":hicr. 1 r.:1d ~th 0r survovs, ,;xpori:1c21ts er \F' r!~ of j oint
                        intorost; :·.i::tir c0 8p c rt . tc Fit!: [Lr.ir public er pri v:.:tc insti-
                        t 1ti ,)n or 1·1ith i:,diYiduc. ls, :.; ciotios '.Jr a.cs ,:i ci f1.. tio:1s ,:,f
                         1


                        L1di vid.uo.ls i:1 r:..,ki:,g sci o 1tific i:wcstir;:-·.t ioj :S, co:.:pi ling;
                        reports, r. :1u othcnrise in such ,·::'..:mer '.".i1c1. tc ::a;c:, c:ctoat
                        c;s r1.,ir be deo;:, od ::cccsso.rv or o.dvc.. ntc.beous i:1 c::1.rrvi2·,g cut
                        the purp-: s,:;c of the .. ct (Lc.ns of 1919).

Divisions.              Divisicas vri.thin the I:cpc. rt::0!1t ::1.rc r. s follcws:

                                Divisi on cf St ::tc .i.'~r::s, La.:v:s c.rd ,.['I.tors
                                Dlv~.s ion cf for1.Jstrv
                                Division l.,f ?ish o..;,d G[·. no
                                Divisi..:,n of Geology
                                Division 0f Ei:tor,olcgy
                                Di ·._ri siun of E:1£:;i:lc cri:1g

Divi3ion Chiefs;        .i,.dc2itic.!'1c. l c.ivicL:..~!s ; .c..v bo crG ntod frJ:-t tine t o ti::c, vrith
J...ppointnc:1t.        the c.ppruv,. l of t;-ic Govor·:1or. E~i ch di visicn is hct,,lcd by
                        c. Diroctor or ot:1or officer ::i.ppo i:1ted bv the Govcrn _, r; is




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                       vest~d with immediate supervision and mrnat:ement, and is
                       responsible for its work.

Division of 3tate      Acting through the Director of the Division of Stcte Parks,
Parks, Lands and       Lands and ·•aters, the Department is empowered rnd directed
Waters.                as follows (Laws of 1919):

Care of prarks.        To have the cure, custody Gnd control of the severcl pn.rks
                       and memorials ovmed by the State; exclusive of forest
                       prPservAs;

Rules and rerula-      To make necessc.ry rules Dnj reculr.tions to sect,re proper
tions.                 enforcement of the provisions of the 1 ct;

Publicity.             To pr':lpare, print, post or distribute printed matter relat-
                       inr; to the State rr..rks and memoric.ls;

Acquire lands by       Subject to the approval of the Governor, to purch~se or
purchase or con-       acquire by eminent domain, lr..nds for parks or memori~ls
der.ir..a ti on.       and scenic a~d h\storic places;

Gifts.                 To r~ceive and &ccept in the num~ of the people of the ~tnte
                       by gift or devise, the fee or ot~er est&te therei~ of l~nds
                       or sceni~ or his~oric places;

Employ convicts.       To employ, with the approval of the proper nuthrrities, the
                       convicts conuni tted to any Sto.te pem. l institution for t::e
                       purpose of 9roducin6 or plnntinl?' trees, c ler.rint:, impro,.-inc:,
                       repairing, druinins or developi~g l~nds purchased or ac-
                       quired by the St~te for perks or as scenic or historic
                       plc.ce s;

Custory of title       To h&ve the custody of all ~bstr· cts of title, p~pers, con-
papers, etc.           trr.:.cts or rnemoro.ndu reL:,tinG t:1ereto, except orir::ir.c.l
                       deeds to the Stc..te, for c.ny lands purcho.sed or received
                       for p rks or preserves or ns scenic or historic pu!"poses;

Supervise streams      To heve general charge and supervision of tte nc.vi[:::..ble
c.nd wc.ter courses.   :::trcams and wa.ter courses of the Jtc,te within the govern-
                       ment survey meander lines;

Removal of             To issue permits to t~ke conl, sand nnd crnvel from or
minerals.              under tho bed of any nc.vi[oblc strec.m or wc,ter course or
                       from or under the bed of o.ny lc,ke wholly within the 3t :::..te.

Counties may con-      The board of commicsioners of a.ny county h~vinr a. r:opuL:-.-
vey lunds for          tion of less thc.n 12,CGO r,nd not more ti1rm 16,CCO is n1.1thor-
pc;.rks.               i zacl to purch:::.sc or oth0ri.-ri so acquire any lc.nd::; v1i thin
                       such county and convey so.me to the :3t2.te for pr,rk purpo::;es
                       (Lc.ws of 1S2E,).

                       Note: This Act opplicd to Steuben County ~nd permitted the
                       trc.risfer of lc.nds now knm-m c.s Poko. c;on Ste.to I"ork. For
                       powers of countles [encrc.lly sec following Let.

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Povrers of              The 9card 0f Comr:iissi8ners cf each county j3 P.uthori7e~ to
CC'Ulltit::S e;:cn-     acquire hy purchase or otherwise any lanjs ~ithi~ such
ert:1.lly.              C'.)Unty for pari-c purpvG-33 and t0 convey [1arne to the Jtate
                        fer par}~ purpJGes (Laws of 19~7);

Petition.               such acq_uL,iticns are tc be initiated 'by petiti0n ::iig-ned
                        by not less than 2;1c taxpayers, requesting that an nnnua:
                        tax he imposed for acquirinp lands.      If ~efore the ti~e for
                        hearing the petition 257; of tnP, redident taxpayer;; re!')re-
                        senting 25~ of the taxable property fLe a remcnstrw12e,
                        the petition is required tci be jismis:ie:L If n-J :ou2i,_ re-
                        monstrance is filed, anc tl:e boa1·d fines ~mch Rcquisiti,n
                        and convej'®ce expedient and for the best intere::"ts of the
                        county, the petition is rrunted and an order entereo fC'r
                        the purchase, fixing the maximur:i amcun t to be paU. SLJuld
                        there be insufficient mcney in the peneral fur.j to p[ly f:Jr
                        the lands, the board ffiay levy a tax upon the as~esHed pro-
                        perty not to exceed one ce~t on ea~h $:00 C'f taxah~e ?rc-
                        perty for a period not to exceed 2r ye8r8; and nay pr0vide
                        for the isr;uin£?: of honds to provide flrnds for the purch1:'le
                        of the lands;

Ccnsent to              Upon the filin€! of any such petition the ccr.1"1LosioP.ers Are
acceptflnce.            requirP.d to furnish cne C".'py t0 the Go\rerr!c-r ~mi c::e c2p:,r
                        to the De?artment of C0n3ervation. N1 cr~er grantinv ~ny
                        such petiticn ma:r be made or entered unless ar:d until the
                        GC'Vf:rn ,)r and the Department have ·iven t)1eir c,n.sent to
                        the accentance hy t~e state of the land3 descrihej in the
                        netition;

Insnectior. by De-      r..rhen any hc,ara of c0rr.!'."lissiC'ner::i propJc>€3 t0 acquire any
rartment.               such lnno s, the hen rd r.:.Ay notify the Jcpart:nen t of Con~er-
                        va t i0n 0f the pr0p,) ::::cd a~q11isiticn, v·hich Dcpartrrent b re-
                        quired to inspect the 1 nnd s and rep0rt to the "'0E:rc the
                        s 1.1itahility 0r unsuitability thereof for park purpo3es.
                        ~ut f;UCh re•)0rt is advis'."lr~· only and n0t rnan~atc-ry to t:1e
                        hoard.

0 ther lrrnd s.         Any tavm, city, township or c-0unty rr.a:r purchase State-,y:mEd
                         ::ivrnmp, Galine an~ meancer land3 bo::-cerinr: on lake.J and
                        streams for public park purpose~, ~nd tran~fer the sane tc
                        tLe Lepartnent as and for a State park; the Dennrtr.:ent he-
                         ing authorized to estahlish, develop, i~nr0ve a~a ~uirtain
                        the s11.-ne as t:.re other State pnrks; also t0 nccPpt fifts,
                           devises and l:ieque:;ts of any anr all ~inds of ~ro:pert:: of
                        wh~tsoever nature frr t~e enlarcemcnt, ir:rorcvement, devalop-
                        rr:ent, u:1e anc maintenance of the swne (Liw13 0f 1920).

Hunting pr'.)hibited.   It is unla;,:ful for any person to tar:0, kill, or shoot at,
                        or in any manner disturb, any squirr3l in any pi,blic park
                        or' State fr1unds, or ·, :ithin nne-half Mile thereof (LA'.'':'l of
                        191::.) .

                        It is un:Rv;ful
                        injure or tal-:e
                        animal '"l r b i rd
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                           po.rk. It is o.lso unlawful for o.ny person to go upon such
                           lo.nds with o. gun (Laws of 1927).

Ecduction of               It is ur.1::-.wfi.; 1 for a.ny per snn, firm or corporo.tion to con-
pl:mts.                    :::truct, instc.11 or locr,t ,:; o.ny rcd'.lcticn rlo.nt at a.ny r,1::-.cc
                           which is within o. cli stance of one and ono-hc.lf mi le s of any
                           sto.te, county, tcwnship, city 0r tc·wn po.rk, o.nd no such
                           reduction plant w11ich has beer. dcstr".)ycd by fire, wind-
                           storm, li~htning or flcod, and vrhich is within enc a.n<l one-
                           r.alf :rr.il~s of a.ny such park mo.y b~ rebuilt o.t o.r.y ::uch loca-
                           tion (Laws of 1935).


                           II.    STA'l'E 7ClREST P.ES:SRVES.

Div:si~n of Fcres-         Acting throuGh the Hca.d of the Division cf Forestry (the
try; Stat~ Fores-          hco.d ,..,f the Division is the Stc..te Forester), the Depo.rt-
ter.                       mcnt is 0mp<'werod ar,d directed (10.,:rs of 1919);

Co.re of fore st           To hc..ve tho co.re, custcdy o.nd control of tho fercst lands
lc,nds.                    owned by the St:-.te, exch<sive of Stc..to pa.rlG::;

Rules o.nd r J r:1...ln-   T0 mo.kc nccossa.ry rules o.nd rogulc.tions to secure rrrrcr
t:.:ms.                    enforcement of tho frovisions of tho Let;

Estublish nurs0r-          To csta.blish, opera.to :_·nd mn.intc,in nurseries for the rroduc-
ies; use of pro-           ti".)n of tr~es to be used in rcforcst~tion. Such trPes .rnny
ducts.                     be used to reforest o.ny lc..nd ovmed by the Stc.-~c, or for
                           I-1'.1.ntil:g on public roc.ds or lo.nds under such terms a.s mo.y
                           by tho Dopartmcnt be deemed to be for the public benefit;

?ircho.sc or con-          Subjc~t to the a.r,provo.l of the Governor, ti, purch~~se nr
d,:;mn,                    o.cquirc by condcmn:-.tion lc..n<ls r,nd forests;

!·_cccpt gifts cf          To receive o.nd o.cccpt in tho no.me of the people of the
 lands or forests.         Ste.to, by gift or clcvisc, the fee or other cst~to th erein
                           nf lo.nds or forests;

Exa:r.iinc S.;ntc-         To examine the forest lc.nds own,J d by the Sto.te, or by o.ny
owr.cd f0rest              St~te instit~tion, for the purJosc of o.dvisin~ o.nd coopcrct-
lunds.                     irn; in securing; proper forest mr:.narccr:i.ont of such, lo.nds;

Emr:,loy convicts.         T0 employ, with the a.p 0rovo.l of the proper c.uthoritics, the
                           convicts committed to o.ny 3t:. to penc-,1 institution, for tho
                           rurpose of prod~cing or plo.ntin~ trees, building rcQds or
                           doing other work in the forests o.nd in cloo.ring, dro.i~in~
                           or d0vcl,.,rinc l~nds purcho.scd or ~cquircd for forestry
                           1-urposcs;


                           III.    PUBLIC SrIOOTnr:; GROl:NDS.

                           The Dcro.rtmcnt of Conscrvo.ticn mo.y, by rcgulo.tion c~rrovcd
                           by th0 .:;,.,vcrnor, set a.side, dcsip.:no.te a.nd m::-.intc.L: any
                           gc.r.-10 reserve, or o.ny p:.!'t th:...rocf, or other lo.r.ds o.cquircd
                           for tho.t purrosc, as r:. rublic sr.ooting ~ und, ft)rmitting:
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                      o.11 persons to hunt, tra.p or take such wild animals er wild
                      birds in open sea.sons in such manner o.t such time a.nd under
                      such cendi tions o.nd restrictions c,.s mny be imposed by rcgu-
                      btion (L~ws of 1927).



                      IV.     GElTERAL.

Highways within       All public highways, except Stc..tc highwc..ys, inside the
parks.                boundQrics of tho sevcra.l State parks, forost reserves, re.me
                      reserves, o.nd scenic a.nd historic places onr.cd by the Stat,::,
                      o.ro vc.co.tcd 8.S such hi[;hrrc,ys, tho Dcpc..rtr.1cnt of Conservation
                      being a.uthorizcd in its discretion to maintain 2.nd keep such
                      roadways open to the 1_:ublic, or to clnso the sa.mo; Provided,
                      tha.t ir~ o.ny case wh~ffo any pri vo.tcly owned ln.nds would, by
                      such vacation, become ino.ccessible by public hi[_':hvray, in
                      such co.so so much of ::my such highvmy a.s will frt'lvide public
                      access to o.nd outlet from such lands is not to be deemed to
                      be vacated so lcng us such condition exists (Laws of 1929).

Highwa.ys to parks.   The Stc.tc Highway Commission is c.uthoriz~d to lay out, con-
                      struct c.nd mo.into.in, o.s o. pc.rt of the Stc,te Highwc.y system,
                      hi;,;hvmys vrhich v-rill connect o.ny Ste.to hi 6hwc,y ni th a1;.y Sta.to
                      park or o.ny rocrcationc,l, scenic or historic place 01med or
                      npcrated by the Sto..-~c; such conncctin~ highways to be lo.id
                      out, constructed a.nd mn.into.incd in tho sc.mo manner a.s is
                      provided by la.w for the lc..ying out, cnnstruction o.nd m:..,in-
                      tcnancc of Sta.to hir;hwc,ys (Lr.ws of 1920).

Rotary Fund.          All funds accruing to tho use of any Division (except tho
                      Division of Fish and Grune) other tho.n regular specific
                      a.pproprio.tions mn.do b~· the Genoro.l Assembly, consti tutc
                      rotary funds and no pc.rt of which reverts to the general
                      fund at the close of o.ny fisco.l ycc.r; (Lo.ws of 1935) •

Tippecanoe Battle     Article 15, Sec. 10, Constitution of India.no., declares it to
Ground.               be the duty of the Goncr~l As,cmbly to provide for the pcr-
                      m.."..ncnt onclosuro and preservation of Tippcco.noo Bo.ttlc
                      Ground.


                      v.    INDILN.A' S CONS::RVJ~TION PROGR,~M .

                      1.    Dcvcl•ping n greater o.pprccio.tion of Out-door Hoosicr-
                            land.

                            Encouro.(:!:ing nnd correlating o.11 consorvc.tion o.cti vi tics.

                      3.    Perfecting nrtificial methods of wildlife propo.go..tion.

                            Improving oondi tions for grontcr nc.turo.l incrco.se of
                            wildlife.

                      5.    Correcting nnd controlling the pollupj.on of f trcc.ms o.nd
                            le.kc s •                   Digitized by l.:rOOg     e
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                      6.    Adding rocroo.tional opportunities through our Sta.to
                            Pnrks, 3ta.to Forests, a.nd a.11 other state properties.

                      7.    Further developing 3t2.to Forests o.:1d Forest Nurseries.

                      8.    Re storing sub-mc.rgina.l lands to their n~·.tura.l st8.tc.

                      9.    Fostorins "Riv·Jrsido Forest 11 r,la.n.

                     1r •   Furthcrinf; Consorvc,tion through Education.

                     11.    Stri vir.g to mo.kc India.nu a more C1.ttrncti vo Outdoor
                            Sta.to•



                      VI.     ST.i.'i'E PLAfH:INS-.

St2- to Plc.nnin 6    A Ste.ta Plnnning Boe.rd wo.s er . a.ted by Acts of 1935, consist-
Bo'.:.rd; members;    ing of eleven pe rsons, ono of v1hom to be the Governor or
terms.                some P'Jrson design-:-tod by him; one to be c. mc:mber of the
                      State Hi~l·1·,:t:·.. y Commission, to be dcsi ;"~nc..tod by the Governor;
                      the Dfrector of Public Y(orks; Director of t:10 Division of
                      Public }L:::c..lth; tho Director of tho l:.. griculturo.1 oxperim,:mt
                      stc,tion c.t Purdue Uni vcrsi ty; the :::tc.~;e Geologist; o;.m to be
                      nominc.tod by the Indic.no. city pl::rnning; nssocintion; ;:;ri.d tho
                      other four members to be selected nnd nppointed by the Gov-
                      ernor. T110 terns of the fi-.ro c,ppo:\.nti vc members to be for
                      four yco.rr:. (rot.c,tcd). J. chnir1.ic.n is dcsi gn~tcd by tho Gov-
                      ernor. All members servo without componsc.tion but nrc
                      o.llm-1cd o.ny rcc.sonnble .J~~r~:mses incurred in the pcrform2. nco
                      of offici~l duties.

Exocuti vc Dir-       Tho Boe.rd mny c.rpoint c.n oxecuti vo director, vrho nets a.s
ector.                its Secret ... ry; c,lso mc.y 8Mploy such other personnel deemed
                      nccesso.ry.

Purposes; Povrcrs     For the purpose of providinp; th:. t hoc. l thful, conveni0nt,
o.nd duties.          safe c.nd plc~sant livinf conditions ma.y be o.ssurcd through-
                      out tho Jtc..tc, c.ffordin~ C'..bun<l~nt opportunity for the
                      proper utilizution of n~tur~l resources; end in order th~t
                      the pccrle of tho Sta.to mny rcC'..lizc the £;rec.test pos~iblc
                      bcnofi t fron thu resources of tl1e .Stc..te, including: soils,
                      lc..r.ds, forests, fisheries, vd.ldlifo c,;.1d rccreo.ti~ma.1 fc.ci-
                      li tics, nnd including: such di stri but ion cf populc,tion nnd
                      of the uses of lo.~1d o..s ,,:rill tend to !'Cduco tho v:astos of
                      physicr-.1, fir:a.ncia.l or hurr"'".n r;:;sources, thc bo,.rd is cm-
                      poucred:

Surveys, etc.         To Ill.8.kc inquiries, imrestigations und surveys concerning
                      the resources of a.11 sections of the ~t~tc;

 Formulate plans,     To c,ssemble c.nd r-.nc.lyzc the d'.:l.to. r-.nd to fornul::-.tc rlc.ns
 etc.                 for the consorvc.tion of such rc::;ources c.1~d the intclligont
                      c. nd systcm."'.tic utilizc.tion ::-.1:d dovclormopt thorof f;
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Recommendations.        To mc.ke recorrnnond~tions from time to time as to the best
                        methods of such conserv~_tion, utilizction and dc7e loprr!ont;

Coore r e. ti on.       T'.) cooperate with nthcr D< encies 1 nntionnl end .3t~tc;

1:::ster plo.n.         To make and adopt an officio.l mo.ster plc..n for the 1_)hysico.l
                        and economic development nf the Stc.te, includin?, o.rnon g
                        other things, the genera l loc~tion, cho.ro.cter ~nd exte nt
                        of hi gb,c..ys, exrrcssw~ys, pc.rki:r:::.ys, vrc..t c rvro.ys, v:~·.t c r fror,t
                        develorment, flood prevention vrorks, pc.rks, preservc;ticns,
                        forests, wildlife refuges.

Restrictions.           Followinr adoption of the Ste. ce mnstor plan, no ::to.to hi f h-
                        wc.y, po.rk, forest, rcservction or other Stcte wc..y, f round
                        or prororty mc..y be constructed er c.cquired with ~t ~te funds,
                        or loco.ted, constructed or r,ut:·~ ori zed by c.r,.y Sk,tc O. fO ,,.cy
                        t·nle.:,s the loce.tion o.nd extent thereof is fi:cst submitt e d
                        to the Boo.rd for its report end o.dvice.

                        The Board i::; further directed tc rrornr0 and keep up to
                        dote o. ten your construction o.nd fin ~ncial pro r r~m, to be
                        prepo.red in consult~tion with the severGl St ~to de p~rt-
                        monts; to cooperate wit~ ~tnicipc.l, county, re r i on a l ~nd
                        other l0ca.l plunnin 6 co::uni s sions; furnish c.dv-icc c.:1J. re-
                        ports to cny .State o f ficer or d e pc,rtr.1.e:-1.t; propo. re ::.nd st:..b-
                        mi t to the Governor r.nd Ge neret l 1.3s0mbly dro.ftc of le '=' isla.-
                        tion for c , rryins out the me ster rle-n; cncourc.gc the crco.-
                        tion of county, municipc.l c.ni re p:ionD.l rlcnninf" corm:iisc-
                        ions, c.nd to c.ct as n clenrnins house for ir:forrnc.tion :c c l c-. t-
                        inf to such plc.nning .

                        VII.     STLTE Pt RK RUL~3 f D RE GUL' TI ONS

                                               This is YOt iR PiS(K

                        All visitnrs a.re expected to obs e :·v0 t ~1e follcw;in c !'Ul 0 s t:1~t
                        ~;J   co.n fulfi 11 the purpose for which this c~nd otho r
                        str.te pa.rks w0re e sto.blishod, the rroscrvc.tion of c.. primi-
                        tive lo.ndsc~pe in its ori Ein~l condition nnd c. pl o. ce whero
                        you mi~1t e njoy the out-of-doors.

                               1. Do not injure or do.mc c e o..Y-.y structure, rock, tree,
                                   flower, bird or vrild c.c1imc.l ·,·,ithin the pc.rk.

                               2. Firecrms are prohibited ~tell time s.

                               3. Do ~::; must be kept on l e e.sh while in the          rx   rk.

                               4. There : :; h ec ll be no v c ncl i n c or etdverti sj_n g Y,ithout pe r-
                                  mission of the Dcpc.rtmc nt of Conscrvc,tion.

                               5. Cwnpinr,; o.rcc.s r-.!'o provi d ed o.t c. fee of hrc nty-fi vc
                                  cents p e r cc.r or t e nt for cc.ch 24 hours or fr,.~tio n .



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                  6.   FirP-s shall be built only in plAces
                       -providP-d; visitors ~ust put w~ste in
                       receptacles provided for that purpose.

                  7.   :;iotorists will obs~rve speed limits as
                       posted in the i;ark, and park in areas desig-
                       nated for parkinc.

                  8.   Fa thing is limited to suci1 places ar.d tines
                       as designated by the Department cf Conserva-
                       tion.

                  9.   Drinking water should be taken only from
                       pumps, hydrants or fountains prcvided for
                       that purpose. This water supply is te~ted
                       regularly for purity.


                                         YCU DO

                             Help Preve~t ~orest Fires.

                  Build Fires only in Desifn~ted Places.
                  See that cirars or cigarettes are out before they are
                       thrown away.
                  Break your match before you drop it.
                  Report any violation of fire reE;ulations tc rark officials
                        at 0nce.




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                     Exhibit 7
                  Iowa (seep. 61)
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                                        I OW A

                      I .   STATE P A.~K3 AND PRESER\l'ES.

J 11ri sd ic ti on.   The State park:, an5 preserves are under the jurisniction of
                      the Department of Conservation ar.d are arministercd h:: the
                      State Con0ervation Comt'lis~ion. (Acts of 1935).

State ConserTation    The Commission is composed of seven ::1emhers. Appointrents
Corrm1issicn; mem-    1::1re for six years and are nade hy the Governor v i th the ao- 1

bers; appointment;    proval of t·:·o-thirds of the memhers of the ~em1te. tJot rr.ore
terrr.s.              than f-11Jr members may he cf the sane ;1c•litical party, and
                      are to he citizens rho are int0rested in an~ have suhstan-
                      t ial ~now led re of crnservat ion r.:atters. }/embers re-:!e i ve
                      $7.50 for each day actua~:y and necessarily emplcyed ir.
                      the discharge of official duties, but such ccm~ensati0n may
                      not exceed $j0Q for each fisca: year; also receive necessary
                      expense:, incurred in the discharge of their rffida2. du tie.:;
                      v:hen ah,v,mt from their u3ual place of abodA, ur.le~s servin,~
                      under contra~ts which require them to defray their c~n ex-
                      pensefl.

State Conservation    The Commis~ion empl0ys an adl'.lini~trative heac, desifnated
Directer.             as the State Concervation Director; and Tho in turn i~
                      authorized to employ necessary assistant~, inc:uding a
                      professionally trained State forester of recocnized stand-
                      inp; al20 suet conservaticn cfficers ns ~a.y he necessa~·
                      to enforce t~e laws, rules and reGulations.

Divisions.            The Lepartment of Ccnservation consists of the fol:owing
                      statutory divisions:

Fish and Game.        1.    r ivision of Fish w1c Game,inc.'..uding all matter:, re-
                      lating to fish irnd fisheries, aterfo'.•1:_, e:ar.1e, fur-hem·-
                                                             11 1
                      ing i=mc1 other anima~s, birds, and ·1/il(Hife resources;

Lands and -aters;     2. Division of Lancls Bnd ~Aters, inclu{ing all metters
ParKs.                rel at inr. tr:- sfate waters; state par}:s and r9cre,it ion;
                      forerits and f~restry: 3cenic, scientific, historical ann
                      archaeolo~ical rnFtters;

Administrative.       3. Division of Ad~inistration, includin~ all mattc~s r8-
                      lat ing to-account~, re-cc rel s, en fcr(!enen ts, technicril s-.:r-
                      vice end public relations.

                      The financial resources of the Co:11:~ission are ~ivifed in-
                      to three separ&tJ funds:

Fish and G8I!1e Fund. l.. Fi sh an( G8!11e Protect ion Fund_, consisting .Jf all mon-
                      eys accruinr from license fer~ and all ether s~urces of
                      revenue ari11inr• under tt-.e division cf ["a.me and fL,h;

 Conservation Fund.         Ccnservatic'n Fund, consistinv of all cth-:,r fund~;
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    Arministration Fund. 3. Adr~~nistration Fun~, consisting of an equituhle por-
                         tion of t:--,e cross emount of the tv.•o ehove fund3 sufficient
                         to pa: the expenses of atministraticn.

    Powers and cut ie s.    General pov'.ers anr d'..lt ie s 01' the Commission rel at inf to
                            tl-te State ~rks Pre as follr,ws (Code of IoV:a, Chanter .97):

    To make investira-      To investirato places in Iora rich in natural history,
    ti,ms.                  f ,o re.Jt reserves, erchaeclJpical specimAns ana f!eolorical
                            de;)osits; the "1eans cf nro:'lotir.g forestry, maintaining
                            ani~al ~nd bird life, and the crncervati~n cf natural re-
                            ::iourcE-s;

~   Establi.Jh parks.       T.o e::;tahli3h, Illaintain, i~prcve anci hea 1 1tif:,• puh ~_ ic parks
                            upon the s:iores of lakes, stre:-ims or other waters v,ithin
                            t,e Stl'lte which hnve becc:-!e hictoric&l, or 11hich Are of
                            scenic interest, l"')r which, hy re a son c'f their natural
                            scenic beauty or locaticn are Rd3pted therefr,r;

    Acouirc landc.          T-irurcha3e c-r cr-ncemn lcmcls fer publi~ parks; hut no cc.n-
                            tract for the nurchase of 3Uch puhl ic parks may he made to
                            an amount in exces.s of funds a_r;prcpriated for su~h purpose
                            by t'.1e General AssP-mhly;

    kcquire conne~tinf-     To purchase or conde:un hi[hvmys connectin? such pFirks with
    highways.               t~1e puhlic hirhv·ay:1. S:.ich hi€~hw8:•s are to he•Jorn.e puhlic
                            hiphways ""f the statP. and tJ be maintained an ether pu'l-ilic
                            hi~h~ayA rf the county;

    Gifts or use     l')f   To accept gifts of land or other prop rt~, or the use of
    ler:ds.                 limcls or ot'.1er pr--,".'f:rty frr a ter"'l of yeers, and im:)rove
                            the :-:;p.!1'1'3 As r,uh1 ic- Stete park 3.

    Condition.              The con:: itions nttachcc~ to a 1?ift are tc he entered a2
                            part of tr.e reecrcl. 0f the ti t::..e by •uh ic h the State take 3
                            the lancis. if the c0nC.:.iti0nc m·e mac'le hy ti1e !?ranter in
                            lieu of monetary con:::ideratior.s. If the e("lnaticn be rther
                            than real estete, and a prrtL:ule.r snecif'ication for its
                            trne 'l)e mac:e l:l:, the conrr, n("I ;_rn.rt of :-u<:h dcn8.tion moy
                            be u3ed or ezpendeC for any 0ttwr p'..lrpose. If l~nds
                            transferr-ed t0 the state as a r:ift, or pur~hanecl from
                              m0neys ci v':'m for th3.t puri)o~e, are nnt used for ;1ark
                            purp0Ges, or are 3~J..o, the dc-nor may reclair: the :.anr. or
                            f'..lnC3 hy fEing request 'J!ithin :JiX m0nth::i of the time C"lf
                            abardo:r.~.ent l')f ~ale, hut no intere.st or 0thcr charges may
                            he de:-1anGeJ. .Any unc}ai:"'.!ect funds are t.., he used for pork
                            }m r pr, :, e s .

    U::ie 0f pri v1:1te     The: C')mmission ma;,' perrr.it thP impr'1ver.1ent of parks, v1hen
    funds.                  c sta~linhed, er the improvenent nf h')d ie s r,f wi::ters upcn
                            t:-ie border of which parks rr.ay he eotablished, by the ex-
                            penrli ture of private funds; s 1.1ch improvements to he done
                            unrer it~ directi..,n;



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  Cooperation with          May enter int0 an nrranKe~Ent ~ith any county, city or
  counties, cities,         tovm f')r tl1e C(lre end maintenance C'f any State park;
  tc:w:ns.                  c -) untie:.,, cities and t •:H•;ns heinr authorizec~ to maintein
                            such parr.:s nnd to pa:, t:1e eYpense frorr. its reneral fund;

  t~r.y lea3e lands.        ~ay leese f ~r pericds not eyceeding five years such part
                            cf the p!Y'pcrty under its juri s oiction as to it "Jay seem
                            Anv isal-ile;

  May sell park land.       May sell such parts of the pu~lic parks as May he deemed
                            unde::;irahl.e for park pur;:io3es; the proceeds of such sale
                            t::, be used fer i"'ark uurp0ses;

, Citie3 and tc':ms         Any :me or more cities or town.-i may expend money to aid
  may purchase lands        in tl18 pcu·chase of land ~:ithin the county for StBte parks.
  for State parksj          to hecomc the property of the state and t::> he caref for
  limi tat icn.             BS State r-qrk::;; b'.lt the amount to he so paie may net ex-
                            ceec. cine-half of the totR:i. purchase price of the land in-
                            volved in miy single :pur :~hc=ise, n.,r ma~, the total amount
                            paid in ar.y sinrle purchuse exceed the sum of f50,c0n.
                            su~h 1and may he paid for out c,f the generi:i.l fund, ,)r the
                            park fund, or honcl s may he i~:,med and 8 tnx levied for the
                            payment of the bonds rnd the interest thereon ( as amended
                            l 934).

 1laJ erect dam::;.         The Cor.lIIli ss ion ::-iay erect da.ns acr;is s streams and l'lcrc ss
                            the outlets of l8ke~ fer tile purpose of rl'lisinr thP. water
                            level; coI11p"'nsnting for an!' dA.mage occA.sicned to ripArian
                            cvmer;:;;

 Juri~dicti::,n 0ver        Exercise jurisdiction e ver all r.,eanderPc1 streams and lake.1,
 stream::,.                 rnd of State land~ horderins there~n, nrt no~ uced by some
                            c.ther 3tate body f or 3tate pur 1)cses; And may convert parts
                            of such pr".'perty int('\ State parks;

 To control islnnd 3.       No island in any '")f the neanderRd streruns and :!..ar;:es, (')r
                            in any of the waters horde ring upor-: the stnte, m.q:· be
                            sald withnut its rec,-,rriendation; and if so ld, the pr')-
                            ceeds 1'eccm"! a 'j)Rrt of its funds.

 3tate agencieJ t~          The Cc:-1.ini~sion may call un~m the President of the state
 coope!'ate.                Col::.ege nf Ap.riculture r.nd Mcchrnical Arts for the ser-
                            vices of r.t lea:1t one C"l!'1petent landscape archi tP.ct, en-
                            fine-or, or rardener, for coo1..--erat ion in the irnpr0ve!Tient
                            of the prt"perty under it::; control; all nece:;sary e:-·oen ses
                            ta he pgic by tlte Cor.unission, hut nc crmDenr:• tif"ln may 1,e
                            pa id for such service3;

 Highwa:- C0m:-,ii ss ion   MaJ call upon the Hirhvm::: Co 11IT1i::;sion ~or the services of
 tr, ~0')per~te.            at least rme competent en~ineer, ancl also u :1cn the County
                            :Er..gineer r_~f 1'111Y cnunt~·, ·.-::ho is t0 a::;sist, ·11ith0ut expense
                            to the Co:71Tlis:;ion, in carryinf cut the true s!)irit "'.nd
                            nur -r.1ose of the lavr;



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Rules and reg1lla-        r.:ay ac'i ·::>~t anr enfo rce such rules and rer•ulations as it ma•r
ticns.                    0eer.: nece2:~ary, to ret:-ulate or rer,trict the 11se hy the puh-
                          lic of an~' 0f the park 3, prcperty or vrnter under its j 11ris-
                          di~ticn; pr8hi~iting, rPstricting or contrcllin~ the 3peed
                          of bcats, ~1ins, er ~ater creft of all kind3; traffic
                          unon t~o rnads and drives; ~overnin~ the huilding or erec-
                          tion of any pier, wharf, service, pilinr wall, fence, huild-
                          in~, er erection cf any pier, ~harf, service, pilinf wa:l,
                          fence, building, 0r erection 0f any kine; and may prohihit,
                          restrict or crder the rer.1cval of serre.

                          II.     FOF.::G'IDY AND CONSilWATICN.

Acquire fc restry         Py Act 0f ltJ:::5, the C<'mmissic-n i3 authorized to 11ccent
lands.                    gifts, donation~, er contri~utinns of land suitRhle for
                          f ·J !'e::1try or conservati,:m purpose3;

Cocperete vrith           To er.ter intc avree □ ents ,ith tr.e FederaJ '.}cvernmcnt or
United States.            ot;ier Rgencie3 for a~quirinr: b:,r lee~e, purcha:-ie or other-
                          -..:i::;e, such l~nds as in t)1e judr;r.ient 0f the CcP.',mbsi~n are
                          suitahle for such purpcs~~;

no tax e:xiernpt inn.     All lands ::;o acquired are suh je ct tc the revulAr annual
                          tax levies as other real est1:1te in t!1e taxing district;
                          the taxable value to ))e lb1i ted to the price at which
                          r,arne ·,ms pur~hased by the C".lr:mission 0r o.ny agen~y 0f the
                          Federal Goverrunent (Note: held hy Attorney Gener I'll to he
                          11 um1'"lrka"ile ''}.



r.'Yr: lunds paid f'Jr.   Ohl ir,at ir-ns incurred for the acquisi t icn cf Jand are t'J
                          he naid S"le l y and exclusively frorn revenue ferived frnm
                          ~uch londs, end ~hell n"t irnpoHe any ~iahility uuf)n the
                          vener1:1l credit o.nd taxinr,- p0•; er of the Strte. All ,.uch
                          revenue is to be sep-rcr-ated f0r the •me rf the Ccmmissi"n
                          in the acqu is i. t ion, m~m r•;cer::er,t, cevcl0p!r.en t, an c u :oe <'f
                          t 11e lan~s until All 0 1)li,,,.~:tiru.~ h~'. Ve heen pr•ic ir: full.
                          Thereafter 5 1~• of all net prc,f i tr, 3re tc be u::i •") d for =:iuch
                          purDr::::es as t:1e Ge:r.cral Asse: .hly ma~• 1_1 rescri11e, Ann 5f'c;fi
                          is to '!"le •1aid into the te.n1pn1•r:r!' ::;cho,) l f12n0s of the coun-
                          ties in ,~ict lend~ are lccDted;

}fay ::;ell, lease or     The c-,rr.r.ission mA~' sell, e:;,.c~1anp-e 0r len::;e ::.an:ls vrhen in
exchanpe land .           it::; ~udr::::or:t it is ac.vrntcreous t0 do so, proviced the
                          sale, lca3e or ezchan~e i:, n "lt contrar:.r to the ter;1;J of
                          any c~ntr~ct ~hich it hRs ent : rcd into.

                          II I.   PUBI..,IC IMJTI:JG AlJL FISHIIJ'} GROU1TD0.

                          '!'he C'.)r.1rnissinn is authcrized to ac1uire by purchase, con-
                          dem.~etion, le:=tse, 9ereere nt, rift rr de·1i2e, lands er
                          -:;aters and rights of v,ay theretn, sl1it2hle fnr public
                          hunting, f bhing Rnd tra:1pinr-; p:rcund :1, 'm which an:, persrn
                          may hunt, fis:i or trap; and tc extond una consclidate
                           h:r.ds O!" water::; m.1itnble for such purposes.


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                  IV.   GENERAL PJ.RK RULES.'

                 The follov1ing are r·1les and rer1lations "'.)ertaini11; to
                 State:-o···ned p'lI'irn, preserves and other aren3 unr.cr the
                 ,iurisdic:Lm of the Ronrd:

              1. Unless othf.r:1ise (esig-nr~tec, t",e rna:r.:ir:r..u:. spcod limit of
                 nll vehicles Rnd tran spcrtFt ion ,w,=mc is s or. ~1:1rk flr:i ve s
                 e.nd hi~,hwa~rs is 15 miles ~er lirur. A:.l rJrivinc: chn~l he
                 confinec'l to d,3 3ifnated rcarv:a: 1 s.

              2. Excessively loaded vehicle2 shall n~t rpe~atc over park
                 ro2d3 A.nc1 drives. Tl:e det,rmination as tc, 111llether the
                 load is exr,e3:1ive ,•1ill deneni uuon t:ie l::ia.:l ar.d t:ie ruid
                 conditirn, and the r'ecision reg<1rcinr se:ne ·: il;_ he r.ade
                                                                         1


                 h!' tLe hoard's authnrized repre.'3er.tative.

              3. All vehicles shall he paried ir. the desipnatea ~arkinr
                  ereas, and - ur.less in case of ar. enerr:en~y - d:a:.: net
                 '-le left unRttended on a pnrk roRc' rr ~rive.

              4. i-fo horse o:!' "lt~1er animal shall he hi t::!hej or tied t::.·
                 trees or shruhs, or in su~h a manne!' af' tr: resu l t in
                  injury to State prr )8rty.

              :-s. !:o fires shall be built, excert in plA.ces provi:ied there-
                   for. All fire:c1 shall re put out whe:1 thFJ site i:-, vacated,
                   ur.le::1s it is immediately used b:; .~,.,me other ;1arty. Ex-
                   treme care s'lall he taken thct nc fires get }ie~·0nd contrrl.

              f-. Fo persc:n shal.l, in e.ny manner, deff'ce, injure or remc ve
                  .<m~' tree, shrub, p:'..ant or flover, ,,r the fruit thererf,
                  or disturo or injure ~m~· !';truch;re or nRtural attr2.cti0n.
                  Special permi~sfon nay he f~ivcn hy the board for tr,e rc-
                  mcval of specimens frr f",C ient ific purpr [-'83, but such rer-
                  mis3ion must be obtained fror., tt,e De::; !'0ine s rffice.

              ?. Fire Rrms, fire cracker~, exnl0sive~ and rea~onA nf a:l
                 kinr.s ~hall not he ue1cd in a StRtc park nr pres~rve.

              8. Picnic tnhJ.Ps shall. n ,J t he uned or mcmcpo"'ci7.ed lonrer
                 then neces.Jary, Rspecially if others Are ~Ritinf to u~e
                 such facilities.

              9. All v:a::;te anr litter sh':311 he di::'!'Ju~:ed cf hy placinf:Z JBIT:8
                 in the receptacle.::; provided fc)r that nurpr:sA, unl':!~~ it
                 is of ::;uch nature that it can a:-id i:::: hurned up ir. tha
                 fireplace.:i. N0 V!Fiste <"'T foreign :;uhstan~e ~hall he
                 nlnecd in any area, e:x:ce;'.lt vJ!-.ere specifical2.y a11tlwrized.

             1n. No person sh~ll use any loud, v in lent, oh :~cene or prnfane
                 lan~uare, nor c~nlu2t him~A~f in a dinord8rl~ 0r o~~~ene
                 r.anner, or C'"'mrrlit e.ny nuic'an~e er mi20eme.cmor.



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           11. No ::me shall e1:ter upon nc rticns of the area ir.. disrep-ard
               cf si1:~ns '.)r posted notice::; forhiddinr sar.ie, e-rcept hy
               S!"Jecial !'.'f'ITnit of t:1e State's reµresentative.

           12 .. No pr1n.i.tejy o\'lned anirrm::.. sha::.l he a ::.. lov•ed t') rur. at
                larpe in any p~ri<: er rreserve, e!'lc: ")very such anir.ia:i. shal::..
                be ceer.:ed r'..lnn ir.g at larfe unle .ss t:1e :nmer carries :.:.uch
                anima}. er lends it by a chain er lea8h r.ot exceedinr:
                6 feet in le~ g th, or kedps it confined in ')r attached
                t0 a ni.gc r., !,utor:i("lhile er oth''l' vehL:le.

           ::.3. The pari< or "'ther puhlic arer. to vhic'h these rt.:les ap1Jly
                 shall he vacated hy lC:3C ?.~. unless s1Jecial arranre-
                 ment s r.ave hee!l mad?- tr:> rc,a&in lor.fer. Ir. spec i:=d ca~en,
                 certain areaE mey he cln~ed to visitors at an e~rlier
                 hour, cf 11;hich n'"'tice 2!1Fill l,e riYen h:' :'r,:,-rer sifn~ or
                 int~tr,~ctions. The provj_sion 0f this ::ection ro net epr:,2_~,
                 tn a 11 thcirizea crur.ping .

           .:4. In cane of accident, v:henGver rcssih}.e 2nci practicP.l, M,me
                shal:. be renorted t'.) the park ~ustcdian.

           15. Ca'Tlping is cnly permitted in certain areas ano ur:.cer
               .special rule s nnd regul!:ti ~r,s pr0vioed therefor.

           16. The park er its fud J. ities s hall rirt be usec fnr the pur-
               pose of rni:::ing revenue, either directly er indirect2.y, ex-
               ce1;t in the cu~e cf regnlarly autt.. :>ri7ed con~P::,;,i cms an-
               prrved b!· t:'.e hi" ard.

           17. 7/AL!H!:G - At eertain p:1. uce :, i::-: F.e -;_:inrt::'. and Rt the l1.1ke n,
               it is a<mr-erou s fur :ma:-..::. ch Cc' ren t0 he ur.a ttencleo, and
               it i~. thercf0re, ~upreste~ th~t adults rive due ~ttPn-
               ti cm to t~1i::, when acc<'.'n1pmie,~ et t;,e varinu:c: pnrk::c an1
               laY.es b:,r chi:'..clre!1,



                Where cn~pin~ is J~rmitted in State par~s, it shal ~ ~e
                in arcororu-~ce ;·· i th t::e f0:lo v1 inp ru::.es P..nc1 rer.u J.aticnn:

                l. Cm::.pinp 3hel:'.. '1-ie in thE' r>rea . . . prescri~ed hy t~e :,_i_Y)er-
                inter.der.t or t: .e board.

                2.   Tn no e\"'ent vlill carnpint· lie permitted in eYccs~ cf
                tv10 ,·eets !inc. in certain cesL·nated areas f,.,,r over ni...,.ht
                0nl:•.

                3. Eaeh carr.ner shall refister !-lis or her nane and ad-
                dre~s ~ith the ,erk custodian, anf advise the custocian
                when the CE~P is vacated. A srecial register h0~~ shqll
                he kept hy t~e custociah.



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                      4. A fee of 5Cq. ni::.r nip-ht or $2.5, ;:ier v.'eei: for eei;h car:!)ing
                         unit shall he paid in advr•r~ce. Ea~h tent, auto, trailP.r
                         vehic:i.e or rcrtah : e ho'.De u~<?C'. fer s::.eepinr quarters 3hall
                         be CJnsilered nne unit.

                      o. In mak.ing arp.:..icati0n f0r the privile£•e cf campin~, apnli-
                         cants sha::.:. 3u 1 ,mit credentials sutisfactor:\' tc custndinn.
                         T;te ri i::ht i.:, re~erved ta ref'..l s e campin~ pri v ilep:e s, if
                         thi3 i~ de8n£1 a~vi~ahle by the c~strdian, and to re3cind
                         any •Jr a:::. caml)ing per.m.i ts prnyirusly it, sued, if for juot
                         cause this is cee:1ed ad·ri snble.

                      i. Ca .rnpers shr1ll ohcerve a l l park rulei:5 an( regulations,
                         and the laws of the State 0 f I~we.

                      7. T~ie prcvidons of section 4 hP.re:,f A.re not a-pplicehie to
                         s -.:icie.l s ervice orranize.tions, v• 11~n r;r0ups of :.::uch orfRni-
                         :,atior.s desira t •) car'.'. p ns nn orgnnizaticn ancl v•hen accrr::-
                         pm~ied hy accredited offic •Jrs of the crgani7ation. In
                         :,uch case, con::;ult tl ,e par}< custoc! ian rer,ard ir1,'! the pro-
                         visi Jn f o r this t:·~e of C<\!ll:linr,.

                      8. C3:'.lpin? is on::.y permittPc: in desicnated parks, r.mr in
                         fer.erel 0nl:• in t~o3e pArks v•hcre prC'~er facilities ex-
                         ist ~red 1rop· r ::;upervi2ion can he riven.
                                   1




                         Lod ,res lrnve heP."1 erected in t 11e nurks that ere enclosed
                         Eind provided •;: ith fi rE>pll! CeE.    Cert a in rule~ .and rerula-
                         ti'Jns hnv8 l-.eer. drtHi!l UT) re::._ative to tl1E: u:::;e of the.se
                         l0cres. l..r'.""J p-rnup de.sirin;· t ·,e u:-oe of a :,ark :!.oc'l f e f,..,,r
                         a speci:-11 c' [:te mBy make re::iervstion with t 1,e custcdien.
                         A sr-1a:::.: fee i::i chorgec' frr ruch u ::e cf thP '.:."C'f!'e to ccver
                         cost of illtminaticn, firewo od, etc. Alth cugh a :~dgc may
                         he in uae, under a reservation, A cssug::._ p grk vi~itor is
                         not precluded fr0~ enterinr sn~e for lepiti~ate purnosea.
                         In t~e :ate fn::.::. and 11i::tcr m.mtll.s, the eatinr: of lunches
                         in t:w lnor:e is perr.i tteC, ~Ls ~ cne- as care and neatne :;3 is
                         exerci~ed in so ~~inr.

                         Church !)!'€',anizP.t ions, hr.:" :,c0·.1ts, ~rur;p fire girls, and
                         sirr:il~1r or~f:n izaticns rrm:. he rrantef p0rmis3ion to u::e
                         P. looce free ,f charge.         Hov ever, no permit tn use a l:x1ge
                         far the purucae nf raising revenue is t0 he granted. No
                         loo.re re::ervatinns are t0 he f.rantAd for SUndays and h0li-
                         doys.

                         VI.   F:U-=-.ES .AND REGVLATIOM3 FC~~ OPEfiATING BOATS .AND OTIISR
                                 CR,',.FT UN T.:L Il~LAlD UiIS 1\I-ID STRE.!¼,:S OF THE STATE
                                   Ar'D T.:-IB GE!:ERAL US E OF !,:I!:JJ-JTil~?ED LAY.ES AND STREMt S
                                       OF T:lli STATE.
l.   Defit.i tions:      "M,.,tor Boat" is defined as an~• hoat or WBt8r craft pro-
                         pelled 't:1y mqch inery. .Any hoat or croft that is pronelled
                                                                      Digitized by   Google
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                         hy attachnent to another craft, which in turn is nropelled
                         hy ~achinery, i3 to he consi6ered a motor bcRt.

2.   Classifications:    Class I - All steaJ1:hoP.t3.
                         Class II - A:l 'b('ats pro~-312.ed ·d th inb<H:ird t'.lotors which
                                         are used for comrr:.crcial purpc2es.
                         Class III- All mater hoats with in~('erd ~otors use~ for
                                         private nurn0ses.
                         Cless IV - A::..l motor bor:t.:i of plane c-r fliding type, in-
                                         cl~1c"ini:;; ccmhinatir:-n, plrme anrl cisplace:nent
                                         ty,es, propelled by Rn cuthoard ~otor.
                         c:::._a::rn V - All r~v:boats of disp:acement t~'pe, propelled
                                         by 0 1J.th'Jard rnct0r.
                         Clas~, VI - All rov:h0ats r:r canoes prcpellec~ b:: han:1.
                         Cla.,-;f; VII- JJ.l sailr-0ets.

3.   Equipment:          (a) Fire e~tinguishing apparatus:
                         A fire eY.tinguisher, approve~ by the ?.oarc of Cor.serva-
                         ti0n or its re!)re3entative, m11r,t be carriec., v.·hen navi-
                         sated, h~• all mater boats ('perat~c"'. for hire. The fire
                         extinrui::;hers shall he capahle of extinfl.lishing burnine,:
                         gRs""l ine anf ~E:: 0f the cnrhon-d ioxicie, carbon-te ti:i.chL:ir ice
                         or foam types.

                        ('I)) Air tanks:
                        All boats, eYcept sterur:boats, carryinf pas:,engcrs for hire
                        shal 1 be equipped v:i th air tanks of 3uffic ie::1 t capacity to
                        sustAin afloat e. hoat '!.'hen full of water with all her full
                        c0!!1plement of pa3sengers nnci <'!rev, on hoat.

                         (c) Life preaervers Rni life sevin? ~evices:
                         Mntcr hoat s carry inr, '!)&ssen~ers f,r hirP shall carry one
                         life preserver, life helt or b~cy~nt cushions or ring buoys
                        .for each persnn on board, e.nc said life pre2ervers, etc.,
                         sha::.l he arnr0vec by the horirt ('f con:•erv~tirn or it3
                         authorized repres~ntative.

                        ( d) Muffler~:
                        No rnot,..r hnat, propelled in ~hole or in part ~y ras, pa~n-
                        line or nn~hthA, 3hall be op~rat~d on the inland ~ate~s,
                        of the 3tote, un:e sG the t'a:1:.e i::; pr,..vided v·i th the proper
                        exhaust •Jr r,mff J.er c'evice so c<mstructed anc' u::c;ed t0
                        nuffle the n,., ise of the exhau,o;t. and nc ::;uch hoat shal 1
                        use a cut-out of any such cievice V!llich 'Pill rr,ake the
                        :rruff~er ineffective.

                        ( e) Tihi .stle :
                        All motor boats in Clas2,es I, II, III and IV :ohaJl havA a
                        whistle, hcrn or 3ound ~evico capahle of rna~ing a signal
                        tliat can he heard frc,m a distance of one thousend feet in
                        cal~ ~eather. 0irens are ~Decifically prohihited.




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                      (f) Boiler insurance:
                      O7;ners of steamboats cperated for hire on the in::anr water~
                      of the state are here'by required to carry ho iler insurance
                      and ccpy of the insurance pcl icy shA.11 he fEer with t'.rn
                      ho~ri'!.

4.   Lights:          All h('\ats 0perate<l, durin t-:: the perioc1 betvmen 30 minutes
                      efter sundown and hefcre sunri8e, Rhall have the follm 1 ing
                      lie:ht s:

                      (a) :Cvery •:iotor 1':>oat i:: Cla ,.; ses I, II, III, and "Ill boats
                      in Class IV, which in tl1e ::.r>.tter case s:ire cnpahle of a
                      speed cf 9 mile~ or more })<]r hour, shall have the follrrn-
                      ing l if,cht s:

                           l. A bright white li['.ht in fore part of the h')f'\t as
                           :i.ear the stern as prc1ctical, so co:rntructed A.s to shov1
                           an unbroken 1 irht -:,ve r an arc :,f the hrrizon of tV1enty
                           p0ints cf the compass, ~o fixed a3 to throw the lifht
                           ten points on eqch side 0f the veonel; nwnely, from
                           right ahead to tv~o points abRft the beem on either
                           s1oe. The flass rf the lens shall he not less than
                           5 inches in diameter. In general, this li~ht ~hall,
                           when in use, he kept pointed in c.irecticn hont is
                           travel in[.

                           2. A •11\,ite lip.ht aft (1-'tern) t') sh'"'v: all arounc the
                           horiz,n.

                           3. A c0;;1'1:,ined lantern in tl 1e fore pArt of t1.e vessel
                           and lo·uer ttf'm the v1L i te li?-ht aft, t-:h011 inf" green to
                           starhoarci Ar,d red to port, sa fixed as to throv, the
                           lir:ht from right aheac t,:i tv10 p'.)ints ahaft the ~earn on
                           their respective sides.

                       All '1-i oBts in ClRss IV, nnt ccrm.ble of ffYceeding 8 !"'.liles
                       per h,ur, sholl hi1ve a con~t::int v:]1ite lipht in tr.e fore
                       part of t!ie vessel and to he so c onstructed as to ho
                       visihle all A.round t:,e her i:.-:::m.

                       (h) All hoatR in Cla s s V, rperatAd het~ecn 30 minutes
                       r:fter sunl:.'et AnC before sunri:1e, shall heve a v:hi te lii:-ht
                       t!1A.t if; cor.3tm:t arid ::;o plAced a::; to be visihle from any
                       direction.

                       ( c) All hoat s in Class VI shall hove, v:hen operated he-
                       t':ieen 30 Minutes after su1iset Md hefcre m1nrise ana when
                       over 3(',C) feet from 3hora, a v1hite lir-ht th.st is constant,
                       end so plnced as tc b8 viRihle from any cirection.

                       (d) All hoat3 ir. Class VII ~hall ~ave a lantern at the
                       rnastheed shr:,rinr, a v:hi te light and visih:e fror.1 ar.y di-
                       recti,..,n.



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 5. Speeds, dis-      (a)     A2.l h0atR in Cla3ses I, II, III anr IV shall not ccme
    tances and                cl0ser than 300 feet frcm all other cr~ft, unless un-
    pas::; ing:               avc,icahlc~ Rnd in ~uch CA::ies they sha::.1 .:low dnvrn to
                              five ~iles per hcur or less. This rule shall not Ap-
                              ~ly t~ g81;,e ~ardenn and boat inspectors and lake cus-
                              toct ians.

                      (l-i)   All hoats in Clasn 'l she.l: not cnmA c:::.cser than 2nn
                              feet fror.1 ether craft, ex~e :-,t v•hen :.anc1inp or 2.eevinl!-
                              :=;hore or ~·her.. it i:; unavl"'ioahle. ThiR rule :1hall net
                              opply tc r,ame wardens and boat inspectnrs an0 lake
                              CUStCC iAn S •

                      (c)     All hoat::i in C.lasse::i I, II, III. IV end V s~all slc~
                              dcwn to five mi:cs ner hour, whun approachinp bridges
                              or underpasses, unless vi::;i0n is un0bstructed 3CC' feet
                              ahead.

                      ( d)    It shall he unla'!•ful for any m0tor hoat to operate
                              11ithin 3f;0 feet of shores cf lR!:os at A spE:.ed greater
                              than ten Mile3 per hcur. On rivers, the speed shall
                              he kupt within such linits as will not endnnper life
                              or proryerty.

                      ( e)    t.':ot0r hoats shal:1.. at al.J. ti~1es he operatej in a safe
                              anrl nane !'!'lanner.

                      (f)     ·;hen motor l"lonts _!)ans each ether,         the follc·nin€' rules
                              shall applj·:

                              1.   Pes::,ing   fro□   rear - keL""'.1 to tr;e left.



                              3.   Passing Rt right angles - teat at the ri~ht has
                                   rig\1t-of-vray, other c:Jr,c i tion3 heinv equal-.

                              4.   SaFhoats have rirht-of-v,ay uver a::.l cth,.:- r boat~.
                                   r.:C't0.r hoats, :·:hon passing saillJoets, shal:: always
                                    prss 0n the ~indward side.

                              5.   Ju,:' hoat hacking fror, A lancinf ha~ t~t" rii:r:ht-of-
                                   wny 0vcr incoRinf h0ets.

6•   Air er-aft:      (a)     H~~r0planes and air craft sha:l nnt make use nf in-
                              lar.ct m8andare:3 la]:es and strcnrrn cf the State for
                              the purpose of landin~ an~ carrying pas~enrers er
                              other purp):-;es, exc0; 1 t at a time of danger or dis-
                              tress when such U3e may he necessary or unavoifnhle,
                              or er-:ce!)t ,--.,hen special permission is given hy tht.•
                              ~oard of c~ns8rvatinn.




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     ;l?.c as a.r.d r e -   (a)    TLas8 r:iles ::;!"1a~l TI.)t nrin2.~· in cns•J cf ri..!fUlar PC'.-
     :,_;2 t t As:                 v,: ;rt isc:d rac8s or reratt qs ruP'1ir.s; ove r a '."larked
                                   course unf~r permit fro~ this hoard.

                            (h)    T'lcats not ;"'articipatinr in s .1ch ra~es or rer.ettas
                                                                           1


                                   shall r(rnain &t least fifty feet from Auch cour s e
                                   furinp the pe rio6 for ~hi~h such roce or r e gRtt8 is
                                   scheduled.

                            {c)    ro such r?.ceo or r i:: vattas f:hall he- perroitted ex ,~ent
                                   under permit applied for and i ss·1ea b- tl1e hNLcd nf
                                   ccn3erv e tinn nr sucL agents or empl:-yc cs As it
                                   nuthcri 4 e to issue se:ne.

                            (a)    !'Tc i)ri\·ate baoys or l"ther o1rntructic-ns of an:• kina
                                   (,re to he perni tted ~-~ ss than 10C feet fr om sh~re
                                   1:n r m0 re th ~m 3 (\0 feet, ur.le2s by special_ -i:;errr:issLm
                                   1'ro111 the beard of c on:1ervati.)n J r its representotive.

                            (h)    All private huc:·s ~in,t fl •:;at in a vertical pcsition
                                   at len:.:;t eig'.1te-'r n inches <1'hove v:ater ·.•:lien at el'rne and
                                   are ta he painted ~hite or nave a ~ hite flag of et
                                   lea::;t one square fo ~t in a rea.

                            ( c)   Tc:.::1".)erinr v: it h -:ir 1"1::: vin.:- any State 0V1110d buoy s!-:.all
                                   c c n~titute a misde~eanc r.

                            ( d)   llo boat shs:i.ll be Anch ored awAy fr0;P1 t 11e sh e re a:: a left
                                   un r:uBrded unle::;s it be att?.ched to a h)ioy.

9.   Obstructi ,".'ns       i':'> .stru~tures are t0 be 'f)uilt h:• :,rivr.te infividual.1 he-
     u2.onr sho:-es.        y:Jnc1 the ::.ine of priva te o.. 1 nershi}') a.i.onr: thP ::;Lores c,f
                            nuhli!~ly 0•rned waters in s 11ch a manner a::, tc nreclude the
                             free 1,As::age cf neje s trirms al('\ng t )1e s~ore between th~
                            ordinary hi gh ~etor narK and t~e ~at e r's ectre, unle s s by
                             special permis::;i a n ~f the beard.

l'J, Ice hoat s.            !Jo cr r1ft or ve11ic l e, o peratin~ n:1 the surfnc-e •:)f ice 0n
                            the ir,l1rnd meande::1ed la'. :es aT!d strf:'ans r.f tte ;~tat8 nnd
                            prope~ . .i.ed hy machinery in 1;1hcle ""r ir:. p!:rt, shall bA
                            ocerBte1 with 0ut a ::;peci a l license heinr issuAd fer s uch
                            OpE,rqt i r, n by the bo ard of c on2ervat i '.':' n, or i L, du:!_y
                            e 1 1 th')ri zed re pre se nt at i ve s. Tl1is ::;hal 1 not preclu:ic the
                            use of ice cuttinr, machinery, ~.1ut cm-:ibiles and trucks, 1(hP-n
                            ::;uch Are u s ed ~ithcut enjan r ering public safety anj nre
                             J')P.rBted in a pro ;)er man;!e::,•.

                            Any suc!-1 licen::;e iss\1cd r:1n~r be revoked by the board 0f ccn-
                            ::;er7ati~n nr its a~t h rrized representatives, if the cr a ft
                            er vetic 2e is cperuted in a careless manner or en~anrers
                            ether~. Such reV '. J r:!"lti0n may be 1:iade by t:w bo a rd. acting
                            throuch itfl du:y nuthcri7ed at:e nt or a ~ent s .




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 ll.           Ec.::roach::lent:,;   N0 fiilinG, disp::s::il cf ?:aste, or plr:cinr ,f f0reil,!n e,r
                                     coterie-us material in er on the w1,ter::1 cf the :-""1eardered.
                                     la:ces and strear:, s of the state, 'Jr 'Jn tf1e puh:;..icly- 0v·r1ed
                                     :ohcres t::err:of, rr t:1e 8.l'ic.nd0111te:1t -:,f b •)nts, er ether
                                     prcperty, or t;1e encrC'ach,'Dnt en :oain s~crcs or v·aters
                                     hy any means whatsoever i::; :1er-:itted. This :3 ,. . es nrt p:-e-
                                     cluc.c, :1ov·ever, the con::itructi :m of r'oc·;s nnd ot:1er Btruc-
                                     tures er erActi ,)ns 0r wor'e:s for vrhich ,roper perntt has
                                     heen r:ranted l-i:' the hoard.

l?..          Fr0per pre-            Nothinr in these rules s~all excnerate Any crnft . o~ the
              c211t i'ms:            ownAr, operator nr crew thereof, fr0n t•~ condequences of
                                     e.:ny neE:lect to carr:,· lif"l:ts, sifnal::i or equi";nen-t, .Jr fror.1
                                     a n~ nerlect to keep a proper lookout, or ot' the ne~le~t cf
                                     ~m:' ~rAc11utic•n v;hich r.m:r 1'e required hy t:1e <'rt:in~ry nrcc-
                                     tice 0f :::ea:-.~en, orb~· t'1e 0:ie::i~l circur;::tm'~eG of t'.ie ~ase.

l ..,'.( •    ~· 1..,Le s su s-
             . - _1                  T!ie En:r: P,jti0:13 of an:· lip-ht on h ,,t1rr n crn!'t, (.')8:::''.1ted 1'y
                                                                                             1


              ::,ende:l:             or fJr p0:ice officer:3 vrt: i:Le on r:.ity, m~y '-le ::1.L, TJenjed
                                     v::1er.cvcr r.e r·e ,,.s,.ry, ~r.r. ti!e ch:.r~~ter C'f t·:e 2ervice rr:a~,
                                     reru ire it.

                                     Tllo 11.::'0vi::i ,~r•:3 of t'1e r·J1es nn~ ref:11~1:,tic rin :11=:rein slrnl::.
                                     n0. t B~rn ':, t n crPft lL:en:::ec by authcri t:, 0f the rrni tej
                                     Stflt ".JG ..,,:hen ~~'J.Cl'. cr:J.ft Are c· rr-:rP.tcd in ucccr0.~1nce v:i.th
                                     t:1~ 7ede, -eJ lars rrc} rer-:itl<>tiC'Its the::'Pf,) r, N,J penalty i~
                                     irLcur:rsd 'by m--:i tcr hr,rit:c: for f'11il1.1re t:, cerr:; liP"hts ,.._etv·een
                                     the ~if)ur ::: ,yf' s 1 mri:;e !:'nc1 cne-h:il f h r; tir rifter s11n ,oct.

14.          Pevcc8ti0n nf           'J''"le lr;•;: : ,a~es pr0visi0n f or the revoc'ati'.:m 0f li'.cen,,es
             1 icense s:              ''f'.)r cau:,e". 'l'!':is ter --,. in en~'ition to -: V~e-r- rir"vL1 i...,ns
                                      ci f 1'ff, i:1 11ere11i t h sti.-,;_;l8ted t0 in~l1-1ce 1d~c<'n:".11ct,
                                      r,rc :::-, ner0: in;n~e, re ck l,h :-2nes s in n8vi~nt i .) r,, in tf'::lf'erm-1 ce,
                                      vir:!.a°ti"ln c:' l?v:, ur,fit c o n::iiti , P. cf h ·.)at ;~r <'r,eriitor, er
                                      an: 0th ,r C Jnd it i ::-,n ,JJ' ci r .::uri:__,t, u~.ce tl1nt -:::iy he cc :1tn1r:.,
                                                                                   0



                                      to ...,,11,Jic ~.1-rc1.i.s, ::;,::fet:, '. ;r c ::i:1venier.ce.

15.          Fe~0rtin~ ac-           /J_~. ar.cident;; ~La~:. he r,:-i wirted a,; p!' nr:i)tl~r a:-:i p·,::,sihle
             cicen.ts:               t-:, Li8 ner~rP:::.t i,c.1 7 ir,e •~ffi::er an~ tn the riu:rc of c.rn~eT-
                                     vati :) r. :ir it:; aut'.10rizej r0,rrc~:e:.tFitive.



                                     (Repr ir.t fr or.i Pace 30, Fe rm 8 )4:, P. S. Jc p::rt ,ier~t
                                     C :)!'f.IT;r:, r~e. :Jti:>anh~c1t Ir. sne~ ti ,n ~:p rvi ce) :

                                     ( l'l) Dr'Y:ir.inc::
                                            Ir. ar, iLdi·riduat ap narent:2.y drn:nr,d, t!1E.: f8C!e .sho uld
                                            'he e:~p0 :;f)1, tile mn·1th !-:nd n ·:: strL. s cle<msr· d •_,f 'Niter
                                             ,r '7HH~, and t>e cJ. -: ,tJ,ing sL0•_1ld he. r':ened t·:: p:i>re free
                                             c::ccc:, s tc the c!1oc:t. He:r.t, turn tl-te pHtier:t en hi:1
                                             r~ce 8n :: pl8.ce und,.,:r- t!1e u :nJ:P. r pi-irt cf hi::; ahGcrr:cn a
                                            r c 21 -:-f clct:-iir.r:3, a ~Lar.ket, "r ar.:rthinc v:hich wi"..l



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                                    cause the heac to hang dov;n and will allovr the v.rater
                                    to drain from the lunBs· Drainar:e r.ia~' be aidP,1 by
                                    r.iaking pressure over the lo..-rer pert of the har•k. 7his
                                    r-·,ay alsn be done h:, standin? ever tlte patient, lift-
                                    inr, hir.1 b:' tile midd::..e of his body nnd h('lding him for
                                    a :n:m~ent or tv•o in this pc:-;iti('ln. Durinr~ tliis time,
                                    the c~uth should be held onen an~ if 0'1ssihle the
                                    tonrue should be ~1:Jed for~arc:1. After all the water
                                    is drained from the lunr.s start CTrtificial resniration.

                              (h)   Artificial Re8pi~ation:
                                    Place the ind i vid•.ial on his :-,tomach vii th cne nrm a~ove
                                    his heac: anc< t:1e 0ther arm ::,upportinf his head, 1; :-: ich
                                    :,,t/~..t'\..e he turnec s'1newhat t0 0ne side. 'rihile standing
                                    or kneelinf ast~ide t~e patient, fncinr his head, the
                                    palmn of t 'ie hea1d ~ c.re ~laced 0ver the lower part 0f
                                    the patiP.nt!, r!het:t Pnd by thrcvring the weight forward,
                                    pre ~:sure is .::ade again :3t the l c1v:cr part of the chc :.t,
                                    c1ecrea:,inr: t f; e ca:1aci t:· of t'.",e cheGt, anc-: forcinf -,ut
                                    tt.e air v1hich ma: l-,e contuined in tre lungs. '.'!hen
                                     rre:-::~mre is re:n:ived, oir v1ill he :-1ucked into ti1P. lungs
                                    hj· -+:he sprinc inr, c1t 'Jf t:1e chest Vlc.ll.         This ·11otion
                                     is continued sl o'l1ly ab0ut 1..8 or 14 tir1es to the minute,
                                    ll') fc::;ter.       lf en a t;s int,;1: ,t is at hann, continuou~
                                    rub11in1--i; 'Jt' the limhs cf tl,e patient t ,J ward the hody
                                    ~~y cid in !'9storati0n .              Do not sto~ artificial re~-
                                    1,irr,ti 0n 1md8r tvn t ours, as there is ::otill a r~ance
                                    to rcstr,re Jife, evpn aftAr this perio~ of tim~. A~
                                     ~or,n a~; hre8ti1ir;g in estnh: ished, remcvc ariy '.rr~t
                                    cl0thinf, v.rn1p in vrnr::i hl a n:~ets, pJn-ce in hed "1.Ild
                                    all'1v: rest for at ":.ea::;t 43 hcur~~.

    VII.     RVLES .AND REGULATIOH::3 :i?3TAlNirG TO CON ~TRUCTION PEI~MITS i:l:D FEEf!.

    1.     Definition::;:     (a)   Pier or Whnrf:
                                    Any structure used far loFiclinp- or unl0ading pa:o::ien-
                                    ~ers frc~ hants or ~raft propel : ed by machinery and
                                     0pc rated fer ~ire is herewith defined as a pier er
                                    '\' 1 harf.




)                             (h)   Ot~1er Structures u:,ed f or c ,:n nmercial Purnc.s~s:
                                    In additi~n tc piAr2 and ~herfs, the follcwinr struc-
                                    tu".'es used for cCJm."'.1E'rcial purp o ~-;ea are required t'">
                                    h e. ve a perrr:i t nnd pay the A.nn.unl fee listed hereafter:
                                         1. Tc~or~ar; Slides.
                                         2. no<:1t :1c use:,.
                                        3. nath Houses.
                                         4. Ca n c es 8i on StAnds.
                                         5. All other st rue t 1.ne r used for c orrJT10.rc ial pur!)ose s

    2.     Fee~:              (a)   Pier::::
                                    The anr.ual f8e for a pier r.r wharf, u~ed by "ne h"'et
                                    Gpereted f or hire, is $ ~.0.1;..,. 1'!hQn used by t:;rn h':'at1,
                                    operatea for hire, the fee is $!5.01. WherP, u:,ed by
                                    no-::-e than twr hoats, "'pe:rated for hire, t1e fee i:1
                                    {;25.C () .
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                            (b)   Tob~rgan Slides and Oth8r rtructurea:
                                  The fee for e'3.ch to'l-)r-g["an slidP, 1"'1T)8rAted f'Jr hire,
                                   is $1C .U. The fee f0r a::. l other ::,tructures, Uf'ed
                                  for comr:ercia::.. !)i..rpo::-,ec, v·il::.. b~ determined hy the
                                  'lioa~d for each sp~~ ific case.

TIII.
1        RULES AIID REGuLATIOYS FOn Till: R;J,,!OVAi. OF re::: FrWr1: f-CEA!'JDERED LAF:E3 i,N!)
                                     S'i'REM1S IN 10:IA.

l.   ?er:nit req11ired. t!o ice :,hall be re~11oved frrrn t;~e mem dered inland lRke s
                                                                           1


                        enci st,rerim:, rf t'.ie State, VJithout a:1 ice harve::::tinp ar;ree-
                        ment havinf'.s been entered into VJith the State and a permit
                        for such rerrnval l")htained 11n 1;hatcvar terr:is anG for v,hat-
                        ever cons iderati,..,n the State may s'.)ec ify.

2.   Re0pon:::;ib il i ty   Under any permit issued for ice rernovel, the oertr granted
     f8r damage 3:          a perr..it i.::; t.) be respcn:1i'."'tle f.'.Jr ell dmnages tn t:1.e pr0p-
                            erty of riparian ::,vmers, t:-:e state or private cwner::,. The
                            State assumes no liability rn account of 11•~ci~ents due to
                            the "peration of ice reri~val under 1my r,emit i.:;suerl.

3.   Protecticn of          T:1e party removinl"! ice under A. prcper pennit i~ t".l erect
     puh::.. i~ passe.ge s: suita~le harrier::, on any part of an ice field rhere ice
                            is cut, V'.here ::;aic fielc.1. cresses ar traverse::; any part
                            of a :,trcam or la~e that i.'.3 n3ed a:; a v,ay 0f pas::iaf!e
                            re,~larly ~r occa3ionally fer either vehicular, eque~-
                            tria11 0r :pede ~triar. traffic.

4.   Barriera adja-         7lhere t :te ice fieJd if-1 adjace'it to '3.Il c1rea used fer si<at-
     cent to recren-        inr 'Jr ice hoatinf or 0th,.:: r v!int0r ;Jpr:rts, proper harrier::;
     ti 'Jr,al creas:       And :1ifT,al.s shP.11 be ere<'.!ted to ~ive r.arr.ir,g 0f open water
                            or un.::;afe ice, a~e to the ice removal.

5.   Interference           There permits are frRnted fer ice removal fr"ln area::; '3.dja-
     1'i th ajj acent       cer.t to, er in ne8r nrTximi ty to ot 1 ter are1:1s v,here ice re-
     ice fie:::.ds:         m.,val b :p8rinit ted, ~nthing :;':-lall he d"r,e t!1at will inter-
                            fere rith rr effe~t the re~oval from the adjacent or near-
                            by field or fields.

     Ccr.tamin9t ions:      8h(. uld it he evidP.r.t that sewnge er ("\ther mriterial i~ en-
                            terinp- a lake A.nd affect ir.,:,: the purity of the V''3.ter frf')m
                            v:hich ice is o'f)tained, the nece::;~ar.r and/rr .t.i?gal ::;teps
                            ti) abate ::;uch contaminati~n shell be taken hy the b,..,ard.
7.   Re ::,ervation3:       Under permits grimted ff'lr ice remeival, the State re::;erves
                            the right t,., desifnate the field cut, ar,d the rethod cf
                            11per8tion, a~d to pre8erve tho ingres8 end egress t".l said
                            ice by :.itt(rtil ')!' rip8rian r·,incr~, and t0 rcr;ulate 0r
                            d8 :1ivr,i:ite thP pa ::,~;agev1qy fr0rn the ice fie:d t"' shore.




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IX.     RULE.S MID REGULATIONS PERTAINING TO THE REMOVAL OF SAND ..r\.ND GRAYEL OR
        MIXED .SAND .Al\1) GRAVEL, E.ARTH, STONE .AN!) BOl"'l.DERS FROM _m: BET'S OR SHmEs
                                   OF LAKE3 AND STREAM3.

....
1
       Fermi t required: Nri natural material or_ other material or pr,,perty bPl,mg-
                         ing to the State ~hal 1 he rer.1-wed frc!",1 the bP.d.:i 0r shnre;;
                         0f the meAnd,..red lake3 end stremn:i of the State, withr,ut
                         a permit fnr such rem'Jvel r.a'ri::-ig fir:,t been cbtained frcm
                         the heard cf ~~n;;ervatinn.

2.     Agreement for         Before any :iand And gravel or ether naturi=tl material i:::;
       remcving sand         rem0ved, An agreement relatinl?-' theret.) must he entered
       ,md gravel.           intn het~cen the psrties dAsirin~ tr, rP~ove said material
                             and the b0ar~ nf cnnservatiJn. SAid arreement shall ~ct
                             forth the terms and conditions ur,jer which said reml"'val
                             is pennitted and the permit rr licen3e fee - if Any - that
                             shall he paid to the StotA,

3.     Re;;p :msihili ty     Under nny pArmit granted er agree'"'1ent entered int-,, the
       f -: ir drunage :1.   :,arty remnvinp- nny material i::i to be responsible f0r 311
                             c~amage::i to the property . ) f riparian ovmers, the State, ')r
                             private 0v;mirs. The State ossume::J no liAhili ty on account
                             of aC(! ident 3, duA t:J the operi::.tirn of re:ncving r.iaterial
                             under any permit i~~uP.d.

4.     rlethod of O'Jera- In rem·,vinr ::iand and gravel or othAr material that is re--
       tion.              ~ovcd hy dredginp, the rperotors Rhall RO arrange the
                          equip:ni:rnt that other u:,ers of the .la:s::P-s or stre,uns ::;hall
                          not be endangered by cabieR, anch0rs and concealed p~r-
                          tions of the equipment or appenc.ages. Pithcr durinr: actual
                          npcratirin or v:hr-n the equipment is nf')t in usP, alth0ueh
                          left in t1.e ~tream.

                             !h ,·a:1te r.:aterial shllll be left in the strean: in such a
                             mannPr e.3 to endanger '"'ther craft or to 0hange the C'Jurse
                             of the strean. In general, v;herever possible, Rll waste
                             nateriPl ::;hall he di:-rnosec', 0f on privately-ovmed areas
                             that nre under the control of the operntor or ope,at0rs,
                             nr else he plecPd ~ack in the stream 88 nearly as prac-
                             tical nt the place or point of origin.

                             All 0pernti0ns under any pernit issuec or agreement entered
                             into A.re su~ject t0 the :mpervisirm of the brarc~, nr it3
                             authorized representar.ive, to the end t~at public interPsts
                             mAy be properly safee;uarded.

                             All mqteriaJ shall he R'> rPm0ved that future 0peratirns in
                             the ::;ame or adjacent arnan 3hall not he adver::;ely affected
                             therPb~,.

                             •;'here dredfinp: nperat ion::J nr~ carried on, pArtl~· on State
                             £..rea~ A.nil portly on adjacent private arens, ttie natural
                             hanks shnil not be removed unless the State so permits.



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                '.'"here l'.'porati'.)ns are entirely en private prcperty qdjacent
                 tn a public :'..ake or stream, the natural henk het11:een the
                State r:nd privately ovmec! areas s!H:J.l:. nrt he rem0ved V'ith-
                ou t pen:i ss i en ·: )f the state..

                Exp:~sives shall not he u0ed in l'.'perati0ns under any agree-
                ment entered into or license i: sue0 withcut special i:srmit
                                                  0



                ct' the Fo2r0.




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                  Exhibit 8
               Kansas (see p. 77)
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                                          }: A N S A 3



Jurisdiction.              state parks are under the jurisdiction 0f the Forestr:,
                           Fish and Game Comr:1issicn (La.,,s of l925, 1927;.

                           Exception: Frontier Hist:Jrical Par!{ i:1 supervised and
                           cent rolled hy the State Beard of Rerent s thr0 11gh a BoA.rd
                           of V.anagers.

Yembers; appcint-          The Commissi on is c0npcsea of the Govern0r and three addi-
ment; terrr:3.             tional meml1ers by him appointed t0 serve fer three years.
                           Appointees are required to be mAn of experience in the
                           fish, bird anCl animal :are of the state; are tr- serve witl:-
                           cut c0mpensati0n, hut receive expen3cs incident to cffi-
                           c i al d u t ie s .

P0v 1 ers and dut ic s.    The Corririis:,ion is vested ···ith the follov•inr pcwers and
                           duties:

Establish recrea-          To estahli3h, maintain and imrrove recreational l!rounrls
t i cna:'.. are an.        for the p~t:r-no se of afford inr,: recreational activiti e s to
                           the citizens of tr:e Str,te;

Br:'ll acquired.           To acquire hy donation, devise, bequest, purchase, or hy
                           ccndemnation, title to lnncs, v:ater anf vrnter riF'hts fer
                           each recre8ticnal grounds, puhlic forestry, fish and/or
                           game preserveH; ~mt any and all privAte lands and waters
                           u~ed r'1ollJ or in part for the pr0papatfrn of fish or for
                                1


L'3.nd s exe:-n"!)t from   recreation purposes P.re exem7t from the er.erci3e of the
~::mdernnaticn.            power of eninent domain (rivers are not nrivate waters);

~here to be main-          To proviae fJr keepinr such areas at such place c,r place8
tained.                    moot suitable t0 carry out the interests and pur:1oses of
                           the la•a;

9uild lakes, etc.          To acquire or provide f"r the b 11ilding and construction
                           of reservoirs, lake.s, da1'1~, or embanlc!!ents for irr:pounc.ii Df
                           wuter on such public fore :: tr:·, recreational r:round :1, fish
                           and ~ame preservef' or elsev1here; the plantinp: of forest
                           trees, anc1 the estah}ishr:1ent of suh-fish hatcheries Rnc
                           game farms therenn;

Hunti•g and fi~h-          To repleni::,h hunt inc ar:c1 trapping grcund s anr 'l!ater, or
ing ground~.               fishine v•ater;

ll'.aint ain roads.        To contract relative to improveMents and uokeep of roads
                           in anc about the forestr~ · preserves mid recre[)tional
                           gr("lunds.




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Condernno.tion.         Whenever in the juci.gment of the Commission it becomes
                        ncccsso.ry to purcho.sc o.dditicn:::.l n.djetcent property for
                        the pur~~sc of protectin~, o.dding to Qnd improvin~ St~te
                        lck:s, 1 c.r:0::: r~nd r:ccrc::-;tion crounds, tho Cammi -:: ion mc.y
                        Qcq~irc by furch~sc, or e~ter upon, trkc, use r.nd o.ppro-
                        pri,te such p opcrty by right of cmin(Jnt dorao.in Vets cf
                        1531).

Excess condomno.-       The tQking, usinF end cppropri:::.ting by tho right of emin-
tion.                   ent dome.in for tho purpose of p:rctocti_ng such c.:ror.s r.nd
                        their environs, the prcsorv::. tion of the vic...-r, cppcc:r::.'s nco,
                        li ; ht, n.ir, hc:::.lth, o.nd usefulness thereof, by :rc3cllir-g
                        such :::.djoining ~ropc:rty with such restrictions in tho
                        docds cf :rcs:::.lc c,s vrill pro':ect c.:rcc.s to.ken for the ::cfore-
                        sc,id purposes, is declc.rod to be t:::.kin;_;, using cn::1. o.piiro-
Use of proceeds.        ~ric.ting for public use; Provided, th~t the proceeds r.ris-
                        ing from tho rose.le must be used in improving: the l:::.k0s,
                        p:::.rks or :rocrc:::.ticn:::.l grounds to which such resold prop-
                        erty o.djoins (Ib).

To cocporo.tc with      The Co::".\Illission is dcsi1m~tcd c.s the O.f:cncy of the ..;tc.tc
United St:::.tes.       for procuring o.id from tlrn Fcclcrc,l Govcrmne!lt in mc.tt ,rs
                        po:rtc,ining to the: dcvolopner:t of nc.tur~.l resources insofc.r
                        o.s they portnin to forests, woo:llnnds, public lc,nds, sub-
                        m:::rcinn.l lc,nds, U'.mc reserves, lakes, stroc,ms, :reservoirs
                        r,nd d:::ms; c..nd o.lso is f;:i vcn chc.rr.e of c.11 funds procured
                        for th0se purposes nnd of ell projects constructed there-
                        with (L~ws of 1833, 1935).

Tc.x rcmi ssion.        \':bcnovor o.ny person dono.tcs rec 1 estc.to to the Ste-to for
                        use o.s o. State prrk, upon w.ich taxes h~vo been cssesscd
                        c,nd. ~anc..l tics c.nd chc-.rp;os h8.VC c.ccru;::d, the County is
                        authorized to remit ~nd ccnccl c.11 such t~xos, pc.nc.ltics
                        Gnd chc.rgc~ (Lc.ws of 1933).

Tux reduction for       Acts of 1933 (o.mondcd 1935) provide thc.t c.r.y 1::-.ndow,:er
d:::.m construction.    owning lc.nd not v:i thin th0 corpor:· tc l:i mi ts of o.ny city,
                        who, by the: construction of c, dc.m c..cross r.ny dry \'If.tor
                        courso forms c.nd m::-,intc.ins upon his ovm 1::-nd ono or more
                        reservoirs for the collection and storo.rc of surf8.ce
Dono.tion of l~nd       vrct;::r, or who donc.tes to tho Stc,tc or c.ny of its ::--,: cncios
tl'.I Stntc.            n tr ct of l~nd on vfuich to erect o.nd mcint · inc similc.r
                        reservoir, is entitled ton reduction of tho o.ssossod
                        vo.luc.tion of tho piece of lo.nd upon which such reservoir
                        is locctcd of ~4C for occh aero foot of stor:::go co.pc.city
Pro vi so.              c.ffcrdod by such d r:.m; provided, th:·.t tho tot::,l c..mount of
                        such reduction rnc.y not exceed 40% of tho o.sscssod vclua-
                        tion of th:; or.tire contiguous o.crcr.-,gc ovmcd r.nd upon which
Proviso.                such reservoir or reservoirs a.re loc~tod; and provided
                        further, thc.t c. vr ·tercou.rsc who:rn const::'.nt supply of ·wo.tor
                        consists principally of sprin[s, vrhcrc the cnti re drdnc, f_'; e
                        c.rcc. docs not c:::cccd tor. sections in extent, is to be deem-
                        ed to be v. dry Ylf'.tJrcoursc for tho foro~oing purpcsos.

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Scurce of fur.ds.           All moneys received from licenses to hunt, fish, trap or
                            otherwise car:turo,, kill or deal in any game, birds, ani-
                            mals, fish or allied recreational pursuits, are desig-
                            nE:. t $ d .or t·. r.c US-3 0 f .._,
                                     I'
                                                             1./'•.. e
                                                                       .,     • •
                                                                       ~,Cril.l:USSlOn, 1 '3SS l"1 /o
                                                                                                   rd W h"1.cr.
                                                                                                             ' l.S
                                                                                                                •
                            requi"ed to be cr.,.dited tc the State's gpneral revenue
                            f·.i.nd (La,vs of 1925).

Revclving f,,.md.           A revolving fund was established for the Commission by
                            .Acts of 1935.

Ap[ropriation.              The 1935 LP,[islatur"' app"opriated fur.ds to . the Commis-
                            sion for the year 1935 &s an emergency relief measure
                            f~r thA purpcse of cooFerating with and carrying out
                            the Fedciral cov,::_irr.a.inent' s margi r.al land acq·..li 8i tion pro-
                            gram; ar.y un :xper.ded balar.co. to be used for similar r:ur-
                                              1


                            ~o ss s during tho year 1936.

                            N~te: By Act of the 1933 LP,e;i sl&tur':'! the Ccmmissior. was
                            authorizo.d to borrow ·.20r.,ooo from the Reconstruction
                            Finance Corpc,ration tc bl'3 used in the develor,ment cf
                            natural resources; buildi~g and constructin~ lakes,
                            reservoirs ::nd de.ms, and i:mprcving forestry, recreation-
                            al grounds, fish and [RffiA. preserves. The Stete Suprc:,me
                            Court subsequ"'ntly held that the State debt then beinG
                            in exc~ss of' the Constitutiori.al limitation, further in-
                            debtl:'!dness c0uld only be i.n'.!urred by a referPndum, and
                            f,:,r which the Act did not provide, and that the Act was
                            also violative of the Constitution, which provides that
                            the State shall never be a pRrty in co.rrying on any
                            works of internal improvement except to aid in the con-
                            struction of roads and hi 6hways.

                            II.     FOP.E:3TRY nm FLORic:-1TURE.

                            For the promotion of Forestry and Floriculture there has
                            been established, under the direction of the State Boe.rd
                            of Admir.i strRtion, a Department of Forestry and Flori-
                            0ulture (Acts of 1r29).

Trustees; ar:point-         ThA Departm'3nt is adrr.ini stered by a board of ten Trustees,
!!\(.nt.                    apr,ointed by the Boo.rd cf I drr.inistration, and to held
                            office at its pleasure. 2ach member is required to ac-
                            cept the pcsition without salsry or compenso.tion for
                            traveling or other expenses, the object and rurrose of
                            this provision beir.g to secure Trustees who have suffi-
                            cient intr.ire~t ir. FC1restry and Floriculture to clonato.
                            their time and services and to pay their own expenses;

St ate Forester.            The Bio.rd of Administration c.ppcints n State Forester
                            arid who is directed to s~lect a tract of State land to
                            be used for 1; rowir.c trees, pla:1ts, shrubs and flowers
                            for trunsplanting for the purposes of reforestation and
                            afforestation on permar.ent tracts of land;



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Acquire areas.        Lands for suci,_ purposes may he received hy eift, or pur-
                      chasec1 1,1ith funds provided by the lcgisla ture; but nc
                      land rriay he purche sed for a nrice exceeding the assessed
                      valuation, and in addition the seller must make a suita~le
                      reduction as a donaticn to the interest of Forestry and
                      Flcriculture;

Rec~ention areas.     All tracts of land which l-iec:ome the propertJ cf the State
                      are to he kno~n as forestry land, ~nd are to he kept anr
                      controlled as r,arr.e preserves, parks, P-nd plFces of recrea-
                      tion end rest fer all the people of tlrn state nna the
                      visit~rs thereof;

c~untie~ may parti-   Townships and counties are a:!.so authcrized to purchase and
cipate.               donate to the state lands suitable for these purposes or
                      ma:,, receive from the Forester trees, plants, shrubs, and
                      flov,ers to be planted there ,, n under agreement that the
                      lands will be similarly encl permanently used:

I11provemen t.        All State, county, city ~nd tovinship officers are authC'r-
                      i?ed to use t:ie :,oor fun:-.s for the benefit of the unem-
                      ployed in pre~aring tr0es, cultivatinr and caring for
                      the areas;

Rules and rerula-     The -q ,'Jard of Ad'.·•,inistration anr. Board of Trustees e.re
tions.                directed to make and ~uh:ish r 11les and revl1Rticns for
                      the use of such lanas: and to post notices sho'.'rinP- the
                      o~nership and authority of the state over ~1ch tracts
                      of land.

                      III.   KANSAS Y-1:Wt~TII:R EISTOIUCAL PARK.

Jurisca~tion.         The al-iove park is under the general jurisdiction of the
                      State 7oard cf Re,qents hut the active custori;;,- and man--
                      age:-tent is vested in a 7carcl. of !,·anap.-ers, consistinp: of
                      the Cliairrrian of the .Stf,te Board of Re,-ents, the Secretar'J
                      of the state Historical sc,ciety, the ?resident of the
                      KRn~as StAte Teacher's Collere at Hays, and a fifth rnern-
                      her to he anpointed by the Governor {Lews of l<J31).

                      The "Roard of Fanaeers may, s11bject to revisbn by the
                      Refents, rna?{e all proper e.nc1 needful rules 1::ncl regulations
                      for t 11e use, pre servat icn, improvem•::nt, control and main-
                      tenance of the par~~ and grounds and buildin1ss the:-eon, ar.d
                      mf!y permit such use of sa.r.2e as is not inconsistent V'ith
                      the 1.1urposes for which t~1e grounds have been set aside.

Fort Hays Eili tary   The BJard of Regents are ~irectcd to desiBnate and set
~eservation.          aside for puhlic park purposes that portion of the Fort
                      :rays r.1ilitar~. :heservation 1Ihich was the site of the ~'1ilr-
                       inr, cf olc'! Fort Hays, tor:ether "7ith the remaining build-
                      inr s of the Fort, and such portions of the re ser-




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                         vation as it may deem to be of particular historic in-
                         t_erest or v1hich, in its judfTTlent, may he fav0rahly situated
                         ana ~e:l adapted fer nark purposes, and the satting aside
                         of ,:hich fnr park purposes ·:•il::. net interfere vri th the
                         reascnahle u~e nf the reservati0ri by the educational in-
                         stitutions therecn.

IV.    ST.A.TE ? .ARK RULE3 .AND REGULATIONS.

The follow ine rules and regulations haYe been adopted by the Forestry, Fish ar.d
Game Commissicn ccvering the acti0ns of the puhlic on the State parks, and such
rules and regulations have the full force an6 effect of :.av; and viclat::,rs are
subject to prosecution:

1. The destruction rr injury cf any nign, guidepoot rr pr0perty nf any kind
is unla'llful. This includes the peAling "f bark, cArvinf and ch,pping nf trees,
cuttir.g brall.ches, drivinF° nails, digring rrcund from rests and. the rer.1oval 0f
tree~, shrubs and plants, picking wild fl0wers and rther injuries.

~-    To carry or have fire1=1rr.rn in posr,ession ir. a State park is unlav,ful.

3.    Throwing of tin cans, hcttle:=;, paperfl, jur,I~ rr refuse nf any kind nn the
gre"..lr.d ~r in a lake or stream; or thP. mi2use and abuse of seats, tables and
0ther park equipment.is pr0hihited.

4. ~ashir.g nr the thr0wing ~f waAte nf any kind ar0und Fe~l 0r spring, nr the
u~e of ~0nds as toilets, or the use cf toilet3 f~r hathhcune~, is prohibited.

5, Building nr starting fire~ in the epen or in any ~lace except where the
proper pr0visions have been made, nr tn leavA fires while burning, is prn-
hibited.

6. Dogs in the park must he tied with a chain or c cntroL.ed on a leash.               They
are n-:-t all,.,v;ed to run lo;>se about the pRrk.

?. Speed limit for m0t'Jr vehicles nn pRrk raad3 is 25 mile~ per hnur, except
v:tere etheruise pcGted.

8.  Campir,g, hnrseback riding or ar1·nnc of nuto1:1ohile3 c-r other vehi~les on
pi~cic grounds, children's playground, bathing heaches, and areas pnsted against
nu~h traffic or use is prohibited.

9. Person3 desiring tn ,Jar.ip in a state park are required tc obtain permit he-
f'">re making camp. A permit auth,.,rize3 the h,.,laer t'.) camp in the park n0t tc
exceed three days. ''1hen tir.1e of ".)P.I'7Tli t has expired, carnr,er3 are reqi..:ired ta
move fr•m the park or hRve permit renewed. The park suoerintendent shall re-
cord the nr-une Rnd address ,.,f the re spr·nsible head 0f each ~amping narty, the
numb~r cf persnns, and nari;o 3 and : icense numbers c-,f car::,.

l'). Cmnping in the park hy hcys under 38VentetJn years of age, unaccompanied
by an adu:t, and girls un~er eiphteen years cf ago, unaccc-mpanied by their
parents or chaperon, is pr,hihited.



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    11. Disorderly ccnduct in the way of drunkenness, vile language, fi~htinr- and
    perscnal exp~sure by change of clothing in automchiles, voods, park or any
    other place where person is not properly sheltered, is prohibited.

    12. Bnthing, swimming er '"ading is restricted to the arJI¼ desirnated as the
    bathing beach. A1.i persons enter the rrnter at their ov·n ri.sk.

    13. All state p~rks and lakes are game sanctuarie~. Hunting, sho0ting, kill-
    ing, trapping, injuring, pur.~uing, or molesting in nny •:•ay, eny bird or animal
    on or within any State park is pro:-iib i ted: Pr".Jvi:Ld, h("''8Ver, Tha.t t:-ie Forestry,
    Fish and :;ame Ccmmission may, by rule;-:; And r<Jgulati0ns, per:-:1it hunting, shl')ot-
    ing, killing, trapping, injuring and pur:::uing 0f gume birds and animals in such
    3tate park;-:; a~ the com.~ission may designate.

    14. Any person having proper fishin{; lkense and per::,0ns exempt b:,' laVI may
    fish on or within any State park. Fishinr: is permi ttcd in :la!rlie;ht only,
    which is :ieclared to be not earlier than one ho 11r before sunrise nor later
     than one hour after sunset. The Forestry, Fish and Gmne C,mr.iissi~n may fur-
    ther restrict rr entirely close any park to fi3hing at any tima, if in its
     judgment e-,nditions demand it. Each person s0 fishing i3 limited to ('lne rl')d
    and line with not more than two hooks attached, or a fly rod and line vith
    not m"'re than two hooks atta~hed, or a fly rod and line with nrt more than
    tv10 flies attached, 11r a casting rod v:ith n0t more than <'ne artificial 'bait
    :>r lure attached and :mrh rod and 1 ine must be held in hand. .Any such rod
    and line left set in the bank or attached to a boat, dock, tree, log or t~
    anything, or in any way, -:,ith line and ho,.,ks in the water in such manner that
    hooks may he taken by any fish, i3 pr'.)hib i ted, declared unJav:ful, and may be
    seized and confiscated by the park superintendent 0r any gAme warden. N0 tret-
    linen, set line~, flcat, bank or limb lines are permitted. A daily ~ag of ten
    fish of all kind3 i3 allowed. Bas3 less than 10 incho8; ratfish (except bull-
    ~eads) less than 12 inchen; crappie less than 7 inchas; and yello'P parch less
    than 6 inches in lengt:i must be at once returned t'.) the vrater. Dumping minnoT.s
    ,.,r l'lllY kind of live bA.it in the v:ater of a State park i:, pro!1ibited.

    15.   Boating in restricted to craft propelled by h9nd or vind p0~er.

    16. All park superintendents are both deputy slwriff3 and deputy game wardens.
    They have authority to issue campinr- permits and ar~ in Jrmplcto chArf,e ")f the
    parks. All quest i"ln::; "'f pri viloges shall be f:U'.mi tted to them. They shall
1   presorv0 order and make arrests for vi""llati-,ns 0f rul c,s,

    l?. It shall be unlawful f0r any por:Jon "r pcrs:-ms to . take from the waters
    0f any 0tate lake ~r pqrkn, or have in p0sses~ion ar.y blue 6 ill of a length
    le3s than six inches (Com.~isni0n regulation).




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          Exhibit 9
Massachusetts (see pp. 111; 113)
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                              M A 3    [3   A C H U S E T T 3

                        I.   3TA'l'E F_AFKS AND RESER'T.A':'IONS.

Juri:::ir iction.       3tRte Parks on~1 Re.servatir-ns, ::,utside of the Metrcpolitan
                        PRr:.0:s fistric-t, are unrier tl.P jurisdictinn cf the Depart-
                        r.1ent of Conservatil"n. anr are ndmir.istered throuf•h the
                        Divisicn ~r rarks (3en. Laws, Ch, 132al.

Con~ervation            Thf' DPnartr:1ent i.c:: un;,er the .s'1pervi ::,icn and ccntr0l of a
C(Xi"l ilis s ioner.    CocITTi~sicner, 1e~irnntej by HtBtute an thP executive End
                        admini:otrative heAc', an,'. v1:10 iD a;'.)pointed fer three years
                        by the G~vernrr,~ith the advice an& ccnsent of the Council.
Director cf Parks.      The C·.:ir:-.rriissicner is desirnated as Director rf the Division
                        cf F:;restr~', •rnd is als'1 e x -')fficic the tirectcr cf the
                        r.ivi3icn cf Parks-

                        Statutor:,· d.ivicions ir. the departme::-it are         al'!   follo···s
                        (as nrnended. 23341:

                                      Division of Park~
                                           "    ·• F("lre str:·
                                           "     ' Fi sh anc:. Gqme

                        Fcv·ers and dutie~ of t 1 '.e C::>l"'l!''iisnicner, a~ relatinp t0
                        rarks and rec re at i("lnal rrmtter:1, are as foll,··n:=i:

Admini3ter tructs.      "'ith the apprcval cf the Governcr enc' ,:;ouGi::_, may acc~pt
                        ir, trust, on behalf of tl:e Corrimcnweal th, he<111est:=i or
                        piftn t0 he u □ ed for ~he purn~~e cf pfvR~cing the recrea-
                        tion and cnnservation interef,ts An6 policies cf' the
                        C0mrric,rn"eal tl1, and t') AC'minister tl1e f;ane in ~uch manner
                        as to carr: "'U t the terr.is r f the bequeGt or gifts:

Acce"!)t gifts of       Vii th l. ike appr""'val, may accent er. "le ha l f of the Cr:.IT1P1"n-
li:i.nds.               •;r9al th rifts cf lancl 1utsi:.le ,)f th;,, ~::etrcpo::.itan Par~s
                        District to he held and ~an:go~ frr rec~eation an~ con-
                        servnti'1n purpo~Rn;

Acquire lands; h')V!,   ~:11y acquiN, v:ithin the ::..imi :~ ·0r approprir..ticns !""..adi:-
i•ay not condemn.       therAfsr, otharwi3A than by Pminent domain, any lRnds
                        suit<:1h.:..e f ,J r 1nrno~es C'f ccn3erv~tion ~r recreation ly-
                        ing out:,idP. cf the I.:etrc'.'.lclitan ?nrk:=i District;

Impravem13 nt and       La:; 2..ay out and maintein the :i.anri.::> and erect ancl maintain
maintenance.            such structures and othPr facilities thereon as mR~ be
                        neces:;ar:;: to rer,der the lands rer-t:v·nab :..y avai la"1le and
                        ac'!esdhle:

~ell lands.             ~1th the appr~val of the Governor an~ Counci::., may sel l
                        er ezc'.rnnr:e any hmr' 30 acquirea, which in his .iudf"Ment
                        can nc lorwer be ac1vFcntP.genusly u::;en for purpc1'e·s of
                        recreetion C'r held fer purpCJses cf cona··rvaticr:;

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Sell lor.d products.    May sell such r.::,od., timber, er othe:::- products cf t:1e lands
                        as the econ,micql man:c gement of the lands ma~- require;

Accept care of          'iii th the Bpnr0ve::. nf the Gove:rnC':!" anc~ Ccunc il, and f'n
lands.                  pAtition cf any bnarc1 or ccrririsRi<'n chArged v,ith the care
                        and rneint•mar.ce cf any part or reservati'"'r. nme:i hy the
                        Corr.monweP.::.. th o'l.lt side ')f the Me tropol itar, rnr}~:. ::)intrict.
                        and v1 ith the Rpprcva:. "Jf tiie c:ounty corn.r:iissi,..,ners -,f thP
                        crunty or ccunties wherein such par~ or reservation is
                         2i tuate:l, r:viy as3ume the care ar.ci mainti:>nanae cf such
                        park <'r reservatirLs, and expend f""lr the ~are and mainten-
                        ance such sums as ma~' h8 a:rpr0priated there f0r;

Rules and regulA-       With like apprcva~, may mAke such rule2 and regu:ation~
t icns.                 fer the f""lVernr.:ent P,nd u~e rf a:l prcperty under its con-
                        trr:, including rule3 Rnd regu:ati~nc relative t0 hunting
                        and fichir.g nC't inr.onsi:,tent vrith the lawR rrcte-::ting
                        finh, birds and mamnal:,;

!.IAy establish fees.   such rule8 and rAgt:laticn3 l".lA:l 8ls0 pr'JvUe fer the pay-
                        ment of fees and ather charrPs fer the rarking of vehic:e~
                        end for the P-njryment af 0ther snecial privileges v.rithin
                        the tP-rrit~ry under his contr~::.;

Conces3irns.            rl.ay grar.t ccncession::i f"r the 8a: e ,__,f refreshments and
                        other articles, and the furni:,hiur- of ;.1er-Iicen.

Director t0 advi~e      The Director, acting in Rn a1vi~cry caoncity, is dirPcted
othP.r Commissicms.     t,., assfat hr,ards P.nd cormr.is.dons charged V'ith the care 1::md
                        rr:aint"'nance of park3 or reservoticn;:, ovmed hy the C,rrr~rn-
                        vreal th outside of the ;.:etr-:p':'litan ?ar}:s I',istrict ·1.• hieh
                        are not under hi:, care an~ contra:.

Asses~ment~; h,w        The pr'"'portion in w:i.ic:~ 813.ch city anc" tC'l'm of the Ccmmrn-
determined.             we8:'.. th (Axc:Ju.;ive of t!10.~e ccmpridnr,: thP ~'.etro""'c~itan
                        ?arks District, but iL~ -udin? c~h&d ~et) oha:~ a~nua:'..ly
                        pay ffil"Il"'Y into thP trea,·ury of t!1e CL!71"'.l.<'m:eRl th tc ITlPet th"'
                        expAnses incurrPd acd the ccst of rr~intaining the ~ivi -·
                        :1i0n, 18 CP.termined by oddir.g t -~ t:ether the peraer.tagP
                        whi~h the valuatic,n r f thP s.qr.ie b"'ar3 to the tetA: ·;alua-
                        tion ~f the Ccmm,m;efl:'.. th, HLd the per,.entRgE> v:hich th9
                        D(pulati"n of s 1.i:::h city rr t"'V'I! riear0 to t~~e t'1ta] :P'"PU-
                        latiun of t'.,•i citi.:·n am~ tovmi, ,..f the C'"'rr£10n-:·,e1:1:th ar.1
                        dividir;r.- this f'UJ:. by tvrr.

Definitiar.:-.          The r.,,rd "va.:..u'iti0n" r.i.Pans the tax.qr:le n1~uatirn 0f
                        '!')rop~rty :.a::,t e stqb :. i:shed nP.Yt pr irJr t0 the d"'termina t ion
                        pr0vided fer hy tta General C0urt a~ a bRsi~ cf anprint-
                        !'1Elnt frr ~tate and ccui,ty tl'lXP::,; the W'"'rd "prpulati("n''
                        means the p0pu::..at irn $3.!l deterr.-:ined by tho. :; b.te st census,
                        State or ~ati~nal, Lext prior tn such determination.




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How a~j ~hen paid.       The amount of money so requirod cac~ year from every such
                         cit:.,· end to·.m is to be paid hy them into the Stete trcns-
                         ury at the ti!!lc required for the payment of its t:)ro!)orticm
                         of the State tax.

                         Note: T'.l.e Co1mci 1 as a hove a!"l.6 herenfter r~ferrer. to is
                         a Constitutional provision. and ~ho are to efvise the
                         G0vernor in the executive pPrt cf the ~overn □ent.

                         II.   METRO:?OLITAN PARKS DISTRICT.

Jurisdiction.            The ~.:etropolitan Parks Di.striet of Boston and environs is
                         under th8 jurisdiction of a r.:etropclitan t:istrict Com.11is•
                         sion, consistinr of a Comrr.issi:in and four Associate
                         Comn:i~; .sionerf1, ·;·ho, at the time of their a r,po intment are
                         required to reside • ithin the district; at least one of
                         v·hom must he a re:sident of "9oston. i,~e!'llhers are appointed
                         for five yee.rs hy the Governor, ••;it h the advice anci con-
                         sent cf the Co~mcil (Gen. La-;·s, Chao. 92).

Comr.rli ssi c ner.      The Cc:T:is:1ioner is the executjve and a:iministrative head
                         of the Sommission, bein~ cherced Y!ith the dut~• of ori;-ani?-
                         in{! it into such "di visionn as he ma:· frc:m ti!'r.e to time
                         determine.

?o~ers ocd ciuties.      The Cur.mission i3 authorized to acquire, maintain and make
                         available to the inha~i tnnts of the Di.strict open spaces
                         for exercise nnd recreation, and which are de3ignated as
                         reservaticne;

Acruire lands; ho..-,.   For s11ch purposes land8, easemPnts or intere3ts ir: l2nas
                         \'Ii thin the District may he acci11ire0 in fee or- othe:r'\'lise
                         by purchese, gift, devise, or QY eninent domain;

Cor,trol of cor.tio1-    !.fay Accent find rr:aintain Rs a portior, of the re~ervati'1n3
•uli areas.              any lan:::P or rir,hL, in lar.cs '"rli~h rriay he ·;;ithont the
                         limit 8 of t~e Di~trict, but ir.nediRtel:· c0ntir:u,..,u:: there-
                         to;

Tr.ke er regu:ate        May take by eminent dc:!lain, :.;r acquire hy agree:ilent or
ot:rnr areas.            ether\·· i:,e, th£' rirht f.,rever, or for such peri0d 8f time
                         A.3 it rrmy deem expedient, to plar,t, care for, nr:intain or
                         remcve tree:3 1 Fliruhs and r;r0·· th of any i:ind •• ithin cer.
                         tain Gpaces ref,:ulateJ hy the Cornmi~sion alcns or near
                         rivers ·.-,ithin the Distri:::t; an:' :nr:y tairn nr impose hy
                         eQinent l,..,rnain, or acquire the ben~fit of by agreement
                         "I' ,)ther~•,it,e, such restri.:!ti'Jn:: u:)on GUch rec:u:ated
                         s~qces as it deems expedient;

Limitations.             ~rcvidec, no nrivate property mny he teken or restric-
                         tions imr,0sed hJ eminent ccmair. ~ i thr,1;.t the c c ncur:rence
                         of a majority cf the c.:~,ITJr.1L-,2io1:. anct of the heard of park
                         ~r~rnmis:3ioners, if any, of the town ,:here 2uch yircpert:,·
                         is nituated;


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~/.ay condemn hil2"h •·   :.:a~' tnke o:r 2cc·u.ir ,, , in fee o, otl-Je,,ise, hy purch,.se,
~ays fJr 9ark pur-        gift, devise, or h; eninent ~0~Ain, eny lend, easements
n0ses.                    or interests in lanj, althc-ur:-h t::e lanrs so tr·ken l'lr any
                          pnrt thcre:::if he o.lrenciJ a !)U'-1].ic wa:· TJrovirec the tak-
                           inr is concurred ir. h: vc,ts o:' t: 1 e nro,...,er l0cal cf:f'icial3;

Pe servat ions.           Y.'.ay r>cce· t an( Ern !; ent t0 ar.y c· ee{ c ontainin.c:: re s ervflti ons
                          of ee.se~ents or 0the1 ir.tn.re':',ts in l,n( 1.r ncn ~UC'h ter!"1s
                          restrictions, pr~vi~io~s 0r a~re~Eents es it ~ay feem hest.

Par:s Trust Funcl.        T:,e :3tate Treusure!· ra:·, v:ith t:1e a..,prcval of tl:1e Grvernor
                          anc' Council, :·eserve 13.rid h,::;_ ,5 in tr•.tst fo-:- t',e Cor:unnn •
                          :1ealt!:, f'n:e!"lpt fr -Jm. taxeti ,m, an:·, grnnt o r ae·lise o f J.anc.s
                          1


                          or rirhts iL land s , anf any rift o~ hequest cf ~rney or
                          ~ther n0r3 ~nal p~0perty. 3uch prc,~rty to be kno~n PS the
                          l'/.etr onolit"ln Parl:s Tru.:,t Fune:, t 0 he usecl an0. exnenc'eci un-
                          c.:.E:r the cirectj on c;, f the C0r1ir.1i c'.sion f:m~ s1thjf'ct t,.., it~
                          c,rc1 ers. Suhject to the ter~3 of an:· such r-rant, gift, de-
                          vise rr beciue;,t, the Crr".!lii::si on r.1ay expend eithe 1 • the
                          principnl 01· incone.

~ui i ~ hculevards.       T:,e Co ~"'lission ma:· connect P.n~' wa:· , pr:rk or other pu'"il ic
                     C"f'n s:-ince V!i th in an:· pr-rt of the tovms of t!-le District
                     un6er its jurisciction ry rnitahl e h(iu~everrs,nnd for
                     t .. is purpose exercise an~· 0f the rirhts r:ranted in re-
                     snect to re 3ervBti 1ns; bnd mn~ alsn construct an0 !:.ain-
                     tain al(,nf, acro8s, UYJ o n 0r over l,qnfs nccuired for such
                     ~ouievards or frr roserv~ticns suitAhle roadweJs or houle-
Cost af maintenance. verds. T~e C'ost of the rr.RintP.n3.nce of ho 11levar,l.s t~ he
                     Rnnut!ll~• appropriatec bf the Genera : Court fr-or:i the rii?h-
                     way Fund;

Rules mid re€;Ula-        I·.:ay rmi-:e r11les anc ree71tlati .1ns fl,r t 1:e f"OV,; rnrnent and u~e
tbns.                     of reservr!ti0ns nr ~oulev~rd!,, an(1 to P"overn t'1e puhlic
                          use of rivers vii thin the Jistrict: nls0 o f the ncnc,s and
                          othe:! V!aters alonr- ,,:hic'h it ov,ns ehutt ing lan(s for re-
                           serv,;t i ons; Pr'.)vided, r.c rule ~)r re;""U let i ,, n pffect ing
                          waters used f-:,r v:at e r s~1:-in1.:, 1'.urp o.<>es cay ta'.-ce effect
                          :rntil apprnveri ...,y t~,e officers i.wvint: control of the sa'.!18.
                          nor ma:, An~r rule or rec:u:ation Rffect t :1e water rirl·.ts 0f
                          any ".le ··s:Jn, v·hether a 1,i::...l o·:·ner er o:.hert'lise;

i,:ay lease lends.        Mr.·:' erect, '1ai:ritain nnc care f -'"lr 1:uilcHnr:::; Rls0 r-rant
                          aa3eFents, rirhts of ~ay or cthAr intArests in land. in-
                          clu(ins l eases, in any p0rti0Ps cf the :ar.~s;

Sel:i T:mteria:s.         ;,:,=iy ce'..l sur1,lus eartr., r0~k, ice ,,oocl, hay, stan :lir.f
                          p.r13.sc, old builc inl"8 ar.d .-:ateria2 s r.o :-;.nnrer neeaec;

A'l8...'1c'lon certnin    V/ith the conctE·1·encA of the local pE·rJ.:: c1tmr:1bsioner::;, may
rirht:-;.                 abandon ~:: ense □ent cir ather right in l ~nd less than t'.1e
                          fee, taken h:r richt of e~incnt C'0!18in; ::mch A"lFind)n:::er.t
                          to revest tit '.. e in th~ persons in wh~m vested ~t tte time
                          of taking;

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Sell areas.          Vlith th.:: concurrence of tt1s local perk cor.unissicners, may
                     sell at public er pri \'ate sale any port ion of the lands
                     or riFhts in lands, the title to ~hich has been acquired
                     And pRir- f'"'r;

Grant permits.       Mny grant to t~wn3 locaticns for sewers and CTrain3 acro33
                     re~ervation3 ,r boulevard3; lncati~ns to street railrays;
                     also permits for trar.smis3irn of electricity and gas, sub-
                     ject t0 alteration, er.tension or revocation in the pub~ic
                     intere3ts; and may al30 contract with railroac8. for the
                     construction and maintenance of h01.1lev0.rds across rail-
                     r:.iad la.,"1js er locati,ns;

Transfer control     ~ay transfer, for care and contrnl, includinf ryolice rro-
to other~.           tectinn, any of it~ land~ to anJ city, tovn, county er
                     lcca~ ho0.rd, 11:pon such terms an ,1 for such peri Jd as may
                     be mutually arre.ed up0n; a:i.so for la:·inP 0ut, construct-
                     ing and maintaining wa:s into or across any such lands; 0nd

J..ccept lands for   Any city, county or local hoard r:ay tran sf'er for car~ and
care and control.    control, includin~ police nrotection, any lands in its
                     control to t~e Commis3icn for ~uch perio1 and unon such
                     terms as may ~e mutually nrreed upnn;

Charge for bathing   !fo:r prnvide   nna maintain sui tahle accomr.wdations f0r hath-
and hl"\ating.       ing and boating, and for the use of the some estah:;.ish
                     rules an( reculations ond r1at.::e reasonahle charges;

Band concerts.       May pr,)VidF'! riand -concertr, in ouch p1:1r"ks, nar!c,'ia;rs nr ether
                     places under its cnntrcl and ot oueh ti•nen as it ir;ay ::,elect;
                     including in its annual estimflte 0f exr,enf:e 0f n:aintenance
                     such s11m as it may rec':'lmrnend f ,_)r :;ueh purpo1-3e;

License u:oe of      May rrant 1 icen3e.s to ci tier,. tovms, ea 1.1cat ional in sti tu-
lands and waters.    t icns, clurs and reoponsit>le pP.r ..;;cns fer the construction
                     and maintenance of rost lcnaln{".s, heat ho1rne~ and ::i.anrinf
                     flouts, w11A.rves, hrea'i:vrnters. nncl other Htructures in connec-
                     tion therewith; pla:n~rc,uncs, sv,imming p.,013, and other
                     recreational far.ilities aJ.one tr:e C.herle:, River Ra.::;in, fer
                     such rental, if an:,,·, and Hf.Jon 011ch terms and cone i ti,.,ns as
                     it ma~ deem advisahle;

Lea:oe locationH.    For the foreroing purnoses ;,a:,• grnnt suitabJe )ocetinns
                     hy lea:-.e or rither'l!ise, rith the rig!·1t t:'.) erect hui:i.c ing:1
                     and. floats upon the vrnt8rs upon s 1ch terr,rn and c-:,nditions,
                                                             1


                     restrictions and avreements and for auch ~eriod of years
                     n~t to exceed 25 as may he deemed expPdient;

To encourage ror.-   The Corr:-nissi0n is directed to enc ,:Jurn{!e rowing and ~oat-
inp and boating.     inr. on the ha sin in every rea.sona'l:1le wa:', pi vinp "•n-
                     siderati0n to the fr-,ct t 1 tat cm~ clul) or e1ucationnl in::iti-
                     tution ha~ for many yeor~ o·':neo 0r occ'1pied a ho:::it ~cuse
                     on the hasin, the point on t:1e han:O:: Dt ~"hic!-1 such hor>t ho·1se
                     v1Ro former::.y si tuutej, nnd the lenp-th of ti•r;e curinv ,.-J1ich
                     it has heen 0·11ne.d <"r :-1aintainea there;
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Di s pc sit ion of     All su!ns ('f Mone:, collected or received hy t!1e C!'.lmrni!:isicn
revenue.               in t!1e exercise ~r its functi'.")ns, in relaticm to renerva-
                       ticns or b0uleverds, inclu~in~ current receints from the
                       hath hou~es, rentals, sRle~ or use nf ~roperty under its
                       char?e; and all fines rncovered for violation of the law~
                       Jf the Gcmmc.nweal th ·1:i thin the limits of the reservations
                       or boulevar6;.,, are tJ he ~eid t] the state Treasurer, to-
                       gether V!it i1 mane:; collected 0r received by hi!'l in payment
                       of l-ietteI"P.lent.3 assessed b:1 thP. Cor.-...,ission. such funds t0
                       be used Bs a credit to the citieG enc! towns of the District
                       tov-ards the pa~'ITlent of assess:.1ents to neet t ;rn cost of rmin-
                       tenance ~.f the re :,;ervetions: e1:cepting r'lone: s received in
                       connection with tl1e Buni{er !'i::.l mcnu11ent, which are to De
                       pnid into tite general revenu,3 of the Conrnonv;enl th;

Asse 3s:nent s.         The propsrtians in which each town of the District (1.n-
                        cludin~ Cohasset wit~ res:.iect to Nantash:et beach only) is
                        to annually pa:., to meet the intere3t sinking fund and
                        serial or other hc-nd requirer.ents for eaci1 :ear (and an:,:
                        deficiency in the a.r:1ounts previously paid in) are as fol-
                        lov·s: :Soth ?ostcm and Ce~"'lhridfe ere each to pay es a
                        ::;peciql asses;.,n:ient 16 2/31i .f the m0ne:, as required 0n
                      • account of the money ex~endcd for construction of the
                        Charles River basin ::iarginal conduit; the payment of the
                        halance to he hased upon t '. 1e resr,ective taxable ve.l'1a-
                        tion of the property cf tha tJ~n3 of the District;

?l.r:.in tenance.      Tl-,e pro•)(lrtion in vrhich each town of the District is tD
                       annually pay mc-ney tn me8t the cost of ::iaintenance of
                       renervationn (exclusive of Nantanket heach ~nd the Chnrles
                       Piver ~asin) i~ to be apportioned accordina to the AV~ra?e
                       percentabe of valuatirn and ~opuletion, determined As to
                       any tov.rn by adding tar,ether the percnntn{!e v h ich the p'1p 11-
                       lation af the same bearH to tho total populati~n of the
                       tavms, and c'lividinp this 3U'.~. h:.,· t1:n;

Same.                  The nroporti(')n in T.hich each trJ,,:n of the Di6trict ( in-
                       cluding Cohncset wi t!l resp2ct to the maintenP.nce cf ra-ri-
                       to3ket beach 0nl~· ) is to onnm; lly pe_' to mt..:et th-: Cl"'st of
                       Non ta::;ket ">each and the Chnrle3 ~ i ver Basin, i:, to he
                       based upsn ti.a re sr,ecti ve tn::r:ahle velua t1 ons of the nroper-
                       t:: of t ~ie tov1n~;

Commission to deter- The Cor!lI'l.isGi:-:.n in t'.) detPrmin0 the proportion in vih i.ch each
mine assessm:.ntn.   t'1v:n is to a.'1nuoll:· pa:· :r:::me:· es ahove. ar.r transmit its
                     caterninat ion to the St,,te Tree surer; ther0upon snc~1 GUM
                     is t~ l:'l,;:; included in tlle ~11m char~~ed to :ruch tovrn, and De
                     pA.ic'l into the 0te.te Trea3ur:· at the time required for the
                     payment of its proporti-.Jn of the state tax;

?aymont of salarie3, E~pense~ of salurios ,f the Metropolitan District C"mr.1is-
                     eiansrs end :;uch other Peneral expence of ~aintenAnce 0f
                     the reneral office ant oths:·•nisc ar~ also to be inclllded
                     in the scr:.s asf;E::;3ed upnn t :l,c; towns in t!1e annual state
                     tax;
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.Annua 1 repr-rt s.    The Ccmmission is rl"quired to keep full, accurate and
                       separate accounts cf it~ receipts, eYpendi~1re3, disburse-
                       mont:-, a.sset::; and liabilities,ancl. t•J each ~·ear report to
                       tile c;enerAl Court Hn ahc,tract of the sane, t0gether with
                       a::.l recommendat i·Jns f'.)r le>gislat ion whi'.:!h it deems desir-
                       ah::.e.

                       III.   STATZ FJhEST?.

~equP.sts or gifts.    The Commissioner of Ccn3ervaticn 1 v:ith the qpprov,:i.l of the
                       Governor And Council, mRy ac~ent bequests or gifts tr, bP.
                       use(1 for the nurpc~e of a:3vancing the fcre:1try intere:,t3
                       of the Gcmncm,ea.::.th; Also fer the c ,,nstruction and mqin-
                       tenance of State trails t'.'r pat:,.s, in such riannPr as to
                       carr:· out the tenns of the beque!'its er gift3 (Gen. LAv1s,
                       Cl:Ap • ,~")
                               .J..'.l,~ •


Gifts of land.         A::.so, suhject to the approval of the deed And title by
                       the Attorney Gener.t:11, may i=tccept gifts cf land to be held
                       and Man.9red f'.)r experiment enc~ Llustration in fore:-;t
                       manageliient And f :J r refore:1taticn. A donor 0f such land
                       may reserve the right to repurchase same, but in the nh-
                       sence of such reservation Rha~l not have m.ich rip.ht;

Acquire by purcha::ie. May acquire b:7 purchase or other~·•ise i:inc'l hold. <.r, v•ith
                       the approval of the Govern er and C'""unc il, may take in fee
                       any v:oodlanc or land .suitable for timher cultivation. The
                       averape co;::;t r,f land s0 purchr.:::ier! ma~r n0t exceed $5 per
                       acre;

Eminent domain.        M~~  al::io purchase or, with the apptoval of the Gr,vernor
                       a~d Council, tak" by P~inent domain And h ~ld for Stnte
                       forests, land3 suitable for the prrduction of timbAr to
                       the extent of nnt m·Jre than 150,001) e~rtl s. SU.ch land rnu3t
                       he purchased prior to Auruct 5, 193G, -.nd at an avArage
                       cost not exceeding$~ per acre; 0r at such prir~ as the
                       general c,urt ma:.r fr"m time to time ceterriine. (Act~ rf
                       192~ Appropriated thrPe million dollars for land acauire-
                       JT1Pnt,)

Men agcmen t .         Lr:.nds accmireG unoer t:1e preceding two paragraph::; "I.re desir,-
                       nA.t~d as State fore:c;ts, and Are undcl r tJ-.e contr0l and
                       mi=tnap:ement of the F"'r"'ster, ~na whe i3 rAquirod to re-
                       foreAt and develrlp th?- land::i; anc. mA.y, 8Ubj"'ct to the
                       approYal of the C. cmmi:::i:,;ir,ner, mnke nll re~~ulation~ which
                       in hi.s !"'pinion v1ill tPnd to increa::rn the puhlic enj0yment
                       ar.d 1lenefit theref:::om; expending mi ch nu:ns therf'lf'.Jr as may
                       be i:ipprcpriAted for the purpose.

Rule8 and regula-      The Ccr.rrni~::iioncr may mHke rules anct regulationr, re:ativo
ti•n:J.                tr hunting, fi8hing nr other U8AS of ~uch landR;




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Trail s and paths.        f ·':a~' lay cut, c::m::otruct and maintain trP.ils or paths
                          1


                          throufh er rver lands in State forests Rnd in nuhlic re~er-
                          vati~ns; also trails or paths leadin~ t o imnortant mcunt-
                          ains and other objects and places o f :3~ecial interest or
                          heauty; i:md may c,nnect such trails er ;:iaths in order t0
                          make them cantinu'.)US sc far as practicah1.e, anc mny nur-
                          chase such lands or ea:::;e:11ents a.:; may he necessar:, f o r the
                          aforesaid purpc ses;

Ca.'7!r:s and shelters.   r.'cay p'1st suer. trail:J er ·oaths, erect sip:ns theTeon, and
                          con:::;truc t :31li tnble re st car.ms or shelters at apprl"pr inte
                          Dlace:.;

Use of tri:i.Li.s.        May hy written ;:iermi.t al~_ow p o rti'.ms of such trails or
                          patr.s t ·::i be enclosec and used by the o,oners of aaJcining
                          lands f or an:· use not interferrinr: ·.:ii th puhlic pas ~ap:e on
                          foot, durin,;,: the vrhole or any part of the year uprn such
                          conditions as '.:e m~:l prescri"-e, anc1 such permits riay he
                          revoked at his p::..easure. Tho Co:nmcm,ea::. th disc) aims any
                          j_iahility f'.)!' any inJur:,- er damage su s tained on such trails
                          0 r path:,,

C~)Unties ma~,            The seJ Actmerj or r 0.)ad c ')i;u-r,issi :mers, or the b e arc, er of-
assist.                   ficer havinf" ~harge of t:1e ma intem:nce anci care :; f t~1e
                          high1:a:rs, if so e 1.t th0rizec1 , ~::iy ap:ree to c0ntrihute money,
                          h ihor or material::i toward t;te 2.aying nut or construction
                          cf an: St£.te trail or path .,,-:-ikh the Commissioner may la~
                          out and c·m;,tru~t •;: ithin such cit:,- or to·:·n.

                          IV.   PlTTH,IC i{UNTING AlJD FISHING G.rtOUNDS.

Ho·:· acquired.           For the pur~ 0 se of providin~ public fishin~ proucds, the
                          Director of the tivisicn of .Fis:1 anc'l Gti~e (I;epart!llf'nt of
                          Conservat~on) may uc~1ire by gift, ~nd, in his discretion,
                          f~couire b; lease or pnrch Pse, fishinr. ri p-hts ano nrivil-
                          ep-e s in any brrwk c;,r strea>n; or may acquire by ~ift,
                          leR~e or purcha;:,e :.ands nPcess F,ry f :::.r such p 1..t rp o ses, ex-
                          ~ept a hroo 1<:: or 3tremn v1hich is a co11rc0 of o r 13. trihu-
                          tar:1 tc, a puhl ic vrnter s uppl~.-. He mA:' si:nilerly acq_u ire
                          lAno.s necP.ssrr:r f::>r suc:h ptP·nc se s, t :::ip-et~er Tith su~h
                          rigllt.J of invre:;s mid er.~•e 3 s fr om such a hr r:- cik or stream
                          o s r:.ny he ne.:.:es:.:;P.r:; or pr0per (A. L. ua s s., Ch. 13:).

Great ponds.              Great ponos of 2c., ocre0 or m,:- re are clecl:1red t::i be public
                          for the purpsse 0 f fi~hing, huntinf or hoetinp thereon .
                          nnr. a::.l p8rscns must he o.: lov ed reri.sone}ile r,.eans of access
                          thereto.

                          t~cte: An~· pon0 of rr. ore tr.an ten aere s is A ~re Rt pend.
                          Tit l e in it nnd t () t:lf~ is :.an c1 s therein i::i in the C0mr.16n-
                          ~aa l th (5 Op. A.G. 378 ) .




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Use of p•: mcs.         Th•; r irectcr ma:• o~cun:·, r.mnr:ge anC:: Ci)ntrol n ot mo re than
                        six preat ponds f0r the purp0se of pror~r~ting fish, and
                        nay occupy not ~are than one-tanth part of 08Ch such ~and
                        \"itl, enclosures anC: appli,mces for such cultivatirm; t ,ut
                        this privileve rr.ust net affect an:, puhlic rirhts t c sucl:1
                        ncn0s ether tr:an the right of fishing;

Public :Jh'.:'ioting    For the pitrpose cf r,rovin ing puhlic shcotinf gr :,ur,.ds the
grounds.                Direct 'Jr r.11=ty acnuire hy ~ift, and in his ciscretion, ac-
                        quire by lease not to exceed five ~ears. lands end vaters,
                        or eitl.er of them, or shooting rights thi:-rel_"'n er therPin,
                        to1:ether with su~h rirhts of inrre r;s to or ec-ress frr-~1
                        ::;uch lands or water as ma:, he necesGar:,. and pr'lper.

                        V.   GztJERAL.

Contr0l cf adver-       Anvertising on public vra:;s. in nubli'.! placec1, anc'l on pri-
tising.                 vete property v:ithin puhlic viP.-:: may he regulated anc re-
                        stricted hy law (Art. 50 ,St~te Con □ tituti0n).

                        T'1~ De'."'~rt:-.ent of T'uhlic ·ac-rks is di:-ecte~ to meke, and
                        nay R!:!rmd ar:d ro0enl, ru l e a anf rermlnt ions for the
                        i:,raper c0ntr'.)l illicl -restricti:Jn of bi] }.l-ior-irds, sipns And
                        other 1idvertisinr" cevices, on p11blic n1y~, rr on private
                        nropsrt~, vritr:in fJUl-iJ. ic vievr fr0r1 an::· hiP:hvray, puhlic park
                        or reservrition; anr, no pers"Jn, fj_rm or corp '.)ratinn tr.Ry
                        post. ATP.Jt. ci~pJa:, •)l' ~aintain on l'iny -p11ilic wa:,• or on
                        private pre-pert:· within puhl.ic view f1·o'll any hichv•Ry, puh-
                        .l.ic pRrk or re::;erv<"1tion any hi::_~hcBrr er other advertisinr-
                        dcvice un:es~ such hi l~ hoerd er de7ic0 confor~s to ~uch
                        rl?.iytlation:-:. An:' such r'.evice erected vii thcut qn auth ori-
                        zat.:.c,n or perm.it is dee:neci o r..~lisance Rnd may be aliatcd
                        0r rAmrived (ChR:'). 93).

Con ::;ervat icn.       The conservation, develcpaent and utilizati~n of the Df-
Constitutional pro      ri ':!u: turnl, ::,inerql, f(;re st, v:ater on~ otLer natural rA-
Vi:"li0n.               s0urce s of the C<)-:n0n-t.. eal th are pub} ic use::. and the
                        {!E'r,eral court shnU ha,re poV'er t0 provide f :)r the tek ing,
                        up,m r,n:r.1~r,t of just c ::l!TI"'.")cn:-;ution th()ref )r, 0f land~ 0r
                        ea~e~ents or intcre □ ts therein, inc]udinr water anf min-
                        erql rights. fo~ the purpo~e of cecuricr anf promotinr
                        tile i:roper ~0nserv0ti ·)n, de,;el0nr:,ent, uti2.ization hltri
                        control there of and to enact :egislatio n necesRary ~r
                        expedient therP.fi,r (Art. 49, Stc.:.t8 CC" nstit·.ttion;.

Pr~ :,erva tic n (' f   T·.P, preservAtion Anci mnintenan~e of ~ncient lFUH1 r.1Br,.,,:. and
landmarks. Ccnoti       other propert:: :)f hi:.;t•::-riJal or cr.timrnriRn i:ltere s t i.-:; a
tuti~nal provision.     pub].ic u:-ie, and the Ccmrr.)1:,: enlt~ anr:' the cities enr, trwns
                        therein may, upor~ pa~·ment ('f ju::t '.!OrrJ'!Jentiation, take ~uch
                        nr'Jpcrty or any intere nt t:1e::-e in ur.ae;- ::n -~h rerul a t i~nri
                        ns the ger:e:raj_ cuurt r.111y ure.:;cri'be (Art. f.l, State Cor>.sti-
                        tuti-:-n).




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Hunting prohihited        ho pe:::-son □8y hunt, or in any mP-nner mo:est er C-:estr0~·
in uarks.                 any bird or ma::imal vri tr.in the hour.Caries of an:.,· GtBte
                          reservation, park, co:1r..on, or ~my 19.nd GVJ"ec' or Jease0 by
                          the C );I.10n':•e2.lth (State forests e:·:ce0ted) or anJ' ncliti-
                          cal au ,._,c'li vi :,icn thr.:recf, or 11.n~· :':.anr. held in trust f0r
                          puhl.ic use e;ce .,t as anQ to t~e extent auth0ri2ed hy tl-Je
                          pr':lper a11th':lrities (ChA.p. 131.).

As te> rail re, ad.::;.   ?1:1.ilroads may n ~!t enter upon, or interfere in the mAnr:,"'e-
                          ~ent or care of an~ ~~lie pArk or reservntic~ (Ch. lRr).

Susper~a huntinr,         \T11enever it appears to the G0vernJr that b:· rcas)!: "lf ex-
etc., sea:;ons.           trer.e crau,"'ht tliere is danr:2r of fires re s 1J l tinr fro:1
                          lluntinp, traripir.f, fishinr, or other c£.use, he ,my, v;ith
                          tha advice and consent of the Council, b:,- nrocla!nuticn
                          susren,1 the o :J•: rninf or c0ntiz:u9.nc9 of an:· ,r a:l onen
                          cea~on~ fJr fishin~ 0r hunting, and close any an~ all
                          sectir.n.s r!f the v·ooc'llands where danr--er fro:n fi:---e r.iiah.t
                          exist (Ch. l~l).



C:-eati '.)n.             A 3tat'; P}anninr~ "Rcard was estohli"hed h:: Ac~s of 19;;5,
                          charred 7:ith the duty:

Y:2ster p:an.             To pr•Jnare ~nd fr'.):-:: ti~e to tine revi:,e and perfect a
                          master· pltrn for tl1P, physical cevelc .·r:icnt of the Cor.:mon-
                          v ea~ th, 1:l.!'cC. r.iay in~lude a.mcng Jther t: ; inf~s, the pen er al
                          cha:r-a~ter, location ana C).tent of highv:n:·s, v,aterfront
                          fevel o p~ent, pRrks, resArvqtions, frrests, nilalife
                          refures, and 0tlier puh: ic ways, public z-ronnds an~} sryaces
                          ~:iich, t-:, rea~~)n o!' their f11nction, size, e:rtec1t, loca-
                          ti ·)n, j C1?r1l :-;tc.\tU3 r,r nthc-r rea:.;0n, n.re of St8te-•1•ioe as
                          di3tingui:~hed frc1r:1 mo~e :!..ocal concern, or ti1e location,
                          construct i cm or authorizAt i ')Il ' ) f which fnll, accord inf to
                          Jaw, within the nr0vince nr jurjsdiction cf State {e".lart-
                          ~·1ents, rr-arc'i!;, cc•:-1rr1is:cii0ns or 0ffic~rs, nr v·hich for any
                          0t~or reasc,n::; are anpropriate suhjr-cts of or fol: a;1·)ro--
                          priatei.:· ,,:i t:1in the scnpe cf a State, a=, d isti:1p,1isher
                          fr:)fll a L,cal, preir;rfil'l or p} an; thA {"8ncral l.ccntion anr
                          extent cf forests: agricult~re area~ f0r r~r oses 0 f c0n-
                          i,ervqt i ::m, f0cc ann water su~pl: 1 , .snni tar~· P.r.'.:i C:ra ina r·e
                          faci:itie8, or the pr'.)te~tion 0f urhan anf rurnl 0evPlO".l-
                          ment '3.r.f a lnnd ut iJ izat i0n pror:ran, ir.cl.ud ~nf? the gcne:-al
                          cJ.assif icnt ir-n an::i allrca t ion 1r1f t:~e lancl v, i th in the
                          Cor:un0nf·ealth a:n~r.g A.f:"ric!11lt 11Tal, fcre:otr:. , recreF:1ti0na::..
                          :::oil P.r.d 1 1 riter C'.Jr.~,ervat icn. ir,du::1tria2., urhen i,ation
                          tmd other U3E:s ru-1d rurpo!.;es; alno t'1 r,lan nnC as::,i1:t in
                          :,1'3.nniri: Fill pr.:;,{ect.::; Rs t,J v.:hich Federal a·,yiropriations,
                          µrBLt3 or l0nns ~BJ pRy R pnrt er al2 of th~ co3t;

Puruose of p}an.          The m.i.::,ter plan is to be :r:n,:e Tith the ~ur1!o.se of ruirinr
                          P.nd acc"):'1,1ishinf i:i. c0ordinnted, adj:..ustec:, efficient Pnr.
                          ecor.0::11.c c'ev,:~'):Lent r-f the Co:: mcm:ea:th i::hich 't'i1.l, in
                                                                 1




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                           accordance "ith present and futuro noeds anci rcs -: mrces,
                           best ~remote the health, snfety, morals, nrcer, conven-
                           ience, pros~erity and rolfare nf the people, as well as
                           efficiency and economy in t:l8 nrocess of developr.1unt;
                           inclUt:ing, among other thinrs, such ~istrih•1ticn of po:1u-
                           lation rule ,)f the u::es of land f0r urhaniz~tiun, troce,
                           inoustry, he.hitcticn, recre&tion, agriculture, for,~str:;
                           and ,:,ther uses as \ ill tend to create con~H tions fnvorahle
                           to henl th, safety, prosperity and t_r11nsportcticn, ar.d tc,
                           cr0ata ci vie, recreati0nnl, educational ann c:11 t 1ral r.--n:r:i;;;r-
                                                                                           1


                           tunities. tend to reduce t~c ~nstes of physical, financial
                           or hunan resources ·11hich result from eith::r excessive ~on-
                           ea~tion or excessive scatterin~ of pcpu:ation, anf tenJ
                           tovard an efficient nnd economic conscrveticn, production
                           and c!istrihuti-:m of food 8Ilc1. ,mkr, ancl of sanitor:.· and
                           othm facilities,

c:~0peration.              ~ay confer and c~op8rete with the exc cutiv2, legislative,
                           plan:1.inr, housinr or zoninf': auth0rit ies of n,>.ic:hboring
                           Stat0s, ana of thn c~unties and municipAlities thereof;
                           enc i~ required tJ advise and connerate with naticnal,
                           regi0nal ana county, munic ipa~ and other lncal plannin~,
                           housir,p. nn(" zcninf-' agoncios within t ► :o Corr!l"lon- ·calth fer
                           t1e ;,ur~ose of promotinf coo rd ina tinn bet71ecn th::; stet a
                           enci locaJ plo:-is anc development and to transmit inf'orma-
                           tion p~;sse3s~d hy it v1hic\1 lwars upon such C'.)0rdination;

~,;:commend lc.:gi sla-    May pr0n1:re r,nd suhmit t0 tl1 c Governor or Gc:nerel Court
tion.                      drEiftt; ot' lc:ei.3lation for thu cerryiPg 011t of ths mnst-.:r
                           plan or of any p~rt thsreof, including zoning or land-u3c
                           rof!Ulat inns, and rq; 1l.at icns for t!te cons rvfltiC'n of the
                                                        1


                           natural re sources cf thG C )r...rr.nn-.·eal th;

                           Is directed to pl3n and nssist in planning bettar housin?,
                           nntional, rjfil)nal ar.cl r:mnicipnl planninr- t=mc zonin,;:, 11nd
                           the l11Jttt..r C:istributicn l)f p:1p1.1latil"ln :.md industry.

VII.    RULES A!·ID F.EGHLATIOF~;
                          F:Jr the Gov-,rnn0nt and u~e of 'i'h<:: (                ) P:: s,.o rva-
                          tion Unc~(;r th(.; Cart.: l'lnd Control of the De. pRrtment of C0n-
                          s<3rvatinn

Flnle 1. No pcrs)n shal:. thr-,·,\' an: st ,J ne. hall or missile; --:ir lrnv.J p0ssessi:,n
of or discharg~ any destructive -ear □ n, fircRrm, fireworks, t~rp0dr or oxulo-
sivc, or make a fire cxc~· 1 t in fir,iplac·..:n ;:-irovinec by tl:J da-.-;artr:ent; er post,
1aint, affix, cHstrihute: or disnl.a:, any sif'.n, nctL.!e 0r circ11lcr, T)r::wra!"'l,
plrcard or &ny other adv~rtisinP devic0; or 0Yc~pt hy ~ritten ~1thority from
th2 Corr.missiom:r of Cons~rvati::m enr.ap;;.; in hu!cin•~ss, sell or e:·p:-,f~ .. f .: ,r sPlc,
or giv::: awa:r any goocis or wa-rQs; or dr,p nr place and ::,11ffc'ir t .. ) r·?mai;, eny
Diec':l of paper, glass, v.arhagc, or oth.:J' refu~,c cxc-3 ,t in rec:~T)tacl ,1~ (1,...,~ir-
natej thc~cfor, nor throw a lirht0d mate~, cipar, cigar~tt s or oth~r hurnin~
su'bst·ncc in :::mid rc:: c~ntac ~c•s, or U'.)on th2i E.:,round, nor hrin;• o;· cau.s," tJ l-e
l):rcup-,ht ·, •ithin ~mid r ,:s ·rvt~ti0n, ~n:· gc1rl)r.e-·,, r •.:.fus,: or met·:ril:1] f0r th"' pur-
pos:; of d1Jp0sitinp.: th ,:: sa:11,; •~·it'.1in sAid r0c,,ptncl0.


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RuJ~ ~-    N~ perGJn Ghal: sn:icit the a~quai~tance •fer aLncy another ~er~on;
Jr uttAr an~• pycfane, threateninc:, ah11sive c:- ind.ecent ian .,u,we, :ir l0ud out-
cry; or solicit alMs, subs~ripti oLs nr contri~utions fer any pur~osc; rr play
ball er an: ether par.ie, "r s 1 )0rt or et~1:eti;:! c'lemcnstratior, excer:t in ·1Jaces
desirnated therefor; or l1ave pcssessi:in of or drink intaxicating liau ~r; Qr
pla:' any pame of chance; er h:>ve D.)sses::;ion nf any instrumP.nt of go.mhling; or
de any obscene er infecent act; 0r preach or pray alrud; er ffiRke an crati0n e r
haran1r.1e, or any ;:,al it i ::al or 0t:,er ci:i.nva::;c,: or e;~::ept b:, 'lTi tten authcri ty
frG;:n :::aid Cs:"l>rJ.i!"sioner, rr.>ve in a mL. itary c-:.· civic parad0, 0ri:.l rr >Jroces~i~n;
sr p:ay an~' musical instrument.

~:Ule 3. No l'lers•:ms ur, 1ess pr operly clcth8d shall "1-\e U'Jon t:1e l-ieHc~1, n-::r lc•," er
frc~1 their sh•'.)U]oers or re!"'l, ve any part of their bathillf" ccstune on saio "1-\eac-h,
n0r diGro'"ie for hethir,{" v1i+, 'lih :9·.1h:ic vie·:,.

R1 12.e t~. No pcrsc,n Hlrn U co,ise or ~ermi t any an ir.al cvmea hy !1 im '.),.. i!1 his
~U:Jt'.:Jdy or ur.cer hL, c r:mt~r,l, P::cPY)t 8 dow·· v1hen re:-;troined l-i~r a lear:1 not eY-
CP.edir,g seven fe r~ t in :.Fmcth, tr rrar:1 ,r t0 he At L•rt2:e on the hec1~h.

Pule 5.  N'.) per;;un shnJ!. crive any vehicl:J upr.n th8 rieRch er wi:i.lk,:,, anc no ner-
soL shall hrir.r, !an~ ar ~n~nP t1 a~nc9nd rr aliPht v;ithin the re~ervntion or
unon the VIate~s therein en:' 'lerr;;)l"l:1e, fl~rinf m11c-hine, halloon, parachute C:"
,ther a:ipa~at·Js for aviatic,r., exce:)t hy writtcr. [iut!nrit:/ fr~m :~ai( C:.>rnmis:c:i0ner
'Jf Canservaticn.

1iule 6. No 1,>e•·::,0n "hai: refu:;e er 1:ef!1..ect t.::: c-1-iey any re~:::cmahle oirectirn of
a po.lice '.)ff icer c r ether offic ird. in r;harge.

           Any person vio~_etinf~ nny ·Jf' the ahove ru l es ::,:(al'_ frr eac:1 )ffen2e he
p:1nishe-: hy a fine of I! Ot more than tv1P.rcty d,llars (General LevY:,; , Chapter 132.A..
Se~tion 7).

           The                ) He serve1t ion 18 puhl ic pr'-perty and it i::; t:,e ,~uty
of every pers::m to see th11t t .e &ho\·e rules are oh::;enred a::ci t:J c9:_1 attenticcn
::>f the ~olice or pe~s0-:1 in chi:i.rge t0 an:· vi:ilr-tion thereo:'.




                                                    Ccmmi~~;ionRr of C:mi;ervatirn




Annroved hy Gov9rnnr a~d c~u~ci:
July 17, 1335.




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\TIII.       RULES AJTD nEGCL.A.Tim':s
                            For tlte Gov8rn.-:1ent a:1G. TJ:,(' of Heser-r'iticr,5, Fl=lrk'··r.?3,
                            Poa6way3. Drivow~Js, ~rirlfe.s nn~ ~ep~he~ u~~er t~e Cgre
                            ena Contrr.l cf the Letro~rlitar. District Cr.,::--,misGir.n.

         N, ~CT.'son :,hall enter O"!'· lPave an~ F1ef'erv1:itirn, Pnr~vrqy, ?os.0v1 a:·.
'Cl·1le l.
tri~e~a~ or BcPc~ exce~t at rerular fesirnat9d entra~ce~.

~u::.e 2. No r,~rao;i :::;~iBll injure, c"efrice, a ig up or 0 i3:)la,~e, cut, l-irefl.'.,, re-
move fi::.l in, r9.iso, de:-,trny er tamr.-er v:ith any drive, n"lth, wql::, lan,, C'r
beac'1: or ::lef::ir·c,c1 efile, injure, c'e::;troy er i::.1-u:::.,e P.ny huilc:inr, '1ri:-'re,
:::tructurP, fence, c:ir-n, h3nch, se,~t, platfrrm, pi&nt, fl::rncr, '"'U:--r., trPe, t;.irf,
rc.cl{ er Pny rJtl:eT' pr-:,perty or, eq·lip'.Tien~, reRl er per~~mal, l--ie:nnrinf t0 the
C·x:~"'l•:.,r:·11e11l t:, 0f Mcsanchu:-,ett ~. under tl1e care ,._nn ~an trcl c·f tho Metr,.,pol i tan
District Cor,.missic.,ri, nr have pos::;~sai0n c,f an:' pert t:1ere0f.

R:11'3 3.    N•') p8r3Jn :3h'3.lL t·:L!')W an:, st:,nP, l,All or rii~silP.; ,r h::1ve po.c;s~.,~ion
of or disc'.1ar 6 A 'ffiY ~e::;tr,1ctive v:ea:ic_.n, fi:::-eqrm, firew.Jrk~, trrp0jn rr ex,lr-
:;ive; o:::- m'3.ke a fire except, i:1 firep2.2ces }')J'OVi:','C h:,· the Cornr:is.sicr.· rr :r,c~t,
~&int, a.ffi:•., dis~rP . ute ::.ir display e.n:· ::it-n, 1:0ticn, circuln:-, r,r0cra:1,
pl~cA.r'.l er F:.ny other Bcvert i~in&- ,'e·rice: "'r, e):cert by ,;ri tten A.uthori ty fr0m
saic Eetr0TJcl i ta:, Pi::trirt (' -1rr.r:L;:-:ion, Png ~•re in bu~iJlles.-:, ~e :;_ l or expo!"e f.Jr
~9.::.e, ,r give i:w:q~- rir1:: f~r.o~;: ur vn.re:;;; "'r :-cot a trRiJ •::-r G:1.er~; C'r injure er
hnve pos::,essi'.)n Jf JUlJ v•ild ani:r1<1'.. or hird; 1r injure :Jr di:3turt, nny bird'~
ne~t or Pg.gs: rr fro·-, 0:::- p !.F.ce ar:c.. ~uffer to re:nain Rn;t piece rf pnper, esarbni;:-e
')r other refu3e, e:xceIJt ir. t·10 r·JcApt':.i:le~ de:-;ignrate(~ tLerP.!fc-r, n,r thrr-w 11
lighte1 match, ciger, cirarP.tt0 ,-:,r nth.er burnin~ ~uhst~trt-:!P. in 3flid rc~crtacles,
or unon thP- grvunci; nrr brirw or cau:-::e to he h.r,..,ui:ht ·~ithin 3:J.i(1. reser\-eti"n,
p::i.rkwBy or br,ach, any _garb<1r:;e, refune c:or r1r..teril'll for the p111·pc.,e of depC"'Git-
ing the ~ar.-,.p, vrithin r.nid re~eT1ta-::: : es.

R~1 l8 4. No perscm :::!1all r,n1icit tho, 11cquaintonce ri' f')r i:mro:1 F.nothe-r re'!"~0n;
':lr utter Rn~' pr0fane, tr.reaten inp-, 11hu~i vo, o:::- indecei.t lanfuare ~Jr lruc' rut-
cry; or solicit alms, ::RJ.h2. '. ~ripti :--,ns nr crntrihuticns for A.r.y purpr.-.;e; or play
ball or any cther p11nA or ~port or Rth:eti~ dPm0nstrAti0n ex~ept in T1laces
deni~nated therefcr; er hqve p~~sesRi,n of or drink 11ny into~ic~ting liqu~r;
or p:l_ay an~' ga::1e 0f chance· 0r hnve pos3ec1sicn of 'my in:,trumc-nt -:,f eamhlinP';
or d0 any cl-i:::;cE>r.e er incecer,t act; or preach or pray a ~cu::; or m•"<ke an orRti•n
or haranf'Ue, or BLY '!'cliticaJ. 0r ether canvr;:-;:;; or, P.Xec,t h: 1 1 1ritten euthor-
ity frcm sai::l ?•1etrc·:i,Jlit9.n Di:;trict Cc :minnion, mcrn in a rdlitnr:.! sr ci\·ic
psrade, C:ril: e,r pr0ce::;nbr.; -:,r p2a:: 11r.y rt'J.sicA.L instr 11me,.t.

Ru~e 5. Ne> porscn shr.11 eo within t':e ~hruhborie.s :..;r up0r, the rrasn, rr ~tand
0r lie dow!1 u;1nn a '!':>each er f!O t0 3~Pep•therec-n. 0:::- ~it, stm:i", '.:':irr.h ever 0r
:.ie c.cwn U'10n W:~' raili:-:p, baJustrgr'e, VIA ~ 1 or fpncn.

:iule e. No r,erso11 unlP,s~ pr'Jrier: :,.· c1 r-,thed, shnl:'... be UJ;r n L1e hPnci, or ,::;vrim.
bathe I")!' wade in an: wRte:!' r,itl:ir: Jr adjcir,inc rrc-pP.rt~· m:fe::· the c,=i.-:-e ancl
".)Ontrrl of the C )!".Y.1is::ir-,n, anrl then c.n~~, at such ti':;es anci in such place.s as
thP Cc.mmi3::,ion r:'icJ.;' d"'3i{".r.qtr-; nor lr;it..,r o:::- WA.lk u:,r.1: a :1id:~vrn;.: nr rraclwAy
or atvlut a recerv"lti c n nthn,r tr.B.,i fl b~thir.g ~e~ch in a hat!·~inr C"~,tu.":'!e, unles3
~eerir.g a ~lnned C"vcrin~: nnr !cwP,r fr"m th9ir ~houlderR er rerncvc any ~art
 af their ~Rthic~ co~tu~e 0 n ~ai~ heach, nor disr0he f0r bathin~ in a puh:ic
 3nniter~ or within nuh:ic viow.



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Rule 7. No person shnll loiter 'JT', the 3idev:alk8 sr crivev;tJ.~' s rf a!1:• road,
bouleTard, park~a~ or reservatio~, after havinf heen directe~ ~~ a ~olice offi-
cer of the Commission tJ move on, and no person shall oh8tru~t tl :e free r-nss-
ap-e 01' fnct trave l ers ')n an:r such sidewalk r,r c.rivP1:;ay.

Rule 8. No pers"n· shall snit upon l'lr.y sidevrl=l.lk er path in a.'1y reservati on,
parkway, road or ~rive~ay.

Rule 9. No per::ion :;~1all cause er r,ermi t any an imel cvme_d hy hir:i c -:- ir. hL
cust od: or under hi:-i C'1ntr1l, except A d0g v:hen restn:i.ined by B lNi::;h not ex-
         1


ceeding seven feet in length, to ro;cu-:i or be at large, in, "."In ar throufh an:
re serve.ti on or beach under the ccr.trcl of the Cor:irni::;si-:m. 0r he hi t ,::hed to A
fence , tree, hu::;h or shruh, nor to nny '>hject or structnre e):cert at a ulnce
pre viced theref or; n--Jr ride or drive An animal not well hrot:en m:6 1.mcler proper
cor~ tr0l and then only in such roach19.ys C'r bridle path::; as are prcvided there-
for; n0r neglect or refuse t0 ~t0p, p l a~e, chanpe the nrsition 0f 0r move said
animal as directed hy a p0lice officer.

R 0.1le 10. N') pe:rs on :1'1all use r :::, ller skates, nC'r c0a:3t, s kat~ or :-3lije in any
reservathn excent at such ti:.ries F.ma at :.uch rilaces A3 nay he ce 2i 2:nRte:'l there-
for.

~u:e ll . N') pe~snn shnll hRve er nl l~w n vehicle for carr~inf merc~andise, ~r
a vehicle in :.ise fo:r ctffrj irtf' :::erchi:i.nc, iGe c.,r Rrt icles othor than equipr-ient •
prcper f ~r a pleasurn vehic : e, ezc09t upcn a traffic rnad, rr t0 pain Rece s s
h:r the 3hortest way from the nearest s treet tn the entrnnce of a h 0use abutting
on a parkwa:;, b0uncl13.:ry roat er 6rivewn.y: pr0vi0Rd, h<""V!P.ver, that Il() nersnn
3hr.!.ll in ony ev~nt curr:: or c1:1u .sP t'J be carriec upon an:: '1ar:-:v:r-::·, h,u-:1C:.ar:r r ,.:,ad
6r drivew~y nn any vehicle a l oad the weirht ~here')f exce e ds ten t~n~ ex~e'1t hy
wri tt~n aut',ori ty fr0:-:i ::ieid ~~etr'"1pc li tP..n I;istrict CJrnmis::;::.0n.

Rule lS. Ne person s 1:all ri(e or C:rive an aninal or n~hic l e UD "") H 0r nver any
part of a r, :::i~rvatio,"i, perkv:13.j', r0::i.c:,:ia~', drivewa:· .')}"' hridre r.:1id1 has l--ieen
               0


closed to tra7el b:7 the r,lacinr therein or tile cre:,it ion t:iProor o f ~ "l)urrior,
fence, 1 ir~t "r ::iir,n irn~ icRt ing tl"iat s '.1ch -;,art nf such rP. :-.ervr:it ion, parkvmy,
rot=tdwa~,, drive·: a:' er hridre is n ) t 0pen for puh l ic travel.
                   1




Rule 13. tro pern0n ::;;1al "':. bring, laEd 0r cau:::e t-, cescenc- ,1 r aligl: t ."!it:1in an:·
re::;ervation or up,.:m the wRtern tl1erein 11.ny aercplane, fl~ring r.ir:i •~hine, r,11llcon,
parac!hute 0r ether aproretu:1 f or Aviati0n, ex ~ept h:· writt:en auth0rit:· fror:: said
?tetr0po::_ i tan District Co:- ··.i::-; si'"ln.

~ule 14. No per::ion s hall refuse er neglect tr ohe: any rensona~le ~irection
of a ~')lice 0fficer 0r a ~erscn in ch~rgc .

             .A11y pE>rs0n vi ,la ting l'l.ny rif the .qho•,e rules shall f or each l"lffense he
puni:1he'i ti~, a fine of not mrre t:Hm tv.rer.t!' d'"ll:.ers (Gener,:l Lc:w~i, Chapter 45,
3eC!tLn '.A).

8eptember 1, 1932.

The lands and ::;tructure:.; unc'er t:1e ccr.trol rf the Ifotropr~ itan Dbtri ~t Ccm-
r.ii::,c,ion are r1h~ic pre perty anc it i.-:; the c1 1.1t:-· 0f eve r: n:.: r son t~ s8e thRt the
al:)ove rules are oh:::~rved ar,( to en:::. tl-te att.,mti0n of tr:e ""].ice or -perl!lcn in
charge to any vi~:atirn thereof.

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               Exhibit 10
           Michigan (see p. 122)
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                                             MICHIGAN

                             I.   STP.:;'i, P.ARK3

J ·1r i s d i ct i -..,n .   State r,arks a re unc e r t~e juri s diction of the De~Prtment
                             of Conwervation (Acts of 1321 as ame ndeC).

Co~missicn of Con-           The e :rneral Rd:ninistrRtion of thP p::;wers a;1( outies of the
wervP.ti on; appoint-        Dcp~rtment i::, vested in n C,r:missicn of C.:-r.~,e rvati '.) D, com-
rr.ent; terr.:3:             po3ed of EAven r.:embers, appointed h::· the G0verncr, suhject
offices; orr9.niza-          to confirr:;ation hy the SenP. te, f' or six ~-earr1. ( Ini tinl
ti0n.                        appo ir,tm'3r,ts viere three 1'·: r t110 yeer.s, tvrJ fer fo•.1r :rears,
                             ar.d t v;o i'·-ir .:,ir. year;:;). :.'.em1,e-rs are req:lirPd to serve
                             v:ri th--,~1t c 0ripensRti0r., but 3.re cnti tled to reasonahle ex-
                             pen~es incident ta rffictal duties: are to he sRlected with
                             special reference tc their trnininp qnd exnerience alrnp
                             the line :,f cne or more of the '!')rincipa2- lir.e3 rf ac~ivi-
                             ti8s vested in the repartMent erd their ~bi l ity and fit-
                             ness to deal there71i th. T7,o mer.,her3 ere r(-quired to re-
                             .sue in t~e ur,per '1enir.sitll'l. !lcriherc1 elect a Chairmnn
                             .rmd a :=:.eeretP.r~, ar.d mR:· ar'"'pt rule:-> an ;; rPtulati0ns
                             g::ivernir,r: the ir orr:unizati"n ru:C: ~rocer.ure.

rirectcr cf CJn-             ':'he C::irr~L;siL,n er:-:nlcy::; a r irect 0 r 0f ConPervati -:--n at a
servati~E; as~1 ~t-           ;;alar:; fiY.Pi hy ~nw, and who ho~_ds 0ffi~e at it.s pleAsure.
~nts.                        The Iirfcct r:: r in t'-lrn arp oint;,, vii th t !:e a r proval :..; f the
                             C'.J::J".lis:-.i '.W , s 1,.'.!h assistants Lnd e"'lpl nyee::o o~ m:..iy he nec-
                              e::;snry t:J carr:,· rut t'7P ,r0vi8ic1ns of tr.e ~,)nservati:)n
                              : A.W:'.; t 11e co r.iper,sati~;i 1rnd nnmh c: r of al-;,, 2 11ch t0 be suh-
                              ~eet tc. the [.pprov&l r,f the :~t:.ite A( :-r!ini:-;trative ncarc.

General pc11er::;            It is rnai::e t :,e dut:; cf thP- I'cp.qrtment (AC"ts "'f 19'.:'l, 113
and d·.1ties.                ~8nrJ~d), t ,) pr'.Jte ct and con:·'3rv., the natural re.".Jur0Ps
                             r,f t :k~ Stfl tP;

Recre~ti~n facili-           T::i pro vido and d~velop facilitiPs for outdoor re0reatinn;
tiP.~.

Ccnservation of              To prevent the de::1truct ion '.Jf tim'b8r and other forest
fore s ts.                   ~r Jwt~ ~n~ prcma te ref0rcstatian nf State :anrls!

P::illution nf waters.       T0  prevent and f"U8.rd 13.gain.st tLe p0::..luticn '"'f :.a,:es end
                             stre8J"l:J;

                             To f0ster 11nc enc ·J urar.;e tl:e protecti ,'.r.., and nrope!!ation of
                             fa.':ie e.r. d f i :::h ;

Gifts.

Acquire, se:l, ex-           A:Lsr, huy, :1,~::..1, exchqnee c:-r C'"'lnci rn~n :.::;nd and r-th(· r proper-
change ::.and:;.             ty f ~r ~ny J f the rurpo2~s contemrl11ted ty the :aw;


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Disrosc of               Ma.y ro1i1ovc c.nd dicpone of forest products, incidental o.s re-
f')rc st produgt s.      quired for tho protection, rcforostation and proper devclop-
                         1:1or.t ::i.nd conservation of tho lo.nds ::i.nd property under its
                         control;

Ror:iovc.l of oils       ML:.y ccntr::-.ct, subject to tho o.pprovc..l 8f tho J.. d.,-;dnistra.tivo
o.nd wincrc,ls.          Bo::-.rd, for tho to.king of coal, oil, gr.s, C'..nd other ni:1oro.l
                         products frcn c_ny bnds under its juri sclictLm :,.nd ce:ntrol
                         upon c, royc.lty or ot:1-::r b:::i.sis;

Invc stigc-.ti~ns.       1'.2.y conduct such invosti 6o.tions o..s it :lr'.y docu n:.::cosso..ry for
                         i;ror..;;r o.d::ur.istro.tion of the lc,ws.

Di vi sicns.             .: .dninist::-o.ti ve di "ri sions h::-.ve bcon croc,ted within the Dcp::irt-
                          nent o.s follows; er:-.ch under the cho..rgo of o. hoo..d appointed
                          by the Director:

                                            Division cf Parks
                                               11     t1 Lands
                                               II
                                                      t1 Forestry
                                               II     11 Fish ~nd Fishorics
                                               II     11 Go..no
                                               II     11 Geology
                                               II     11 Field .i'.d.:-:dnistrr:tion
                                               II
                                                      "Education
                                               II     11 La!1d Use Plc.nning




As to pn.rks.            Powers ::-.nd duties of tho Der:::i.rh1cnt c.s to pc,rks c.rc ClS
                         f~llows, (~cts of 1919 ~s ~nondod):

Supcrvi sio:1.           To he.VO cho.rgo 2..:::1.d suporvi sion of o.11 c.roo..s ncquirod by the
                         3tato o.s public p~rks fsr tho rurroses of rublic recreation,
                         or the prosc,rvc.tion • f nc.turri.l bcc.uty or historic c,::isocia-
Exception.               tion; 0xcc 1'.lt nuch l:'.nds us r.1.."-Y be pk.cod by 18.w under tho
                         supcrYision of oth-:r C'. .,:1nissions or officio.l::i. 1·...ny lc.nds
                         now owr.-:;d or acquired b~r the St::-.·r:e no.y be tr::-.nsfor·.·ed to
                         the Dcpr.rt1c:1.t by tho co::',ni ssions :>r officir,ls hc.ving co!1trol
                         of the so..;.10;

l.cquirc ::.roo.s.       Tc tc-.ko in the nc.no ')f tho Si~r.te r,nd for the boncfi t of tho
                         public by purchC'.sc, condo;.~:n.tion, gift or devise, lc,nds o..nd
                         rights in k:ids for public p~rks;

Dorni.ticr_s.            To rtccept donr.tior,s, gifts r.nd devises of lc.nds for tho
                         purpo00 of cstc.bli::ihinr.; zoologicc..l pc.rks, gardens, grounds
                         or po..rks f(')r c.ny 0th.;r purpose, to be r.1~int~i1,ed exclusively
                         by the Dcp::.rtr..cnt or jci:itly with any county, city, vill::1.ge
                         or tcv,nship, er ::.r:.y nu;1bcr of such. .:'. 11 such pc.r:·s r.nd
                         ~o.rdons c.ro dcc:10d t0 be St::-.te pr.rkn vri thin tho r.100.ning of
                         r:.ny lo.w cstc.blishi:1g Str,tc p::.rks under the jurisdictic,n of
                         tho Dcpc.rtnent;

Pr 0 se:rv-.tion of      To preserve ;:.nd c~r ✓ f•Jr the public p::-..rks; ::-.nd, in its dis-
a.rc::i.s.               cretion o.nd upon nuch tcrr.. s c.s it ::u-,:,r r.)provc, such other
                         orcn spc.ccs ns r1L',y '.Jo entrusted, given or devised to the
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                       State b:• the United states, er by citie:;, town3, ('"rpr,ra-
                       tions c-r inciividu1-1l:;, for the :I:Urp')::,es of puhlic recreation,
                       or for the preservatirn cf natural ½eauty or natural fea-
                       tures pcssensir.g historic information or asnociati0n;

Cor.trnl rf munici-    Any rnunicipalitr is authori7ed to transfer the care and
pal are es.            C')ntrcl of any cpen spaces ~wne~ or controlled by it to
                       the Depart:ner. t 1.:.p11r.. ::,uch terms 11nc. fer 3uch periods as
                       may b<=l mutunlly B/?Teed u~rm, ~r ent0r intn apTer-!m<=>nt3 ,:i th
Transfer caret~        tlIB DepartMent for the joint care an6 ur9:;ervation of ")pen
munic ips.l i ty.      spa::en ,1ithin er n0jacent t ,) 3Uc~. muni::ipnlity; and the
                       Cor:;mi s::;i c-n r.,a~· in l ik"' r.ianner transfer the ca:re a11d C/"ITI-
                       tr0l of Rny nuen SFBCP.s controlled by it to P..ny local muni-
                       c ira:i t:·.

C:ntribution~ hy       Ea~h county, city, vi:lare and t')wn~hin in Ruthnrized to
cities, etc .          appropriate t0 the Depart':'..ent sums of noney towarc the
                       maintenance anc"; iriprc.ver:ient of any StatA-0v:ned park ~r
                       zcol0gical gar6ena or grounds.·

State Part Fund.       Whenever an~· m0n,9~-- -,r other pe- 3onal prcpcrty is received
                       for the purpcsP,s of' the Act, t~1e s?.:ne is to be invested in
                       a 'Stote Park Funa'', the proceeds to be used anc1 ex"Jended
                       under the directicn of the Cr. . i2si(')         r.-.
                                                                        0




Leane privilege3.      May rent er lease public ~ervice privilegea in the parks;
                       all funoo or revenues derived therefrom tn he r.redited t:,
                       the general fund of the State;

Rule 3 and regula-     Mflke, alter anc1 enforce rules and regu:.ati0n3 f:>r the main-
ti0ns.                 tP.nance rf order, sqfet~• and sanitation unrn the land;:; in ·
                       it:1 c0ntrol;

Free use of parks.     May nrt mR):e ,my rule      '1r   regulatinn to prevent tllP- free u~e
                       0f ~ny state park;

                           State Highv;s:iy Cnrnmisai0ner i3 authorized anc1 directed
                       T'.1e
                       to lay out, P,Stah~ish, maintain and improve trunk line hiph-
                       ways PJH' other highwey3 as are nece3sary t(\, up0n "r th:rl')ug'.1
                       :tate park3 rr ,.,t her State pr"pe:rty, ano to build connec--
                       tionn het.ueen samP.

                       II.     M.ACKDJAC I::;LAND STATE PARK,

Fembers; appoint-      The ahove park i3 under the c0ntrol and manap:ement of a
ment.                  Board of five Comraissioner-3, Rpp-,inted by anc to hclc'
                       office at the Vlill of the Governor. }~embers receive no
                       crmpensatirn, but are entitled to ex~enses incident to
                       official duties. The Governor 18 ex-officio a memher.

Po·;rnrs and duties.   The Commissioners are empowerPd ann directed (Acts of 19C7
                       83 runended) :
Adrninistration.       To la:.• out, manar.e and maintain the pork and preserve the
                       old fort;

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Gi.rt s.                       To r;ccept gif'tsJ i;rc.:;.ts, dcvis0s or bequests of c..r:y property,
                               roc..l or rers onei.l, but only for the purpo~cs incidunt~l to or
                               co1mectcd vri th th:.:: 0t::--.tc p:.rks u~1c1 er its ::::J.'l.,:c. c c::icnt c.nd
                               cc1~trol;

Rules c.nd rcgulc..-          To r::1kc r.r:d enforce b:,,-1::.ws, rules :·.::d rcgulo..tions 110cc ss.:-..ry
ti '.)Il3 •                    for the er.re, ord0r c.r;.d prcscrv · tion of t:1c arc,c.. Tho
Police po,·:on;.               Shuriff of the count:,, upo;1 c.pplicc.tion of tho Cc:.::-iissi<~ncrs,
                              ;·_,::}._y c..r,point on.) or r.~·)re do si g:1r-.t0d -,r:plny ..:)Cs r.s deputy
                               shoriffs. Tho Superir.tcrdor.t r-'.ny o..bo c.ppoint such nu~1ber
                              of special pclicc o.s tho Cor:~:rl.ssi (:1-:crs :.,c,y dcGign:--,tq

Er.,r-10:1,' p.rs::n::::cl.   To c:::--1ploy a. Su:'.}crir.:.tor.dc::t c.n<l such ot:1 .,r pcrscns o.s c.1..',:y
                              be nucdcd;

L,:;a.sos; rc:1tc..ls;        To effect lccscs, c..nJ tc fix prices for rcnto..ls -:,r privileges
privileges.                   upon t:10 p~.rk pr'1pcrty; c.ls-- g;ra.nt privilq;cs c.nd frc.nchiscs
                              for vmterwcirks, scworc.ge and lighti ·:g for c.. puriod not ex-
                              ceeding 30 ye ~rs;

Di spo si tien cf             :,11 r.1oncys roc -:: i vcd i'rur.i rcFtals c.i:d pri vi lcg:cs to be re.id
revenue.                      into tho St •. te trco."1ury, to be credited to the gcncra.l fund,
                              c..nd to be disburs :.; d as ~pprcpric.tcd by tho Losisl:::.ture
                              (1935);

Rcr;ort t o                   T::i r.~.kc to thu Govcr:1.or_., c..r.. n.::1mc.l rep ort c.nd stn.tonc!lt of
Gsvcrnor.                     receipts md exper-.diturcs; c..lso such rcco:::rr., e:1da.tic:1S c.nd
                              sucgestic::.1s ::is n .".y s..,0;1 to then proper;

United Stc.tes fl::,g         It i 3 the duty of the Suparintc!:dc:1t t') s::c th.:-.t th<..: U,u. tcd
to be flmm.                   Ste.ts:; s flc..i; is k ;:;pt fb~,ti:·g fr :Jn th::, fl2.. e: stc..ff of Fort
                              M~\ ckinc.c; rules rolc.tivc th:.;rcto bdng tho s:·J.1e c..s those
                              tk.t h-.ve govcr!:od ir. th:.t :-~~,tter when the f ,:,rt w::-..s in
                              p0cscssicn c..:-.d occupc-.ncy by the U1:i tcd f:tc..tes troops.

                              Neto: Tho C,,nnissi ·1ncrs r~lso h:..ve tho C')ntrol c..!,d 1.:..-.nc.gc-
                              r.i.ent of i':ichilL.i:::.ckina.c St~·.tc P~--..rk.


                              III.     ST.,.TE FORZ0TS.

Coop~r~tivc c.grcc-            Tho Conscrrntion Co;:ini ~ si ·:, r. ::-::-.y enter ir;to co· pore.ti vc o.g-
:::-,cr:ts with Fodcrc,l       rco:.,:;nts with Fodcrc.l ~-.e-c:1cics for th0 purpose ~f r-.cquisi-
o.goncios.                     tion, nc.m·.r,e~1cnt c.!1d operation of public for-ost lo.:,ds. Under
                               such c~,opcrc.ti vc c.grce:·:c;1to, forest lr.r.d s purch~.scd by the
                               Unit e d Stc..tcs arc to be c.d1.unistcrcd by the Corn.usnion o.s
                               3t:::.to for8[lt l:::.:1ds, ::ml dnrir..g the period tho c..grccncnt
                               ro:-.ic. ins in forco, 1/2 cf tho grcss pr:::-ccods fr,:;n c.11 lc.:1ds
                               cc:vorod by the r.broer.10;:t c.nc1. tc- which tho Ur~jt.;;d Stc.tos
                               hclds title, is to Le pr.id t c the U~itcd ~totes; Provided
                               th:'.t wl1on thG an0u:1t of such pa.yr,.cnts cquc.l th0 tctc.l sun
                              ·oxpc~Jcd by the United St~tes in acquiring the l~nds, title
                               is to be trc.1;.sf orred fr.:-~.: the Fodorc.l Go·1ornr.:e::1t to the
                               St~to; c.nJ r,rovided furth :., r, th:-.t in tho event of the ter:-:-.-
                               ination of tho ncroc:1e~ts whore title is i~ tho United
                               .Stntos, the;:: the Fcdorc.l Gciv:_: rnno;,t is t:) r:;ir::burso tho Stnt.
                              for such fu~ds ns l~~ hr.s cxp0ndcg git~d t~ t:;·o \b gfec.ti c,n,
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                           do•;clopncnt c.nd nr.1'.c.gcn,:n:t of the lc.nds (..cts of 1935) ~

Closing of forest          Whorc-,rcr by rec.son of dr::1.ught tho forests i21 the St:-.te o.rc
o.rco.s.                   in c.:-.ngor cf fire, the Gover21or is :iuthori zed to forbid
                           by proclru.::-..tion w~cncvcr he deans it r..occssa.ry in tho pub-
                           lic i:'.torc.st a.nd for tho prosorv::-.tion of tho public pla.cc
                           ho~lth n.:--.d ::m.fcty, the use of fire by a.ny p8rs0r:s cntoriEg
                           forests, wcodl:inds, er nuclc lo.nd o.ror.s. During such pcricds
                           ~.nd in such a.rcr.s as tho Governor prcclc.i;~1s, it is unlc..wful
                           for '.l.ny person tG b;,iild o. c,.2p firo of c.ny n:'.'.turo o;.:cept o.t
                           c.uthorizcd cc..2p grcu!lds er plc..cos of ha.bitc..ticn Vets of
                           1935).


                           IV.    PUBLIC SHOOTING GROUNDS.
DcdicC'..ti:m c,f          Corte.in Sto.to-0Y::1ed m·,o.np c.i.d subnor god la.nds h,.ve been sot
St::. to lands•            o.pa.rt fr0r:I tine t•'.' ti r::.c c.nd dcdica.tod for public sheeting
                           or huntir.g crounda for the bor.cfi t nnd cnjo;-r::ont of the
                           people (~cts of 1891, 1895, 1899)J

Control.                   Control is vested i!1 tho D0partncr:t of Conservation, which
                           is authorized tc 21c.~rn c.nd cr..forco rules ~nd rce;ulc.tic"ns for
                           t!10 cc.re a.nct prc:wrvnticn of tho grounds, fJr the r~'\inton-
                           c..nco r:-f g0od ordor, c.nd fer tho prctoctio~1 cf prororty.


                           V.     ST.. TE TOURIST       .HD RE.SORT COi·:ITHJ.)IOlJ.

lf:or.:b:::: r s •
1
                           Tho Ccn::u.ssicn vrc~s croo.tcd by ,.cts c f 1934, consistir:.g of
                           ton ;1c:,.1bors: Tho Govcr::(:r, the Sto.tc Highvrc.y Co:.1nissi0Dor,
                           tho Director of C:.msorv:·.tL:n, t!10 Cho.irn.."..11 of tho Mc.ckina.c
                           Isl . nd Ste.to P~:..rk C01.cissi·-!1, tho Master cf tho 1lichignn
                           Stc.to Gr::mz:0, the E;~ccuti-ro 8ccrctc.ry of tho Michigc.n
                           St,.te F:'.r.: Burec.u, tho Sccrctc.ry-Mc.r.c.gcrs cf ca.ch of tho
                           follo,;rL:r;: the Upper Poni:-,sub. Dcvclcpr]cnt Burco.u, the
                           Michi£::'.n T'.)urist o.nd Rose-rt _·_ssoci:.-.ti0:·., the Jauthoc-.stcrn
                           t!ichig:;-:.E Tourist c.::.d Publicity l.ss0cic..tion. }.lc:-.:bcrs arc
                           required t~) serve wi th -:ut c·· npcnso. tion or c.llov,c.r:.co for
                           tr~voling or 0thcr c~pcnscs •

.i.dvortising              It is the duty of the Cor.1;.tlssi:.n tJ c.dvcrtiso the advo.ntn.gcs
.Ste.to.                   cf tho Ste.Ge, or such p~rt thorcof o.s tho Sk.to .Ld:.tlnistrn.-
                           tivo Bo::-.rd rmy direct, t::; rcsidc:1ts '.:'.~1d n'.m-resido:1ts, in
                           no...-rsp:cpe:rs, r.w.ga.zi:1os, b')cklets, lc,.fkts, pcriodicc.ls nnd/
                           or billboards, c.nd in ouch other nnnncr c.s it deans raost
                           C'cdva.ntc,goous to prcmotc the purposes expressed.

Fu:·.ds.                   Funds r-.r0 pr-:ividod by lcgislc.ti vo o.pprcpric.ti:,ns, to be dis-
                           bursed ur.dor the dircctbn c f the ;.;to.tc Ldniai str:o.ti vc Boo.rd
                           under such rc1r,ul'.:'.ti ·.:-1:s r.nd rostrictior:s o.s it r;i.J].y proscribe.


                           VI.    ST~:.::.J: CONTROL.

if:cnbcrs 1                i. StrOr'.l'.i. Control Co:.inissi'.:'n 'ilC.S ~r:oo.tcd~ ·o ·}-tg lo     1929, con-
                                                                          D1g1t1zed by \....:i V L
                                                   11!)
     Case 8:23-cv-01696-CJC-ADS Document 35 Filed 12/07/23 Page 94 of 167 Page ID
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                           si sti:1g of the Director of Co:1servc.ti '..r:., the Ccr.-.:· 1 i ssi::-,!:cr
                           cf Heal th, tho Highway Ccr::::tl ssio;.1er, the C:1!:ni ssi::::cr of
                           i.£_:;riculture, 0.1:d the ~·.ttcrncy General.

P::iwcrs.                  The _Cor:i:.1ission is vested \".'i th cc-::-itrol 0f t:10 p'..'lltitirr~ r·f
                           lnl-:cs, rivers c.,1d str00.:·1s o.nd o.11 vro.tcrs of the Jt::-.tc 2.::'l
                           the grc~t lc.kcs -.::hicl1 c.rc :r :.~r.y be o.ffcctcd by Ymstc dis-
                           p--:,so.l of :r.:unicipnlitics, industries, public e r priv'.'. tc c or-
                           poro.ti,:-;:s, individu::-.ls, po.rtr.crship r.ss r ci,.ti ·:·. s, er o.:,y
                           other entit;,,r, c.nd is vested \'/ith c..uthcrity t::, r.:n!co nnd pro-
                           r.rulgo.tc such rule~ .:-.:r.tl rcgul.:-.ti ·1;.s c.i:cl c: .:tluct such i!:vcsti-
                           6 0.ti• ):~s dec:::--.cd neccss2..rJ t -J c:--.rr:,• -::ut the prr.•Yisi - ns :-f the
                           I.ct. Is directed tc esto.blish such pclluti-m st:--.:.ck.rd::; f _..,r
                           12,,kes, riv.:::rs o.::d str-::x-.1s ::-.:--.d ctlH;r Y.~ ,tcrs of tho Stc.tc in
                           role.tic:, to tho public ucc t".' y:hich they :--.ro -r :--.y be put,
                           o.nQ. :'..."-Y tc·.ko o.11 c..rprcpric.to sto::,s t        prcv;:;r.t ,.-n.y pc: lbtbr:.
                           v.rhj_ch it d.::: GLS tc- b0 unr0:..s :: ;.:'.'.lile c.:1d c..g::-.L:::;t public inter-
                           est i:, vimr ~f the exist '.i.1:g c 'mdi ti.---,ns ir:. CJ:y c·f the sc.icl
                           vro.tcrs •


                           VI I.      GSTJER .L ,

                           Y:11cncvcr tho title t ·, the ::itu 1;c is deo:·.1c.;cl. c.bsc,lutc ir lc.::ds
                           bid off to the ::..tc.tc by rco.s0!1 of d.:::linquo1:ct tc.xcr;, c.r.c1
                           the Director rcqu ::: r.ts fr " r: the J.udi t·,r G-:;1v)r:-'..l nn cxc.;·.1i1:.o.-
                           ti ur, vf n spoci fie description of lo.,:c1s lo'.'c.t ,: d Yri t11in the
                           b1un-inr:,· of a.rcns design~ted c.s Jtc..te f·: rosts, 0tc.tc pcu-b:;,
                           3ta.tc g~rID refug0s, public hunting, fi~1in~ ~r rccrc:::..ti ~~~l
                           grcuncls, such lc.nrl i 3 required t0 be r,i. thdrc:;m fr-~:·.~ sc.lc;
                           u~d if upon ex::-,;:d;,c.tL:·. the lr·.r'.ds c.ro found to be unoccu-
                           pi0d, c.r.c: n,~· suit is pcl:c:ing: t;~ set c..sido c.!'-Y <if s2.it1 tc.xcs
                           or to rcr.K"TC t:10 clou<~ occ::-.::;i . : ccl thercby, the __udit nr Gen-
                                                                        0




                           ornl io required to deed t:10 l,.r.c1.s t -:·, tho ::tc.tc (:::..s c.;-:-.ci:dcd
                           1933).

                           Note: Titles to 1::-.:·,ds Hhich c.re t.-,.x c:c11i:~uo.at f -:Jr five
                           yc2..rs or :r.-nrc bee r:o c.bsolutc ir. the 2t:--.tc (O •..• G. 193n).

Lc.nd s Yri thdrc.rr:1     T:io Director -:if Conserv~,ti 0) ~ 1.::.-:.y, ,vi th tho c~ppr ,; 7::-.1 rf the
fr :-- :: r.o,.,e stoa.d   CJnscrv~ti :n Ccir.n:tlssL n, Yri thh,: ld fro:·, sc.L; or c::tr::,, u:v 1 or
right or s::-.. lc.        the h0,.:cstcC'.cl right, such 1.-,_;,ds us hL; ' :,.J clct0r:-1i::c t-:, 1:.1 0
                           su.i to.blo for St::-,to f (Jrocts, .:.;tc.tc p:::..rks, ;;t::-.t0 gc.r.:c refuges,
                           public hur.tir.g er rccrcc.ti nc.l gr:-u:1<ls; but ~.ny kgc.lly
                           plcttod lc..;Hls ir. c.:·y t ·::Y.~,s:1ip nn.y be wi thhclcl rri th tho c ,.~n-
                           sc::t of the to,rr:-ship b-.;o..rd;

                           Prnvidc<l, t'.10.t .:-~: c.11 land::.. so rri thdr::-.,.m th ,;rc is t ,:, be
                           pc.id c.1~ ,_;;1ount cquc.l t:) 251 c..n acrc, t., be c1 i ,:idod 1/4 t'.J
                           the g c:,cro.l fu::d 'Jf the count:r, 1/4 tc:: the go;:erc.l or con-
                           tir.gc::t fund of t:10 t .: ,,.r.,ship, c.nd 1/2 to the school dis-
                           trict ho 1·- rhich such h::ds a.re loc8.tcd (:.s c.r.:c::dccl 1931).

Nui so.~~cc s.                     p0rson · r his c.g;cnt uh0 shc.11 keep e r ;_::--L.t--:.in ; .i.thi::
                                   ;.,il0 0f t:10 lil.d ts :,f r.i:y p:-·. rk or )4 thi:1 "ti}~irty r::id::.. of
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                                                     120
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                                      #:2328
                       any hi"'hnr-.y
                                 b        er street c8.r lh:c o.:.w      .; sb.ur:htcr-houne,
                                                                                .._           sl::tU-£'.htcr
                                                                                                    ..._
                       y2.rd or sb.uchtcr-r,c:n. or ::u:y ')th0r pl::,.cc f Jr :::1:::i.uchtaring or
                       killing a.ny c..nir.1.,ls, er f0r rc:.dcrir:g; dcr.ci r.ninc.ls, unless
                       such plc.co be sup::_:,li ,;d •..'i t:1 ::.:;. r dequc.te supply of Vff.tcr for
                       dc,ily o..r:.d c::nsto.nt flushi:;g o.~1rl purifyir.g 0f the pl::,cc, a.nd
                       v.ri th r.dcqu2..-co sevrarc.gc c.:.:d dr:-..i:~::tge fer the speedy ror::.ovo.l
                       of c.11 blc0cl o.:.1c'. ot:10r fluid r e fuse fro:: such sl8.ughterir,g,
                       killi::g c'r rondoril:g., is to be guilty of o. nir.c1cnc:: mor.
                       (:.Ct S C f 19 31 ) •

Prcscrvc.ti ·m c-f     .hll trees, shrubs, vir:es, fruit plc,ri.ts, cuttings, scions,
trees.                 gr::.fts, pl'.:".r.ts ::.:1cl pl:-.!1t p::-..rts, plc.nt products n.::<l plo.ccs
                       vi thin the :..itc.te, i:1fested .-:i th i~'!.jurious ir:s0ct pests or
                       ir.focted with pb.nt di sec.s ,:::s ,:r.ich a.re liable to sproo.d to
                       other plc,nts, plo.:'.t prorl.ucts 0r plc.cLs to the in~vry thereof,
                       or t0 the i:"jury ~f :--r.:.: or n....-1hi:".ls, c.r:.1 ull species r.r.d '-"rlr•
                       ioties of trocs, shrubs, vir.os c-.nd oth0r plC'.nts rxt essontic.l
                       to the Yt..;lfc.ro cf th0 pvople _,..,f the :~t:-...-co Hhich 2c.y servo c.s
                       fo.vor::.blc host plo.::Jcs, :..1' :l pr-;:·,0te t:·1 e prevc.lonce 0.1,cl. c.bm1-
                       ( 1,~ .::ce of i!"'.sect p0sts : :1<:. pl::--.:1t disc~ses., r·r o..ny stc..ge th0re-
                       of, destructively ir;.juri ' us t'.i other plc.r:ts essontb.l to the
                       ~0lfo.rc rf tho pc0plo of the ~to..te, c.ro dccl~red t~ be n
                       nuis:-.r..ce; m:d ::.11 pcirs--i::s r:,,;mir:.g or co::trollir..r: lr.:1e1s or
                       pl::--.cos ni thin tho Stn.to, u::d o.11 rublic o..uthoritics hc.vir:g
                       jurisdict:i. ,):.1 o-:er street:,., hi t:ly;rr.~rs, parks., c,r.d other public
                       plc.ces, o.rc r)quirod t:1 keep t!--.c s~:.1e free fr ::m r.11 injur-
                       i ·;us i1iscct p ~ Gt!:i r~::d plr"nt :~ir;c~Gcs c..r.. d nll sp·Jcic:::; r.:1d
                       varicti(Js of plnnts c:.eclei.rc(1. t be o. nuisnr:co. (;.cts of
                       1933).

Intoxic2..r.ts in      No a.lcolv..Jlic liqucr, exc cI)t beer ,.r.d/or nil:e, r.:::-..y be con-
pc.rks.                sun.cd in public pnrks c.r:c'. plr.ces r-f r.::mso;.1c::t not licensed
                       t:) s::::11 for c ··,1.smwtio,:: ,.·:: tho prer.tl.sen. (:.cts of 1933).

Huntir:g in pc..rks.   No pcrs,J1-: ,.i::.y tr:::i.p ,:, r hu:1t wi t!1 fir ,:r.rns or dogs, ~r i:1 o.n;;r
                       oth ,:r ,.:r.:::1cr, i:1 r,::y 0t::-~t ,: p rk, i;;~·.1e rc:f\lce, or ether lc.nds
                       unc':Jr t :: c c c:1trcl -)f r.:.:c~ ~10dic,t.Jcl by the Dcpo..rtne11t o..s g;r-..nc
                       r ·:.: fu ~cn e r i;,i.l:l life sc-.;:.ctuc.rics, exceptiq; undor a. pcrnit
                       is3u ~d by tho Director. ( cts of 1929).


                       VIII.     .:.;T_ '.:.'E P. RI( RliLES .. .iiD i~:-::GUL. . TI OI:S,

                       Michi [ :::tn Ste.cc Pr.rks c.rc ope:: r.::cl free t0 the rublic. Vi si-
                       tors a.r8 welc'."lt:e to use the:: for the ·1::.rious c.cti vi tios
                       pcrni ttcd. In order t ::. prev:::~t o..busc ::.~:cl r:ti suso of tho
                       privileges c.ffored by these pr.r!rn, tho follo,;ri1;.g rules ~.nJ
                       r..;gulr.ti c;:,n ':rill b:i e,,f,· rced:

                       1. The destruction or injury of :1:~, sign, guide po8t or
                       property of u::y kind is unlnx;ful, This includes the
                       peeling ::>f bark, c:1rvi11g a.r:d chopping of trees, cutting
                       bro..l1cho s, driving no.ils, diggini:; ground fron r-::,ots, o.::.d
                       the renovn.l of trees, shrubs ru-;.d plants, picking.· ·ild-
                       flowers, und other injuries.

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                 2. To ca.rry or ha.vc firca.rns in po::,sc::,sicn ir.. a. Sb.to
                 pa.rk is unlo.vrful.

                 3. Thr::·vrir~g of tin cc.::is, bottles, pc.pcrs, jtu'Jc or r0fusc
                 of any kind ".'ln t110 ground or in o. la.kc or str0a.::-1; or the
                 r..isusc a.nd a.busc of sco.ts, tnblcs a.r:d other park cquip-
                 r.1er.t is prohi bi tcc1.

                 4. Speed linit for uetor vehicles on pa.rk roo.ds is 20
                 r.tl le s per hour except nhcre C'thcrvri so posted.

                 5. Dogs ir. pa.rk nust be tied with cha.in er controlled
                 on c. loo.sh. They a.re not o.lloHed to run loose c.bout the
                 pa.rk.

                 6. The sale of eggs, r..ilk, crc~r-i, butter, fruits c.11.d
                 vcgeta.blcs by fa.rncrs is pcrnittcd in Sta.to po.rks. Lll
                 other vendicg er peddling in ro.rks is prohibited.

                 7. Building or starting fires in the open or in a.ny
                 plo.ce except where proper provisi : ms ha.'lc been r.1D.r1c or
                 to leuvc fires y;hilc burning is pr-;hibi ted.

                 8. Wa.shing or tho throwing of nr.stc of a.ny kind a.rou..'1d
                 -rrcll or spring or the use cf vroo<ls o.s toilets or tho use
                 of toilets for ba.th h ~usos is pr0hibited.

                  9. Persons desiring to cc.2·.1p in Str.te r~1rks a.re required
                 to obto.in pcrni t before r.io.king ca.np. /. pcrni t Hill be
                 issued tn ca.np 7 do.ys or less ')n a. sinclo site in parks
                 ,d. thin Oo.kla.nd, Li vingst:m, Mnconb, St. Cla.ir, 0tt::-.wo. o.ncl
                 Bny counties. The tine lir.:it in all other parks nill be
                 15 do.ys 0l1 a. single si to. V/hcn tine 0f perr.:i t ho.s ex-
                 pired, co..npcrs a.re re~uircd to novc fron tho pa.rk. To
                 o.ro.in ca.:::i.p in po.rks ncvr per.:u. ts nust be cbta.ir.0d.

                 10. Cru:~ping, horse be.ck riding er L-ri vinr, of ~.utor.1ebiles
                 er other vehicles en a.rco.s (picnic ground, childrc~'s
                 plnygrciund, br.thing benches, etc.) posted a.c;cinst cuch
                 tro.ffic or utiliza.tio~ is prohibited.

                 11. Car.ping in the pa.rk by boys under scvc;:;tccn yc~,r s
                 of o.go un~cconpa.nicd by a.n ~fult 0r adults nnd girls
                 under eighteen yea.rs ,·.f c..r;c una.cc'."):,po.niod by their pa.rents
                 or cho.pcron is prohibited.

                 12. Di s,._,rcl.crly conduct in tho Y."2.y of c1rur-Jccnnoss, vi lo
                 lo.ngua.gc, fi12:hting o.nd pcrs-::mc..1 exposure by cha.r.ge of
                 clothing in c.utonobilcs, woods, pa.rk or o.r.y other plc.cc
                 where person is not properly sheltered is prchibitcd.

                 Soc. 3-o. - I.ct 17, Public ,·~cts 1921, a.s O..""'.lcr-:.dccl by .·.ct
                 337, P.t.• 1927,. provides t!1c,t (n.ny pcrsr:-,r: v,ho sho.11 do
                 or pcrf::irn :my net rr0hibi tcd by such rules ::-.ncl rerulr'.-
                 ti ~ns conccrnin~ the use end occupa.ncy of l~~ds ['.nd pr~-
                 pcrty under the cont re 1 of so.id c ,-:-n.r.~i s si '."'ll cf conserve.-
                 ti on, which sha.11 ho.vc been r::c.,~.e, pr •r,u }§►.tc<l o.31cl rub-
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                                     #:2330
                      li sl,oc~ c.s in this c.ct pr,)vided, during the tine.: such rules
                      or rcgulc..tic?:.s shc.11 be in f:.rce r.1,cl effect, or ·:rho shc.11
                      violc.to c.1:y suer. rules ~r r0gulc..ti ')ES t:1us ::.-c.r'.c, sho..11 be
                      deo:::ied guilty of ::.\ r.isc1c;~cr..:ior c.::.:~ upo:-: c0nvictio!:. thorccf
                      shc.11 be subject to a. fine, c,f r:.ot u0rc thnr. o;::o hundred
                      dollc.rs, tcgctl1er i:;ith costs 0f prosecution, or to ir.,priscn-
                      ncnt in the county jai 1 fc:r nst r,nrc thnn ninety da.ys, e r
                      b::.·ch such fi!",e r,:1~~ ir:,pri scnncnt in t!:c: c!i scrcti s:1 of the
                      C:)Urt).



                      IX.    L..'.VT El-:FORCEi 31'-TT 1

                      Neto: The rules o.::d regulations govcrEing; the: use 0f stc.te
                      p:1.rks o.ro lc.rg;cly c1:forccd by the po.rk supori:.1tcn<lc::.t c.r:d
                      n.ssist~•.::rcs. These r.on irs o.11 co.sos a.re co::ri::isio!":ed con-
                      scrvo.ticn officers c.:,d nre er:povrcrcd to onfcrce ::-,11 1mm p;:; r-
                      tc.ini11g t :: cc-nscr7::1.tir::n.

                      In s -, ;·.:o st:::-.to pc..rks vrhcrc the ,reck-011cl a.ttcnclo.ncc is S"
                      la.q;,:; c.s t .: crcc..t0 a. trc..ffic pr :· blo:·.1, o.c~di ti cnnl te,.1pc rc,ry
                      :,olp is :·dred. This is c:o:ilc t:: prevent spccdi r.g :-,n the p::.-. rk
                      r~~ds :utl reckless ~rivi~g, o.cd pc..rking in ~rec.s auch a.spic-
                      nic grounds rc.thcr thc.n c..t desig~c..tcd pa.rki~g pla.ccs. In
                      so:-.'-e pc,rks ::i.nd 011 s -:ine hr:lido.ys it is :!oco!3s~ry t , cc.11 for
                      the c.ssistnnco ~f trc.i~od officers. The st~tc police h~vc
                      rcnclcrcd vc.luc.blo nid in this ·.-rork.




                      Pc st Pcr~·.1i t on Tc: :t or Trr.i lor nhorc SC'..r,e ,1£..y be L:spcctcd by
                      Po.rk Officer:

                      No..r.:e of Vi ::;i tcr
                                             ______ _______________
                                                             ....,..
                      Stroot o.nd No.
                                           ----------------------
                      City_________________ Ctntc________
                      Nu:-.:bor ii: Po.rty_ _ _ _ _ _ _ _ _ _ Do..tc
                      Kincl :,f C;-:.r_____________ Lice:-..!3c No. _____
                      Tro.i ler Cc..:.:p ---,---,--.,,------- Te:-,t Co..: ,p
                      Lcq;th cf vinit dosirccl...,...._~--....,.. Pct                    ------
                         PEi1MI ..;:.;ION to c::-,;.1p a.nd cnjcy privileges of__,.-,-----,-
                      Sto.tc Pc.rk Co.r..p 0i to N::- •____.,....,...,.... is hereby gr::-.ntcd t:10 o.b-: vc
                      party by the CONS::nv;_TI011 DEP.;J{Tl:EFT Gt::-. to Parks Di vi si c i1,
                      La.:::sii:g, r.iichif;;~.n.


                                                           Po.rk Officer's Jig,"c,turc •

Roo..ds idc pr~rks.   Note: The Sta.to Hi~ht·,a.v Connissioc1cr is o.uthorizod (.i-'.. cts
                      of 1925) to acquire; hishvm~, ri;;hts cf wc.v bv purcha.so,
                      r,ift or co:1.dc:·1c10..tic,n. Roadside pic:1ic tnblcs D.'1d other
                      park fC\cilitics a.re dovolo~,cd on these rights of wav Yrhcro
                      dcsira.ble o.:,d suitable sites a.re o.va.ilo.blc.


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                   Exhibit 11
                Ohio (see pp. 321)
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                                       0 HI 0


                         I.   STATE FARKS.

Jurisdiction.            Lo.nds o.nd wa.ters dedica.ted a.nd sot a.po.rt for public po.rk or
                         plea.sure resort purposes, or o.cquired for such P'.lrposes, o.rc
                         under the control o.nd ma.na.goment of the Conscrvo.tion Go'.m.cil
                         of the Division of Conscrva.tion (Acts of 1929).

Consorvntion Council;    The Consorvo.tion Council is composed of eight competent citi-
o.ppointmont; terms;     zens, a.ppcinted by tho Governor for four yco.r terms (roto.ted.)
Secreta.ry.              Not more tha.n four members mo.y bo o.ffilintcd with tho some
                         politico.~ po.rty; a.re required to servo without compensation,
                         but o.ro phid o.ctunl a.nd necessary expenses incurred in the
                         pcrformo.ncc of their officio.l duties. The Cor.irn.issioner of
                         Conservo.tion is dosigno.tod by lo.w o.s Secroto.ry to tho Council.

Fcwcrs o.nd duties       Powers a.nd duties of tho Conscrvo.tion Council •a.ro a.s follows
of Council.              (Acts of 1929):
F·ormu.lo.to policies;   To plo.n, develop, formula.to o.nd ins ti tuto programs ·o.nd poli-
osto.blish burcnus.      cies of the Division of Consorvo.tion, o.nd to esto.blish such
                         bureo.us within the Division a.s a.re approved by tho Governor;

Bu.rca.us.               Administro.tive burco.us have been esto.blished o.s follows:

                                    Inlo.nd Lo.kos q.nd Po.rks
                                    Ga.mo M~na.goment o.nd Propo.go.tion
                                    Fish Mo.no.gement a.nd Fropo.go.tion
                                    Lo.w Enforcencnt
                                    Administration
Effoctuo.tc policies.    ·so fo.r as funds a.re provided therefor, to a.dept o.nd curry
                          int0 effect such rneo.sures o.s it deems nocosso.ry in the per-
                          f'orm::mce of its duties; ..

Rulos a.nd rogulo.-      To rnnko ' o.nd csto.blish rules a.nd rcgula.tions governing its
tions.                   orgo.nizo.ti0n cmd procedure o.nd o.dministro.tion of tho Division
                         of Conservation o.s it mo.y doom nocossnry or ·expedient;

Coopcrnte with           .To coopcra.te with tho several St~to departments nnd officinls
other depo.rtmcnts        in the ccnduct of mutters in which the interests of tho res-
a.nd officio.ls.          pective dcpo.rtmcnts or officials overlap;
Gcnero.l jurisdiction    T~ huve tho gonurul cur0, protection und supervision of the
of lo.kcs, p~rks o.nd    State purks known us Lo.kc St. Marys, Portage La.lees, Lo.kc
lo.nds.                  L~ra.nie, Indio.n LQke, Buckeye Lako, Guilford Luke, nnd o.11
                         other st~tc parks o.nd lands ovmod by the State or in which
                         it is interested or rauy acquire or become intcrostod, except



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                             lands the care and supervision of which are vested in some
                             other officer, body, board, association or organiz~tion;

 blic use of lakes.          The lakes named are at all times to be open to the public as
                             resorts for recreation and pleasure, including hunting, fish-
                             ing and boating, subject to the fish and game laws, and the
                             boating privileges to be subject to the rules and regulations
                             pre.scribed by law and tae
                                                     . ' Council;
 lice authority.             To maintain such police regulations and enforce such rules for
                             the government of the p~blic parks as may be prescribed by
                             law;

r.prove and protect          To make alterations and improvements to all lands and water
;rks.                        set apart or acquired for public parks or pleasure resort pur-
                             poses and under its control and management, and to protect,
                             maintain and keep them in repair;

!,->'ilS,   1 ocks, etc .    Construct and maintain dikes, wharves, landings, docks, dams
                             and other works;                       ..

)ads and drives.             Cons··:ruct and maintain such roads and drives in, around, upon
                             and to such lands and waters as to make them conveniently
                             acoessible and useful to the public;

:quire lands and             Subject to the approval of the Attorney General, may acquire
:-operty.                    by gift, purchase, or by appropriation, such real and personal
                             property, rights and privileges as may be necessary in its
                             judgm•:mt for the use, extension, enlargement and maintenance..
                             of S'\.:· ch public po.rks and resorts; also for new public parks,
                             rAsorts, reservoirs, channels, drives, roadways, docks, dams,
                             landin2;s, wharves and other improvements;

ow paid for . .             The value of property so acquired to be paid out of funds
                            derived from the sale of special privileges and from leases
                            of State land in and adjacent to the parks or pleasure resorts;
                            or, when such costs exceed tl,000, then out of moneys in the
                            general revenue fund appropriated for such purposes, but no
                            expense for these purposes may be incurred until the General
                            Assembly has first appropriated money therefor;

ontrol, lease               To control, manage, lease and sell the swamp, marsh, overflow
nd sell other lands;        lands, and all other lands to which the State has or should
xception.                   have the title, except canal and.public works and institu-
                            tional lands; but no land lease or sale of lands may be made
                            except upon the approval of the Governor and Attorney General;

ildlife conservation; To have the supervision and control of all lakes, reservoirs
nforcereent of laws.  and Sta.to lands dedicated to the use of the public for park
                      and pleasure resort purposes with respect to the enforcement
                      of all laws relating to the protection of birds, fish and
                      game; all laws for the protection of fish in inland waters
                      and streams of the State, and all laws for the protection of
                      the birds, fish, game and fur-bearing animals to apply to all
                      such State reservations and lakes;

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Srune.                 To exercise authority and control in all matters pertaining
                       to and enforcement by legal a~tion or proceeding of the l~ws
                       of the State for the protection, preservation and propagation
                       of game, fur-bearing animals, clams, mussels and fish; except
                       authority to change laws in the General Code covering com-
                       mercial fiJhing in the Lake Erie fishing district, and in
                       such other waters wherein fishing with nets is licensed by
                       law (as amended 1935);

Same.                  To establish rules and regulations for the taking and hunting
                       of game birds, clams, mussels, fur-bearing animals, game and
                       fish (Acts of 1935);

Report to Governor.    Report to the Governor from time to time the results of its
                       investigations concerning the natural resources of the State,
                       with recorr:rnendations of such measures as it teems necessary
                       or suitable to conserve or develop such resourcos and preserve
                       them so far as possible;
Same.                  Report annually to the Governor, including a statement settint;
                       forth its action on all matters pertaining to the management
                       and control of all State reservoirs, lakes and lands set
                       apart for public parks or pleasure resorts, and including a
                       statement of the receipts and expenditures on account thereof.
Conservation Com-      The Council recommends to the Director of Agriculture a
missioner.             Conservation Commissioner, who is appointed by the Director
                       if acceptable to him. In addition to being designated as
                       Secretary of the Council, the Commissioner is vested with the
                       following powers and duties;

Fowers and             To enforce the provisions of the Act and the laws relating to
duties.                the protection, preservation and propagation of birds, fish,
                       game and fur-bearing _animals;

Employ personnel.      To employ necessary clerks and other employees as he may deem
                       necessary; also such fish and game protectors as the Council
                       may prescribe, and to fix the salaries of all employees of
                       the Division unless such compensation is otherwise fixed by
                       law;
Lease lands.           May lease lands in or adjacent to Buo.keye Lake, Indian Lake,
                       Lake St. Marys, Guilford Lake or Portage Lakes, including mar-
                       ginal strips and marsh lands around said lakes, the outer
                       slopes of artificial embankments, islands, borrow pits and
                       State lands adjacent thereto as he deems proper;

Appoint policemen.     May appoint police patrolmen to preserve order and prote~t tho
                       public at any parks or pleasure resorts, and prescribe their
                       compensation within the limitation fixed by law;



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Account for            To keep a separ~te account of all revAnues derived from
revenues.              leases of State land in and adjacent to the park and plPasure
                       resorts, likewise all fund dPrived from the salP of special
                       privileges in connection therewith; and to credit in a s·epa-
                       rate acc·o unt, to each park or pleasure resort, all moneys
                       derived from the lease of land or special r,rivileges in con-
                       nection therewith;

Collect rentals.       To collect all rentals for leases of State lands, boat li-
                       censes, dock licenses in State reservoir parks, and moneys
                       for Sfecial privileges or any nature in or adjacent to such
                       parks; the same to be transmitted to the State treasurer with
                       a separate statement giving the names of persons from whom
                       and for what purposes such moneys were collected, and to what
                       park or pleasure resort such funds are to be credited;

Receive fines, etc.    Unless otherwise directed by thA Council, to receive all fines,
                       pe1'al ties and forfeitures arising from proeect,tion, convic-
                       tions, confiscations or otherwise under the-bird, fish and
                       game laws, and by him to be paid into the State treasury to
                       the credit oi a fund to be appropriated biennially for his
                       use;

H.oads leading to      The Director of Highv.ays is authorizec: to relocate, and for
state parks and        such purpose to construct or reconstruct, improve, repair and
forests.               maintain roc:.e:.s leading from a State highway to any public
                       State park or State forest, including all such parks and prop-
                       erties under the control and custody of the Division of Con-
                       servation, .uivision of Forestry, and Ohio Archeological and
                       Historical Society. Also to any State property used for mili-
                       tary purposes or any road which leac:.s along the side of or
                       through school lands _owned by the State. The J?irector is to
                       confer with the authority in control of any such park or
                       t-•roperty before deciding upon the location and character of
                       any such improvement, and is authorized to add to the State
                       highway system not more than 50 miles of above-mentioned
                       reads (Acts of 1931);

Roads within parks     Is further authorized to construct, reconstruct, improve, re-
and forests.           pair anc" maintain roads within the boundary of any public
                       ::,tate park or State forest, including all such parks and prop-
                       erties tmd.er the control and custody of the I,ivision of Con-
                       servation, Division of Forestry, and Ohio Archeological and
                       Historical Society, or used for military purposes, provided
                       the o[f'icer or board having control thereover first consents
                       to the construction, reconstruction, improvement, repair and
                       :maintenance of such road. Such roads to be ~ainta.ined in
                       such manner e.s may be agreed upon between the Director ant
                       such offic~r or board;

How vaid for; limi-    The costs of such ccnstruction, etc., to be 1:-aid from the
tations.               ·,tate highway construction funds, or the T!"'aintenance and
                       repair funds, according to the character of the improvement;
                       provided, t:lat the expenditure for an:v one year may not


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                        exceed :,..'.50,000 and provided further, that the expenditure
                        for hie,hways leading to tht· aforesaid frpperties may not ex-
                        ceed i5,000 per mile and.expenditures within such properties
                        may not exceed 03,000 per mile.


                        II.    STATE BOARD OF PARK COM1'fI38IONERS: SURVEY.

l!embers; purpose for   By Acts of 1931 the Superintendent of Public Y,orks, the State
which established.      Forester, the Conservation Commissioner, the Head of the
                        College of Civil Engineers in the Ohio State University, the
                        Director of the Archaeological and I-Iistorical Society, and. a
                        member of one of the boards of park commissioners created
                        under the Fark District Act .(G.C. 2976-1) or an executive •
                        officer of such Board, to be appointed by the Governor, were
                        designated as a Board of Park Commissioners, and as such
                        authorized and directed to make a survey for the ultimate
                        development of' a comprehensive and well balanced ~tate sys-
                        tem of public parks, including the relation of such system
                        to other means of conserving and utilizing the scenic and
                        recreation resources of the State;
Scope of stv.dy.        Such surveyto include a study of the abandoned canal lands,
                        icle and waste lands in the State, the forests and forest
                        resources thereof, the places of archaeological and histori-
                        cal interest, including State historioal parks administered
                        by the Ohio State Archaeological and Historical Society; to
                        als<? inciicate the forests, s·creams and rugged areas of the
                        State most suitable for the d0velopment of a practical park
                        system; and, in general, include a study of all natural
                        resources;

ReFort to Governor      upon cm:ipletion of nuch survey, the Commission to make a re-
with recommenda-        port to the Governor, embodying the results, and including
tions.                  recommendations regarding means by which such a ~tate park
                        system can be acc_:uired and acbninistered., togother with the
                        necessary proposed legislation therefor; also make reconnnen-
                        dations a.s to the location of darns necessary to be placed
                        across the rivers and streams for better preservation oi"
                        water su1_:;-p lios and controllin:; the waters against flood dam-
                        ages, and the conservation and natural production of fish
                        life in the stroruns; the Governor to transmit said report to
                        tho Gcnera.1 Assembly with such reconnnendations as he deems
                        pertinent thereto.


                        III.   JTAT1 H)flU.,':i: FL.R.KS.

Jurisdiction.           The Board of Control of the Agricultural Ex:i:,criment Station
                        may buy forcotod lo.nds or other lands suitable for the growth
                        of forest troes~ a.t a price not exceeding f,10 per acre, to
                        the a.mount of tho appropriation for that purpose; all lands
                        so purchased to be decdoc:i to the State and to be known o.s
                        Sta.to forosts (Acts of 1923);


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• How acquired.         The Board may also acquire by purchase or gift and hold in
                        the name of thE: State, lo.nds for Stato forest park purposes.;         I

                                                                                                1:
                                                                                                I
Arn.:-.s includoa..     Such lands may include arens which it is deemed necessary to            1.
                        reserve for the public good, o.nd may include sites of scenic
                        value, virgin woodlands, a11d ureas desirable for recreation            I
                        and reforestation;
Designation.            Such lands a.re to be known as State forest parks, and thoir
                        purchase is not restricted by the price limitation applicable
                        to State forests;

Appraiso.1.             No purchase of lands for State.forest parks may be made until
                        such lands have been duly appraised by a boo.rd of three dis-
                        interested free-holders huvin~ a knowicdgo of land values in
                        the viciT!ity, appointed by the Audi tor ·of State for that pur-
                        pose. Tho amount paid for such lands may in no oase cxcoed
                        such appraised value, nor may the purchase price exceed the
                        appropriation for that purpose.



 Constitutional pro-    Lo.ws may be passed to cncourc.gc forestry, and to that end
 vision.                areas devoted exclusively to forestry may be exempted, in
                        whole or in part, from taxation. Laws may o.lso be passed to
                        provide for converting into forest reserves such lands or
                        po.;rts of lands :).s have been or may be forfeited to thee; State,
                        o.nd to authorize the acquiring of other lends for that 1,mr-
                        posc; also, to provide for th0 conservation of tho natural
                        resources of tho Ste.to, including strco..ms, lo.kcs und submerged
                        swc.unp lands, and th0 development and- regulation of' wo.ter pO'\ver
                        o.nd the forma.tion of drainage o.nd conscrvntion districts . . •
                        Art. 2, Soc. 36, Stnto Const. Adopted September 3, 1912.


                        IV.   CHIO STATE ARCHAEOLOGICAL AND HISTORICAL SOCIETY.
 Furposes.             Tho above oocicty wus founded o..nd cho.rtercd in tho yen.r 1885.
                       Th0 Articles of' Incorporution declo..rc the purposes of the
                       Society to be, "tho promoting of the. knowledge of Archa.eology
                       a.nd History, espccio.lly or Ohio, by esta.blishing a.nd mo.in-
                       to.ining a. libro.ry of books, m~1o_uscripts, maps, cha.rts, etc.,
                       properly pertaining thereto; a. 11uscum of prehistoric rolics
                       e,nd na.tura.l or other curiosi tics, or cpccimons of a.rt or
                       no.turc, promotive of the objects of the Associution, o.nd by
                       courses of lcctur0s nnd pubB.cr.tion of books, po.pors a.nd doc-
                       umontr. touchin 6 t~1c subjects so specified, with power to rc-
                       coi vc and hold gifts and dcvisca of real a.nd personul estate
                       for the bonofit of tho Society.




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Purposes.               The Society is primarily a membership organization, but
                        owing to the public service which it renders has been ac-
                        corded the status of a quasi-State institution. It is gov-
                        ernP.d by a Board of Trustees, nine of whom are elected dir-
                        ectly by its membership, while six are appointed by the
                        Governor. In addition, the Governor and the Director of the
                        state Department of Education are members ex-officio of the
                        Board.
Source of funds.        The Soci.ety 1 s principal source of funds is through appropria-
                        tions by the General Assembly, while membership fees consti-
                        tute a permanent fund to be used at the Board's discretion
                        for the benefit of the organization.

A.ssets.                The material assets of the Society are its Museum and Library
                        Building located on the Ohio State University campus, and
                        approximately forty parks throughout the State which it either
                        ovms or over ,vhich it has supervision for the State. In
                        recent years a Department of state Parks has been established.
icquisition of sites.   Any incorporated association or society maintained by and
                        operating for and on behalf of the State, having for its pur-
                        pose the preservation of historic or prehistoric sites or
                        monuments, or the exploration, examination, improvement or
                        preservation of the same for educational, scientific or
                        memorial purposes, or for the purpose of collecting relics
                        or artifacts therefrom and placing the same in a public
                        museum, may acquire and hold any real estate in the State
                        which is the site of an historic event, building, structure,
                        canal, cemetery, monument, spring, tree, stone, or other
                        natural or artificial object, or the site of any historic or
                        prehistoric mound, earth or stone works, occupation, burial
                        site, rock carving, inscribed rock, cache, honrding pit,
                        cave or rock shelter-, when such cave or rock shelter can be
                        proved to have been occupied or used by aborigines, or any
                        site or area which scientific exploration or historical
                        record may establish as havin~0 been occupied or created by
                        aborigines (Acts of 1933);

~cquisition of          May £,cquire any property immediately contiguous to and ad-
adjiacent land.         joinin;; any such real estate which is nece_ssary for any
                        educational, scientific or memorial purposes, or for the
                        accommoda:bion of the public in visi tint:: such historic site,
                        object or place, or which is essential to the carrying out
                        the intent and purpose for which the park, rer_:erve or mem-
                        orial was createQ;

~pproprio.tion.         In the event a price cannot be · at;reed upon, or where the
                        owner cam1ot be located, such association or society may
                        acquire such real estate by proceedings in a proper court in
                        the manner provided by law for the appropriation of private
                        property by the Superintendent of Public Works; such pro-
                        ceedings to be brought in the name of the state.



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 ;cquire lands and       The Director of the Society is authorized to negotiate for
 jroperty.               the transfer; by- lease or permits, of certain canal property
 I
                         to the custody and control of the Society, includin~ portions
                         of the bed and adjacent embanlonents of abandoned ca.no.ls, locks
                         basina, aqu0ducts, dams, culverts, tunnels, feeders, side cuts
                         canal lands, ca.nal boo.ts, miscellane0us equipment, and any
                         early cane,l maps and records of historical interest which have
                         ceased to become of frequent use in the business of the Depcrt
                         ment of Public Works. Such co.no.l property may include those
                         sections of the canal which formerly were portions of and
                         tho operating equipment upon any canal or bre..nch canal vrhich
                         was built by and is now ownod by the Sta.ta (Acts of 1933);
>

lro.nsfer; ho\7 effected. Upon the determ.inc:tion of the ->uperintendcnt of Public
                         Works that such cano.l property, so requested to be tro.nsfer-
                         red, is worthy of preservation from an historical sta.ndpoint,
                         he may effect traasfer of the custody thereof to the Society
                         by issuing, ~~th the approval of the Governor and Attorney
                         General, u permit to the Society authorizing it to enter
                         upon, occupy and use such co.no.l proporty for tho pur- . •• • •
                         pose of preservin!;, beautifying and improving the same o.s
                         points of histor"ical interest to the citizens of Ohio. So.id
                         permit mo.y run for a term of 99 years, ronewa.ble forever; but
                         portions thereof not built upon or occupied by monuments, may
                         bo reclaimed for tho use of the Sta.to;

Purpose of transfor.     Any such tre.nsfer of co.m.l property is to be made specifi-
                         cully for tho purpose of preservation and for pro.ctico.l and
                         educQtional uses. Tho Society is authorized.to improve,
                         beautifiJ, maintain, protect, preserve and develop o.ny such
                         co.no.l property to the boat interests of tho people of tho
                         State, a.11 of which to oo subject to tho approval of tho
                         Superintendent of Public ".!orks;

rransfor may be mado,    Such transfers may be effected from timo to time, o.s occa.sion
when.                    may arise, and upon the cxpirution or la.pse of options or
                         leo.ses in force at the timo of tho passage of tho Act. Ad-
                         ditiomi.l permits :mo.y be issued in tho so.mo manner. 1'..ny such
                         tro.nsf·or to be offectod ol:ly upon tho npprova.l of tho Gover-
                         nor and tho Attorney General.


                         V.   ROADSIDE P..-.RICS.

Director of Highvro.ys   Wh.oro tho Director of I:Iighw::.ys, in tho construction or ropo.ir
to construct.            of roads on the Stuto highwc.y system outsi·do the limits of
                         municipal corporo.tions, roloc~tos such roads and/or reloco.tes
                         or constructs o. bridge, culvert, undcrpa.ss, ovorpo.ss or other
                         structuro or il..provoment, tho highw.:i.y or portion thereof from
                         which it is proposed to <livort tra.vcl is not to be doomed to
                         be vo.co.tod or c,.ba.ndonod but is me.do o.vuil~blo to the Director
                         for use as roadside parks for tho benefit of the tra.v0ling
                         public or such other usugo as mny be incident to the con-
                         struction., m.o.inteno.nce and ropc.ir of tho Ste.to highway
                         system (~cts of 1935);,

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Sa.mo.                    Whore small trncts of land lie between tho existing right-
                          of-way o.nd tho now right•-of·-wo.y. and tho Director dooms such
                          tro.ct of land suitable a.nd desirable for tho esto.bliohmont
                          of a. roadside_perk, he is o.uthorizcd to obtuin tho St'.III.~ by
                          gift, purchase or o.pproprintion, tho cost or expense to be
                          paid from any funds available for tho construction, recon-
                          struction, m.r.intena.nco end repa.ir of tho st~to highwr..y
                          system;

Improvement.              May plo.nt thoroon such shrubbery, trees, sod or sodding, c.nd
                          construct such other devices and appurtena.nces a.swill in
                          his<o.~inion contribut0 to tho health, confort, sa.fety c..nd
                          welfare of tho traveling public; tho cost thereof, togother
                          with the cost of mr,intcnance, to 1:)e puid from funds nva.ila.blc
                          a.s above; provided, however, tha.t such tro.cts of lc.nd a.re c.t
                          all reo.sonnblo times to bo open to tho public for use vvi th-
                          out chc.r 6c. The Director is without o.uthority to ler-.so, rant
                          or ooll o.ny part ·thereof;

:Roadside planting.       May .also construct o.nd mo.into.in inoidc tho hi:::hwc.y right of
                          wa.y, outside the liwits of ~ny municipal corporation, such
                          landscaping improvements.for tho purpose of preventing soil
                          erosion as ho mo.y deem noco:rnnry and dosiro.blo for tho proper
                          preservation o.nd mo.intona.nce of tho hi~hwa.y; tho cost and
                          expense of such improvements and :mnintencncc thereof to be
;Proviso.                 payable from funds a.v~ila.blo as above. Provided, however,
                          thctt in a.ny one calendar your tho tota.l sum so expended by
                          and under tho o.uthori ty of tho Act :rrulY not exceed :J;lOO, 000.


                          VI.   PUBLIC HUNTING GROUNDS.

~How o.cquirod.           The Consorvo.tion Council is empoworvd to a.cquire by gift,
                          len.se or purchase sui to.l:>lo la.nds for the purposo of esto.b-
                          lishing thereon public huntin:; ground~ c.nd roforeoto.tion; and
                          ma.y set o.side a.ny portion thereof ns a. go.mo refuge (J~cts of
                          1929);

Row pa.id for.            Tho loo.so or purchuse price of o.ny o.nd all cuch lands :rrulY be
                          po.id for from hunters' o.nd tra.ppcrs' license i\.1ndsj
Rogulntion.               In accordance ,.,,i th the Ste.to k.vrs, mo.y me.kc such rcgula:cions
                          for tho to.king of birds, fish or rruno upon either public
                          hunting territory or upon a. Ste.to gruno refuge osta.blishod on
                          or within such public huntir~g ground as it nu:,y doom r.dvisc.blo;
• Supervision.            The ti tlo or loa.sa to o.ny a.nd a.11 such lcmdo is to b,:i ta.ken
                          in tho n..'Ulle of tho Stat,J c.nd whon so o.cquired the entire
                          supervision is to be undor tho Division of Consorva.tion;

 Approprintion.           Vfuon in the opinion of tho Councii it is necessary to procure
                          lo.nds for the purpose of reforestation or public hunting
                          grounds, o.nd o. price ca.nnot be a.greed upon with the ownors,
                          such lands :mo.y be acquired by appropriation.

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                           VI I.   CANAL LANDS.

Mio.mi and Eric Co.no.l.   Tho stc.tc rosorves unto itself tho right., title o.nd interest
                           in o.nd to o.11 lands o.nd we.tors o.cquircd under the vo.rious
                           Acts providing for the construction of the Miruni c.nd Erio
                           Co.nal., a.nd o.11 lo.nds now occupied by o.ny part of the ca.nc.l,
                           including o.11 co.na.l fcodors, bo.sins., slack wo.ters., wide
                           waters., State locks heretofore used for lock houses., tow
                           po.ths., bormc cmbc.nlancnts., levees, wc-.stcwv.ys, or for other in-
                           cidcnto.l purposes thereto; ~lso rota.ins its title to the site
                           of all do.ms a.nd impounding bo.sins ubovc tho so.mo., o.nd liko-
                           w'iso to tho cmbo.nkncnts o.nd lcvocc connected thcrovri th, c.nd
                           to o.11 strco.ms that formerly supplied water to the ca.no.l. No
Restriction a.s to         portion of tho co.no.l lands and la.nds o.djncont thereto a.re
•so.lo.                    over to be sold except by specific nuthority of tho Gonoro.l
                           Lssembly (Acts of 1927, 1931).
Use for po.rk purposos. By Jicts of 1931 a portion of. the ca.na.l extending from a
                        point in Lucc.s County to a. poi~1t in Butler County, a. dista.nco
                        of o.pproximo.toly 175 miles., wo.s o.brmdonod for cc.110.l imd hyd-
                        raulic• purposes., to bo devoted to highway and public parks,
                        whore suito.blc;

Yia.tcr to be rota.inod    Tho ~porintondont of Public Harks being o.uthorizod and
for bo:-.ti:"!.G•          directed to shut off the vra.tor supply to such cc..nc..l in order
                           to dro.in the wo.tor from thoao levels that a.re selected ns
                           sites for public parks for tho free uao of tho public; vrith
                           tho provision thc.t tho co.nal need not be dro.inod if it is
                           dosirod to mo.kc boo.ting an added attraction to such po.rks;
                           but tho Director of Highvro.ys mo.y drain., a.this discretion,
                           such co.no.ls, feeders, bo.sins, slack vrc..tors a.nd wo.stewuys in
                           order to prevent their wo.ters from flowing into or through
                           tho o.bo.ndoncd pc..rts of tho ca.na.l lnnds which in his judgmont
                           a.re nocesso.ry for hi 5hvrc..y purposes;

Ca.ncellc.tion of          All loo.sos gra.;1tod for ca.no.l or hydrc.ulic purposes to become
lea.sos.                   null a.nd void within sixty do.ya after tho so.mo hc.vo boon
                           dosigno.tod by tho Director of Highwa.ys o.s nocossr.ry ir. nny
                           contompla.ted scheme of highrrc..y improvements over or o.dja.cont
                           to the canal lends; o.11 other loo.sos for lands to be termi-
                           nated whoncvor tho smnc co.n be lega.lly done, provided tho
                           lands ha.vc boon dosignc.tod c.s ncccs:mry· for highwcy purposes
                           by tho Director or :mo.y be dcsigno.tod for public po.rk purposes
                           by proper State ~uthority;

Jurisdiction.              The Director of Highwn.ys ·t;o ho.ire tho suporvi s1011 o.nd control
                           a.s to hir;hways, nnd tho Suporintcndont of Public Horks r.s to
                           public p::1.rks o.nd other purposes.




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                     VIII.   RULES FOR GUIDANCE OF CONSERVATION COMMISSIONER
                             .AND POLICE PA'.rRO.LMEN: ACTS OF 1929

                                        Rules for the Appointment
                                    and Government of Police Patrolmen

Qualifications of         Rule 1. A person to be eligible to appointment as
police patrolmen.    police patrolman at any of the State reservoir parks un-
                     der the control nf the conservation council must have been
                     an elector of the state of Ohio for not less than two years
                     preceding his appointment; he must be in good health and
                     free from any infirmities that would be a hindrance in the
                     discharge of his official duties, anc must be able to read
                     and v,rite the English language understandingly.

How appointments          Rule 2. All appointments to the position of reservoir
madei •              police patrolman shall be made on probation, by the conser-
                     vation commissioner subject· to the rules and regulations
                     of the civil service cominissicn, and if at 8ny time, in the
                     opinion of such commissioner a person appointed to such
                     position proves himself unfit for, or neglects to perform
                     his official duties, he shall be dropped from the service.

Police patrolmen          Rule 3. The conservation commissioner is hereby
and as::iistant s.   authcrized to empl0y one police patrolman at each reservoir
                     park, at, a salary of n:::,t to exceed twelve hundred dollars
                     per year, two aGsistant p0lice patrolmen at each state
                     reservoir f0r three and one-half months prior to and in-
                     cluding Labor Day, at the rate of not exceeding ninety
                     dollars per month, and may expend for special patrolmen at
                     each state reservoir during the summer months, a sum not
                     exceeding ninety dollars at the rate of $3.CO per day for
                     each patrr,lrnan employed, all of v·hich expenses shall be
                     paid fro□ the receipts from leases, boat permits and sale
                     of special privileges to be derived from each of the state
                     reservoirs, parks or funds appr0priated for such purposes,
                     bnt no funds shall be expended for this purpose ·upon:any
                     reservoir tn excess of its own earnings, except from funds
                     especially appropriated for auch purposes.
Applications by           Rule 4. All applications fer appointment for the
police patrolmen.    position of pol:!:ce patrolman, must be made in the appli-
                     cant's own handwriting anrl accompanied by recommendations
                     from two reputable freehclders of the state, setting forth
                     thair willingness to sign the bond of the applicant.
Bond.                     Rule 5. Each patrolman before assuming the duties of
                     his office shall give bond to the satisfaction of the con-
                     servation commissioner in a sum of not less than $500 con-
                     ditioned for the faithful discharge of his duties, and a
                     similar bond for the proper handling of monays that may come
                     into hiG hands while in the discharge of his duties as a
                     collector for the 3tate.



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Ba.dgo worn while               Rule 6. Ea.ch po.trolman while 0~1 du~, shnll vrnar :-.nd
on duty                   displ~Y o.t a.11 times, o. bndgo to bo furnished by tho ' consor-
                          va.tion commissioner whm.-i tho n ..'pointmcnt is made.

Hours on duty.                   Rulo 7. Ea.ch patrolnu:m, unless otherwise directed by
                          tho consorv~tion commissioner shall bo o.t tho reservoir to
                          which ho is a.ssigncd by 9 o'clock a..m. of ouch da.y including
                          Sundc.ys, c.nd romnin on duty un-1:;i 1 9 o'clock p .m., ,-.ri th a.n
                          intermission of 0:.:10 hour o.t noon ri.nd one hour im.:1odi::-.tcly
                          o.fter 5: 30 p.m. c.nd shc,11 b o subject to cc.11 to mcJrn arrests,
                          o.t o.11 hours durins tho da.y or night a.nd be subject to o.ny
                          spocia.l i!lstructions v1hich tho conservation cor:unissioncr
                          deems it nccossc.ry to gi vc to such po.trolm..'Ul.

Conduct proscribed.              Rulo 8. Ea.ch pntrolmn.n, both on a.nd off duty, in his
                           co~duct a.nd deportment, must be quiet, orderly and respect-
                          ful towards a.11 porsons with whom ho 1i10.y co:r.i.c in canto.ct;
                          violent, coa.rso, profo.no a.nd insolent la.nguo.go \'lhilo on
                          duty, a.nd any conduct subvorsi vo of good order cmd gcntlo-
                          :ma.nly boa.ring., will be ca.use for disr.rl.ssa.l by tho conserva-
                          tion commissioner.

Drinki:rag o.nd grun-           Rulo 9. Pa.trolmcr. sha.11 not drink a.ny kind of intox-
ing prohibited.           ico.ting liquors or ongc.go in a.ny gc.mc of cnrds, billia.rds
                          or othor gcJ!los of c..r:msor.lont while on duty.

Debts sho.11 not be               Rulo lC. No debts of o.ny kind shall be contra.ctcd by
contra.ct ed.             o.ny pc.trolm::m on boha.lf of tho sto.to Tri thout tho wi-i tton con-
                           snnt of tho consorvc:tion co1x .:iosioncr c.nd wherever posciblc,
                          receipted bills for the purchc.oc of supplies sha.11 be t~kon
                          o.nd o.11 bills shall bo i tm.."'lizcd, so a.s to sh01.·1 tho quc.nti ty
                          a.nd price of co.ch o.rticlo purclmsod, c.nd no pa.trol.Jnnn sho.11
                          r:10.ko a.ny a.ppca.l to tho public, nor rocoi vo po cunia.ry n s sis~
                          to.nee for a.ny purpose 1;1hatcvor connected \'Ii th his official
                          duties.

Duties a.s to o.rrosts;          Rulo 11. It sha.11 be tho duty of ca.ch pc..trolmo.n to
a.ssista.ncc.             a.rrost on view or y;o.rra.nt o.!1d bring to justice c.11 distur-
                          ber:, of tho pea.co c.nd viol:-..to . o of tho crirninc.l le.Vis of tho
                          state., whon tho o ··fonso is co1;rr.rl. ttcd on lC'.Ild or vr:.tor in or
                          adja.cont to sta.to rosorv-oirs o.nd lc..nd::i thc.t h vo boon sot
                          a.side or dcdicc.tod to tho use of the public for pa.rk a.nd
                          plea.sure ros9rt purpo:;cs, a.nd nhon such pC'..trolnir..~-;. dc01:is it
                          nccc s sa.ry, ho rnc.y co.11 to his o. ssi sta.nco, a.nyono Yl'i thin the
                          hoc.ring of his voice to assist in nc.king such c.r-rosts.

Force oxorciscd in                 Rulo 12. In Iia.king o.rrosts, no unnocossc.zy force sha.11
making c.rrosts.          bo oxcrcisod by pa.trolr.1on tovmrd offenders, but they shc.11
                          =~ ·~ a.11 tines ,·rhcn required., c.ct 1·ri th firmness a.nd sufficio11t
                           energy to onc.blo them to dischc.rgo their officic.1 duties,
                           r.nd when Yiciously resisted they sh2..ll cr.11 to their a.ssis-
                          ta.nco o.n:· bystanders who ha.ppon to be present c.nd c,11 per-
                           sons so requested to a.osist in n."'.king o.rrcs·cs ::iha.11 inraod-
                           ia.toly respond to such rogucsts. Police pa.trolmon shc.11
                          ha.vo tho sa.r.10 ponor a.nd o.uthori ty c.s co:nstnblo::i, a.nd thoir
                           jurisdiction shall bo co-cx·:;cnsivo Yl'ith tho counties touch-

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                         ing any reservoir park. Such patrolmen and deputy patrolmen
                         shall have the same author ty to go armed, when on duty, as
                         is given sheriffs, police officers of incorporated cities
                         and villages, provided they h~ve first given bond to the
                         state of Ohio in the sum of five hundred dollars, conditioned
                         for the faithful perform.nnce of their duties as police pat-
                         rolmen, which bond shall be approved by the conservation
                         commissioner and filed with the treasurer of state for se.fe
                         keeping.

Prisoner shall be           Rl)_le 13. No patrolman when arresting a prisoner, sha.11
brought before         permit or assent to any delay under any pretense whatever in
magistrate wi. thout   bringing such prisoner at once before a justice of the peace,
delay.                 the mayor of any city or village or police judge of any muni-
                       cipality having jurisdiction in the county in which the off-
                       ense vm s commi -tted.

Shall not become            Rule 14. No patrolman, official or e:,:1ployee of the
surety or make         division of conservation shall become surety on the bond of
 compromise            any person arrested for viol~tion of the law nor shall such
                       parties be directly or indirectly conserned in making any
                       compromise between parties arrested and persons who have
                       suffered by their nets with a view to assisting the arrested
                       parties to escape the p. na.lties provided by lo.v, in such
                       cases.

Record of a.rrests            Rule 15. Each pa.trolmn.n shall c~rry a. memorandum book
and offenses.          in which he wha.11 note the no.mes and residence of all parties
                       arrested, the offense for which the arrest was llll'.de, and all
                       the circumstances attending the so.me, including ,the exact
                       time and place; also the names a.nd addresses of pnrties who
                       witnessed the act for which the o.rrest wo.s me.de; he sho..11
                       also note therein with proper description all property
                       found on the person of tho pcrty or pnrties arrested. And
                       where he has reason to believe tha.t any of sc.id property is
                       stolen, he sha.11 tc.ke chc.rge of the so.me n.nd turn it over to
                       the justice or other presiding officer in whose court the
                       cha.r.ges a.re filed, with o. stc,toment of all the fc..cts a.scer-
                       tained and tuke o. receipt for the property thus turned over
                       to the court; the arresting officer sho.11 c.lso t[.'.ke charge
                       of all firearms and other weapons found upon the person of
                       o.ny party arrested, and turn the sc,me over to tho court be-
                       fore whom tho complaint is filed.

Familiarity ,vith             Rule 16. ·Eo.ch po.trolman shc.11 mnk0 himself frunilio.r
all po.rts of          with o.11 ports of the reservoir to which he is o.ssigned nnd
reservoir.             so far as possible become o.cqu:'.intcd with the people living
                       in the i:mmedic.te vicinity of the sc.me, so a.s to r ocognizo
                       them on sight; he sho.11 a.lso visit, o.s often o.s circumstunccs
                       warrant, ~11 resorts loc[.'.tcd on la.nd or water in or c.round
                       the reservoir to which he is assigned, thc.t are reported to
                       be tho rendezvous of thieves, go.mblern und other notorious
                       chc.ro.ctors a.nd likewise of persons reported us hQ0ituo.lly
                       violo.ting the fish a.nd go.mo lc.ws of tho stc.to, making his
                       visit o.s brief o.s possible and reporting fully to the con-
                       servo.t:ii.on conunis ,1 ioncr o..11 the fucts asccrto.ined, but
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                       without giving the information thus acquired to other:!,

Duties relative to            P.ule l?. Police patrolmen shall talce charge of all
lost children and        children who become lost or separated from their parents or
property.                friends having them in charge, anQ use their best endeavors
                         to restore them to their parents or to proper parties inter-
                         ested in such children; they shall also take charge of lost
                         articles turned over t·.) their care and endeavor to restore
                         them to their owners, and ~hen in doubt as to the owner,they
                         may require proof of the same; they shall carefully note in
                         their record books an accurate description of all such pro-
                         perty together with the ti;ne and place of finding the ~rune,
                         and the name or address of the person turning the same over
                         to them and likewise the final disposition of the property.

Assistance in cases           Rule 1~ 1 • Patrolmen shall renrer all possihle aid in
of accident and          case of accident or illness of narties visitinf ~arks;they
illness.                 shall also note any ohstructions to the safe hancling of
                         rov,hoats, launches or other vmter craft on the v,ate!'s of the
                         reservcir of which they are in charge and when such obstruc-
                         tions cannot readily be removed, they shall mark their 1oca-
                         tion in SOII\e way to inc1icate the danger.

Information for CC'n-      Rule 19. Patrolmen shall at all times hold themselves
venience 0f public. read:r to furnish informati0n regardine-: parks, train service!
                      and location of hotels, cottages. heats, etc., as will pro-.
                      mote the convenience anci interests of t!1e public; such in-
                      formation ~hall a11~:ays be given in a cheerful, courtec-us
                      manner and v,i tllout charge. The: shall also serve noticeo
                      furnished them by the stc\te boRrd of heal t 1i, and carry out
                      its instructions in all matters relatin~ to sanitation at
                      state reservoir parks.

Leave of absence.             Rule 20. Patrolmen desiring leave of ehsence from their
                         duties, shall first obtain permission from the conservation
                         commissioner before leaving their charge, but ·;;hen necessity
                         compels a patrolman to abandon his post ~ithout such per-
                         mission, he shall innnediately maice a written statement of all
                         the facts to the conservation commissioner in his a,._,sence,
                         to the secretary of the di vision of conservetion en0 return
                         to his post at the earliest po ssihle moment.

Metal plates for                Rule 21   Each patrolman, •.·:hen so de3ignated h? t?-1e con-
boats; collection        servntion commissioner shall h,ve chrrre of the metal plates
of fees.                 for the hoats on the reservoir to which he is assignee, and
                         shall collect the fees for the sane aIHl prornptl:,r remit the
                         amounts collected to the divisions of conserv~tion ~ivinp. the
                         nmne and an dress of the partj' to ,.,horn each permit is issuer
                         vri th the name and description of the hO€1t for which the per-
                         mit is issued, ano he shall keep a complete recora of nll
                         pennits issued, together :=; ith the names ~nf adc'!resses of t~e
                         parties securing permit, and meke ~"eekly report of such
                         collections to the consrJrvation corn.missioner.
~f.on thly stateMent .        Rule 22. Each patrolMan shall file a mont'·ly stete-
                         ment on .:the firs-+; Uoncay of each month of his official acts

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                        for tho preceding month vrith tho conservation commissioner,
                        after -which the reports sha.11 be filod by tho commissioner
                        in suitable files a.nd properly labeled for future rcforcnco.

Copy of a.ct fur-             Rulo 23. The conserva.tion com.:"1ri.ssioner sha..11 furnish
nished po.trolmo.n.     co.ch pa.trol.mo.n with c. copy of this o.ct, which is intended
                        to govern the o.ctions of the police pa.trolmon when on duty
                        o.nd tho consorvc.tion colffi:0issionor ma.y, whenever ho deems it
                        proper, exc.nrl.ne t"\ny pa.trolma.n a.s to his knowledge of tho
                        lo.ws prescribed in this a.ct, r1.nd c.. fo.ilurc of o..ny pa.trolma.n
                        to become fo.irly fa.milic.r with his duties o.s prescribed in
                        this a.ct, sho.11 . be a. proper cc.use for his romova.l by such
                        commi ssioncr.

Surrender of ba.dgo o.nd .    Rulo 24. ·Ea.ch po.trolma.n, on the tcrmina.tion of his
records.                 term of service by limita.tion or otherwise, sho.11 surren-
                         der his ba.dgc, records ~nd a.11 property tho.t h~s come into
                         his ho.nds by reo.son of his office, to the conservc.tion com-
                         missioner or in his c..bscncc to o.ny other person dosigna..tod
                         by tho consorvo.tion commissioner to receive the sruT'~.

Protection of prop-             Rule 25. It sha.11 be the duty of the pa.trob~on to pro-
erty of sta.tc a.nd      hibit fel1Y pcruon from removing stenos forming the retaining
of lcosoos.             wn.lls of reservoir cmba.nkmcnts o.nd a.go.inst injuring or inter-
                         fering with the wastcwcirs, bulk.11.ca.ds o.nd fec·l cr ga.tes rcgu-
                         lo.ting the flovf of wo.tcr from such reservoirs, c.nd against
                         intcrforin6 vdth or injuring dock lo.ndings o.nd buildings
                         o,med o.nd controlled by tho sta.te or of pri vc.tc property lo-
                         co.tcd upon sta.tn ia.nds in a.ccordc.ncc v;i th the terms of loo.sos
                         granted by tho sta.te of Ohio; a.lso a.go.inst tho building of
                         fires a.long the shores o.nd cm:>nnlancnts of a.iiy sta.to reser-
                        voir, and a.go.inst tho cutting dm·m or 1a.uti le.ting of she.do
                        trees upon tho stc,te property by c.ny one, c.:nd even by tho
                         lessees of tho state, c.nd likoYdso c.ga.inst the cutting or
                         digging into tho cmbo.nkmcnts of such reservoirs in o. rrDnnor
                        tending to Y:co.kon or injure thcr.,, likm·.d .se to prevent the
                        ho.rboring of domestic nnimn.ls upon nny state reservoir la.nds
                         loc.sod for cotta.ge si to purpo ,;es, such ns horses, mules,
                         co.ttle, hogs, sheep, goo.ts, chickens, g . : cso, ducks, etc.,
                        o.nd a.nimals of a.ny kind, tho h::rboring of ~-rhich tonds to
                         render the ~:.rounds unso.ni to..ry or objcctiona.ble for other
                         roo.sons such o.s c.-..using or cror.tir~g o, noise or unsir;htlincss;
                        a.l so to pro hi bit o.nyono from ridL g, or driving hor so-drmm
                        vohicL.;s, o.utoraobiloo, trucks, trC'..ctors or motorcycles over
                        nny sto.tc rosorvoir ombo.r:.lancnts unless the _sa.r.i.o hc.s been im-
                        proved a.nd used o.s u public highnc.y, except by spocic.l pcr-
                        :mi s sion from the consorv~·-tion comr.ri.ssionor or his a.gents,
                        a.nd persons co:rnmiting such offenses. shc.11 bo c.rrostod 0.11d
                        fined under tho torras of this c.ct.




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                           IX.     GENERAL RULES RELATING TO THE CONTROL ;~ND
                                             MANAGEMENT OF THE PUBLIC PARKS


Pcrr:rl.ts to boC\t              Rulo 26. Owners of boo.ts of whatever kind, desiring
owners. ·                  to ra::tinto.in a.nd opera.to tho snme upon the wc..tors of a.ny pub-
                           lic pC1.rk, sha.11 ta.kc out c. pormi t anti tling thm!1. to keep
                           a.nd opera.to tho number o.nd kind of boa.ts described in their
                           o.pplicntion, for which tho following foes shall bo cha.rged:

                                 Ro~boats currying not more tho.n five persons, one
                           dollar; rowbo~ts carrying ~ore thun five persons, fifty
                           cents additionc.l for co.ch persona in excess of five; elec-
                           tric, naphtha. o.nd steam la.unchcs, stco.:raboc,ts o.nd other sini-
                           1c.r we.tor era.ft, on0 dollar for cc.ch person of 170 pounds
                           tho.t ma.y bo c:::trricd thereon with sn.foty.

                                Sa.ilboa.ts shc.11 be :race.sured thus: Multiply· tho length
                           of tho hull in foot by the groo.tcst beam in foot, and divide
                           tho rosult by 3r. Frc.ctions sha.11 be counted to tho ncc.r.ost
                           unit. Final result vri.11 be tho anount in dollars to be paid
                           for tho a.nnuo.l license.

                                Pm-,or boo.ts shall bo noc,surod thus: Wrultiply tho length
                           of tho hull in foot by tho groa.test bean in foot o.nd divide
                           tho result by 15. Fro.ctio~1s shall be counted to tho noo.rost
                           unit. Tho result will be tho a.mount i,1 dollars to bo pa.id
                           for tho annual license.

Applicnti0n for                  Rulo 27. All foes for boo..t porr:ri. ts shall be duo on tho
porr.ri. ts.               first do..y of Mo.y in cc.ch and every yoo.r. Applications for
                           boat permits, pipe permits a.nd for spocia.l privileges ~ho..11
                           bo no.do to tho consorvcttion connissionor and when so re-
                           quired, o.pplico.nt·s for perm ts shall furnish said co:nr.ri. s sio~
                           or or his a.gc!1t, vr.i. th sa.tisf:::.ctory evidence of good cha.r-
                           c.ctor before rmch porni t is is sued.

Receipt on pa.y-                    Rulo 28. Police pr.trolr.1011 or oth..;r authorized a.gents
mcnt of foo.               of the state, sha.11 on receipt of tho required foe, issue
                           a. receipt therefor, giving tho nano o.nd a. brief doscription
                           of tho boat for -r1hich the por;;1it is gro.ntod c.nd noting there-
                           on the nu:rabor of tho nota.l plc-.to issued in cor..;1cction th,Jrc-
                           vri. th.

Attuchncnt of                    R~~lo 29. On receipt of such notc,l plc.to, tlco owner of
metal plc.to.              tho boa.t to.king out tho por1:ri. t shc.11 ir:1r:1cdi:-'..tcly c..tt:ich tho
                           plate in Cl. pcrr.r.nont r.i.a.n:1~r in c. conspicuous pb.co on tho
                           side or ond of tho bor.t, :.1nd fa.iluro to koop tho s::-.i:lc firn-
                           ly c,ttn.chod to sue·· baf.'..t, shnll be sufficient co.use for re-
                           voking c. pon:ri. t, c,:1d no nota.l plc.tc shc.11 be obscured by
                           pa.int or othcr,;ri.sc during tho yoa.r for which tho pornit is
                           issued.

Opcrntion a.nd                     Rulo 30. Ovmors of bo:::.ts of v;ha.tcvor kind shc,11 na.vi-
managor.i.ont of boa.ts.   ga.to    then on tho ,;re.tors of tho public pc.rks of tho sta.to


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                      with a vievr to the safety and comfort of those ahoard other
                      craft as ~ell as their own, and any reckless management of
                      heats andangertn~ t 11e lives and property of others, ohall
                      be cause for revoking such boat owner's permit.

Requirements as to        Rule 31. All electric, naphtha, and steam launches,
name on power boats. steamboats and similar craft, shall have an appropriate
                     nama painted thoreon in letters at least 4½'' high, and no
                     permit shall be issued without a ·proper guarantee that this
                     condition v:ill be complied with within a reasonable length
                     of time aft8r th~ issuing of such permit.

Cancellation of lease      Rule 32. Proof that any cottage upon state land, or
or revocation of      any boat upon the wat0r of any state reservoir, is used
permit.               for illegal or immoral purposes shall be just cause for the
                      conservation commission to cancel the leasehold for such
                      state prJperty, or to revcke the boat permit that has heen
                      issued to th0 owner thereof.

Boats for hire must        Rule 33. Boats condemned as unfit by an inspector
be in good repair.    appointed by the conservation commissioner shall be put in
                      good repair before the same are again offered for hire, or
                      for the transportation of passengers.

Landing of power           Rule 34. Power boats must use care in landing, ap-
boats.                proaching docks or landings, slowly so as not to damage
                      other heats, wharves or landings. Failure of parties to
                      observe this ruJ.e shall be sufficient cause for revoking
                      the pormit of such boat owner.

Anchoring near             Rule 35. Power heats, sailboats, and row ~oats shall
channel to channel    not anchor VIithin 50 feet of any well defined channel that
buoy prohibited.      is in common use by boats navigating the state reserv0irs,
                      and the same shall not be anchored to any channel stake or
                      buoys, exce~)t in an emergency.

~ho may pilot or           Rule 36. No per·son under 18 years of age shall be
engineer.             p0rmittud to act as a pilot or engineer of any po~er boat
                      or sailboat carrying passengers for hire, and the employ-
                      ment of ouch a pilot or engineer hy any owner or manager
                      of a boat shall ho cauoo for the commissioner to reVC'lke
                      such owner's p6rmit.

Disbarment of              Rule 3?. Pilots who do not observe due care in the
pilot.                handling of their boat~ shall not be allo,•ed to continue
                      as pilots on the ~aters of any public part of the state and
                      it 3hall be the duty _o f the consurvation commissioner to
                      disbar such pilot from operating boats upon the state reser-
                      voirs,

Engine equipment.          Rule 38. All ' power boats carrying passenger:J shall
                      have reversible engines, reversible propellers or clutch
                      gear, for rever3ing such boats.


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Dischar~e of fire-             Rule 39. No person shall be permitted to discharge
arms.                  firearms from the main shore of a reservoir, or from the
                       is::(.ands ui thin such restirvoir, or from heats th6-reon across
                       the viatcrs of any public park, exce!)t during the hunting
                       Gcason authorized by the sto.tutes, and partiE:s guilty of
                       r3ckless shooting on or around such reservoirs shall be
                       arrested .and fined in accordance with the provisions of
                       this act.

Disposal of garbage.         Ru,le 40; No l0ss':)e of a state J.C't, cottage ov,ner,
                       or othor occupant of a cottagu located upon state or aaja-
                       cent lands shall deposit garbnge upon the raar of such lot
                       or throw the same into the lake, but such p.arbage . shall be
                       burned or removed from the promises so as not to be a
                       nuisance to the cottag~ owners either on or off the ~tate
                       land.

State landings may          Rule 41, No boat lim~ company or inaividual shall
be used by al!.        have cont:rol of any state landin(t to the exclusion of
boats.                 othar boat lines, or individuals owning and operating
                       boats upon the wat~rs of any state reservoir, ana all
                       boats shall have th.o right to land at any dock er landing
                       for temporary purposes, hut passenger hoats operated for
                       hire may onl!r discharge passengers at private docks or
                       landings, and shall not ta~:e on passengers from such docks
                       or landings with.out th.:, pE,r:nission of the owner or owners
                       thereof.

Porrnit to build            Rule 42. No heat ovmer or lessee of a state lot shall
beat housa or          build a boat hcuse or dock landing ovs::i r the water of any
private landing        state reservoir that has heen dediccted and set apart as a
required.              puhlic park and pleasu~e resort, excent by the written per-
                       mission of the cons,:>rvation commissioner rho shall first
                       approve the plans for such boat house or dock landing be-
                       foro work thereon shall 'l)o commenced.

Permission to               Rule ~3. No trees shall ~e cut by the lessees of
cut tree3 ,            state lots to make room for the erection of cottages or
                       other buildings without permission of the conservation
                       commissioner or his authorized agent.

Duty of lessees            Rule 44. Lessees of state land.s or state lots shall
as to woods, refuse, keep the woods and poisonous vines cut on their leases and
etc.                 •shall ~:eep their lots, cottages and other buildings free
                      from rubbish, garbage and all other unsightly things.

                            Oils, gaeoline and other inflammable substances shall
                       be stored in such a manner as not to endanger cottages and
                       their occupants, or other property either on or off the
                       state land.

Limitation of speed         Rule 45. Roats running in any canal connecting with a
of water craft in      reservoir park, shall limit their speed while in the canQl
canal.                 to four miles per hour and parties operating boats, and
                       water craft of all kind, upon any state reservoir, dedi-
                       cated ancl set apert as a public park and pleasure resort,
                       shall limit the Rpeed thereof to five m· $-..· ~ or when
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                             passing within one hundred a.nd fifty foot of tho shore lino
                             of o.ny reservoir, o.n,1 to a speed of eight Lu.lcs o.n hour
                             1,vhon opora.tod betvrco:n lines c1rawn one hundred and fifty :::md
                             throe hundred feet fror.1 the shore lino, ancl tho ~-i.axir.1ur.i
                             speed on· parts of a.ny r~servoir, beyond tho throe hundred
                             foot lino, shall be linitod, to fifteen Diles por hour. No
                             persons sh:-..11 operate o. noter bor.t, or othvr water era.ft,
                             upon any state reservoir with a :r.rufflor cut-out or other
                             devices that aro objoctioooblo a.s noise DP.kcrs, an,:~ no per-
                             son sho.11 be pernittod to const~uct dock-landings upon or
                             anchor boats of o.ny kinC.. within a. narrow channel thc.t con-
                             nects to larger bodies of water.

Fishin6 fron walls                Rulo 46. No one sho.11 be pornittocl to fish fron brid-
or bric1.go.                 ges oxtor..(ling over ,Yt.stcwoirs or fron wing wnlls extencl-
                             inG thercfron.

Use of public                     Rule 47. No one sho.11 bo ;_:>"crni tted to noriopolize tho
d ·cks.                      public docks or sto.to la.nds upon tho waters of any reser-
                             voir park to tho ~etrijent of others.


                             X.   Si.ILING RULES - SLILING L'.CHTS.

So.i ling rules.                  Rule 48. When two so.iling yc.chts o.roo.pproo.ching one
                             another so as to involve risk of eollision., one of then
                             shall koep out of tho wa.y cf tho other as follovrn:

On different                      Rulo 49.     A yacht sailing frc ,; sha.11 keep clonr of one
points of suilins.           close hauled.

On tho so.no point of              Rulo 50. When both yachts a.re close ha.ulod or both
so.i ling with tho -rrincl   free, or both hc..vc the viii1c':. a.ft a.n··1. opposi to si~lcs., the
on opposite si<lo.           yc.cht with the Yn.ncl on tho port sU.c shc.11 koop clcnr.

On the so.no poin~ of              Rule 51. Who:;.1. both yachts a.re free or hnvo ~ho wind
sailing with . tho 1,vind    aft a.Ill: on the so.no si(1.c, the yacht to winclvmrd sha.11 keep
on so.i~o si~1.o.            cloc,r.

Wind o.ft.                        Rulo 52. i\ yacht 1,vi th tho wine'. nft is c1oonccl to ha.vc
                             tho wind on tho si:1o opposi to to thC'.t on which sho is ca.rry-
                             in6 hor na.in boon. 1~ yo.cht with tho vd.ncl c.ft shn.11 keep
                             clear of a. yacht on a.ny other point of so.iling.

Overtaking.                       Rule 53. lm overtaking yo.cht sho.11 in every cc.so, o.s
                             lonG as o.n ovorlo.p exists., keep clco.r of the yo.cht which
                             is being ovorta.kon.

DofinitLn of                        Rule 54. Ln over lc.p is c sto.b 1i shoc1 V'i°1en o.n ovcrto.kin1;
ovorlo.p.                    yacht hc.s no lont:or o. free choice on uhich si .1o she sho.11
                             pc.ss., c.n·l continues to exist a.s lons c,s the loovmrd yv.cht
                             by luffir..c, or tho woa.thcr yo.cht by boo.ring o.wny., is in
                             dancer df fowlin 6 •



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'Altering course.            Rule 55. When one of the two yachts is ohlifed to
                        keep clear, the other shall not alter her course so as to
                        involve risk of fouling.

Luffing.                     Rule 56. A yacht may luff as she pleases in order to
                        prevent another from passing her to windward, provided she
                        begins to luff before an overlap is ~stablished.

Bearing away.                Rule 5?. A yacht shall not bear awar out of her
                        course so as to hinder another in passing to leeward.

Rights on new course.        Rule 58. A yacht shall not be entitled to her rights
                        on a new course until she has filled away.

Converging close             Rule 59. lflhen two yachts, both close hauled on the
hauled.                 same tack, are ccnverging by reason of the leeward yacht
                        holding a oetter wind, and neither can claim the rights
                        of a yacht being overtaken, then - the yacht to windward
                        shall kee~ clear.

Passing and rounding         Rule 60. If an overlap exists hetween two yachts
marks.                  when both of them, without tacking, are about to pass a
                        mark on thz required side, then the outside yacht must
                        give the inside yacht room to pass clear of the mark.
                        A yacht shall not howevo} be justified in attempting to
                        establish an overlap and thus force a passage between an-
                        other yacht and the mark, after the latter yacht has al-
                        tered her helm for the purpose of rounding.

Sailing rules.               Rule 61. vn1en a yacht is approaching a shore, shoal,
                        vessel or other dangerous cbstruction, and cannot get clear
                        by altering her ccurse,without fouling another yacht. then
                        the latter shall, on being hailed by the former, at ~nee
                        give sea room, and in case ane yacht is forced _to tack or
                        boar away in order to give room. the other shall als~ tack
                        or bear away at as nearly the same time as is possible
                        without danger of fouling; but shculd such obstructi~n be
                        a designated mark of the ccurse, a yacht shall not force
                        another to tack under the provisi0ns of this rule.

                        XI.   MOTOR BOATS.

"Mot0r Tl.oat" de-           Rule 62. The words "motor boat" where used in thia act
fined; in3pec-          shall include every vessel prcpelled by machinery and not
tion of machinery.      more than sixty-five feet in length. The length shall be
                        measured from end to end over the deck, excluding sheer.

                             That the englne, boi:.er, or 0ther operating machinery
                        shall be subject to inspection by the agents c-f the conser-
                        vation commissioner and to their approval of the de3ign
                        thereof, on all said motor boats, which are mor6 than
                        forty feet in length, and which are propelled by machinery.



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i\:otor boats             Rule 63. That motor boet3 suhject to the provisions
clansified.          of this act shall he divic',ed into classes as follo1rn:

                           Cla3s one:       Less than t;Jenty-six feet in length.

                          Class t.,-m: Twenty six feet or over ana less than
                     forty feet in length.

                          Class three: Forty feet or over and not more than
                     sixty-five feet in length.

l.iP,ht s on motor        Rule 64. Th~t every motqr boat in all weathers from
boats.               sunset to sunrise shall carry the fqlloi,;inci; lip-hts, and
                     during such time no other lights r:hich may be mistaken for
                     these prescrihed shall he exhihited:

                           A. Ever~' motor boat of class one 3hall carr:' the
                     follo'?ring lights:

                          First:        A v:hi te lipht aft to sho,;r.r e.11 arounf the
                     horizon.

                          ~second: A comhined lantern in the fore part ~f the
                     ve Asel and lo ,,er than the 1i?hi te 1 if.'ht aft shov,in~ green to
                     starboarc; an6 rec:1 to port, so fixed as to thror, the liP.ht
                     from :r-ir,ht aheaC to tv10 pointG abaft the he'lrn en their
                     reonective sides.

                           B. Every mot or hoat of classes t,rn an0 three shall
                     carry the follo,Jinf lights:

                           First: A brich t white lifht in the fore part of the
                     vessel as near the stern as practicable, so constructec a~
                     to sn.m1 • an unbroken light over an arc of the horizon of
                     tv,enty points of the compass, so fixed as to throw the
                     light ten points on each side of the vessel, namely, fr~m
                     right aheac~ to two p/")ints ahaft the beam on either ~iae.
                     The glass or lens shall be of not less than the following
                     r1 imensions:

                           Class tv:o:      Nineteen souare inches.

                           Class thre,:i:      Thirty-one square inches.

                           Se cone:;:    A ,:hi te light aft to shor! all around the
                     3.0rizon.

                          Third: On the starboarc'l. si<1 e a P."reen lip.ht so ~on-
                     structed as to shoTT an unbroken li :: ht over an arc of the
                     horizon of ten points of the co~pass, so fixed as to thro~
                     the lir,ht from right aheac~ to t-..•,o l)Oints ahaft the l:ieam on
                     the ntnrhcr.rc side.




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                           On the port side a red light so constructed as to show
                      an unbroken light over an arc of the horizon of ten points
                      of the compass, so fixed as to throw the light from right
                      ahead to two points abaft the beam on the port 3ide. The
                      glasses or lenses in the said oide lights shall be of not
                      less than the following dimensions on motor boats of

                          Class two:     Sixteen square incheo.

                          Class three:     Twenty-five square inches.

                           The said lights shall bo fitted wit~ inboard screens
                      of sufficient height and so set as to prevent these li~hts
                      from being seen across the ~ow and sha11 be of not less
                      than the follov,ing dimensions on motor boats of

                          Class tw~:     Eighteen inches long.

                          Class three:     Twenty four inches l0ng.
Whistle, hell.             Rule 65. A, Every motor boat under the provisions of
                      clas::; one, shall be provided with a whistle or other sound-
                      producing mechanical appliance capable of producing a blast
                      of two seconds or more in duration ana in the case of such
                      boats so provided, a blast of at least two seconds shall be
                      deemed a prolonged blast within ' the meaning of the law.

                                    B, Every motor boat of class two or three
                      shall be provided with·an efficient bell, which shall not
                      be less than eight inches across the mouth on board of
                      vessels of class three.
Motor boats to be         Rule 66. Every motor boat subject to any of the pro-
equipped with life    visions of this act, shall car~' either life preserver.J or
preservers, etc.      life beltn, or buoyant cushions, or ring buoys, or other
                      device, sufficient to sustain afloat every person on hoard
                      and so placed as to be readily accessible. All motor beats
                      carryin~ passengers for hire shall carry one life preserv-
                      er of thA sort prescribed for every passenger carried.

                           Every motor boat shall carry an anchor of sufficient
                      weight to anchor in case of engine or nther trouble.

                           Motor boats hired at launch liveries are construed as
                      carrying passengers far hire.

                           life preservers and other boat equipment shall be ap-
                      proved by the conservation commissioner or his auth0rized
                      agento.
Means for extinguish-      Eule 67. Every boat operating upon state reservoirs
ing burning gasoline, for hire, shall carry, ready for immediate use, the mean~
etc.                  of promptly and effectually extinguishing burning gasoline
                      or oil; 3alt and sand mixed, and kept in a pail or other
                      receptacle ready for use, may he used.
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Lights on sailing            Rulo 68. A sailing yo.cht shnll ca.rry tho follovring
yn.chts.                lights:

                                First:   A white light a.ft to show all a.round tho hori-
                         zon.

                              Second: A combined lo.ntorn in tho f'oro pa.rt of tho
                         yacht v.nd lovror thun •tho whi to light a.ft shov,ing green to
                         starboard o.nd red to port, so fixod as to throw tho light
                         fron right ahco.d to t,.70 points abo.ft tho boo.non their
                         respective sides.

Lights on ro,·rboo.ts,        Rulo 69. Rowboo.ts or co.noes sho.11 carry white lights
canoes.                  visible o.11 a.round tho horizon, located o.t tho front ond
                         of tho bout, und it sha.11 not be pornittod to carry lights
                         on tho floor of the boa.tor ca.noo.

Di stress si. gno.ls,          Rulo 70. Boa.ts in distress sho.11 give notice thereof
fa.lso signals.          by a. series of ra.pid blasts of tho whistle, or by continuous
                         ringing of the boll, a.nd o.11 boo.ts within hoc.ring sho.11
                         ir.inedio.toly hasten to the relief of tho vessel in distress.

                               11:ny eno giving a. fa.lso signo.l of distress nn.y be de-
                         prived of tho privilege of opera.ting boo.ts upon tho vro.tor of
                         o.ny state po.rk, by tho conservation cor:u:ri.ssionor.
                                                                                        .
White light.                  Rulo 71. A v.rhite light is to be shovm by boa.ts while
                         at o.nchor, which sho.11 bo visible o.11 a.round tho horizon.

Publication of                Rulo 72. The consorva.tion coI:ll:lissioner sha.11 publish
pa.nphlot.               this a.ct in po.ophlet foru with proper dio.grnn and supply
                         every boat oi;mcr ..rith said pa.r.1phlot upon o.pplica.tion.

Use cf soo.rch-                Rulo 73. No searchlights of o.ny description will bo
lights.                  pernitted upon boo.ts opera.ting upon the sta.te reservoir
                         po.rks, except for the purpose of n...'\king landings, and under
                         no circunsta.ncos sho.11 o. pilot or o,mer flo.sh or cause to be
                         flushed tho ra.ys of a. sourchlight into tho pilot house of a
                         pa.ssing boa.t.

                                               Signals

Signals iudiccting            Rulo 74. In o.11 woa.thors ovary noter boa.t under w~y
course.                  in taking a.ny course o.uthorizod or required by those rules
                         shnll indico.to th~t courso by the follovdng signo.ls on her
                         whistle to be acc )npa.niod, uhorovor required, by correspond-
                         ing a.ltora.tion cf her holn; and every vessel receiving a.
                         signo.l fron another sha.11 pronptly respond vrith tho sc.r.10
                         signn.l or sound tho d~n~cr signal as provided in rule 75.

                                Ono blast noa.ns, 11 I ru:1 directing ny course to starboard 11
                         except when ~vo boa.ts a.re a.ppronching onch other nt right
                         angles or obliquely~ other them when ono boat is ovortc.k-
                         ing another, ono short blast signifies intonti0n of boat
                         v.rhich is to starboard of tho othor to hold course and speed.

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                                Two 1:-lo.sts neo.n, "I on directing r:ry course to port,"
                         except thc.t when t,.-ro boo.ts c.ro o.pproa.ching o a.ch other o.t
                         right c.nglos or obliquely, oth0r tho.n when 0110 boc.t is ovor-
                         to.kinG a.nothor, two short blo.sts signify desire of, or
                         o.ssent t :: boo.t vrhich is to port of the othor to cross tho
                         bo'\I of boo.t to sto..rboc..rd.

Vf:..on do.ngor signnl         Rulo 75. If, when bouts a.re a.pproo.ching ca.ch other,
sho.11 bo given.         tho pilot of either vessel fails to undorwtnnd tho course
                         or intention of tho othor, vrhothcr fron signn.ls being gi vcn
                         or a.nsworod erroneously,· or fror.i. other co.uses tho pi lot so
                         in doubt sho.11 i:r.rr.1odiutoly signify tho so.no by gh--ing the
                         danger signo.l of four or narc short o.nd ro.pid blo.sts of tho
                         whistle; o.nd if both boa.ts sho.11 ha.ve upproo.ched ·within one-
                         fourth nilo of ca.ch other, both sha.11 be inr.1cdio.tely slowed
                         too. spood bo.rcly sufficient for stooro.gc vmy, a.nd if noc-
                         ossa.ry, stopped o.nd rcvorsod, until the proper signo.ls a.re
                         given, o.nswcrod, and understood, or until tho boo.ts sho.11
                         ho.vo pa.sscd ca.ch other.

"Cross signa.ls"              Rule 76. Motor boa.ts o.ro forbidden to use vrho.t ho.s be-
forbidden.               cone tochnico.lly knovm a.r.1ong pilots as "cross signals," thnt
                         is - - a.nsworing one ·whistle with two, a.nd o.nmvering t,;-10
                         whistles with one. In c.11 co.sos, o.nd under o.11 circunstan-
                         cos, a. pilot receiving either of tho whistle signals pro-
                         vided in tho rules, which for a.ny rea.son he deems injudici-
                         ous to c0nply ·with, instco.d of o.nsworing it ·w ith o. cross
                         sig~o.l, sho.11 at once s,und the danger signo.l o.nd observe
                         tho rule o.pplying thereto.

Signn.ls for                     Rulo 77. Tho si gno.ls for po.s sing, by blo,:nng of the
passing.                 -rrhistlc sho.11 be gi von uncms,;1Cred by pilots iD: conplia.nco
                         Yn th these r'..Alos not only when nccting "hea.d a.nd head" or
                         nearly so., but o.t a.11 ti::ios whon po.ssing; or nooting a.ta
                         distance Yrithin a. quarter of a mile of co.ch 0thor, and
                         ,;,rhotl1cr po.ssing to the sto.rbo(:.rd or port.
Situaticns a.nd sig-           Rule 78. liVhon bee.ts a.re approa.ching cc.ch other "hea.d
no.ls for passing.       to hcc.d, 11 or noa.rly so, it sho.11 bo tho duty cf o a.ch boa.t
                         to pa.ss on tho port side of tho other; a.nd the pilot of
                         eithur boo.t r.ny be first in doterr.:.ining to pursue this
                         courso, a.nd thoreupon sha.11 give., o.s n. signo.l of his inten-
                         tirm., one short o.nd distinct bla.st of his ·whistle., ,·,hich
                         the pilot of tho othor boa.t sha.11 unsi,-wr proot,tly by n.
                         sinilo.r blr.st of his v1histlo, n.nd thereupon such boo.ts sho.11
                         pr.ss on tho port sido of co.ch other. But if tho courses of
                         such boa.ts a.ro S'.) far or!. tho sto.rbo!lrd of ca.ch other o.s not
                         to bo consiclorod by pilots as nooting 11 ho~d to hea.d," or
                         n0nrly so., tho pilot so first deciding shall ir.u:1odi~.tely
                         give ti:ro short a.nd distinct blo.sts of his whistle, which
                         tho pilot c,f tho other bo::-.t • sho.11 a.nswor pronptly by tvro
                         sinila.r blc.sts o:f his -.-rhistlc, o.nd they shall pa.ss on the
                         sta.rboo.rd sido of cc.ch other• in tho night, boa.ts i,-nll be.
                         considered us neoting "hea.d to he::-..d, 11 so lone; o.s both tho
                         colored lights of co.ch o.ro in view of tho other•

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Signal 'i'Ihon                 Rule 79. '1/henevt:.;r n boat is nearing a s~1ort h:.:nd or
approaching bend       curv0 in thn channel, ·,:h..,rE:.; from the he; i("ht :,fl the.: banks or
or curve.              other caus~, a 11oat approachinf, fro~ the opposito diroction
                       cannot h.., s1;;en for a cii sta..-ico of a quart:;r of a mile, .the
                       :1ilot of such heat, 1,1hen he:: shall have arrived Y:i thih·, cin~ •
                       quarter of a mile cf such curve or bc•nd, shall gi V3 a si~nnl
                       b:r one lonf ~last of th,3 i~hist::.o, ,·hich signal shall bu an-
                       s;:rcrad by a similor hlast r,iven bJ'·· the pilot of any hoat
                       v.ri thin h-::aring that may be approach inf. on thG other side,
                       and r:ithin a quarter of a mile of such bend or curve.should
                       such signal be so answered hy a boat upon the farther side
                       of such bend, then the usual signals for meeting ana pass-
                       ing shall imrfi~d iately be given and answered, lmt if the
                       first signal of such pilot he not ansv1ered, he is to c.on-
                       sider t ::.e channel cleer and govern himself accordingly·.

Signal v.hen                  Hule 80. Vlhe" one hoat is overtaking another, and_ the
boat overtaking        pilot of a boat v;hich is astern shall desire to pass on · the
another.               right or starboard hand of the hoat ahead, he shall give. , one
                        ohort hlast of the i7histle, as a signal of such desire and
                        intention, and shall put his helm to port; or if he shall de-
                        sire to pass on the left er port side of the 1-ioat ahead, he
                        shall gi 11e t,:o short hlasts of the whistle as a signal of
                        such desire and intention, and shall put his helm to a star-
                       board anct the pilot of the l:ioat -ahead shall ansr:er hy the
                        same si("nals;or if he does not think it safe for the hoat
                       asterL to attempt to pass it at that point he shall immed-
                        iatel~r signify the same by gi vinr four or more short and
                       rapid hlasts of the v1histle. and under no circumstances
                        shall t!1e boat astern attem;,t to -pasG the hoa-t ahead until
                        such tine as they have reac·1ed a point ··:here it can be safe-
                       ly done, ,i:leP.. saict b0c.t ahead shall signify her .;1i1lingne ss
                       'hy hlm--inf- -t;he pr'.1~,e:r signals. The hoat ahead shall in no
                       case attempt to c1·0 ss the l-im; or crm1d upon the course of
                       the oc.ssing boat. Ever:i,· hoe.t cominr up rith another boat
                       from nny direct ion more than tvm no int s ah aft her berun --
                       that is -- in such a position, 11i th :-eference to the boat
                       Phich she is overtaking, that at nip.:ht she would be unahle
                       to see either of that!boat's side lightB, shall ~e deerr~d
                       to he an overtaking boat; and no subsequent alteration of
                       the bearine bet·lleen the t,;o hoats shall make the overtaking
                       boat a crossing boat within the meaning of these ruleR, nr
                       reli~ve her of the euty of kAerinr, clear of the overta~ing
                       boat until she is finally passed and clear. As by day the
                       overtaking hoat can not al1,ays kno1: v;ith certainty \Jhether
                       she is· forvmrd of or abaft this direction from the other
                       hoat ;-;he shoulc, if in douht, assume that she is an ov~)r-
                       takinr- hoat and keeu out of the ·:ray.

Passing in channels       . Rule 81. In all channels less than five hunarec'l. feet
le s s than 500 feet   in ~idth. no motor hoot shall pass another p.oinr- in the
,'Tide.                same nirection unlesn t~1e motor 1-ioat ahead be disabled or
                       signif: her Tillingness thet the h ,'.)at astern shall poss,
                              1


                       when the bo~t nstern may pass, ·suhject, however, to the
                       other rules applicable tc such a situation, and ,:hen motor

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                           boa.ts proceeding in opposite directions a.re a.bout to neet in
                            s\lch cho.nnols; both such boa.ts sha.11 be slowed down to a.
                           nodorato speed according to tho curcunsto.ncos.

lpproo.ching o.t a.ngles        Rulo 82. When two noter boa.ts a.re ~pproaching co.ch
tlth risk of colli-        other o.t right o.nglos or obliquely so a.s to involve risk of
~ion.                      collision other than when one boat is ovortn.king a.nether,
                           the bout which ha.s the other on hor _own port side sho.11 hold
                           her course and speed; nnd tho boa.t which ha.s tho other on her
                           mm starboa.rd side sho.11 keep out of tho wc.y cf tho other
                           by directing her course to .sta.rboc.rd so o.s to cross tho •
                           stern of tho other boo.t, or, if nocossa.ry to do so, slo.ckon
                           her spood or stop or rovorso. Tho boo.t hnving the othor on •
                           her port bow sha.11 blow one blo.st on her whistle a.s a. signal
                           of her intention to cross 1:;hc bow of tho other, holding her
                           course nnd spood, which si~nnl sha.11 bo propp,tly nnsvfored by
                           tho othur boo.t by one short blo.st of her whistle o.s a. signa.l
                           of her intontion to direct her ~ourso to sta.rboa.rd, so as
                           to cross tho stern of the other boat or othcri.vise keep clear.

                                 If fror.1 a.ny co.use wha.tovol' the concli tions covered by
                           this si tua:tion a.re such a.s to prevent imodia.to conplia.nco
                           with oa.ch other's signals, tho nisund0rstunding or objection
                           shall bo a.t once no.do a.ppo.r('lnt by blowing tho d~gor sigml,
                           a.nd both boa.ts sha.11 be stoppod, and ba.ckod if necossa.ry,
                           until signo.ls for pa.ssing i;n th sa.foty a.re r::.a.d.·-> a.nd under-
                           stood.

Approaching at a.nglcs           Rulo 83. When two noter boa.ts c.re approa.ching ca.ch
without risk of            other a.t right a.n 6los or obliquely, other tha.:n when one
collision.                 boa.tis overtaking a.nether, so th~t tho boat ho.ving tho
                           othor on her ovm stnrbonrd side na.y cross tho bow of tho
                           othor, ·without involvi::.16 risk of collision, the stcru:i.er
                           hc.ving tho other on her own sto.rboo.rd side na.y cross tho
                           bow of the other. If tho bo~ts a.re within o. quarter of o.
                           nile of o ach other, tho boa.t ha.ving tho other on her o,vn
                           starboard sido shall give, o.s a. signa.l of hor intention to
                           cross tho bow· of tho other, two short o.nd distinct blasts
                           of her whistle which_if assented to, the oth1Jr boa.t sha.11
                           pronptly o.nsvrer by tvro sinilar blnsts of her o,vn whistle,
                           when tho boa.t having tho other on hor sta.rbonrd bow rJD.Y
                           cross the bow of tho other, in which er.so tho bout having
                           tho other on her own port side shall koop out of the vrn.y of
                           tho other. If, however, tho boa.t he.ving the other on her
                           ovm port side dceos it dnngorous for tho other stoa.ner to
                           cross her bow., sho shall sound tho da.ngor signal, in which
                           case both boo.ts shall ~e stopped, and ba.ckod if necossa.ry
                           until signals for pa.s·sing with so.foty o.re :z:10.de, a.nsvrcred 1
                           and understood.

Motor boa.t to a.void            Rulo 84. 'When a notor boa.t and so.iling vossol or row-
risk of collision,         boo.t aro proceeding in such directions o.s to involve risk
ilhen.                     of collision., '!:::~~ ·:. ·c :;,· bout sho.11 keep out of tho wo.y of
                           tho so.iling vessel or rowboat.

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, Obedience and            Rule 85. In obeying and construing these rules, due
:construction of      regard shall be had to all dangers of navigation ana cclli-
  rules.              sion and to any special circumstances which may render a
                      departure from the above rules necessary in order to avcid
                      immediate dan~er.

                                          Fog Signals

When fog signals           Rule 86. Whenever there is thick weather by reason of
shall be used.        fog, mist, falling snow, heavy rain storms, or other causes,
                      whether by day or night, fog signals shall be used as
                      follows:

                            A mot~r boat under way shall sound at intervals of
                      not more than one minute three distinct blasts of her whis-
                      tle . .Any boat at anchor and any boat aground in or near a
                      channel or fairway shall, at intervals of not mr,re than tv:ro
                      minute·s, blo11 her whistle rapidly for three to five seconds.

Speed in fog, etc.         Rule 87. Every motor boat shall, in thick weather, by
                      reason of fog, mist, falling snow, heavy rain storms, or
                      other causec, go at moderate speed. A motor boat hearing,
                      apparently not more than four points from right ahead, the
                      fog signal of an0ther boat shall at once reduce her apeed
                      to bare steerageway, and navigate with caution until the
                      hoBts shall have passed each other.

                      (There is no Rule 88 in the enrolled bill. - Ed.)

                      XII.   SANITATION RULES.
Special sanitary a is-      Rule 89. The territory included v1ithin any state
trict; control and     park er pleasure resort and surrounding lands extenaing
management.            back one mile therefrom, is hereby designated a special
                       ~anitary district, to be under the control and management
                       of the state board of health for sanitary purposes, and
                       any failure to comply with the notices of said department
                       relating to sanitar:,' conditions, shall be deemed a viola-
                       tion of the terms of this act.

Powers and duties          Rule 90. The state board of health shall have / power
of state board of     to make and enforce rules and regulations relating ~o the
health.               location, construction and repair of stockyards, n,6g-pens,
                      stables, privies, cesspools, sinks, plumbing, drains and
                      all other places where offensive su~stances or liquids may
                      accu.~ulate within such sanitary district and .said board of
                      health shall have power to abate all such n'uisances, and
                      may remove or correct all unsanitary conditions detrimental
                      to the health and well-being of the community included in
                      such sanitary district, and may, when necessary, certify
                      the costs and expenoes thereof to the county auditor, to be




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                       assessed against the property of the offending party, and
                       therehy made a lien upon it and collected as other taxes.

Arrest end prose-           Rule 91. 'lfhen any specific order of the state board
cution on violation    of health is neglected or disregarded by ~arties, after due
of orders.             notice, said board may cause the arrest and prosecution of
                       all persons so offending in accordance with the tems of
                       this act. Notice by the state board of health to ah.ate or
                       correct a nuisance shall ~e served upon parties offending
                       in accordance vrith the terms of G,C. 4422.

Drainage into reser-        Rule 92. No sewer, drain or other connection with
voir prohibited.       closets, cesspools, sinks, privies or other places where
                       offensive or unsanitar·:; matter accumulates, shall be drain-
                       ed or discharged into any state reservoir, and no garhage,
                       offal or filth of any kind shall he thrown or discharged in
                       any manner, into any such resP-rvoir or immediate tributary
                       thereto, and this rule shall apply to all househoats and
                       buildings erected over the waters of any state reservoir .

Penalty.                     .Any person convicted of violation of any of the fcre-
                       going rules to be fined not less than $1) nor more than
                       $100.

?Tritten permits;           Upon the payment of prescrihed fees the Commissicner
revocation.            is to issue a written permit authorizinp: the maintenance
                       and operation of the boats or watercraft for which fees
                       have been pai0 and in the manner prescribed in such permit;
                       any permit to be revnked on proof that such briat or boats
                       are used for illegal purposes.

Numbered metal              In carrying ,cut the provisions of the preceding sec-
plates.                tions the Commissioner is required to pr0cure suitable
                       metal plates to be issued annually to persons using boats
                       on the water of such publtc park or p2-ea:mre resort, canal
                       or feeder thereto, and which are to 'l)e displayed in a con-
                       spicuous manner upon the side or end of the boat; any vio-
                       lation to he oubject to a fine of net less than $10 nor
                       more than $50.

Inspection of               The Commissioner i:J required to cause to be inspected
boats.                 all hoats and watercraft maintained and 0perated as above,
                       and may condemn any such deemed by him un8afe for the
                       carrying of passengers; the owner whJ offers it for hire
                       to he fined not less than $10 nor more tha~ $100, and the
                       permit issued tc be revoked and annull~d.




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XIII.     P.ULES .AND REGULATIONS GOVERNING STATE PARKS UNDER THE
                              JURISDICTION OF
          THE OHIO STATE .ARCHAEOLOGICAL AND HISTrJHICAL SOCIETY,

1. Above all, visitors to this park are resnectfully requested to observe a
reasonable and la~:ful rule of conduct at all times. You are urged to treat
this park, and ever!r ohject therein, as if it v;ere your personal property in
which you take an exceptional pride.

2. It is a misdemeanor to write or carve your name on or scratch or mar any
tree or ob 5e c.t \'!i thin this park. You are requested to rep:i ster properly and
accurately in the register specially provided for that purpose. Fictitious
registration is forbidden.

3.  It is a misdemeanor to injure or mar trees in any manner. Branches or
leaves must not be broken off. Flo,;~ers, wild flowers, plants and shrubs must
not be plucked or disturbed. Hunting or disturbing of the birds, wild animals,
or wildlife of any sort -- except under poss1ble regulatory limitations -- and
then only upon the 1ilri tten permission of the Ohio state Archaeological and His::..
torioal Soc iet~• -- is positively forbidden. It is distinctly understood that
this is a "r·ildlife sanctuary" -- v1here 11ildlife is protected from every angle.

4. Fishing in any form, includinr catchinf of minno.·s, is prohihited in any
state park under the custody of the Ohio State Archaeolor-ical and Historical
Society.

5. Shootinp of firearms of any description or the carryinr of firearms, either
loaded or unloaded, in an~r state park under the control of the Ohio state Archae-
ological and Historical Society, is positively forhic1.den.

6. Drivers of vehicles over the road•r.'a~· s "'i thin this park must o11servo a safe
and reasonal-ile speed limit at all times. The inter:,retation of the term "safe
and reasonahle" TTill be determined br the superintendent of this park, and in
case3 v;here no superintendent is enployec1., by the Ohio State Archaeolor.:ical and
Historical societ~,; and it ma? "be construed by either to permit some variations
betr>een the control and remote p,)rtions of the par}: and under certain var:rinr,
situations and oond it ions. In no instance, hoTever, ·.' .•ill the maY.imum speed
limit exceed 20 miles per hour.

?.    Use the outdoor furnaces.   ~uiio no fires on tho ground.

8. Visitors may purchase fuel for the outcioor furnaces in conveniently sized
bundles from the resident superintendent of this park. .Any profits thus accru-
ing ,,ill be applied tm,;ard providinp.: hetter accommodations for the visiting pub-
lic. Visitors may provide their mm fuel ·:1h0n they so desire.

9. All contributions are greatly ap•)reciated Rnd ·rill be used in bettering con-
ditions v:i thin the park.

10. Rubbish must be placed in receptacles provided for the purpose. All litter
and debris must be cleaned up and the grounds left in as neat a conrition as
:found.




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    11. Vehicles will be parked in o.rco.s set aside for tho purpose      unless
    spocio.l por:oission is obto.inod. Drivors of all vehicles will po.rk under ·
    tho direction of tho po.rk superintendent.

    12. Visitors, picnickers, an~ conpors will conply with tho instructions
    of the suporinton·lont of this po.rk in every r.10.m1cr. Refusal or neglect
    to so cooply will constitute a. Disclcooo.nor.

   13. Advertising of o.ny ooturo or the exhibiting of placards within this
   po.rk on the po.rt of outsiders is prohibited. Concession stands operated
   by any person or persons not officicio.lly connected vdth tho park mnago-
   ncnt, or tho so.le therein of any co!JT.lodity, nerchandise, or article, by·
   any such person er persons, is forbiddo~. The delivery of any connodity,
   oercho.ntliso, or ~rticlc to o.ny user within this park on the part of o.ny
   such outsider is strictly forbidden -- except in insto.ncos when spocio.l
   wri ttcn pcr:oission ha.s boon obtainec~ fro1:1 the Ohio Sta.to Lrcho.oolog:ica.1
   and Historic~l Society.

   14. Reunions,. picnic parties, o.nd groups arc o.dvisod to notify the resi-
   dent suporintcndont o.s far in aclvanco of their coning a.s possible. Such
   groups, cooing unannounced, run risk of not obtaining desirable a.ccor.u:1O-
   dutions. You a.re • ru°[u.cstcd to no.kc rcscrvc.tions well in nc~vancc.

   15.   Drinkinb of boor or intoxicating liquor is banned.

   16. Dogs o.ro not pcrnittod to run o.t large within this po.rk. Porr.ti.ssion
   of such on the po.rt of tho ovmcrs or by tho person when tho c:or:; acconpanics,
   will constitute o. Disdcneo.nor.

   17. Visitors nust not tro.nplc upon ~:10 r.1ounds or oo.rthworks; nommcnts,
   ncnorials, coreoonial or ornanontal objects nnd property of.any and all
   kinds nust·not be dannr;od; nothin:; nn.y be narrod or injured.

   18. This po.rk closes at cl~rk. Visitors r.mst then dopa.rt or obto.in· sp0-
   cial por:oission fror.1 tho resident supvrintondcnt in order to rcnain. Such
   pornission r:iay be granted only after tho pa.rk superintendent has been
   furnished anplo proof of the justificntion of such request and upon tho
   assurance tha.t no t1.anaf;e will result a.nd thr.t rules a.re observed.

   19. Co.npors furnishing sa.tisfa.ctory rcproscnt~tions nay co.np vrithin tho
   pa.rk for a. roa.sona.blc period. Those dcsi rin 6 such accor.u:io<lc:tions will
   first notify tho rcsic1.cnt suporintcnclont of their vrishos a.nc1. when pcr-
   nission ho.s boon obtn.inecl they vdll resistor their nnnos, a. '.dresses a.nd
   autonobilc nur.1bcrs. They will then occupy the area. ~1osisn..n.tod o.nd cor.1-
   ply with tho gonoro.l rules and rogulo.tio!ls.

   20. ii:ny person a.ctinG in o. loud and boi storous nun..'1.or to ·tho o.nnoyanco
   of another or to tho clotrinont of this pnrk, or who croo.tos a nuisa.ncc
   of o.ny sort sinilo.rly annoying or clotrh.1c~ta.l, r.ia.y be ejected or a.rrostod
   o.nd prosocutccl or both.

   21. 1-iny ono who violo.tcs o. roa.sonablo o.~:i~ lawful rule of concluct, or who
   fails to observe tho rules a.nd rcculntions 6 ovorning this o.nd other sto.to
   parks, unc~or tho custoc.y of tho Ohio State Archa.oologicnl a.nd Hi storica.l
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    Society, m~_y be ejected and is subject to arrest and prosecution. The
    resident superintendent is vested with police powers 8nd is authorized
    to :ci,rrest violators.

    22. The resident superintendent of this park is anxious to extend every
    courtesy and render any service consistent with the conditions which pre-
    vail and with the rules ,':l.nd regulations in effect. Persons will render a
    distinct service when reporting violations to the undersigned.


            THE OHIO STATE ARCHAEOLOGICAL .AND HISTORIC.AL SOCI~TY
                               COLtt-vmus, OHI 0

                    H. R. MC PHERSON, Curator of Parks




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               Exhibit 12
        South Dakota (see p. 368)
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                               SOUTH          DAKOTA
                       I.   STATE P.ARKS.

 Jurisdiction.        State parks, excepting Custer State Park, are under the
                      jurisdiction of the state Park Board (Acts of 1935);

Members; terms.        The Board is composed of five memoe·rs appointed by the
                       Governor for five year terms (~otated); are to ~e apnointed
                       without reference to political affiliations; are to serve
                       vithout compensation, hut are allowed necessary traveling
                      :Bndsubsistence expenses not to exceed $500 for any one
Officers.              year. The Board elects a·chairman, a Vice-Chairman, and a
                       secretar!', and Fho constitute an Executive Cammi ttee, the
                       po~ers of which are detennined by the Board;

Powers and duties.    Powers and duties of the Board· are as follo~JS:
Acquire lands.        To acquire park areas by purchase, lease, gift, or by con-
                      demnation;

Administer.           To develop and administer such areas as are acquired;

Accept funds.         TO" accept and use any funds provi'ded by any agency of the
                      United states Government or from other public or private
Revolving Fund.       sources, all such funds to constitute a Revolving Fund to
                      be disbursed b~, the Board;

Employ personnel.     To employ necessary personnel under such appropriations as
                      the Legislature may grant.

Grazing prohibited.   Acts of 1921 declare it 'to be unlawful for any person,
                      association or corporation having charge or possession
                      of any horses, mules, cattle, goats, sheep, s~ine, or other
                      like animals, to cause or permit such animals to enter or
                      graze upon any state park game preserve except on permits
                      issued by the Peard or other governing body.

                      II.   CUSTER STATE PARK.

Jurisdiction;         The above park is administered by the Custer state Park
Members of Board.     Board, which consists of three memoers appointed by the
                      Governor for four year terms. Memhers serve vri thout com-
                      uensation hut are allowed necessary expenses incurred in
                      the performance of their various duties; a secretary may
                      be employed (1927).
Powers and duties.    Powers and duties of the Board· are as follor.s (1919,1927):
Administration.       To operate, manage, improve and maintain the park and all
                      property, real and personal, belnnginr- to the state within


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                         tho livits of the#:2365
                                            park;                                                 1
Purcha.so lands.        To purcho.so or to contra.ct for .the purchase, in foe sir.1plo,
                        of o.ny lnnds within tho boundaries of the Pa.rk, suito.blo
                        for pnrk purposes, or to pay off nortgo.ges, existing on
                        such lnnd a.s a.re purcho.scd, a.nd to pay ta.xos now a. lion ·
                        UGO.inst so.id la.nd;                                                     • I
                                                                                                  'I


Eoinent (1onain.        Is invested with the power of cm.nont donain o.nd with tho                .i
                                                                                                    i
                        power to tnko or do.no.go priva.to property for pub!ic use;                 j
                                                                                                  .:

Park land purcha.so     The Sta.to Treo.surer o.nd Sta.to lludi tor arc directed to croato
fund.                   a. special fund to be callod the "Park La.nd Purchase Fund" and
                        to which arc to bo credited annual appropriations to be drawn
                        and expended by tho Board;
                                                                                                  '!

Sane.•                  To a.cquire o.nd hold such private property by gift, grant,
                        devise, purchase., lease or condemnation proceedin6 s as r.10.y
                                                                                                  I :
                        be located in the po.rk or adjacent thereto;                              I·
                                                                                                  ,, ,.
                                                                                                  I·
Lea. so lands.          May rent cor:rr.1011 school lands belonging to the State or rent
                        privntely owned lo.nd, in er e-djacent to · tho park v;hon dooned
                        suitQblo or necessary for park purposes, unless or until ·
                        such lands rmy be purchased;

School lands not to     Tho Comraissioner of School and Public Lands is prohibited to
bo solcl.               advertise for sale, or sell, any school lands in tho Pa.rk
                        prior to January 1, 1938 unless requested by the Boo.rd to
                        holcl such so.le;

Highways, roads and     To construct and. ·,··o.intain tho necessary high,Yo.ys., roads a.nd
trails.                 trails within the pa.rk boundo.ries and to use 3uch r.1onoys
                        ns a.re o.vailable for such purposes. Tho Ste.to Highwa.y De-
                        partment :r.my enter into cooperative ngreoraent ~~th tho Boo.rd
                        to carry out this work. Tho Cor;n:rl.ssion r.:.a.y deten:ri.ne the
                        naxinun exponscs · for tho construction o.nd maintenance
                        during oach year., but no hi 6hwnys, roo.ds or trails :r.1£1.y be
                        built except such a.re designated by tho Board; or the Con-
Restrictions.           mission may by resolution sot asi<lo or o.rpropriate funds to
                        tho Board for the construction and naintono.nco of such
                        hibhwo.ys., roads and trc.ils, as tho Cor.u:ri.ssion rJB.y deo:r.1 noc-
                        essnry. The Boa.rd -::in.y purchase the necessary right of way
                        for hi Ghwo.ys and trails and nay o:x:crcise the right of cn-
                        incnt dona.in. No o.utooobile or wagon roads a.re to be built
                        to tho top of Harnoy Peak, nor to a. higher altitude tho.n 6400
                        foot;

Control of hi;;hwnys;   To regulate the speed lirai t on highways o.nd tro.ils, and to
signs; fo:nce s.        erect road signs o.t such points o.s r.10.y be deaned a.dvisa.blc;
                        no.y a lso erect and no.intain a fence a.round tho entire park;

Mainto.in schools.      To r..ainto.in or n ssi st in the r,m.inta.ining; of schools within
                        the park, and to po.y for the same out of a.ny funds avail-
                        able; but no a.dditiono.l schools arc to be established in


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                     excess of revenues derived for school purposes, e:r.cept
                     upon resolution of the park board advisine the school
                     hoard of its v1illingness to contrihute the necessary funds
                     for the maintenance of such additional schools;

Encourage summer     To encourage the erection of summer cottages and summer
homes; leases.       homes, may make term permits or leases for such purposes,
                     hut no lease may be made on the slopes of Sylvan Lake or
                     within vie,,; of the Lake; the minimum rental for a site ~o
                     be $10 annually, and the P.oard may cancel the lease in case
                     of failure to comply r.ith such permit or lease, or to pay
                     the rental. NQ leases may be made for homes along the
                     highway but only upon locations designated by the Board;

Sale of timber.      May contract for and sell timber on any of the state• lands
                     in the Park, but not in eJ~cess of 100,000 lumher feet in
                     any one year. No trees may be cut adjacent to the highway,
                     except as may be necessary to improve the appearance of
                     gro~'ling conditions. Proceeds derived from the sale of
                     timber are to be placed in the General Fund of the state,
                     excey,t v,here such timber is from school land,. in v•hich
                     case the proceeds are to be credited to the permanent
                     school fund and applied to the purchase price of said land;

Superintendent.      Is directed to employ a Superintendent to ca~e for the park
                     proJ)8rty, manar,e and execute park enterprise3 and activi-
                     ties, direct and supervise other employees, ana perform
                     such other duties as the Board requires. The Board may also
                     employ such other personnal as may be necassary, includinp.:
Park Forester~       a park Forester, or the Superintendent may be required to
                     act as such;

Rules and regula-    May malrnand enforce necessary rules and regulations, and
tions. •             designate one or more employees as game wardens to enforce
Game v;arden .       the provisions of the Act or any of the laws of the state;

Annual reports to    Must annually file with the Governor a report of all funds
Governor.            received t'rom any source during the preceding year and a
                     statement of all moneys paid out; including a report of all
                     lands purchased, the price paid therefor, the lands rented
                     and rental paid therefor; also a detailed report of all
                     property sold or .disposed ~f and the price received there-
                     for.

state-wide park      Is dir8cted to formulate and r Gcommend a State-wide plan
plan.                for a State park system, embracine-; th3 different scenic and
                     recreational areas in different sections of the state and
                     report to the next Legislature.

Hunting regulated.   Hunting, trapping, killing or capturing game animals or
                     e~ame hirds within the boundaries of the park is unlawful
                     except under such regulatio~s as may be prescribed by the
                                                                                       i
Firearms; dogs.      Board. It is also unlawful to carlj· firearms therein or        ';!
                     or permit dogs to run at large.

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                      III. PUBLIC ffiOOTlNG GROUNDS.

Ho";! acquired.      By Acts of l ,?2? the Game and Fish Commission is vested vii th
                     the power, on behalf and in the name of the state, to ac-
                     quire by gift, grant, devise, purchase, lease or condemna-
                     tion, any puhlic or privately owned real property, known
                     as duck passes of "flyways'', or Rny public or privately-
                     owned real property especially useful to hunters in shoot-
                     ing wild aquatic fowl.

                     IV.   STATE PL.ANNING.

                     A state Planning Board was created by Acts of 1935.        Its
                     powers ana duties are as follows:

Make i:;urveys.      To make inquiries, investigations and surveys concerning
                     the natural and human resources of all sections of the
                     State;

Formulate plans.     To assemhle and analyze the data thus obtained and to
                     formulate plans for the conservation of such resources
                     and for their intelligent and systematic utilization and
                     development;

Recommendations.     To make recommendations from time to time as to the l'>est
                     methods of such conservation, utilization and development;

Draft legislation.   To draft for submission to the Legislature such procedure
                     affecting the use, development ana. conservation of natural
                     resources and the promotion of industrial and social facil-
                     ities as are deemed advisable;

Publicity.           To promote public interest in and understanding of the
                     State plans or of research reports, and the use of other
                     means of publicity and education as it deems advisable;

Cooperati,m.         To confer and cooperate with Federal agencies and with the
                     executive, legislative or planning authorities of neighbor-
                     ing states and of counties and municipalities of such
                     states.




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                  Exhibit 13
              Virginia (see p. 397)
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                                 VIRGINIA

                     I.   STATE P.ARK.'3.

Jurisdiction.        State parks are under the jurisdiction of the state Commis-
                     sion on Conservation and Development of the Department of
                     Conservation and Development (Acts of 1926)~

Members; appoint-    The Commission consists of five members, appointed by the
ment; terms.         Governor, subject to confirmation by the General Assembly,
                     for four year terms (rotated). One member is designated
                     by the Governor as Chairman; the Commission may elect one
                     of its members as Vice-Chairman; also appoints an executive
                     Secretary and Treasurer. The Chairman is required to de-
                     vote his full time to the performance of his official
                     duties and receives a salary fixed by statute. The other
                     members are paid traveling and other necessary expenses
                     in attendance upon meeting:ior while otherwine engaged in
                     the discharge of their official duties; also the sum of.
                     $:l,O a day for each day or portion thereof v; le so en-
                     gaged (as amended 1934).

Powers and duties.   The Commission is vested with th_e following        ;'l'.rers and
                     duties (Acts of 1926, as amended);

Rules and regula-    To a~opt rules and regulations for its own c ·anization,
tions.               the proper disposition and administration of '1Y property
                     to vrhich it may acquire title or over which   may have
                     control, and for the conduct of its busines~ no the exer-
                     cise of its powers;

Di visions;          Note: Aili~inistrative divisions have heen es1 >lished as
Directors.           follows, eech headed by a Director appointed • the
                     Ccmmission and confirmed by the Governor:

                            Division of Parks
                               ti
                                     " Fore st Service
                               "     '' History and .Archaeology
                               "II   "  Geological Survey                •.., :
                                     " Publicity and Advertising
                               "     " water Resources and Power
Acquire areas,       To acquire by girt, purchase, or by eminent d0.: ..·.in, areas,
lands, etc.          properties, lands, or any estate or interest t ! ~-rein, of
                     scenic beauty, recreational utility, hiGtoricr,·. _interest,
                     remarkable phenomena, or any other unusual fea: ~~ res, which
                     in its judg.rnent should be acquired, preserved :'' ··:1 main-
                     tained for the uoe, observation, education, he~ ~hand
Limitation.          pleasure of the people of Virginia. such poweii:ma au-
                     thori t~· of acauisition to be within the limits 'any
                     appropriation, or of voluntary 13ifts or contrih ;ions for
                     such purposes;


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Lease of property    When any property is acquired without the aid of an appro-
to contributors.     priation, and exclusively with the aid of gifts or contri-     q
                                                                                      i
                     butions, it may place such property in the custody of the      I,
                     person, persons ~r association makin~ such ~ift or contri-     i,'.
                                                                                    .I
                     bution, or lease the property to such person, persons or       ,,
                                                                                    I;


                     association for a period not to exceed ninety-nine years~        r


                     upon terms and conditions approved by the Governor, v!hich,
                     in the opinion of the Commission. will best preserve and
                     maintain such properties for the above objects and pur-
                     poses;
Acquire areas for    May purchase or otherwise acquire for park purposes such
park purposes.       real e.state as it may deem proper to extend the park sys-
                     tem of the state, and to cooperate with the Federal Govern-
                     ment in reducine unemployment, and in conserving the natural
                     re sources of' the Cormn0m1eal th;
Appropriation;       Note: This Act (1933) carried an appropriation to enahle
proviso.             the C0mmission to exercise the powers cohferred, vri th the
                     provision that no part of the appropriation may be expended,
                     or any real estate be acquired or purchased under the au-
                     thority of the Act, unless and until approved by the Gov~
                     ernor;

Leases and con-     ...~y grant concessions on or with r~ spect to and, with the
cessions.              consent of the Governor and Attorney General, execute
                       leases of and grant easements affecting any lands or other
                       property owned or held (Acts of 1936);
Revolving fund;..   Gifts of ~oney, entrance and concession fees, and all funds
how expended.       accruing from, on account of, or to the use of the state
                    parks or any State park acquirecl or held by it, other than
                    regular and specific appropriations made by the General
                    Assernhly, constitute (unless othervlise specifically pro- .     I
                    vided), a Revolving Funa under the directi~n and control
                    of the Commission, and which may be expended in the con-
                                                                                    ;I
                                                                                      I
                    servation and development of State parks or of any state         }'
                    park. No unexpended part of such fund is to revert to.
                    the State Treasury at the close of any fiscal year until
                    and unlesG specific provision therefor is made hy the
                    General Assemhly (Acts of 1932);
Expend publicity    To have control of and expen·d any funds created for ad-
funds.              vertising the resources and advantages of the Commonwealth
                    in such manner as it may deem best; and to cooperate so far
                    as may be practicable and expedient with other organiza-
                    tions in the State engaged in similar or related work, and
                    to acquire by gift or by transfer property or funds to he
                    so expended (Acts of 1920);
state Museum.       Is vested with control and supervision of the State museum
                    (Acts of 1932);


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     Investigate streams   To investigat~ the streams and navigable rivers within and
     and rivers.           bordering upon the State; ~r the methods and means of im-
                           proving the same; of conserving the water supply thereof; of
                           using the same for the production of power,~nd how and in
                           what ways the said streams and waters may be made of most
                           value to th~ stato and to the people thereof.


                           II.   STATE FORESTS.
'. Acquire tax delin-      The State Commission on Conservation and D~velopment may
• '1Uent lands for         acquire the fee to lands sold to the Commonwealth for delin-
   forest purposes.        quent taxes, when it deems such land chiefly valuable for
                           forest purposes. After lands are so acquired the Commission
                           is required to pay annually to the counties in which such
II                         lands may lie one-fourth of the gross returns therefrom;
I
 j Acquire waste and       Y.ay also acquire as State forest land any waste and unappro-
·I unappropriated lands    priated land, other than unappropriated marsh and meadow
1 for forest purposes.     land lying on the eastern shore of Virginia, as exempted
                           from entry and grant, upon a showing that such lands are more
                           valuable for forestry purposes than for agriculture or any
                           other purposes;

; Acquire forest lands     May also purchase lands suitable for State forests, and may
: by purchase or gift.     accept gifts of land and money to the State for forestry            1
                                                                                               I
                           purposes. Such gifts must be absolute, except that mineral
                           and mining rights over and under land donated may be reserved       I
                           by the donors, and that the lands shall be administered as
                           State ferests (Acts of 1914, as amended);

 Accept lands from         May also accept gifts, donntions and contributions of land          l
:the United States.        from tho United States, or any agency or agent thereof, and         t
                           to entor into ugroements with tho srune for acquisition by
                           purchase, lease or otherwise, of such lands o.s the Commis-         JI
                           sion may deem suitable for State forests, and to pledge and         !
                           apply on the purchase price thereof not to exceed one-half of
                           the gross proceeds derived from the said lands (Acts of 1~36);

:Manage and develop;       To provide for the management, development und utilization of
• sell products.           uny such lands so p1·.rcha.sed, leased or otherwise acquired, and
                           to sell or otherwise dispose of products on or derived from
                           the land (Id);

·Reimburse Unitod          If, upon the so.le of any lands belonging to the Commonwealth,
· states for l!bnergency   or of any products of any such lnnds, tho Commission doter- ·
  Conservation Work.       mines that the Commonwealth has derived a direct profit as
                           tho result of work on the .l ands sold, or on lt,nds the proceeds
                           of which are sold, done or to bo done under aey project
                           carried on pursuant to tho Emergency Conservation Work Act,
                           one-half of such profit from the sale of such lands, or one-
                           half tho proceeds of tho sale of such products, or such lesser


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                           a.mount as may bo suffici0nt, is to be applied to or towords
                           reimbursing the United States Government for moneys expended
                           by it under such Act for tho-work so done, to tho extent and
                           at the rate of !:~l per man per day for tho time spont in such
                           work, but not exceeding the amount of ··,3 por. a.ore. Tho
                           Commission to fix and detenninc tho amount of such profit or
                           proceeds (Acts of 1936).                                           ,.·,,!
                                                                                              ii
                                                                                              :· .


                           III.    PUBLIC SHOOTING AND FISHING RESERVES.
                                       ,I


                           Acts ~f 1930 empowered the Commission cf Game and Inland
                           Fisheries

  Acquire by purchaso,     To acquire by gift, exchange, purchase, loose or otherwise,
  etc,                     lands and waters .for game und fish refuges, preserves, or
                           public shooting and fishing, and to establish such lands
                           under appropriate regulations;

  other public areas.      To exercise full control of the .hunting and fishing rights
                           and privileges in and on all impounded water arons in the
                           Sta.to resulting from power development; a.lso in all forest
                           and watershed areas within tho State which arc now owned or
                           which may horoaftor be acquired by th0 United States Govern-
                           ment, subject to the rights and powers of the United States
                           Department of Agriculture therein; o.nd to establish refuges,
                           sanctuaries, and public shooting and fishing reserves in said
                           arnas under such regulations as it may doom proper.
                                                                                              ll


 Funds for fi:m.ancing.    The amount recei vcd by the State Treasurer from the sale of
                           hunting, trapping and fishing licenses, tho fifteen porconturn
                           dog fund, and euch other items as may accrue t~ the Commission
                           arc required to be set aside us a Gnmo Protection Fund, t~ be        II
                           used for the payment of salaries, wages and expenses incident         I


                           to carrying out tho provisions of hunting, trapping, inland
                           fish and dog laws and fo.r no other purpo so •                     .I
                                                                                              ,i .,
' Use of unc,ppropriatod All unappropriated marsh or meadow lands lying on the castorn
· marsh or meadow lands. shore of Virginia. which . have remc.inod ungrant0d, and which
                         ha.vo been used as a common by tho people of the State, arc to
                          continue ns such ~common, C\lld remain ungra.nted, a.nd · no land
                         wc.rra.nt leco..tod upon the sam. Any of tho peoplo of the State
                         :mc..y fish, fowl or hunt on nny such marsh or meadow lands (Cod~
                         of 1930).


                           IV.    FOREST, G.A.11E, FISH LND RECREATION RESERVES.

 Uso of pri ,rate lands. Acts of 1930 authorize the owner of any fores: , land, or land
                         suited to the growth of timber, de.siring to do so, to offor
                         the srunc, subject to pasturc:gc, tc the Commission of Grune and
                         Inlo..nd Fisheries as a forest, go.me, fish end recreo..tion
                         ros0rvc; .

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    Leased to state.      In the event such land is accepted, the owner is required
                          to lease the land to the Commission on Conservation and
                          Development until such time as the timber thereon hecomes
                          suitable for marketing; also to lease to the Commission of
                          Game and Inland Fisheries the exclusive hunting, fishing
                          and recreatiqn rights or privileges so lonf- as it may re-
                          main as a reserve;

    Commissions to de-    Thereafter it is the duty of the respective commissions
    velop.                to aid in the development and the increase of the forest
                          resources of the land, and to protect it, so far as is
                          possible, from fires and trespass; to propagate and pro-
                          tect game and fish, promote recreation 1herein, and issue
                          rules and regulations therefor;

    Exclusive ~ights of   From the time such land is leased the state is vested with
    state.                the exclu □ ive hunting, fishing and recreational rights
                          thereon; except that the owners, their families and tenants,
                          actually residinp thereon, are allowed, \'.rithcut cost to
                          themselves, such right 3 and privileges as the Commission
                          of Game and Inland Fisheries i □ authorized to sell;

    Classes of licenses; The CorIDlission is authorized to sell hunting, fishing and
    cost.                limited recreation privileges on any reserves so created
                         for an annual fee of not less than $5 nor more than $15
                         per person, except that non-residents of the state are to
                         he charged not less than $10 nor more than $15 per person.
                         The Commission may also, in its discretion, issue a limited
                         recreation privilege which does not entitle the · purchaser
                         to huntinf, or fishing priviler,es, charging therefor ~hat-
                         ever fee it may deem proper. All of the foregoin~ charges
                         to be in addition to the present hunting and fishing li-
                         censes to he prescribed by law.

    Privileges of         The license as issued entitles the holder to hunt and fish,
    licensees.            except in the case of holders of limited recreation privi-
                          leges, on all forest, fish and recreation reserves during
          '               the regular hunting and fishing seasons prescribed by law,
                          enc~ to cnm.p thereon at any time, all under such rules and
                          regulations as the Commission of Game and Inland Fisheries
                          may prescribe. The Commission may, in its discretion, at
                          any time close any area in such reserves against all hunt-
                          ing, fishing and recreation for the purpose of establish-
                          ing sanctuaries th0reon;

    Use of licen3e fees. All funds accrued from the above privileges are to be paid       1
                         into a fund in the State Treasury designated as the Forest,       I
                         Game, Fish and Recreation Fund, and used for the payment of
                         taxes on the real estate embraced in such areas, for the          I
                         benefit and administration thereof, ana for the purchase
                         of State-owned forest demonstration and game and fish
                         propagation and recreation areas;                                I
                                                                                         , I
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       Taxes deferred.      When any area has been a.ccoptod, tho buildings, improvements
i                           and tillable land therin arc to bo a.ssosscd sepa.ra.te from tho
I:'.                        forest la.nd a.nd la.nd suitable to the growth of timber. There-
                            after, on forest land or la.nd suited to tho growth of timber
                            no tax or loca.l levies arc to be paid, unless tho owner de-
                             sores to do so, or tho collection thereof be enforced; but
                            the ta.xos or levies imposed arc to be ontcrod by tho county
                            clerk in a book spec:i.a.lly kept for tha.t purpose. Such o.c-
                            crucd tuxes a.re to carry a.n a.nnual interest rate of 6% per
                            annum, and a.re to be n lion upon tho lands embra.ccd in tho
                            reserve, to be paya.blo at such time ~s tho timber is marketed
                            or is matured for mo.rkoting; such mo.turity to be determined
                            by tho State. In no event mo.y a.ny taxes be deferred for a
                            period longer than forty yours. Sc fo.r a.s possible, tho
                            funds derived from tho sale of hunting, fishing a.nd recrca-
                          . tionul privileges a.re to be used in a.dvancing to the several
                            counties the taxes or levies which ha.ve accrued. When and as
                          . such lions arc pa.id to the county by tho Commonwealth the .
                            county's lion for tho taxes paid is to become the property of
                            tho Commorr.rea.l.th; thereafter the a.mount so pa.id is to be reim-
                            bursed to the Commonvrealth as a prerequisite to the removal
                            of any timber;

•Vfithdra.wal of lands.    Any person leasing his lo.ntl for a. forest., game, fish a.nd re-
                           creation reserve ma.y withdraw the same from such area ct any
                           time after three months' notice to the Commission on Conser-
                           vation and Development of pis intention to do so; but as a.
                           prerequisite to vvithdrowa.l must pay a.11 ta.x liens thereon,
                           with a.ccrued interest from the first day of December cf the
                           year in which such tuxes were assessed or levied. However,
                           in the event of such withdrc~val during the first ten yea.rs of
                           entI"J, the State may retain its lease of the hunting, fishing
                           and recreation rights and privileges for a. term of five yea.rs
                           from expiration of withdrawal notice, unless a fee. of not
                           less tha.n five cents per a.ere for land withdrawn be pa.id to
                           the State; in which event the State will surrender such rights
                           and privileges a.t the expirution of notice period. The
                           amount of this fee is to be determined by the Commission of
                           Grune a.nd Inland Fisheries;
Referendum.                The foregoing provisions a.re not to become opera.tive in any
                           county except upon o. ma.jority vote. A county once nccepting
                           mo.y not ,vithdra.w its ncceptunce o.s to land which h~s been
                           lea.sed prior thereto; but the Commonwea.l th has the right r.t
                           any time, acting through the Genera.I Assembly, to repeal the
                           law or to abolish a.ny reserves created. In the event the
                           reserve is a.bolished after a.ccepta.nce by any county, ta.x liens
                           accruing on a.ny real estate entered in the reserve nre not to
                           be enforced for ~- period of five years from the d:i.te of abol-
                           ishment. The Commonwealth rna.y o.t a.ny time on three. months'
                           notice to the ovmer eliminate from the reserve a.ny lands
                           entered thereon when it deems such la.nds not suited for the
                           purposes for which the reserve is created;


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 When county fails to      Should any county fail to ~dopt the provisions as set forth
 adopt.                    in the preceding pnragrnph, then the owners of any lnnd in
                           such county, suited to entry, :ma.y enter same in the reserve,
                           in which event such lands nre not to be subject to the pro-
                           visions of tho J:..ct providing for assessments and the deferr-
                           ment of tuxes, but in lieu thereof such ovmers are to receive
                           annually one-hulf of such u sum o.s mo.y result fron dividing
                           the total receipts from the so.le of all hunting, fishing and
                           recreation privileges on such reserve by the tot~l number of
                           a.ores of land entered in the reserve, and multiplying the
                           so.me by the number of acres owned by such owner. The State
                           retains the other half of such sum to be used for the pur-
                           poses hereinbefore set forth. The provisions of the para.-
                           graph also apply to o.11 persons entering lands in the reserve
                           and paying taxes thereon o.s a.t present. The Commission of
                           Grune and Inland Fisheries is also authorized under the provi-
                           sions of this para.graph, o.nd subject to its provisions, to
                           lea.so the hunting, fishing a.nd recreati-on rights and pr_ivi-
                           leges on any lands not eligible to entry under the first
                           paragraph;

) Rules and regulations. The Commission on Conservation and Development is authorized
I                        to promulg~te and enforce rules and regulations pertaining
I
                         to the o.dministra.tion of forestry; the Commission of Game a.lid
                         Inland Fisheries is authorized to issue, promulgate and en-
                         force rules and regulations pert::.ining to hunting, fishing
                         nnd recreation.


                           V.   GE?.f.il:RAL.

,! Destruction of trees,   It is unlawful for any person to pick, pull, puli up, teo.r,
   shrubs, etc.            tea.r up, dig, dig up, cut, break, injure, burn or destroy,
                           in whole or in po.rt, o.ny tree, shrub, vine, pla.nt, flm·1er,
                           or turf, found, grovnng, or being upon o.ny lc.nd re8erved,
                           sot a.side, or maintained by tho sta.tc o.s n public park, or
                           so.nctua.ry for vrild unimc.ls, bird or fish; or to deposit any
                           trash, debris, garbage or litter thereon, ,vithout ha.ving
                           previously obtained permiss1on in writing of the superintend-
                           ent or custodian of such park, refuge or sanctuary to do so,
                           unless the same be done under tho persona.! direction of such
                           superintendent or custodia.n of such park, refuge or sanct-
                           uary. Any person viola.tin~ this section to be guilty of a
                           misdomeo.nor (Acts 1926, 1930).
Violntio11. of rules        Violation of aey rule or regulation for tho Government or use
and regulations.            of o.ny State reservation or pnrk, or road or boulevard traver-
                            sing tho so.me, is punishnble by a. fine of not less th~n ~5
                           .nor more than ~::so (i~cts 1914, 1916).
 Conatitutional pro-       "***nor shall tho State become n pnrty to or become inter-
·vision.                   ostod in any ,·rork of internal improvement, except public
                           roads and public parks * * *•" Appdx. State Constitution,
                           Section 185.
Tax exemption.             All property and income of the state Commission t1n conserva-
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                  tion and Development  is exempt fr•om taxation, state and
                  local (Acts of 1926)l
                 VI.   STLTE PLl'..NNING.

                 In October of 1933, the then Governor of Virginia o.ppointed
                 o. State Plan..>1ing Board ·which, in tho absence of suitable legis-
                 lative action, acted in an unofficio.l capucity until the regu-
                 lar session of the General Assembly which convened in Jan-
                 uary of 1934. The General Assembly, during the session of
                 January - Februa.ry, 1934, passed a. resolution rending as fol-
                 lows:

                Vlhereas, under Title II of tho National Industrial Recovery
                Act, the Administrator under tho direction of the President
                of the United States, is required to prepare o. comprehensive
                program of public works which shall include, runon6 othor thingE
                construction, repair and improvement of public highways and
                pa.rkwnys, public buildings and any publicly owned instrumental-
                ities o.nd facilities and development of natural resources, in-
                cluding control, utilization, and purification of waters, pre-
                vention of soil or coastal erosion, development of water im-
                provemcmt, transmission of electrical energy, construction of
                river and harbor improvements and flood control, o.nd of drain-
                age improvements; and

                Whereas, in order to effectuate in a more orderly manner this
                program, tho Federal Emergency Achninistr~tion of Public Works,
                under the direction of the President of tho United States, has
                established a National Planning Board and has allotted to it
                the sum of $250,000.00 ·with which to stimulate the preparation
                of State, regional, locul, and city plans; and

                yrhcroa.s, this progrc.m contemplates the sending of qualified
                technical advisors by the National Planning Boa.rd to Sta.to,
                city, nnd rcgiona.l planning units; o.nd

                Whcroo..s, because of tho grco.t interest in the development of
                tho national capito..l areas, the Chcsa.poako Bo..y region, the
                Potomac River Valley, and tho dovolopmont of tho Skyline Drive
                a.nd tho Shenandoah Nationo.l Po..rk, it ho.s seemed advisable to
                tho National Planning Board to plane nt the disposal of Mo.ry-
                land a.nd Virginia. tho same consultants; and
                Whoroo.s, such n quo.lificd consultant has boon offered to tho
                domr.ionwoo..lth of Virginia. to a.id its Sta.to Planning Board; o.nd

                v'lheroas, former Governor Pollard, o.cting during tho recess of
                the Gonoro.l Asscrably of Virginia, appointed o.. Sta.to Planning
                Boo.rd; and

                Whereas, the·prosont Governor of Virginia. is desirous of con-
                tinuing tha.t Boo.rd as heretofore constituted in ardor to coop-
                erate with tho President in his program;



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                   Therefore, be it resolved by the House of Delegates (the
                   Sena.to concurring therein) thut tho Governor be, o.nd ho is
                   hereby o.uthorizcd to continue the Sta.to Planning Board, o.s it
                   now exists, with tho right to chnngo tho membership thereof
                   o.t pleasure, in order to cooper~to in a.idinc to effectuate
                   Virginia's cooporo.tion with tho purposes of tho No.tionnl
                   Plo.nning Boo.rd.

                   Under tho o.uthority of tho o.bovo Resolution, tho Boo.rd np-
                   pointed by Governor John Go.rlcnd Pollcrd (Governor in 1933)
                   wo.s rco.ppointed by Governor George c. Peery (who took office
                   in Junuo.ry, 1934).

 VII.     EXCERPTS FROM REGULATION8 GOVERNING PARK PERSONNEL.

 The Custodian has been instructed t) see that the public oh serves the
 follm:inf rule·s, v1hich are quoted from rules and regulations for park
 !)ersonnel:

 1.  Drunkeness will not be tolerated on the park property and persons
 found guilty of this cffense will be requested to leave the park. The
 Custodian and his assistants will see that thi2 rule is rigidl:;,7 enforced,
 but tact must be observed to prevent scenes likely to 'l)e objectionahle
 to other visitors.

 2.     .Any breach of the moral codes will be treated ir. a like manner.

 3. Any person or pernons who cnnduct themselves as to constitute a
 nuisance to other users will ~e firmly hut courteo~sly requested to
 desist. Should they persist, the Custodian will r'equest them to leave
 the park.

 4. The speed la~7S :nust be enforced. Any person driving in the parks
 to the common cla"l.p.:er or under the influence of liquor i s to be re-
 ported to the proper authcrities.

 5.     Breaches of game lav1s v1ill he reported to the proper authorities.

 6.     The carr;ing and use of fire armR is prohihited.

 ?. Greut care is to be taken that unseemly noi~e and conduct at night
 v:hich will affect the comfort of oth'3rn does not occur.

 8. Safety measures encl rules governing the sar:ie for bathin -: and 'heating
 ·.-,ill be eh served and it shall be the dutyi of the life guard t:) see that
 they are enforced and it shall be the duty of the Custodian to see that
 he does so.

 The methods that will be adopted by each cust9d-ian will cf course vary,
 and it will be fauna that in the main the public ~ill observe the regu-
 :ations that it is neces~ary to impose if the custodian Hill instruct
 his Guborcl.inates to avoin the use cf the word "don't". It is hatter to
 secure the cooperation of the public by courteous explanation and so r:in
 their support than to threaten-, but should it become necessar:-' to enforce
 regulations i,1hen courteous method3 have failed, firmness . <> ~"CAeAt ,}. .
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   VIII.     LETI'ER TO PA'IRONS OF PARK CABINS.

   In welcoming you to our park He wish to express our appreciation of
   your patronage and hope that your stay with us will be a very happy
   one and upon leaving, it may be with regret.

   In makinr, these cabins available to the use of the public at the pre-
   sent rates, the state Commission on Con8ervation and Devel.opment is
   only able to do so as long a.s \"le receive cooperation of the persons
   using them. I am sure you will appreciate thnt maintenance and operat-
   ing costs are only just covered b!' the rental which you pay for your
   cahin. It is our earnest desire thnt the enjoyment that we hope you
   ~ill receive may be also available to others under like conditions.
   This ca~ only be possible if we are able to keep our operating costs
   dovm to a minimum.

   we, therefore, ask for your full cooperation in order that not only
   may we be able . to continue to make these cabins available for your
   pleasure at tho present prices, hut possihly cle:velop more.

   We ask that you aid us by keeping all equipment as clean as possible,
   and upon leaving that you leave the cabin, china, kitchen utensils,
   etc. in a clean condition. Only by so doing shall we be able to con-
   tinue renting these cabins at this price.

   Any additional labor costs that are involved ?.ill mean operating at a
   loss and ne_cessitat3 an incr'.)ase in·· the rental of these cabins.

  We are anxious to receive your comments on our parks and appreciate
  constructive criticism at all times. Your comments will aid us in
  our problems.

   Sincerely trusting that vrc may have your OO9peration, I am

                                      Yours very truly,

                         ( SiP,ned)     R. E. BURSON
                                      Director of Parks


   IX.     INsrRUCTIONS TO PARK VISITORS.

  All visitors are expected to ob serve th0 follo'i'Jing rule3 in order
  that the park may be preserved for your enjoyment. Your admission
  fee and co-nperation will ensure this.

  Do not injure or drunage any structure, rock, tree, flower, bird o:r
  wild animal within the park.

  Firearms are prohi~it~d at all times.

  Dogs must be ke~t on leash while in the park.




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   There shall be no 'V\::nding or advertis.ing withc-ut permission of the De-
   partment of Conservation.

   Firus shall be built only in plaoes provided, visitors must put waste
   in receptacles provided for that purpose.

    Motorists. will observe spt::ed limits as posted in the park and park in
   .areas designated for parking.

   Bathing is limited to such places and times as designated by the Divi-
   sion of Parks.

   Drinking water should be taken only from hydrants or fountains pro-
   vided for that purpose. This water supply is tested regularly for
   purity.

   Please build fires only in designated places and see that cigars or
   cigarettes are out before they are thrown away.

   Break your match before you drop it.




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             Exhibit 14
       West Virginia (seep. 410)
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                               WEST         VIRGINIA


                      I.   STATE Pl..RKS.

Jurisdiction.         State parks a.re under the jurisdiction of the Conservation
                      Commission of West Virginia (Acts of 1933).

Purpose of l:..ct.    The declared purpose of ~he .Act is to provide an orgam..za-
                      tion for the protection, beautification, development, and
                      use of lands, forests, fish., game., waters., p.lant and animal
                      life., and the natural scenic resources of the State; and
                      for the use of forest lands and other natural resources for
                      projects to relieve unemployment.
Members; appoint-     The Commission consists of five members and a Director,
ment; t<irms •        appointed by the Governor., with the advice and consent of
                      the Senate, for six year terms (rotated). Members are re-
                      quired to be selected with special reference to their train-
                      ing and experience in relation to the principal act~viti~s
                      required of the Commission~ and for their ability and fitne~s
                      to perform their duties. No member na:r b~ £· cc.nd:.da:co for or
                      hold c.xiy o-t:·:or public office, nor be a member of a.ny politi-
                      cal committee. Members serve without compensation, but re-
                      ceive actual and necessary expenses incurred in the perform-
                      ance of official duties.
Advisory pov.rers     The members of the Commission are to serve only as an advi-
and duties.           sory body to the Diroctor, and, a:'s such, have the fo;Lloyrl.ng
                      powers and duties:

Study legislation     To consider and study the ontire field of legislation and
and administration    administrative methods concerning the forests and their .
methods.              maintenance and development, the protection of fish and game,
                      the beautification of the State and its highways, and the
                      development ~f lands and natural resources;

Advise Director.      To advise \vith the Director concerning the c~nservaticn prob-
                      lems of particular localities or districts of the State;

Recommend policies.   To recommend policies and practices to the Director relative
                      to any duties imposed upon him by lnw;

Investigate work of   To invostiguto the work of the Director, and for this purpose
Director.             to havo access at reasonable times to all official books,
                      pap0rs, documents and records;
Advise Govornor on    To advise or make rooommendations to the Governor relative
conservation mat-     to conservation policy of the state;
ters.




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Keep minutes of       To keep minutes of the transactions of each session, regular·
transactions.         or special, which are declared to be public records and to
                      be filed with the Director.
                                                               -
Advice to Director.   The Director may submit to the Commission or any committee
                      thereof any matter upon which ho desires its advice or
                      opinion.

Report proceedings    Upon the request of tho Commission, the Director is required
to Governor.          to incorporate its proceedings in his annual report to the
                      Governor, or he may do so upon his own initiative.

Director; qualifi-    The Director is required to be selected with special refer~
cations.              ence to his training, experience, capacity and interest in
                      the activities embraced within tho law; is paid a salary
                      fixed by statute; appoints and fixes tho salaries of the
                      heads of divisions and other personnel.

Divisions.            Noto: Tho Director, with the advice of the Commission, and
                      subject to tho orders of the Governor, administers the work
                      of tho Commission through the following divisions, each of
                      which is headed by an official selected by and responsible
                      to him, ne.moly:

                                          Division of Parks
                                          Division of Forestry
                                          Division of Game
                                          Division of Fish

Powers and duties.    In addition to his other powers, the Director is vested with
                      tho sole authority to:

Supervise Commis-     Exercise general supervision of, and make rules and regula-
sion.                 tions for tho government of the Commission or Department;

Execute contracts     Sign and execute in tho name of the Ste.to any contract or
for State.            agreement ·w ith the Federal government or its departments,
                      subdivisions of tho state, corporations, associations,
                      co-partnerships or individuals;

Supervise fiscal      Supervise the fiscul affnirs and responsibilities of the
affairs.              Department;

Devise general con-   Mo.kc ageneral conservation plan or program for the State;
servation progra.m;   conduct research in improved conservation methods, and
conduct research.     dissemina.to inforllk-..tion on>conscrvati. on matters to tho resi-
                      dents of tho Stnto;

Organize depart-      Organize his Dopartmont to give adequate trcntmont to tho
ment.                 problems of fish a.nd gamo, forestry, parks and playgrounds,
                      natural resources und publicity;

Regulate hunting.     .Alter the opon seasons and bag limits;



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Designate refuges.     Dosi~nnte loco.litios doomed necosso.ry al)d desirable for tho
                       porpotuo.tion of any species of fish c.nd for tho purpose of
                       replenishing adjacent fishing waters;

Surveys.                 Enter privo.to lands to mo.kc surveys or inspections for con-
                         sorva.tion purposes;

Acquire o.roas; how;     Acquire by purcho.so, condo:mno.tion, loo.so or agreement, or
purposes.                receive by gift or devise, lands or wo.tors suito.blo for the
                         following purposes;

Forests, recrea-         For State forests for tho purpose of gro,ving timber, demon-
tion, etc.               strating forestry, protecting watersheds, or providing pub-
                         lic rocroo.tion;

Stuto parks, etc.        For Sta.to po.rks for tho purpose of proserving scenic or his-
                         toric values or nc.turo.l wonders;

Shooting a.nd fish-      For public shooting, trapping or fishing grounds or wo.tors
ing grounds.             to provide a.rous in which cj_tizens mo.y hunt, tra.p or fish;

Hatcheries, nur-         For fish ha.tchorics, go.me fc.rms, forest nurseries a.nd ox-
series.                  perimonto.l stations;

Excho.nge la.nds.        To extond o.nd consolidc.te lands or wr.tcrs suitr.blo for the
                         above purposes by exchange of other lands or waters under
                         his supervision;

Stocking of lands        Co.:;,ture, propagate, trnnsport, soll or oxchango a.ny species
or wo.tors.              of go.me or fish needed for stocking any lands or wa.ters;

Protect forests,         Exorcise powors grunted for _protection of forest:;; regulo.to
etc.                     fires nnd smoking in tho woods or in their proximity;

Beo.utificntion of       Coopera.to with other dopo.rtmonts nnd a.goncios in tho beo.uti-
highwc.ys.               fico.tion of State highways;

Cooporc.te with Sta.to   Cooperate with other dopo.rtmonts o.nd o.goncios of tho Sta.to
& Fodcro.l govern~       nnd Federal govornmontJ
mont.

Record proceedings;      Koop a. complete e.nd o.ccurute record of a.11 proceedings;
purcho.so equipment,     purch~so nocosso.ry equipment;
etc.
Reports to Gov-          Report to the Governor each y•) ur o.11 informo.tion re lo.ti vo to
ernor.                   the opero.tion and functions of. his Dopa.rtmont; also such
                         other reports und rvcommcndations ns IJl.Cl.y bo required by tho
                         Governor;

Gonerul nuthority.       Exercise any other power thidt ma.y bo nocosso.ry or prop·o r for
                         tho orderly conduct of his business and tho effective dis-
                         cho.rgo of his duties. Invoke a.ny legal or oquitnble reme-
                         dies for the enforcement of his ord0rs or tho provisions
                         of lnw.

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       Condemnation.           Private pr~perty may be taken o~ damaged for the construct-
                               ion, maintenance and operation of parks and other works of
                               internal improvement, for· the pub.lie use. Sec. 5362, Code
                               of 1932.

       Shooting near          It is unlawful for any person to shoot or discharge any fire-
        parks.                 arms on o_r near any park or o,ther place where persons gather
                               for purpose of pleasure. Sec. 6054, Code of 1932.


                              II.   STATE FOREST PARKS.

       Cooperation with       Acts of 1933 further declared it to be the policy of the
       Federal government.    St~te_to extend its cooperation to all provisions of Acts of
                              Congress now in force or thereafter enacted providing for
                              cooperation between States and the United States in the re-
                              lief of hardship and unemployment through acquisition and
                              development by the State of lands, ~tate forests, and State
                              forest parks, and the public recreational fa~ilities, fish
                              and game refuges therein.

        Contract with         In order to effectuate this policy, the Director, with the
        Federal government;   consent of the Governor, is authorized to enter into contracts
        acquire areas by      or agreements with the United States or any of its agencies;
       .purchase, etc.        and, with like consent, to acquire by purchase, lease or
                              agreement any lands necessary to carry into effect the pur-:-
                              poses of the Act.

       State Forest Land      The Act created a "State Forest Land Fund 11 , to consist of
       Fund; what consti-     10% of the total revenue obtainable each year from all
       tutes.                 classes of hunting and fishing licenses; all income derived
                              from the sale, exchange or management of State forest lands;
                              from the sale of timber, cuttings or stumpage; from the sale
                              of all gas and mineral rights, sale of camp sites, and leas-
                              ing of camp building material. Moneys received from the
                              United States Government or any of its agencies for the pur-
                              chase of lands are excepted.

       For what purpose       The proceeds of the fund are to be usod solely for the liqui-
        used.                 dation of any indebtedness incurred for the purchase or ad-
                              ministration of lands until such indebtedness has been en-
                              tirely discharged; thereafter the fund is to be used for the
                              acquisition of lands for conservation and work relief pur-
                              poses, and for the improvement, development and maintenance
                              of the natural resources, plant and animal life of the State.

       Pledge for liquida-    In order to efficiently administer the Fund for the accom.,. .:·
       tion of loans.         plishment of the described purposes, the Director is authori-
                              zed to pledge such sum or sums as in his discretion, and with
                              the approval of the Governor, ma.y be necessary for the liqui-
                              dation of loans from the United ~tates government or any of
                              its agencies;
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 Seli, purchase or      In order to consolidate forest tracts under either State or
 exchange to consol-    li'ederal administration, the Director may sell, purchase or
 idate tracts.          exchange stUir..pat;e or lo.nds vri thin or adjacent to o.ny National
                        forest purchase area within tho State;

 Disposition of         At ti.10 expiration of the present emcrgcmcy tJ,.e Director,
 lands purchased        upon the request of tl1e United States government, is dir-
 with Federal fnnds.    ected to convoy to the United States such title an1 interest
                        acquired by the State in lands purchased with money granted
                        outright to the State by the United States.

 Authorities of          In carrying into effect the provisions of the Act, the Dir-
 Director.               ector is further authorized to:

  Rules and regula-     Make rules and regulations for the use and occupancy of
, tions.                lands and other property under his control;

 Facilities for out-    Provide. nnd develop facilities for outdoor recreation, in-
 door recreation.       cluding the leo.sing of camp sites and :tno sale of camp
                        building materials;

 DispoGe of pro-        Remove and dispose of forest and mineral products incidental
 ducts.                 to tho protection; reforestation and proper development of
                        lands under his control;

 Conduct research;        Conduct such investigations and rosonrch as may be nccoss=--ry
  utilize facilities      for th3 proper conduct of his work, and to this end utilize
  of Sta.to Uni vorsi ty. the fo.cili tics of tho West Virginia Uni versi t-J in so far as
                          they mo.y be o.dcqua.te.

 Roimburscmont to       If and when, as a result of any work done by the ·o sta.blishmcnt
 Federal Government.    of conservation work camps on tho Stnte forest lands tho
                        State derives a direct profj_t fro:m the sale of such lands or
                        their products, the proceeds ar0 to be equally divided b0-
                        tvrnen tho Fed oral government unti 1 tho state has pa.id for tho
                        work done at the rate of :~l per man per day for the time
                        spent on projects, subj,)ot to a maximum of ~~3 per acre (Acts
                        of 1933).


                        III.   PUBLIC SEOOTIHG GROUNDS.

 Purchase; terms;       Under tho authority of Acts of 1929 tho Director, with tho
        .,_.
 rosorvo.vions.         consor.t of the Governor, may purchuJe out of funds sot aside
                        for tho purposo (10% o.nnua.lly of tho revenue from hunting
                        and fishing licenRes) lands suitable for forest culturo, for-
                        c::it parks, gcJnc a.nd/or fish rofuzos, or go.mo refuges and
                        public shootinr, grounds. Such purcho.sos :may be made on terms
                        requiring not less tha.n ono-third of the purchc,so price to
                        bo paid at the tiuc of tho convoyo.nco, o.nj tho residue in
 Accept lands convey-   not loss th.c.n one r.nd two years .1ftor dnto. Gifts of la.nd
 ed by deed or will.    by docd or will mo.y c.lso be accepted. When o.cquirod by
                        either r;ift o·r purclmcc, mincro.ls and mining rights may be
                        reserved;


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Li.mita.tion on price   Not more than $5 per aero mn.y bo po.id for l~nds for go.me
pa.id.                  refuges and public shooting grounds; and not more than ono-
                        third of tho area may be used a.sago.mo refuge, the rcmnin-
                        dcr to be used us public shooting grounds;

Set aside private       Any land of two thousand or more acres in extent may, with
lands.                  tho consent of tho owner, be sot a.part by tho Director o.s a
                        game rofugo o.nd public shooting grounds; not more than one-
                        third to be used as o. grunc refuge.

May lease lands;        Lands may also be leased for similar purposes for not loss
conditions.             than ton year periods, the rental price not to be more than
                        the taxes thereon, and in no event to exceed ton cents por
                        acre per annum.


                        IV.   PUBLIC LA.lU) CORPORATION.


Holds title of          Acts of 1933 creo.ted the "Public La.nd Corporation of Wost
Sto.tc.                 Virginia" in which is vested tho title of tho Sta.to in pub-
                        lic lo.nds.

Acquire lands.          Tho corporation may o.cquirc from individuo.ls or the Sta.to
                        Commissioner of Forfeited Lands by purchase, lease or o.gree-
                        mcnt, any lands thQt may be nocessa.ry for the public use;

Acquire lands.          Also acquire by purchase, condemnction, lease, agreement or
                        exchange, and to receive by gifts or devise, lands, rights
                        or way or easements, we.tors and minerals suitable for any
                        public purpose;

Soll or exchange.       For tho purpose of consolid::.ting lo.nds under ei tho r sto.tc or
                        Fodoro.l administration, mo.y sell, purchase or excho.nco lands
                        or stumpage;

Use of income.          All income received from the use o.nd development of public
                        lands is to be used solely for tho purpose of tho liquida-
                        tion of obligations incurred for the acquisition, develop-
                        ment and administration of such lands until all indebtedness
                        or other obligations ho.ve boon discharged. Funds arc then to
                        be paid into the general school funds;

Borrow funds for        Y.ay negotiate loo.ns from tho Federal government or any proper
purcho.sing.            agency thereof, for the purchase, o.s provided by law, of
                        ouch lands o.s may bo noccsso.ry for tho public,usc and the
                        acquisition of which h~s been authorized by law;

Allocate lands for      May dcsignc.te iands fo which it has title for development
public uses.            und administration for the public use, including forestation,
                        stock grazing, agricultural rehabilitation and homcst00.ding,
                        and mo.y contract or lease for the proper development of oil,
                        gas, mineral and water rights vnthin or upon the lands 0f
                        pr~pcrty under its control;
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Allocate lands for    Is diroctod to convoy, assign or allot lands to proper de-
public uses.          partments or other agencies of Stcte.govornmcnt for adminis-
                      tration and control within tho functions of such departments
                      or othor ngoncios o.s provided by lo.w; o.lso to mo.kc proper
                      lunds o.vo.ilablc for the purpose of cooporo.ting with tho Fed-
                      eral government in the relief of unomploym0nt ·and hardship.




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                Exhibit 15
           Wisconsin (see p. 423)
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                                 WISCONSIN



                     I.    STATE PARKS.

Jurisdiction.        State parks are under the jurisdiction of the State Conser-
                     vation Commission (Laws of 1031, 1935).

Members; appoint-    The Commission consists of six members, appointed by the
ment; terms.         Governor, 1'y and with the advice and consent of the Senate.
                     Two members are to be appointed in each odd year for a
                     tern. of six years, three from the territory north and three
                     from the territory south of a line running east an4 west
                     through the south limits of the City of Stevens P~int; are
                     to receive no pay for their services, but are allowed ac-
                     tual and necessary traveling expenses and subsistence while
                     absent from their homes in attendance upon meetings of the
                     Com.~ission or in the discharge of their official duties.
                     The Commiss].oners appointed are to be persons having know-
                     ledge of "':t:r' interest in conservation. Members elect a
                     Chairman a.nd Secretary.

Conservation         The Com.~ission employs a Conservation Director, to continue
Director.            in office at its pleasure, as the administrative head of
                     the State Conservation Department, and is responsible -bo
                     the Commission for the execution of its policies. The Dir-
                     ector employs, by and with the advice and consent of the
                     Commission, such technical and administrative assistance as
                     may be necessary for the execution of such policies. The
                     Director also exercises the powers of the Commission in the
                     interim of its meetings but subordinate thereto, but ha~ no
                     authority to make rules and regulations.

Divisions.           Administra.ti ve di visions have been esfo.blished by the Corranis-
                     sion as follows:

                          Division of Fisheries              Division of Recreational
                              II .
                                   11 Law Enforcement                     Publicity
                              II                                 II
                                   " Forests n:r.1. Pt1.rl:s          " Education
                              II                                 II
                                   " Forest Pro-':;ection             " Public
                              II   11 Cooperative Forestry                Relations
                              II   11 Clerical                   II
                                                                      " Grune Manage-
                                   " Contract Co:rrancrcia.l              ment
                                       Fishing

Powers and duties    Powers and duties of th0 Commission are as follows (Laws C'lf
of the Commission.   1931, 1935):




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By-laws.              May make and establish such rules and by-laws as it may
                      deem useful to itself and its subordinates in the conduct
                      of the business entrusted to it;
                                                                                         •I

Jurisdiction over     Is empowered and required to hnve and tuke the general care,
parks and other       protection and supervision of all State parks, of all State
lands.                fish hatcheries and lands used therewith; of all State for-
                      ests, and of all lands owned by the State or in which it
                      has any interests, except lruids, the care and supervision
                      of which are vested in some other officer, body or board;

Acquire park land;    To a.cquire by purchase, condemnation, lease or agreement,
scenic and histori-   and to receive by gift or devise, lands or waters suitable
co.l values.          and needed for State park purposes; for preserving scenic
                      or historico.l values, or natural wonders;

Appropri o.tion.      No land may be purchased until after the Legislature has
                      ~ppropriated or the Commission has otherwise acquired the
                      necessary money for tha.u specific purpose;
Blocking lo.nds.      May extend o.nd consolidate lands or waters suitable for the
                      above purposes by exchange of other lands or waters under
                      their supervision;
Donations for         To o.ccept grunts, conveyances and devises of land, and be-
pa.rk purposes.       quests and donntions of· money, to be used for park pur-
                      poses, if_unconditiono.l, or subject to such conditions only
                      as the Commission finds are reasonable and not inconsistent
                      with the use of such property for park purposes;

Continued posses-     Whenever any lands have been acquired which ho.ve been occu-
sion of homestead.    pied as n homestead by the owner for 25 years or more, the
                      Commission is required, if .requested by such owner, to enter
                      into a contract whereby he is to be permitted to remain for
                      a term not exceeding his natural life upon the portion of
                      such lands, not to exceed one a.ere in extent, upon which
                      the homestead buildings are located; is to be allowed to
                      fence such portion o'f lands a..YJ.d be afforded access to high-
                      ways; the land o.nd the buildings thereon to be used as a
                      home only, subject to tho rules of the Commission relating
                      to the sale of intoxicants, to sanitation, and to the pro-
                      serVtltion of the park;
Control of private    If in negotiating for such purchases it is ascertained thut
la.nds.               uny lands or premises situated within the limits of u pro-
                      posod St~te park have a vulue which is incorranensurnte with
                      their value for the purpo-se of such park, the Commission
                      muy entor ' into written agreement with the owner for such
                      control or supervision by the St8.te over such lo.nd or pre-
                      mises us it dcoms necessary to the reasonable requirements
                      of said po.rk; and may extend over the lo.nds und premises
                      pursuant to a.ny such agreement, such protective, police and


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                          other of its powers a.sit Jll£l.Y deem advisable;

    Accessibility.        W'nenover a.ny lunds under its ca.re o.nd supervision a.re in-
                          a.ccessible becuuso surrounded by la.nds priva.tely owned,                   '
                          a.nd whenever in its opinion the usefulness or va.lue of                     I
                          such la...~ds,. whether so surrounded or not., will bo increa.sed            ..
                                                                                                       I


                          by access thereto over lands not belonging to the State, it
                          ma.y acquire such lands as mo.y be necessary to construct
                          highways that will furnish the needod a.ocoss;
    Ornamento.tion.       To la.y out and ornament a.ny Sta.te park and construct o.11
                          proper roads a.nd bridges therein;

    Camping.              Permit people to camp in and use the parks under restric-
                          tions o.nd rules ma.de by it, a.nd to mo.ku such rules and regu-
                          lations, vith the Governor's o.pprova.l, a.s ma.y be necessary
                          to me.no.go ~nd control the same;
    Esto.blish services   Establish nnd furnish, nt n roo.sona.ble charge, such services,
    and recrcQtiono.l     convenioncos, c.nd recrov.tiona.l fncili ties us will render
    ff:1-cili ties.       the parks more a.ttra.otive to tourists and the general pub-
                          lic and increc.se tho number of visitors thereto. Among
                          such services., may operate port~blo lnunchos in the Devil's
    Disposition of        Lr.kc Sta.to Park. All monoys received from any of such
    feos.                 services and fncili ties to be p::dd into the Conserve.ti on·
                          Fund;

    Police supervi-       Exercise police suporvision over all po.rks; its agents or
    sion.                 representatives of Qny pa.rk being cuthorizod a.nd empowered
                          to arrest, with or without wc~rra.nt, any person within the
                          pa.r~ nroo. committing un offense a.go.inst the Sta.te laws or
                          in violation of any rule or regulation of tho Commission;
    Protect trees         To onforco luws for the prevention of destruction of shrubs
    o.nd shrubs.          and trees in the purks;
    Conservation          To appoint consorvution wardens to enforce tho lo.ws which
    wa.;r:dens.           it is required to administer;

    Leo.se park lands.    Mc.y lea.so for terms not exceeding 15 yenrs parts or parcels
                          of po.rk lands or properties, or grunt franchises or conces-
                          sions; tho proceeds to be.paid into tho Sta.te trE:)a.sury to
                          the crodit of tho Conscrvution Fund, and o.ro appropriated
                          therefrom to be used by the Corrunission for tho purchase of
                          State park lands, nnd for tho purcho.se, construction, im-
                          provement o.nd mo.intonunco of park buildings., or for the im-
                          provement of pa.rk grounds; o.11 subjoct to the ~pprova.l of
                          tho Governor;
    Licenses to           Licenses ma.y also be grunted to prospect for oro or mineral
    prospect.             upon any of said lc.nds; socuri t~r to bo to.ken that tho licen-
                          ses will fully inform the Commission of every discovery of



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                      ore or mineral and will restore the surface to its former
                      condition and value if no discovery of valuable deposits
                      be made;

Sale of products.   May remove wood, timber, rocks, stones, earth or other pro-
                    ducts from the parks and sell the same to the highest bid-
                    der;

Use of land by      May .allow State agricultural and horticultural socioties to
sooieties.          establish and maintain upon any portions of the parks which
                    it deems suitable such museums, experiment stations and
                    buildings as will best serve the requirements of such soc-
                    ieties;

For school purposes. May allow the use of portions of the parks, which it deems
                     suitable, for buildings and playgrounds for school pur-
                     poses; all of which to be under the genernl supervision of
                     the Commission;

Names for parks.    May designate by an appropriate name any State park not ex-
                    pressly nroned by the Legislature;

Investigations.      To investigate, nnd in its annual report to the Governor make
                     a. detailed statement of the facts regarding any proposed
                     park; also reconnnendations regarding the requirement of any
                     new parks, the extension of existing parks, and such other
                     recommendations it deems necessary;

Srune.                Investigate and consider the proprioty and desirability of
                      securing nnd preserving all places of historical interest and
                    • of natural beauty, and include in its report its recommend-
                      ations thereon;

Same.                To consider tho natural resources of the State and report to
                     the Governor from timo to time the results of its invest-
                     igations, with reconnnendo.tions of such measures as it dooms
                     necessary or suitable to conserve such resources o.nd pro-
                     sorvo thorn, so fnr us practicable, unimpaired.

Some;                To inaugurate such othor studies, investigations and surveys,
services.            and establish such services doomed necessary to carry out
                     tho provisions and purposes of the conservation laws;
Research.            To conduct research in improved conservation methods, and to
                     disscmina.to information to the residents of the Stnto in
                     conservation mutters;

Grune and fish       To cupture, propagate, transport, sell or exchange any
propo.ga.tion.       species of game or fish needed for stocking or restocking
                     any lands or wa.tors of tho Sta.to;




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Cooperation.         To enter into cooperative agreements with persons, firms,
                     corporations or·.governmental agencies for purposes con-
                     sistent with the purposes and provisions of the conserva-
                     tion laws, including agreements with the highway authorities
                     with regard to .planting trees or other vegetation in or
                     along highways, or furnishing stock for such planting;

Sale of lands.       May sell at public or pr~vate sale lands and structures owned
                     by the State and under its jurisdiction when it determines
                     that said lands are no longer necessary for the State's
                     use for conservation purposes;

                     Note: State park lands are not held for sale and are not
                     subject to the foregoing provision.

Disposition of       The funds derived to be deposited in the Conservation Fund
funds.               to be used exclusively for the purpose of purchasing other
                     nreo.s of land for the creating and establishment of public
                     hunting and fishing grounds, wild life and fish refuges,
                     and State parks;                                 •

Interdepartmental    Cooperate with the several State departments and officials
coopera.tion.        in tho conduct of matters in which the interest of the re-
                     spective departments or officials overlap;

Publioi ty.          To collect, compile and distribute information and literature
                     as to.the facilities, advantages and o.ttra.ctions of the
                     State, the historic and scenic points o.nd places of interest,
                     a.nd the transportation and highwa.y facilities; also to plan
                     and conduct a program of infonno.tion o.nd publicity designed
                     to attro.ct tourists, visitors and other interosted persons
                     from outside the State to the State; also to encourage nnd
                     coordinute the efforts of other public and private organiz-
                     ations or groups of citizens to publicize tho facilities
                     and attractions of the State for tho same purposes.

Maps of parks.       Provide n suitable nnd durable set of mnps of each park so
                     arranged tho.t o.dditions thereto can be made whenever la.nds
                     a.re a.dded to them; each parcel of lo.nd designo.tod thereon
                     donated to the Stnte as a gift for park purposes to ha.ve
                     written thereon tho no.me of tho donor; and in close proxim-
                     ity to cnch mnp to bo inscribed u schedulo of ull legisla-
                     tive nots affecting tho park roprosonted;

Publico. ti ons.     May issue pamphlets from time to time; may also issue a pub-
                     lication or magazine at stnted intervals, all pertaining to
                     fish and go.mo, forests, parks and other kindred subjects of
                     goneral informo.tion, and may sell subscriptions thereto; the
                     srune to be self-sustaining, und no moneys, except from tho
                     receipts therefrom c.re ever to be used therefor;




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State Pa.rk roads.   Sums a.re o.nnua.lly o.ppropria.ted for tho construction o.nd
                     mo.inteno.nco of roads, including fire roads, in the State
                     parks and forests and other public lo.nds, und for highway
                     or firo roads lea.ding from tho most convenient Sta.to or
                     Federc.l trunk highway to such lands. All work done to be
                     determined by tho Conservation Commission for Sta.to parks
                     and forests. All work to be done by or under authority of
                     the Highway Commission. Outside the limits of tho park,
                     forest and public lo.nd areas, not moro than two direct con-
                     nections to tho most convenient Sta.to trunk highway may be
                     built or mo.into.inod;

U. S. ma.y ncquiro   Consent of tho Stutc is givon to the United Stutes to o.cquiro
la.nds for parks,    by purcha.so, gift, lea.so, or condemno.tion, with a.dequo.to
otc.                 c0r:1penso.tion therefor, o.reo.s of lo.nd o.nd wo.tor within bound-
                     a.ries approved by tho Governor o.nd the county boa.rd of the
                     county in which the lo.nd is located, for the osto.blishrnont
                     of State forests, Sta.to parks, or other Sta.to conservation
                     o.roo.s to be o.dministorod by the Sta.to under· long-term
                     lea.sos, tronties or cooperative o.groemonts (L~ws of 1935).

Restricting pri-     No lease to bo horea.ftor (1931) issued or uny loo.so extended
vate use of is-      or renewed on o.ny unsurveyod o.nd una.tto.chod islands in
lands.               inland lakes north of the township line between townships
                     33 and 34 north, except tho.t the Commission mny extend or
                     renew any such lea.sos in existence June 25, 1925, to public,
                     charitable, religious, educa.tiono.l or other o.ssocia.tions
                     not organized for profit; and except it ma.y extend or renew
                     o.ny such loo.sos in existence Juno 25, 1925, on islands upon
                     which improvements have been mo.de.

Destruction of       It is unla.wful except upon pormi t by the Co1mnission, to
Indian mounds.       destroy, deface, mutilate, injure, or remove uny Indian
                     burial~ linear or effigy mounds, enclosures, comotorios,
                     gra.vos, plots of corn hills, gc.rdon beds, boulder circles,
                     pictogra.ph rocks, ca.ches, shell or refuse henps, spirit
                     stone or mnniton rocks, boulder mortars, grindstone rocks,
                     or other prohistoric or historic Indian remains located upon
                     the public la.nds, St~te pnrks 1 forestry reserves, lnnds of
                     Stnte oducntionnl or other Sta.te institutions, or upon other
                     lo.nds or properties belonging to tho Sta.to (La.ws of 1931).

Consorv~tion Fund.   All moneys, except fines, accruing to the Ste.to by renson
                     of any provision of tho fish nnd ga..mo lo.ws, or otherwise
                     received or colloctod by eQch a.nd every person for or in
                     boha.lf of the Sta.to Conserva.tion Commission, if not pnynblo
                     into the forest roserve fund, constitutes the Conservation
                     Fund, o.nd is roquircd to be pa.id, within ono woek after
                     receipt, into tho Sta.to troo.sury und credited to said fund.
                     No money mny be expended or pa.id from the Fund except in
                     pursuance of nn appropria.tion by law; but a.ny unapproprio.tod
                     surplus mny be oxpondod, subject to tho npprovnl of tho
                     Governor, Secrotnry of Sta.to, a.nd Stuto Trcusuror, for the



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                        purchase of lands from counties for forestry purposes and
                        owned by counties cy virtue of any tax deed, for additional
                        equipnent, new buildings, new hatcheries, or hatchery
                        ponds, property,j,.rnprovements, increasing the warden force
                        at any particular·· period, or any other similar special pur-
                        pose except road work or improvement work on the State
                        parks (Laws of 1931).

    Reforestation       All-moneys received from State forest lands are to be paid
    fund.               into the Reforestation Fund and are appropriated to the
                        Commission for the purchase or improvement of additional
                        land for forest or park purposes (Laws of 1931, · 1935).

    Constitutional      The State or any of its cities may acquire by gift, purchase,
    provision.          or condemnation lands .for establishing, laying out, widen-
                        ing, enlarying, and maintaining niel"l.orial crounds, streets,
                        squares, parkways, boulevnrds, parks, playgrounds, sites
                        for public buildings, and reservations in and about and
                        along and leading to any or all of the same; and after the
                        establish~ent, layin[ out and completion of such improve-
'                       >:1ents, may conyey any such rec.l estate thus acquired a.nd
                        not necessary for such i~prove~ents, -with reservations
                        concerninr the future use and occupation of such real es-
                        tate, so as to protect such public works and improve~ents,
                        and their environs, and to preserve the view, appearance,
                        light, air, and usefulness of such public works (Art. XI,
                        Sec. 3n, State Const.)

                        II.   STATE FORESTS.
    Jurisdiction.       The Conservation Commission executes ull natters pertaining
                        to forestry within the jurisdiction of the State, and
                        directs the JTtana.ge;-:ient of the State forest~ (Laws of 1931,
                        1935);

    Acquire areas;      Ma.y a.cquire by purchase, condemnation, lease or agreement,
    recreation,         and receivo by gift or devise la.nds suitable for State for-
                        ests for the purpose of growing timber, demonstrating for-
                        estry methods, protecting; watersheds, or providing recrea-
                        tion;

    Purchase of         May purchase, with the npprovo.l of the Governor, Secroto.ry
    county tax deed     of Sta.te a.nd State Treasurer, lc.nds owned by any county by
    lands.              virtue of o.ny to.x deed issued to such county, o.nd -which the
                        county is willing to sell, and when such lands c.re adapted
                        for forestry purposes; but tho purchase price ~ay not exceed
                        the amount due the county for ta.xes, interest and charges;

    Exchange.           For the purpose of blocldng out Sta.te-owned a.nd county-owned
                        forest lands, the State or county is authorized to exchange




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                      any of such lands for other lands adapted to forestry pur-
                      poses, whether publicly or privately owned. The word
                      "exchange" includes the purchasing of lands without convey-
                      ing other lands in exchange therefor. The exchange of such
                      lands, when owned cy the State, to be subject to the ap-
                      proval of the Governor. All exchanges to be determined on
                      the ho.sis of equal values.

Sale.                   For the purpose of blocking out State forest a.rea.s, for the
                        acquisition of recreational area.s, or for otherwise extend-
                        ing the usefulness of State forest la.nds, is authorized to
                        sell po.reels of the Sta.te forest lands, or the timber there-
                        on;
                    \
Regulo.tion of          May regulate co.mp fires o.nd smoking in the woods at such
crunp fires.            times o.nd in such designated localities as it may find rea-
                        sonably !l.ecesso.ry to reduce tho danger of destructive fires;

U. S. to be reim-       The Governor, in the no.me and on beha.lf of the Sto.te, may
bursed.                 contra.ct or enter into agreements with the President of the
                        United States as the President may deem necessary or o.dvis-
                        able in carrying out the Emergency Conservation Work pro-
                        grar.i. whereby if, as the result of Qny conservation work
                        pro.iect on Sta.to, county or municipally owned lands the
                        Sta.to derives o. direct profit from the sale of any such land,
                        or the products thereof, tho proceeds ure to be divided
                        equally between the State and the Fedoro.l government until
                        the latter ho.s been repaid the o...1'!1.ount of its investment in
                        such work, computed at tho rate of $1 per man per day, with
                        a. r.ia.ximu."'l limi to.ti on of $3 per a.ere of land purchc~sed.

con3t i tu tirmal       Tho Sto.te may appropriate moneys for the purpose of acquir-
provision.              ing, preserving o.nd developing the forests of the Sto.te
                        (Art. VIII, Sec. 10, State Constitution).

                        III.   PUBLIC SBOOTING AND FISHING GROUNDS.

Hov,   acquired.        The Conservation Commission may acquire by purcho.se, con-
                        demno.tion, lea.so or o.greoment, and receive by gift or devise,
                        lands or waters suitable for public shooting, trapping or
                        fishing grounds or waters for the purpose of providing areas
                        in which o.ny citizen muy hunt, fish or trcp (Luws of 1931,
                        1935).

                        IV.    STATE PLANNING.

                        A State Planning Boo.rd wo.s oreo.ted by Acts of 1931 (a.mended
                        1935).

Powers.                 It is doclured to be the duty of the Board, ~nd it is vested
                        with power, jurisdiction o.nd o.uthority;




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Assemble do.tu.       To assemble c..nd correlnto do.to. and information with refer-
                      ence to the development of the Sta.to ~nd its subdivisions
                      which mo.y be approprio.te subjects of State concern; the
                      general cho.rncter end. extent, uraong other things, of pnrks,
                      reservc.tions, forests; o.lso, the general locution nnd extent
                      of forests, agriculture o.reus o.nd open developBent ureas
                      for purposes of conservntion, food nnd water supply, so.ni-
                      to.ry o.nd dra.inuge facilities, c.nd the protection of urban
                      end rural developr.1ont;. o.lso c. land .utilizcction progrr.m, in-
                      cluding the gonoro.l ·clo.ssifico.tion o.nd allocation of tho
                      lc.nd within the Sto.te amongst o.griculturo.l, forestry, re-
                      crcution~l, soil o.nd water consorv~tion, industri~l, urb~n-
                      izntion a.nd other uses a.nd purposes;

Purp0se of study.        Such studios a.re to be mo.de with tho genernl purpose of guid-
                         ing a.nd a.cco:r.plishing o. coordinated, r.djusted, efficient
                         c.nd econonic developncnt of the State, which will., in nccord- .
                         a.nee with present o.nd future needs anc resources, best pro-
                         note tho health; s~fety, order, convenience end welfnro of
                         the Ste.to c.s well o.s efficiency o.nd economy in the process
                         of dovolopnent;

Cooporo.tion.            All Sta.to boards, co!!'lT:1.issions., departments o.nd institutions
                         e:.re directed to cooperc.te with the Bor,rd to further these
                         ends.

V.   RULES Pl~D REGULATIONS.


IN THE IA.ATTER OF est~blishing
certain rules end regul~tions
for the mc..na.ge;:-ient o.:nd control    Order No. E-173
of o.11 state parks in the state:
of Wisconsin
--------------------------------
Section 1. WFEREAS, in a.ccordo.nce with tho power a.nd c.uthority delegc.ted to the
sta.to conservc_tion commission of Wisconsin by cmd undor tho provisions of section
23.09 of tho Wis"onsin sto..tutes, tho o.foreso.id stcte conservSttion conmission upon
its own motion ha.s ca.used o. cr.rcful o.nd extensive invostig~:.t;i.ons to be r:1.::tdc rcla.-
tive to the necessity of promulg~ting rules Qnd regulntions for the m~n~gencnt
a.nd control of Qll stQto pQrks, n.nd

Section 2. YIREREAS, upon tho evidence presented to it r.ftor such invostiga.tions
tho stn.te conscrv.a.tion cormnission of Wisconsin verily believes thc,t certdn rogu-
la.tions should be o.dopted for tho no.nngcmont :1nd control of ctll str..tc parks so
a.s to protect such a.rcr.s fro:n doprodution, tmd to insure to tho people of this
state nnd its tourists a.nd visitors continued opportunities for rccroQtion under
proper sr-.fogunrds while within the boundr.rics of such p~rks.




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Section 3. NOW, THEREFORE, IT IS HEREBY ORDERED .AfID DECLARED under and pursuant
to the provisions of section 23.09 of the Wisconsin statutes that the following
rules and regulations shall be adopted and enforced within the boundaries of all
state parks in Wisoonsin, and it shall be unlawful for any person or persons to
violate any of the following provisions as set forth in this order:

     (1) State property. It shall be unlawful for any person or persons to dis-
turb, molest, deface, remove, or destroy any trees, shrubs, plants, or other
natural growth or to carve on any rocks, sirns, walls, structures, drive nails
in trees, or to injure or deface in any manner any park buildings, fences, ta-
bles, or other state property.

     (2) Property of others. It shall be unlawful for any person or persons to
disturb, molest, or remove the property or personal effects of others while on
state park lands.

      (3) Refuse. It shall be unlawful for any person or persons to dispose of
any garbage, bottles, tin•cans, paper, or other waste material in any manner ex-
cept by placing in receptacles provided for such purposes. The bathing of dogs,
washing of cars or clothing, or throwing of broken bottles, tin cans, or sewage
in any of the lakes or streams within the boundaries of state parks is prohib-
ited.

     (4) Fires. It shall be unlawful for any person or persons to build any
campfire or burn any rubbish except at designated fireplaces or to throw away
any cigarettes, cigars, or pipe ashes without first extinguishing them.

     (5) Peddling. It shall be unlawful for any person or persons to peddle or
vend in or on any of the state parks unless authorized by the state conservation
commission in writing.

     (6) Safety. It shall be unlawful for any person or pers9ns to drive an
automobile, truck, motorcycle, or other vehicle at a speed greater than twenty-
five miles per hour on state park ronds.

     {7) Firearms. It shall be unlawful for any person or persons to have in their
possession or under their control any firearms of any kind unless the some is
unloaded and within a carrying case; and to hunt, trap, or disturb any wild an-
imals or birds at any time within the boundaries of a state park. It is unlawful
to allow any dogs to run at large at any time within the boundaries of a state
park.

     (8) Parking. It shall ho unlawful for any person or persons to park or
leave unattended any automobiles, trucks, trailers, wago~s, motorcycles, boats,
or other similar equipment except in spaces and areas designated for such pur-
poses.

     (9) Personal conduct. It shall be unlawful for any person or persons to be
intoxicated, to use profane language, to practice rowdyisn or to otherwise con-
duct themselves in an improper manner while within the boundaries of a state park.




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Section 4. IT IS FURTHER ORDERED that nothing in this order shall prohibit or
hinder the state conservation commission, its park superintendents, or other
duly authorized agents., or any peace officers, f'rom performing their official
duties on such sta.te park areas.

Section 5. IT IS FURTHER ORDERED that this order shall beoome ef'f'ectiv~ one week
o.f'ter publication in the official state paper, nar1ely the Sheboygan Press of
Sheboygan; Wisconsin, the Superior Telegram of' Superior, Wisconsin, and the Wis-
con~in State Journal of Madison., Wisconsin.

Section 6. IT IS FURTHER ORDERED that this order shall.be in force end effect
fron a.nd a.~ter August 20, 1036.
                                                  >

Section 7. THIS ORDER was made a.nd passed hy the Stnte Conserva.tion Commission
of Wisconsin at n meeting duly called and held ~y the said oormnission in the
city of Madison, Wisconsin, this 21st day of July, 1936.

Section 8. IT IS FURTHER ORDERED tho.t the Director of the Sta.ta Conservation
Commission of' Wisconsin is authorized to validate this order by signing the
same.

                                    STATE CONSERVATION COMMISSION OF WISCONSIN

                                    By (Signed)       H. W. MacKenzie,
                                                                  Conservation Director.

State of Wisconsin    )
                      ) ss.
County of Dane        )


            Barney Devine, being first duly sworn, deposes and says thut he is
the duly qualified o.nd o.cting Chief' Conservation Warden o.nd that as such Chiof
Conservation Wo.rden he has custody o.nd possession of Order Mo. M-173, the so.me
being the original order passed by the State Conservation Commission under the
provisions of section 23.09 of' the Wisconsin statutes, and that the foregoing
copy of the said order l1eroto e.tta.ched is o. • true o.nd exact copy of such original
order.

                                                 Barney Devine.

Subscribed and sworn to
before me this 2oth day
of August, 1936.

         C. A. Bontly,
                 Notary Public.

My commission expires August 13., 1939.

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                           CERTIFICATE OF SERVICE

 Case Names:      Reno May, et al. v. Robert Bonta, et al.;
                  Carralero, Marco Antonio, et al. v. Rob Bonta
 Case Nos.        8:23-cv-01696-CJC (ADSx); 8:23-cv-01798-CJC (ADSx)


 I hereby certify that on December 7, 2023, I electronically filed the following
 document with the Clerk of the Court by using the CM/ECF system:

       SUR-REBUTTAL DECLARATION OF LEAH GLASER IN
       SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFFS’
       MOTIONS FOR PRELIMINARY INJUNCTION (with Exhibits 1-15)

 I certify that all participants in the case are registered CM/ECF users and that
 service will be accomplished electronically by the CM/ECF system.
 I declare under penalty of perjury under the laws of the State of California and the
 United States of America the foregoing is true and correct.

 Executed on December 7, 2023, at San Francisco, California.


             Vanessa Jordan
               Declarant                                    Signature
